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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


     SHABTAI SCOTT SHATSKY, et al.,

                                     Plaintiffs,
                                                              No. 18 Civ. 12355 (MKV)(DCF)
              vs.

     THE PALESTINE LIBERATION
     ORGANIZATION, et al.,

                                     Defendants.




                             DECLARATION OF ARIEH DAN SPITZEN


         Arieh Dan Spitzen hereby declares as follows:


I.       Professional Background

         1.         I am an expert in Palestinian affairs and society, including the political, social and

economic aspects of Palestinian society, and the structure, leadership, personnel, and activities of

various Palestinian terror groups, including the Popular Front for the Liberation of Palestine

(“PFLP”), which I have researched (and continue to research) over the course of many years.

         2.         In 1970, I joined the Israel Defense Forces (“IDF”), serving in an elite unit as the

Israeli equivalent of a Navy Seal. In 1972, I transferred to the IDF’s Intelligence Unit, where I

served until 1974. Then I enrolled at Hebrew University in Jerusalem, specializing in Middle East,

Arabic, and Jewish History, and graduating cum laude in 1976. I subsequently returned to the IDF,

to its Palestinian Affairs Department (“PAD”) in the West Bank.

         3.         In 1976, I established the Research Section of the Advisor for Arab Issues in the

Military Government in the West Bank (subsequently known as the Civil Administration) and


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served as its Section Head until 1978. With the exception of the years between 1978 and 1981,

when I served as a researcher-assistant dealing with issues concerning the integration of the Arab

population within Israel’s society and establishment, I remained in the PAD for the next 30 years.

       4.      After returning to the PAD in 1981, I resumed my role as Section Head of the

Research Section of the Advisor for Arab Issues in the Military Government (which by then had

been replaced by the Civil Administration) in the West Bank, and as Deputy Advisor, until 1993.

In those capacities, I dealt with socio-economic and political research regarding the Palestinians,

focusing on political and social trends among the population. In that position, I wrote or oversaw

the writing of hundreds of research papers, staff papers, articles, anthologies, and fundamental

studies in civilian matters that served the decision-making echelons of various elements of the

Israeli government including the Ministry of Defense.

       5.      From 1993 to 1996, I was assigned to the negotiation team for the Oslo Peace

Accords and served as a member of teams that negotiated the transfer of civilian authorities from

the Civil Administration to the PA. From 1996 to 1998, I supervised the activity of civilian

coordination in the West Bank vis-à-vis the PA’s Ministry of Civil Affairs and other civilian

offices. From 1998 to 2000, I was Department Head for Palestinian Affairs in the West Bank at a

rank of Colonel. As a senior consultant in the system, I served during the same period as the

Coordinator for Arab Issues for the Operation Coordinator.

       6.      From 2001 to 2009, I was Department Head for Palestinian Affairs in the

Administered Territories (i.e., the West Bank and Gaza Strip) and Advisor to the Coordinator of

Government Activities in the Territories (“COGAT”). I reported to the Head of COGAT, above

whom were only two people – the Minister of Defense and the Chief of Staff. By virtue of this

position, I was a professional instructor and the top authority regarding the socio-economic civilian




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situation in the Palestinian arena in the West Bank and Gaza Strip. I was responsible (among other

things) for supervising the work of IDF research and assessment personnel in various fields

relating to Palestinian affairs, drafting and presenting research and policy papers concerning

Palestinian affairs, and appearing before and providing briefings to senior governmental and

military forums regarding Palestinian affairs. I supervised approximately 50 people. As part of my

position I also provided numerous briefings about Palestinian affairs in Israel to foreign officials.

I wrote hundreds of surveys and studies about the civilian situation, the various political trends

and how they were operationalized, the social trends, the economic atmosphere and its influence,

and other diverse civilian issues connected to the civilian Palestinian realm, including terrorist

organizations. Naturally, this research included the activities of terror organizations like the PFLP.

       7.      I have served as an expert witness about Palestinian terrorism in fourteen federal

civil terrorism cases in the United States: Linde, et al. v. Arab Bank, Plc (in which I testified for

five days in a six-week jury trial in 2014); Gill v. Arab Bank, Plc; Strauss, et al. v. Crédit Lyonnais,

S.A.; and Weiss, et al. v. National Westminster Bank Plc—all in the United States District Court

for the Eastern District of New York; Fraenkel, et al. v. Islamic Republic of Iran, et al.; Braun, et

al. v. Islamic Republic of Iran, et al.; Shatsky, et al. v. Syrian Arab Republic, et al.; and Force, et

al. v. Islamic Republic of Iran, et al.—all in the United States District Court for the District of

Columbia; Weinstock, et al. v. Islamic Republic of Iran, et al.; Weinstock, et al. v. Mousa

Mohammed Abu Marzook; and Weinstock, et al. v. Hamas—all in the United States District Court

for the Southern District of Florida; and Schwartz, et al. v. Islamic Republic of Iran; Henkin, et al.

v. Islamic Republic of Iran, et al., and Sokolow, et al. v. The Palestine Liberation Organization, et

al. —all in the United States District Court for the Southern District of New York.




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        8.      Since my retirement from the IDF, I continued to serve in the IDF Reserves as an

emergency Department Head for Palestinian Affairs in COGAT until this year. In that capacity, I

continue to be fully up to date in all that occurs in the Palestinian realm, including in all matters

relevant to terrorist organizations, including the PFLP.

        9.      I am currently an independent consultant on the Middle East, particularly

Palestinian Affairs, to government agencies, research institutes and private parties. I currently

provide advice regarding the socio-economic and political situation in the Palestinian Authority-

controlled territories to the IDF’s Coordinator of Activities in the Administered Territories and the

Research Division of the IDF Intelligence Department. During the last ten years of my IDF service,

I also provided advice to Israel’s National Defense Council, and to various Israel security and

intelligence agencies, including the Mossad.

        10.     Additionally, I have served as an expert witness in the area of Palestinian affairs

and terrorism in dozens of court cases in Israel, including in the Israeli Supreme Court.

        11.     During my last ten years in the IDF, I was a frequent participant and lecturer on

Palestinian affairs at symposia, conferences, seminars and other academic meetings sponsored by

Israeli universities and research institutes. I continue to lecture in academic settings on occasion.

        12.     I am a popular media commentator for the Israeli press, which considers me an

expert in Palestinian affairs and I have been interviewed on Arabic television stations. In addition,

during the last ten years of my IDF service, about once or twice per week, I gave both background

and in-depth talks to senior Israeli journalists and foreign correspondents of the international media

in Israel that deal in Palestinian and military issues.

        13.     I am fluent in Hebrew and Arabic, and I read and understand English fluently.




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II.        The Nature of This Declaration

           14.   I was retained by counsel for the plaintiffs in this case to provide this expert

declaration regarding the matters set forth below, in support of the plaintiffs’ opposition to the

motion for summary judgment filed by the defendants, the Palestine Liberation Organization

(“PLO”) and the Palestinian Authority (“PA”) (jointly – the “defendants”).

           15.   My opinions and conclusions set forth below are based on the documents,

authorities and sources cited or referenced herein, and the enormous body of experience,

knowledge and analytical tools that I have acquired over many decades as an expert in Palestinian

affairs.


III.       Description of the February 16, 2002 Bombing

           16.   On February 16, 2002, shortly before 8:00 p.m., a suicide bomber set off an

explosive device at a pizzeria located in the Karnei Shomron outdoor mall.1 The suicide bomber

was Sadeq Ahed Abdel Hafez, identity number 922361217, a 19-year-old resident of Qalqilya.2

           17.   Abdel Hafez was carrying a powerful explosive device on his body. The explosives

were encased in a metal container, and wrapped with a large quantity of nails and metal scraps.


1
  Karnei Shomron is a Jewish community with the status of a local council. Its population is roughly nine
thousand. The community is located (as the crow flies) some 7 miles east of Qalqilya, where the suicide
bomber lived, and some 10 miles southwest of Nablus.
2
  This description of the attack relies on my examination of official police documents contained in the
Israeli police investigation file for the February 16, 2002, bombing, which is designated File Number
901/02 (Samaria Regional Station) (below: “Police File”). Those documents include tests and analysis from
the police explosives laboratory regarding the explosive device that the terrorist used, forensic and crime
scene reports, photographs from the scene of the attack, and pathology reports.
The photographs from the scene show that Abdel Hafez was pulverized beyond recognition by the
explosion. Police memoranda and court documents in the Police File show that at the request of the police,
and pursuant to a court order, Abdel Hafez’s identity was checked and confirmed by the National Center
of Forensic Medicine in Tel Aviv, on the basis of DNA samples provided by his parents.



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The nails alone weighed more than 2.6 pounds. The explosive device had an electronic trigger

powered by a 6-volt battery and controlled by an on-off switch.

        18.     Abdel Hafez triggered the explosive device in the middle of the mall, and the

position of the device – on the front of his body and at a height above floor level— strengthened

the effectiveness of the blast, increased the number of the casualties, and contributed to the

extensive physical damage to the mall.3 The mall was crowded at the time because the terror attack

was perpetrated on a Saturday evening, when large numbers of people customarily visit the place.

The explosion resulted in the death of three young people: Keren Shatsky, 15, who died at the

scene; Nehemia Amar, also 15 and killed on the spot; and Rachel Thaler, 16, who died later of her

injuries. In addition, more than twenty other people were injured, some of them very seriously.

        19.     The size, sophistication and deadliness of the explosive device, combined with the

fact that Abdel Hafez was able to travel to and enter the heart of a Jewish community undetected

while bearing the explosive device, during a time period in which terrorist violence was prevalent4

and Jewish communities had heightened security, clearly show that the Karnei Shomron bombing

was planned and carried out by well-trained members of an established terrorist organization.

        20.     As discussed below, there is strong evidence that the PFLP was the organization

that carried out the bombing.




3
 This determination is based on an expert opinion from the explosives laboratory of the Israel Police, from
March 13, 2002, file ZB/23 - 649/02.
4
 The time period at issue here, i.e. 2002, fell during the severe wave of violence in Israel, the West Bank
and the Gaza Strip that is commonly known as the Second Intifada.



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IV.     The Defendants Confirmed That Abdel Hafez Was a PFLP Operative

        21.     As discussed in detail in the declaration I provided in this case relating to issues

relevant to the defendants’ motion to dismiss for lack of personal jurisdiction, the defendants

operate an “Institution for Families of the Martyrs and the Injured,” which makes payments to

families of suicide terrorists. For each such terrorist, the Institution generates a “Social

Examination” (or “Social Report”) containing facts relating to the deceased and the circumstances

of his death.

        22.     The defendants’ “martyr” Report relating to Abdel Hafez states explicitly that he

was a “Popular Front” (i.e., a PFLP) operative.5 The defendants had the ability and the motivation

to ensure that the information contained in its “martyr” reports, including Abdel Hafez’s report,

was accurate, and I therefore have no reason to doubt this determination.


V.      The PFLP Immediately and Repeatedly Confirmed That It Executed the Bombing

        23.     During the time period at issue, i.e. 2002, the PFLP operated an official website at

www.pflp-palestine.org. The PFLP utilized that website, among other things, to publish official

statements of the PFLP, and to publicize its terrorist attacks and other activities.6




5
 See Defendants’ Bates No. 07:000012-15. (These materials are attached to my personal jurisdiction
declaration as Exhibit 3 (JD00977-JD00980)).
6
         This website is well known to me from my time as head of the Department of Palestinian Affairs
in the Unit for the Coordination of Government Activities in the Territories (COGAT). The researchers of
the Department of Palestinian Affairs monitored and analyzed the website’s content precisely because they
had confirmed that it was an authentic and official PFLP site. Additionally, this website was identified as
an official PFLP website in contemporaneously printed editions of the PFLP periodical Al-Hadaf which,
as discussed below, has been the PFLP’s official publication since 1969.
       The PFLP later closed www.pflp-palestine.org and moved its official website to www.pflp.ps (as
confirmed, inter alia, by Al Hadaf), which remains its official website today.


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        24.     On February 16, 2002, the very day of the bombing, the PFLP published a

communiqué on its official website (at http://www.pflp-palestine.org/pprf/pprf16022002.html),

confirming that it had carried out the bombing. At the top of the communiqué was the heading

“The Popular Front for the Liberation of Palestine” in Arabic and in English, and beside that

heading the PFLP logo. A subheading states: “A communiqué issued by the Abu Ali Mustafa

Brigades, the armed wing of the Popular Front for the Liberation of Palestine.”7 In the body of the

communiqué, the PFLP confirms that it perpetrated the terror attack at Karnei Shomron, and the

suicide bomber, Sadeq Abdel Hafez of Qalqilya, is identified as a PFLP operative. The

communiqué terms the suicide bombing “a heroic operation,” and describes Abdel Hafez as a

“Guevarian hero martyr” – the term “Guevarian” being the adjectival form of the surname of the

Marxist revolutionary Ernesto “Che” Guevara.8 The communiqué states that the PFLP has more




7
 Abu Ali Mustafa was among the founders of the Popular Front for the Liberation of Palestine. He served,
until his death in August 2001, as the organization’s Secretary-General after the retirement in July 2000 of
PFLP founder George Habash.
8
         Ernesto “Che” Guevara was a Marxist revolutionary born in Argentina in 1928. He was a leader in
Fidel Castro’s revolution in Cuba, and was killed in 1967 while attempting to organize a coup in Bolivia.
Since his death, he has become a symbol among Marxist movements worldwide. The PFLP, which sees
itself as part of global Marxism, and as a sister movement to the world’s Marxist movements, considers
Che Guevara a heroic role model. One of the PFLP’s most prominent operatives in Gaza in the 1970s was
known (in Arabic) as “Guevara Gaza,” and one of the organization’s terror cells was named after him. See
https://news.walla.co.il/item/48617                                                                  and
https://www.facebook.com/palestinian.prisoners/posts/mohammad-al-aswad-guevara-gaza-was-a-leader-
of-the-pflp-in-gaza-born-on-january-/258298011016883/ (both last accessed Oct. 3, 2021).
         Regarding the PFLP’s esteem for Che Guevara and his ideology and activities, see this article
published on the official PFLP website to mark the 45th anniversary of his death:
https://english.pflp.ps/2012/10/09/on-the-day-of-the-heroic-guerilla-we-remember-che-guevara/    (last
accessed Oct. 16, 2020).


                                                     8
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“Guevarian suicide bombers,”9 and notes that the PFLP has decided to set up a military group (that

is, a terrorist cell) named for “the hero martyr Sadeq Abdel Hafez.”

         Attached hereto as Exhibit A is a true copy of the February 16, 2002 communiqué

published by the PFLP on its official website, along with an English translation.10

         25.    The publication of this detailed written announcement by the PFLP so quickly after

the Karnei Shomron bombing strongly indicates that the senior PFLP leadership had prior

knowledge of the attack. Given the disciplined, hierarchical structure of the PFLP, it is very likely

that this suicide attack was specifically authorized in advance by the organization’s top leaders.

         26.    Additionally, since 1969 until the present day, the PFLP has published an Arabic-

language official periodical called Al-Hadaf (meaning “The Goal” or “The Target”).11 In 2002,

volumes of Al-Hadaf were usually issued at least once a month, or more frequently.


9
  The PFLP is a secular Marxist organization that operates within an overwhelmingly Muslim society. This
fact creates a tension between the secular ideology that the PFLP embraces and its practical day-to-day
behavior. The question of suicide attackers is a prominent example of that conflict. Islam categorically
forbids suicide and views it as a severe sin. Suicide is permissible only if integral to jihad in the divine
cause. Because of that fact, even the Marxist PFLP needs to invoke religious terminology to justify its use
of suicide terrorists. In the PFLP’s announcements, suicide bombers whom the organization fielded are
described as shahids (martyrs who die waging jihad), the suicide is described as istishhad (a jihadi death),
and the suicide bomber’s funeral is described as his “wedding.” To the best of my understanding, the
comparison of suicide terrorists to Che Guevara, who also died for his revolutionary Marxist cause, and the
transformation of someone considered a Marxist revolutionary into a role model, is an attempt by the PFLP
to create a secular paradigm, suitable to its philosophy, for the suicide attackers that it deploys.
10
   Because www.pflp-palestine.org was subsequently closed, the original link to the webpage for this
communiqué, http://www.pflp-palestine.org/pprf/pprf16022002.html, is no longer available. However, the
original webpage was captured and remains available on the Internet Archive, at
https://web.archive.org/web/20020306014618/http://www.pflp-palestine.org/pprf/pprf16022002.html (last
accessed Oct. 3, 2021). Included in Exhibit A is an affidavit from the Internet Archive authenticating the
origin of Exhibit A.
11
        Al-Hadaf is, and for over 50 years has been, well known as the official organ of the PFLP. I am
personally very familiar with Al Hadaf, because copies would arrive regularly at the research desk of the



                                                     9
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        27.      The February 2002 volume of Al-Hadaf contained a number of items and articles

regarding the Karnei Shomron attack. Page 9 featured pictures of two PFLP suicide attackers. One

was Fuad Khadr Abu Siriya, who committed a suicide attack in the community of Nahal Oz in

Gaza; and the other is Sadeq Abdel Hafez, the Karnei Shomron bomber. In his picture, Abdel

Hafez appears beside the PFLP logo, and the background shows an image of Abu Ali Mustafa with

a rifle beside him. The caption of the picture describes Abdel Hafez as “shahid [i.e., martyr], hero,

istishhadi [i.e., one who performs an act of martyrdom].” Abdel Hafez is also termed a “comrade,”

which is a special term of honor reserved by the PFLP for its own members.

        28.      In the same February 2002 issue of Al-Hadaf, on page 10, two messages of

congratulations from PFLP leaders to the Abdel Hafez’s family appear. One expresses




Advisor for Arab Affairs at the Civil Administration in the West Bank – a desk which I headed at that time.
The periodicals would reach my desk very soon after their date of publication, and research officers would
read and analyze them, and selected material was translated into Hebrew. Among the Israeli intelligence
and counterterrorism community, and among researchers of the Palestinian arena, Al Hadaf has constituted,
and still constitutes, a reliable and important source for monitoring and understanding the PFLP’s behavior
on the strategic and tactical levels (including its involvement in terrorist attacks). On page 116:22-23 of his
deposition on September 5, 2012, the late Abdel Rahim Malouh, a PLO Executive Committee member and
PFLP Deputy Secretary-General, confirmed that Al-Hadaf is “the magazine that speaks in the name of the
PFLP.”
         Al-Hadaf was first published in Beirut in 1969 by Ghassan Kanafani (the first editor-in-chief, and
a spokesperson for the PFLP and among its first and most senior members; he served as a member of the
PFLP Politburo alongside George Habash until his death in 1972). After the PFLP left Beirut in summer
1982, the periodical began being published in Damascus. After the death of Ghassan Kanafani, Bassam
Abu Sharif was named editor-in-chief of Al-Hadaf. He was followed in 1986 by Umar Kteish, and then by
Talal Awkal until 1994. Al-Hadaf is published even now in Damascus. See
http://info.wafa.ps/ar_page.aspx?id=5091; https://bit.ly/3kQIFHt (both last accessed Oct. 3, 2021).



                                                      10
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congratulations from George Habash, a founder of the PFLP and its leader until 2000,12 and the

other is from PFLP Secretary-General Ahmad Sa’adat.

         29.    In his telegram to Abdel Hafez’s family, George Habash lauds the suicide operation

that Abdel Hafez perpetrated, characterizes it as a “heroic and quality operation,” and describes

the bombing as an example for “forthcoming heroic action.”

         30.    In his congratulatory message to Abdel Hafez’s parents, Ahmad Sa’adat, the PFLP

Secretary-General, praised Abdel Hafez’s heroism and courage, and described him as a “knight”

and a “vanguard comrade.”13

         31.    Coming from the legendary founder and historical leader of the PFLP (Habash),

and its serving Secretary-General (Sa’adat), expressions of congratulations to a terrorist’s family

regarding a terror attack (a gesture substituting for condolences) is no everyday occurrence. The

presentation of such congratulations and the reference to Abdel Hafez using PFLP/Marxist

terminology as “vanguard comrade” in the PFLP’s main organ, a political publication par

excellence distributed and read primarily among the organization’s leaders, operatives and

supporters, can leave no reasonable doubt that the Karnei Shomron bombing was executed by the

PFLP.




12
   George Habash retired as head of the PFLP in 2000 for reasons of health, and in 2002 when he sent the
telegram of congratulations to Sadeq Abdel Hafez’s parents, he was already very ill. The fact that he sent a
personal congratulatory telegram to Abdel Hafez’s parents despite his illness evidences the great
importance that the PFLP leadership attached to this attack.
13
  The terms “vanguard” and “vanguard corps” were developed by Lenin, portraying the Marxist revolution
as to be led by a small advance guard that would acquire many followers. Those terms, in the sense of
advancing ahead of the main force, are very common in Marxist terminology and the Palestinian
Communist Party’s newspaper is named A-Tali’ah, meaning “The Vanguard.” As noted above, the name
“comrade” is a special honorific the PFLP uses for its members.



                                                    11
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         32.    Additionally, a large color memorial portrait of Sadeq Abdel Hafez appears on page

51 of the same issue of Al-Hadaf. At the top of the portrait, on both sides, is the PFLP logo.

Between the two instances of the logo is the sentence “The Popular Front for the Liberation of

Palestine escorts its heroic self-sacrificing martyr Sadeq Ahed Abdel Hafez [to his celestial

wedding].” In the center of the image, Abdel Hafez is shown holding a weapon, and at the bottom

is the caption: “Hero of the Karnei Shomron martyrdom operation.”

         Attached hereto as Exhibits B-D are true copies of the items described above from pages

9, 10 and 51 of the February 2002 edition of Al Hadaf, along with English translations.14

         33.    Subsequently, the PFLP posted on its website, in a memorial section for deceased

PFLP operatives titled Khalidin (meaning the “immortals”), a memorial page for Abdel Hafez.15

On that memorial page Abdel Hafez is again termed “comrade,” and his background in the PFLP’s

student organization (“the Union of Secondary Student Committees”) is mentioned.16 Attached

hereto as Exhibit E is a true copy of the aforementioned memorial page for Abdel Hafez published

by the PFLP on its official website, along with an English translation.

         34.    Sadeq Abdel Hafez remains a hero of the PFLP. For example, as announced on the

PFLP’s website on February 17, 2014, the PFLP held a memorial ceremony for Abdel Hafez in



14
  This and many other volumes of Al Hadaf are available for copying in Israel’s National Library, in
Jerusalem, which contains, among many other important items, a very large collection of Arabic-language
materials, including Arabic-language newspapers and periodicals from throughout the world. See
https://web.nli.org.il/sites/NLI/English/collections/Islam-Middle-Eastern/journals/Pages/press.aspx (last
accessed Oct. 3, 2021).
15
  http://www.pflp.ps/khaldeen.php?id=1058. This article was later moved to and now appears on the
website of the PFLP’s “Abu Ali Mustafa Brigades,” at www.abuali.ps/shahid/194 (last accessed Oct. 3,
2021).
16
   For activities of this PFLP student group see, e.g., www.maannews.net/news/102475.html; and
https://www.facebook.com/ethadaltalabeh (both last accessed Oct. 3, 2021).


                                                   12
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Qalqilya, to mark the 12th anniversary of the bombing. The announcement describes Abdel Hafez

as a “son” (meaning a dedicated member) of the PFLP, and states that a PFLP representative spoke

at the memorial ceremony about Abdel Hafez’s “life and exploits.”17 Attached hereto as Exhibit

F, is a true copy of the February 17, 2014 announcement, along with an English translation.

         35.     Further confirmation that the PFLP executed the Karnei Shomron bombing (not

that any is needed) was provided in 2016 by a senior PFLP official, Allam Kaabi, who is a member

of the PFLP Central Committee and head of the PFLP’s Prisoner Committee in Gaza.18 After the

start of the Second Intifada in 2000, Kaabi became a leader of the Nablus cell of the PFLP’s armed

wing, and was involved in many terrorist attacks during that period. In an interview with the Al-

Aqsa television network on November 17, 2015, regarding his terrorist activities in the PFLP’s

Nablus cell during the years prior to his 2003 arrest, Kaabi explained that he personally

“participated in about 99% of the operations and commanded about 90% of the operations

that we had carried out.”19


17
   See: https://pflp.ps/post/7517/φϓΎΤϟ΍-ΪΒϋ-ϕΩΎλ-ΪϴϬθϟ΍-ϞτΒϟ΍-ϱΩΎϬθΘγϻ΍-ϯήϛΫ-ϲΤΗ-ΔϴϠϴϘϠϘΑ-ΔϴΒόθϟ΍. Also available
at https://bit.ly/34XES4W (both last accessed Oct. 3, 2021).
18
     See https://english.pflp.ps/2015/11/06/pflp-in-gaza-holds-symbolic-popular-trial-of-us-britain-and-
israel-for-crimes-against-palestine/ (Kaabi is a “member of the Central Committee of the Front.”);
https://english.pflp.ps/2016/10/25/gaza-protesters-burn-portraits-of-hollande-obama-netanyahu-demand-
freedom-for-georges-abdallah/ (Kaabi is the “leader of the Front’s Prisoners Commission in the Gaza
Strip.”);     https://english.pflp.ps/2017/01/05/gaza-press-conference-urges-action-support-for-prisoners-
struggle/ (same) (all last accessed Oct. 16, 2020). Since 2011, Kaabi has frequently appeared as a PFLP
spokesperson at press conferences, in radio and television interviews, and in other electronic media and
public events.
19
          This           November            2015          interview          is         available         at
https://www.facebook.com/aneen.network1/videos/1022821684406552/ (last accessed Oct. 3, 2021).
Similarly, in reporting on Kaabi’s arrest on April 28, 2003, the UN Division for Palestinian Rights described
Kaabi as “head of the Abu Ali Mustafa Brigades, the PFLP armed wing.” See
https://unispal.un.org/DPA/DPR/unispal.nsf/0/12F83A206118AB1385256D790063D5DC (entry for April
28, 2003) (last accessed Oct. 3, 2021).


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         36.    In a video interview with Kaabi published by the PFLP on its Facebook page in

December 2016, Kaabi confirmed that the PFLP carried out the Karnei Shomron bombing.

Specifically, Kaabi explained that the bombing was a joint operation involving the PFLP’s terrorist

cell in Nablus (which Kaabi commanded), and the late Ra’ed Nazal (a/k/a Ra’ed Madi), who was

then the head of the PFLP in Qalqilya (and a Captain in the PA’s security forces).20 Attached hereto

as Exhibit G is an English translation of the December 2016 Kaabi interview.21

         37.    Thus, from the very day of the bombing and on, the PFLP has repeatedly,

consistently and publicly confirmed over the past 18-plus years – on its official websites, in its

official periodical, and in a statement by a senior PFLP official – that it executed the February 16,

2002 bombing at Karnei Shomron. In my professional opinion and experience there is no

reasonable basis to doubt these cumulative statements, for the following reasons:

         38.    In the first place, it is fact very rare for a Palestinian terror organization to claim

“credit” for a terror attack it did not commit. Competing claims of credit between Palestinian

groups are rare.22 False claims of credit can easily be exposed (e.g., by the actual perpetrators),

which would result in serious a loss of credibility for the organization in the eyes of the Palestinian


20
  Kaabi was tried for various terrorist crimes, pled guilty, and was sentenced on May 10, 2005, to nine life
terms plus 15 years in Case No. 6646/03, Military Prosecutor v. Kaabi (Samaria Military Court). In October
2011, Kaabi was released and sent to the Gaza Strip, as part of a prisoner exchange.
21
  A copy of the Arabic-language video recording of the Allam Kaabi interview is currently available for
viewing at https://www.youtube.com/watch?v=yGMYrqDMNOU&feature=youtu.be. Kaabi discusses the
Karnei Shomron attack from 23:20 to 23:50. The Declaration of Yaniv Berman attached to Exhibit G
provides the original URL for the video recording of the Kaabi interview.
22
  During the Second Intifada (roughly 2000-2005) the various Palestinian terror groups sometimes jointly
carried out terrorist attacks; in those cases, typically, each participating organization would issue its own
public statement confirming its involvement. Thus, on occasion, two groups “claimed responsibility” for
the same attack – not due to a mistake or an attempt to “grab credit,” but rather because both groups did
participate in the execution of the attack.



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public and the world, as well as friction with the group that actually carried out the attack. The

PFLP, which has always prided itself on transparency, honesty and credibility (as compared, e.g.,

to the Fatah faction), would be particularly careful to avoid such a situation.

        39.     Second, much of the Palestinian population in the West Bank lives within a fairly

small geographical area (Qalqilya, for example, is only 9.9 square miles) and is strongly based on

extended families and clans. Personal anonymity, even in an urban neighborhood, is effectively

nonexistent, and privacy regarding matters occurring outside of the home – such as political

activities or organizational involvement – is very limited. Significant information about an

individual is commonly known to members of the public in the vicinity of his or her home or

workplace, and much more information is certainly known to fellow members of the extended

family or clan (which can number many hundreds or even thousands of family members living in

a single locale).

        40.     Therefore, if a terror organization falsely claims that the known perpetrator of a

terrorist attack (such as Sadeq Abdel Hafez in this case) was a member of the organization (here,

the PFLP), the falsehood is quickly and easily exposed in the Palestinian public and the damage to

the organization’s long-term credibility far outweighs any advantage gained from the short-lived

assumption of credit — sometimes dispelled within hours — for this or that terror attack. Simply

put, because the PFLP greatly values its reputation for credibility in the eyes of the Palestinian

public, it is extremely unlikely that the PFLP would risk almost certain harm to its reputation by

repeatedly stating in public that Sadeq Abdel Hafez was a member of the PFLP, if he was not.

        41.     Furthermore, terrorist attacks against Israeli targets carry the very real danger of a

harsh Israeli response against the leadership and operatives of the organization involved. The

release, by an organization, of a statement of responsibility for a terror attack, and the timing of



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that claim, are affected by operational and strategic considerations. The terror organizations

consider, among other things, the danger from the exposure — as soon as the perpetrators’

affiliation is published — of the members of the cell, their accomplices, and their families. They

realize that when they publish a claim of responsibility, they could cause harm by exposing their

methods of operation. The timing of publication is sensitive in itself, and could cause harm to the

organization’s plans for future actions or for ongoing activity. As soon as Israeli intelligence and

law enforcement agencies understand that a particular terror organization perpetrated an attack,

deterrent activity is focused against the organization’s operatives at all levels to the point of

threatening to paralyze its operations, whether in a limited zone or in the entire area. For all these

reasons, Palestinian terror groups do not lightly admit to carrying out such attacks.

         42.    Because of the factors enumerated above, a public statement of responsibility for

an attack, in the official periodical or website of an established, disciplined and hierarchical terror

organization such as the PFLP, or by a senior official of the organization (here – Allam Kaabi23),

is very credible (and is considered as such by the Israeli intelligence services and other

professionals, researchers and academics who follow Palestinian affairs), since such publication



23
         Kaabi was not charged with the Karnei Shomron bombing, was not pardoned for any crimes as
part of his release, and there is nothing preventing Israeli law enforcement from charging him for the Karnei
Shomron bombing. He thus took a great risk by publicly making this statement tying the Nablus cell under
his command to the Karnei Shomron bombing, especially since he does not want to return to prison: in an
interview published on the PFLP’s website on October 20, 2011, Kaabi complained about having to remain
in Gaza, but said that it was “a better choice than remaining in prison.” See
https://web.archive.org/web/20111024073523/https://pflp.ps/viewnews.aspx?id=634546965087404271
(last accessed Oct. 3, 2021).
        At the request of the plaintiffs’ counsel, during the month of September 2021, I attempted several
times to obtain contact information for Kaabi in the Gaza Strip, such as a phone number or email address.
To that end I called several PFLP offices and officials (without of course revealing my identity or the
purpose of the inquiry), but I was unable to obtain contact information for Kaabi.



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indicates that the organization’s headquarters has approved the statement. An organization’s

headquarters approves such a statement only after confirming that its own operatives, generally

with prior approval from headquarters, perpetrated the attack — particularly when the

organization's command structure is a disciplined hierarchy, as in the PFLP.

         43.    I also note that I have been unable to locate any claim of responsibility for the

bombing in Karnei Shomron on February 16, 2002, by any group other than the PFLP.


VI.      The Investigation Found That the PFLP Executed The Bombing

         44.    As explained in the attached Declaration of Itzhak Ilan, dated September 14, 2020,

the Israeli government agency responsible for preventing and investigating terrorist attacks in

Israel and the West Bank is the Israel Security Agency (“ISA”), which in 2007 issued a report

titled Suicide Terrorists in the Current Conflict September 2000 – September 2007 (“2007

ISA Report”). A copy of the English-language translation of the 2007 ISA Report, attached to the

Declaration of Itzhak Ilan, is attached hereto as Exhibit H.

         45.    In respect to the bombing in Karnei Shomron on February 16, 2002, the 2007 ISA

Report found (among other things24) that: “The attack was planned and executed by the PFLP




24
   The 2007 ISA Report also states that the PFLP “claimed responsibility for the attack.” While this might
appear at first glance to be mere repetition of public information, it is not. As discussed by Mr. Ilan in his
Declaration, and as I know personally from my own familiarity (discussed below) with the 2007 ISA Report
and many similar ISA reports, the findings stated in the 2007 ISA Report reflect the conclusions reached
by the ISA through its own independent investigations, and the ISA is extremely concerned to ensure that
its conclusions are accurate. Therefore, in my professional experience and opinion, the ISA would not have
stated that the PFLP took responsibility for the attack, if it was not convinced that the PFLP – as an
organization – had formally and officially confirmed its involvement in the attack.




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military network in Qalqilya, under the direction of Raad Madi, in collaboration with the PFLP

network in Nablus, headed by Ahad Oulma.” Id. at p. 59.25

         46.    In my opinion, this conclusion is extremely reliable for several interrelated reasons:

         47.    First, these findings, i.e. that the February 16, 2002, Karnei Shomron bombing “was

planned and executed by the PFLP military network in Qalqilya, under the direction of Raad

Madi, in collaboration with the PFLP network in Nablus, headed by Ahad Oulma,” are highly

specific and detailed, and are clearly findings resulting from the ISA’s independent investigation.

         48.    Second, the fact that the ISA’s conclusion regarding the PFLP’s involvement was

published some six years after the attack indicates that during the intervening years, the ISA found

no evidence linking an organization other than the PFLP to the attack, or otherwise indicating that

the PFLP was not involved.

         49.    Third, in my capacity as head of the Department of Palestinian Affairs at COGAT,

I received the reports and surveys of the Israel Security Agency, even at the highest level of

classification (top secret – sensitive). The unclassified 2007 ISA Report reached my office as well,

and I am familiar with it from my term as head of the Department for Palestinian Affairs. I was in

daily contact with the ISA’s research department, and I served on special-purpose teams which

worked with the ISA in various fields. In my professional experience, the factual findings and

conclusions contained in ISA reports and surveys, such as the 2007 ISA Report, are highly reliable

and are the fruit of professional, painstaking and conscientious intelligence and investigative work.




25
         As noted above, Ra’ed Madi (here transliterated as “Raad”) is Ra’ed Nazal. I also note that in the
English translation of the 2007 ISA Report, the Arabic name “Sadeq Abdel Hafez” is transliterated
(somewhat un-phonetically) as “Zadek Abd al-Hafat.” I have checked the original Hebrew version of the
Report, which more accurately transliterates the Arabic as “Sadeq Abdel Hafez.” Finally, the name
transliterated here as Ahad Oulma, is more accurately transliterated as Ahed Gholmeh.


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VII.     The Bombing Conformed To the Policy Set By Defendants for Their Security Forces

         50.    As discussed above, the mastermind of the February 16, 2002, bombing was Ra’ed

Nazal-Madi (“Nazal”), who was simultaneously the head of the PFLP in Qalqilya (both the

political and terrorist wings), and a Captain in the PA’s security forces.

         51.    In my professional opinion, Nazal’s involvement in the bombing conformed to the

official policy of violence and terrorism that the defendants, led by Yasser Arafat, set for the

Palestinian security forces during the period of the Second Intifada (2000-2004). This conclusion

has three separate but related factual bases, as set forth below.

         a. Official Security Forces Publications Supported Terrorism

         52.    The defendants operate an official agency, known as the “Political Guidance

Apparatus,” which is responsible for the education and ideological indoctrination of, and the

inculcation of values into, the members of the PA’s security and police forces. The Political

Guidance Apparatus accomplishes this task primarily by publishing newspapers, magazines and

journals (including al-Shurta, al-Shuhadaa, Watani, Humat-Al-Areen) – that are directed at, and

distributed among, the ranks of the PA’s security and police forces.

         53.    During the Second Intifada (and commencing shortly beforehand), these

publications consistently and repeatedly contained extremely virulent incitement to violence and

terrorism against Jewish and Israeli targets, depicted Israelis and Jews as illegitimate, and preached

literal self-sacrifice (i.e. kamikaze behavior) (istishhad).26


26
   See, e.g., al-Shurta, August 2000, Volume 35, page 16 (“We have learned that the Zionist enemy
understands nothing but the language of force, we have learned this through the confrontations of the
Palestinian revolution, which is the praiseworthy intifada, and through the sacrifices of our leaders Abu
Jihad and Abu Iyad and others. We are the people of a hundred thousand martyrs and a hundred thousand
prisoners and a hundred thousand wounded. We shall continue the way of the martyrs and protect our state,



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         54.    As the word “Guidance” in its name suggests, the very raison d’être of the

defendants’ Political Guidance Apparatus is to ensure that officers and enlisted men in the

Palestinian security forces – such as Ra’ed Nazal – understand, follow and implement the

official policies of the PA and PLO leadership. Given the content of the publications issued by

the Political Guidance Apparatus in the years preceding the bombing it is clear that in carrying out

the Karnei Shomron bombing, Ra’ed Nazal was carrying out the policies of the defendants.

         b. Hundreds of Security Forces Personnel Were Involved in Terrorism

         55.    The conclusion that the defendants approved of the participation of their security

forces personnel in terrorism is also strongly supported by the huge numbers of such personnel

who were killed while carrying out terrorist attacks or imprisoned for such activities.

         56.    A report issued by the ISA in 2004 found that hundreds of PA security personnel

had been involved in terrorism.27 Likewise, Muhammad Dahlan, head of the Palestinian Preventive

Security Services from 1999 until 2002 and Palestinian Minister of State Security from April until

September 2003, has stated during a June 16, 2007 broadcast on Al-Arabiya TV that: “Forty

percent of the Martyrs in this Intifada belonged to the Palestinian security forces.” And on June



Jerusalem is ours.”). See also e.g. SHATSKY-006844 (suggesting Palestinians should devise ways to kill
more Israelis and fewer Palestinians); Id. at SHATSKY-006845 (saluting “devoted martyrs”); SHATSKY-
006881 (Palestinians engaging in the Intifada are not terrorists, but the “dirty [international] alliance”
purporting to combat terrorism are hypocrites); SHATSKY-007702-03 (“[Our leadership’s position must
also be] that all efforts by Palestinian forces should be turned towards inflaming the popular Intifada until
the image of the infamous child who challenges Israeli tanks with stones appears…”); SHATSKY-006978
(“From the Land of Palestine, we say to our mothers: ‘The mother that ululates in her sons’ martyrdom
procession will ululate at the eternal gates of Heaven.’”).
27
   See Summary of Four Years of Confrontation – Data and Trends in Terrorism, [Hebrew]
https://www.shabak.gov.il/SiteCollectionImages/%D7%A1%D7%A7%D7%99%D7%A8%D7%95%D7
%AA%20%D7%95%D7%A4%D7%A8%D7%A1%D7%95%D7%9E%D7%99%D7%9D/terror-
summary-4years-new.pdf at 30-31 (last accessed on Oct. 3, 2021).




                                                     20
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29, 2009, Ashraf Al-Ajrami, former PA Minister of Prisoners, stated on PA TV that the Palestinian

Authority security forces “paid the heavy price in the second Intifada, both as martyrs Shahids and

as prisoners. The largest number of prisoners are from the security forces. They are the ones who

bore arms and carried out the greatest and most important operations.”

          57.     If the involvement of the Palestinian security forces in terrorism during the Second

Intifada had not been an approved policy of the defendants, the defendants would have put an early

stop to it. The fact that hundreds of such men were killed or imprisoned, over a period of several

years, as a result of their participation in terrorism, can only be the result of a policy officially

approved by the defendants’ top leadership.

          c. Defendants Knew In “Real Time” That Ra’ed Nazal Was Engaged in Terrorism

          58.     The PA, which was monitoring Nazal, was well aware that he was the head of the

Popular Front in the Qalqilya area, and that he was continuing to take part in terrorist activity, but

the PA continued to employ him and to view him in a positive light.28

          59.     Indeed, a report in Nazal’s PA intelligence file, states that “Raed Nazal belongs to

the military arm of the Popular Front and there are no security-related suspicions against

him.”29 Thus, in the same breath, the PA acknowledged that Captain Nazal was a terrorist, but

expressly stated that there were “no security-related suspicions against him.” This, too, makes it



28
  See defendants’ Bates No. 07000189, dated February 8, 2002, which expressly states as follows: “Raed
Nazal, who is affiliated with the Popular Front and is a member of the Popular Front Central Committee, a
fellow traveler of Abu Ali Mustafa and in charge of the military arm of the Popular Front in Qalqilya, is
employed with the rank of naqib (Captain).” The report goes on to state that the person in question “is a
member of the Popular Front and is armed,” and that “the person in question is wanted by the authorities
of the occupation” – in other words, that he is active in terrorism.
29
     See defendants’ Bates No. 07:000178




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               EXHIBIT A
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA


SHABTAI SCOTT SHATSKY, et al.,

                                      Plaintiffs,

                          -against-                             Civil Action No. 08-496 (RJL)

THE SYRIAN ARAB REPUBLIC, et al.,

                                      Defendants.



                            DECLARATION OF YANIV BERMAN

       I, Yaniv Berman, declare pursuant to 28 U.S.C. §1746, as follows:

       1.      I am a professional translator with an M.A. degree in Middle Eastern Studies from

the Hebrew University of Jerusalem (Israel). I read and understand Arabic and English fluently,

and I am capable of translating accurately from Arabic to English.

       2.      The English-language document attached hereto captioned “The Popular Front

for the Liberation of Palestine - Struggle Communiqués” is a full and accurate translation of

the Arabic-language document which follows it.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



October 16, 2020
                                                           ______________________
                                                                Yaniv Berman
10/16/2020                 The Popular Front for the Liberation
          Case 1:18-cv-12355-MKV-DCF        Document   136-11 of   Palestine
                                                                Filed        - Struggle
                                                                      10/05/21          Communiqués
                                                                                  Page 26 of 245
http://www.pflp-palestine.org/pprf/pprf16022002.html                           MAR
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                                                                                2002




                                                                                              Home

                A communiqué issued by the Abu Ali Mustafa Brigades,                          Know the Front
           the armed wing of the Popular Front for the Liberation of Palestine
          O, martyr, you did not hesitate when the homeland called on you, and did not        Media Statements
          fear the enemy's bullets, or to be shrouded in a coffin.
                                                                                              Struggle Communiqués
          The Abu Ali Mustafa Brigades, the armed wing of the Popular Front for the
          Liberation of Palestine, are delighted to take credit for the heroic operation in   Popular Communiqués
          the Karnei Shomron settlement, carried out by one of their men, the first
                                                                                              Leaders
          Guevarian hero martyr, member of the Abu Ali Mustafa Brigades, which
          resulted in the death and injury of dozens of ragtag settlers                       Posters

          Martyr Sadeq Ahed Abd al-Hafez                                                      Immortals List
          Son of steadfast Qalqilya, who insisted on detonating himself and turning his
                                                                                              Articles
          body into fire that would burn the enemies. This suicide operation was a
          reaction to the chain of criminal assassinations and to Sharon's terroristic        Front's Activities
          policy. It proved our insistence to continue the struggle, using all means and
          striking in all places, until we liberate Palestine and sweep away the              Contact
          occupation. We warn Sharon, the criminal, that there will be dozens of
          Guevarian suicide bombers. Wait and you shall see.
          The enemies thought us to be sticks broken when trod upon, but we are sticks
          that explode time and again when oppressed. To honor our martyr hero, we
          announce the formation of a military group carrying the name of the hero
          martyr Sadeq Abd al-Hafez.
          Glory and immortality to our righteous martyrs, shame and disgrace on
          collaborators and defeatists. No doubt, we shall be victorious.
                             The Abu Ali Mustafa Brigades
                The armed wing of the Popular Front for the Liberation of Palestine
                                                                          2/16/2002




 https://web.archive.org/web/20020306014618/http://www.pflp-palestine.org:80/pprf/pprf16022002.html
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             ϦϔϜϟ΍ ϑΎϔϟ ϻϭ ϱΩΎϋϷ΍ ιΎλέ ϰθΨϳ ϻ                             ϦρϮϟ΍ ϩ΍ΩΎϧ ϦϴΣ ΩΩήΗ Ύϣ ˱ ΍ΪϴϬη Ύϳ
         ΔϴΒόθϟ΍ ΔϬΒΠϠϟ ϱήϜδόϟ΍ ΡΎϨΠϟ΍ / ϰϔτμϣ ϲϠϋ ϮΑ΃ ΪϴϬθϟ΍ ΐ΋ΎΘϛ ϢϜϴϟ· ϑΰΗ
         ΪΣ΃ ΎϬΑ ϡΎϗ ϲΘϟ΍ ΔϴϟϮτΒϟ΍ ΔϴϠϤόϟ΍ Ϧϋ ΎϬΘϴϟϭΆδϤϟ ΎϬϧϼϋ· ϯήθΑ ϦϴτδϠϓ ήϳήΤΘϟ
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         ϊϴϤΟ ϰϠϋϭ ϪϟΎϜη΃ ΔϓΎϜΑ ΡΎϔϜϟ΍ ΔϠλ΍Ϯϣ ϰϠϋ ΎϨϣ ˱ ΍έ΍ήλ·ϭ ˬ ΔϴΑΎϫέϹ΍ ϥϭέΎη ΔγΎϴγ
         ϙΎϨϫ ϥ΃ ϥϭέΎη ϡήΠϤϟ΍ ήθΒϧϭ ΎϤϛ ˬ ϝϼΘΣϻ΍ βϨϛϭ ϦϴτδϠϓ ήϳήΤΗ ϰΘΣ ΓΪόλϷ΍
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                          ϏřĵĭŨ ϐťļ λĂõ ĜŻűĩŤÿ ĄüĀĉŠ Ůļ ğěĀĬ ūĀŻĂ
                         ÜĵĥťŘ ĠźĠĕĉŤ ĆŻăĽĩŤÿ ĆűăđťŤ ŹĠšĥĽŤÿ ΊĀŭđŤÿ

             çų ŹěĀļãÿ īĀĬğ Ϗĩęź ç     ŮĴλŤÿ ůÿěĀŬ ÜĔ ěěĠĈ ĀŨ H ÿĜŻűĨ Āź
                                  ŮřšŤÿ ŗĀřŤ

            ÷ŢôĂŖŕ ŪđŒĖĮŕð ĄñŞĂŕð  ·ŊĦĞř ΈŖĭ ťóæ čŬŢĚŕð õíñúő śŒŬŕê ňēù
            Řñō Έúŕð ÷ŬŕťĦôŕð ÷ŬŖŚĮŕð şĭ ñŢúŬŕŤéĖÍ ñŢŝÛĭê ŦđĚó ÏĦĖŖŉ đūđĆúŕ ÷ŬôĮĚŕð
            ΈŖĭ ťóæ čŬŢĚŕð õíñúő şóð 7 ŔŤÖð ŪĐñŊŬĂŕð ŗĦôŕð čŬŢĚŕð ñšđĝñŞĭ čąæ ñŢó
            øðđĚĮŕð ÷óñĝêŤ ŗúō şĭ øđŊĕæ ΈúŕðŤ ŜŤđŚę ΈŝĐñő ÷ŞĥťúĖř Έŉ ·ŊĦĞř
                                                                 ÏŞĥťúĖÍð ĬñĭĐ şř

                            ĺŘĀĕŤÿ Ĝăļ ĜŰĀļ ΪěĀĬ ĜŻűĩŤÿ
          ͯ ñôŢŕ ţíÛęæ şř ŗĮĂūŤ ţĖŊŝ đĂŊū Ŝæ Úê ·óæ Ūďŕð ČťŚĞŕð ÷ŬŖŬŎŖō şóð
            øÚñŬúıÚð ŗĖŖĖř ·Ŗĭ ͯ ðČĐ ÷ūČñŢĚúĕÚð ÷ŬŖŚĮŕð Šďš ΈùçùŤ 7 ãðčĭÖð ŌđĆū
            ĄñŊŒŕð ÷Ŗĝðťř ·Ŗĭ ñŞř ͯ ðĐðđĝêŤ 7 ÷ŬóñšĐØð ŜŤĐñę ÷ĕñŬĕ ·ŖĭŤ ÷ŬřðđāØð
            ñŚő 7 ŔÛúąÚð ėŞőŤ ÏĦĖŖŉ đūđĆù ·úą öčĮĝÖð ΝŬŚā ·ŖĭŤ ţŕñŒęæ ÷ŉñŒó
         ͯ ðčı ŜæŤ 7 ÏūČñŢĚúĕÚð ÏūĐñŊŬĂŕð şř øðđĚĮŕð ŐñŞš Ŝæ ŜŤĐñę ŘđĂÍð đĚôŝŤ
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            đĂŊúù øđŢō ðĎê ŜðčŬĭ şĆŝ 7 đĖŒúù ûĖūČ ðĎê ŜðčŬĭ ñŞŝæ ãðčĭÖð şĩ čŎŕ
            ÷ūđŒĖĭ ÷ĭťŚĂř şūťŒù şĭ şŖĮŝ 7 ŗĦôŕð ñŝčŬŢĚŕ ñŞř ͯ ñŚūđŒùŤ  đĂŊúù đĂŊúù
                                           īŉñĆŕð čôĭ ŌČñĝ ŗĦôŕð čŬŢĚŕð śĕð ŗŚĆù

                   òèũĽťŤ ğĀĽŤÿų ŹĢęŤÿų 5 ğÿĠĂãÿ ĀŭüÿĜűĨ ŦšŤ ěλťęŤÿų ĜđÚÿ
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                EXHIBIT B
  Case 1:18-cv-12355-MKV-DCF Document 136-11 Filed 10/05/21 Page 36 of 245




UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA


SHABTAI SCOTT SHATSKY, et al.,

                                      Plaintiffs,

                          -against-                             Civil Action No. 08-496 (RJL)

THE SYRIAN ARAB REPUBLIC, et al.,

                                      Defendants.



                            DECLARATION OF YANIV BERMAN

       I, Yaniv Berman, declare pursuant to 28 U.S.C. §1746, as follows:

       1.      I am a professional translator with an M.A. degree in Middle Eastern Studies from

the Hebrew University of Jerusalem (Israel). I read and understand Arabic and English fluently,

and I am capable of translating accurately from Arabic to English.

       2.      The English-language document attached hereto on which appears the caption

“They Open the Gate of the Sun With Their Blood” is a full and accurate translation of the

Arabic-language document which follows it.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



October 16, 2020
                                                           ______________________
                                                                Yaniv Berman
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                                                                   of 8



  SHATSKY-000931 T



                                                                                We swear we’ll turn the earth
                                                              The Martyr,
                                                              National Leader   of Gaza into fire, and burn the
                                                              Abu Ali Mustafa   legs of the Zionist conquerors
                                                                                above it.




                                                           The istishhadi [one who performs an act of
                                                           martyrdom] - Fuad Khadr Abu Sariya

                                                           Member of the Martyr Abu Ali Mustafa Brigades
      The shahid [martyr], hero, istishhadi [one who       Executer of the Amaliya Istishhadiya [Act of
                                                           Martyrdom] in the Nahal Oz Settlement.
      performs an act of martyrdom]

      Comrade Sadeq Ahed Abd al-Hafez

  They Open the Gate of the Sun With Their Blood
  It is no longer possible to live among the checkpoints, the showers of bullets, the
  shells falling upon the children's rooms, and the rockets that caw like ravens in the
  sky above. It has become futile to grumble or curse vehemently, for it is nothing more
  than letting off steam, blown away by the wind thereafter. This is the reason young
  men are exploding - truly out of anger and desire for salvation. Body parts scatter all
  around, and the blood spills red like anemones, so that Palestine will shine in its
  spring and the smoke of their tanks will dissipate, the darkness of their conquest be
  lifted, and thus the sun of our freedom will rise.
  Sadeq Abd al-Hafez, you did not have more than the famished. Have all the worries
  of the world settled in you until you exploded among them? You were truly honest 1 in
  your faith in the freedom of the people, and in the desire for a little piece of bread that
  is not immersed in disgrace or in the blood of people.
  Blessed be you, O Istishhadiyun [those who perform acts of martyrdom]; Blessed be
  you, O heroes; Blessed be you, the living. 2




  1
    Translator's note: the Arabic word for 'honest' is Sadeq, which is the name of the “martyr”,
  Sadeq Abd al-Hafez.
  2
    Translator's note: Palestinian martyrs are sometimes referred to as “living martyrs”, as they
  live on in the memories of the people.


  Al-Hadaf / Palestine – Eighth Year, Eighth Issue, February 2002 (page 9)
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               EXHIBIT C
  Case 1:18-cv-12355-MKV-DCF Document 136-11 Filed 10/05/21 Page 40 of 245




UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA


SHABTAI SCOTT SHATSKY, et al.,

                                      Plaintiffs,

                          -against-                             Civil Action No. 08-496 (RJL)

THE SYRIAN ARAB REPUBLIC, et al.,

                                      Defendants.



                            DECLARATION OF YANIV BERMAN

       I, Yaniv Berman, declare pursuant to 28 U.S.C. §1746, as follows:

       1.      I am a professional translator with an M.A. degree in Middle Eastern Studies from

the Hebrew University of Jerusalem (Israel). I read and understand Arabic and English fluently,

and I am capable of translating accurately from Arabic to English.

       2.      The English-language document attached hereto captioned “The Founding

Comrade Greets the Family of the Shahid [Martyr] Sadeq Ahed” is a full and accurate

translation of the two items on the lower half of the Arabic-language document which follows it.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



October 16, 2020
                                                           ______________________
                                                                Yaniv Berman
Case Case 1:02-cv-02280-RJL Document
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                                                            Page3 of
                                                                  416of 245




 SHATSKY-002946-T (continued)
 Your brother George Habash
 Founder of the PFLP
 and his wife Hilda Habash.
 --------------------------------------
 The Founding Comrade Greets the Family of the Shahid [Martyr] Sadeq Ahed
 The founding comrade, Dr. George Habash, sent a telegram to the family of the heroic
 shahid [martyr] Sadeq Ahed, in which he greeted the shahid and his family and wrote:
 “The heroic and quality operation, committed by the heroic shahid, came in defense of
 the rights and as a result of the destruction, death and assassination from which our
 people suffers”.
 Habash added: “The heroic shahid [martyr] gave a good and instructive example of the
 heroic resistance path, and an example of how to restore the Palestinian dignity. The
 heroic act executed by the Shahid Sadeq will remain eternal and will set an example for
 the forthcoming heroic actions in the path leading to liberation”.
 And Greeted the Family of the Shahida [female martyr] Wafa Idris
 Habash also greeted the family of the shahida [female martyr] Wafa Idris and wrote: “I
 am sending you words of greeting and not words of condolences for the great honor that
 your daughter has received. The shahida gave us life and her name will remain eternal
 thanks to her heroic act of martyrdom. She was as she wanted to be – loyal to her
 homeland and to her people and she set an example for the fighting Palestinian woman,
 side by side with the Shahidat [female martyrs] Dalal al-Maghrabi, Raja Abu Amasha,
 Lina al-Nablusi, Taghrid al-Batma and Sanaa Muhidly


 The Comrade Secretary General Greets the Family of the Istishhadi – the Comrade
 Sadeq ‘Ahed
 Comrade Ahmed Sa’adat sent a telegram to the family of the istishhadi [one who
 performs an act of martyrdom] Sadeq Ahed, the hero of the Karnei Shomrom operation,
 and wrote: “With all pride, I, my comrades in the bases and leadership of the PFLP and
 all the national Palestinians and Arabs, received the news, according to which your son,
 the knight, infiltrated into the Karnei Shomron settlement. In doing so, he implemented
 the values and the role of the vanguard comrade, who leads the columns and takes the
 initiative”.



 Al-Hadaf – Palestine – First Year – Eighth Issue, February 2002.
Case Case 1:02-cv-02280-RJL Document
     1:18-cv-12355-MKV-DCF  Document260-6
                                     136-11Filed 11/13/13
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 SHATSKY-002946-T (continued)
 The comrade secretary general emphasized in his telegram how proud he was of the
 comrade shahid [martyr], and of his promise and of all the shuhada [martyrs] who were
 committed to the way of the resistance and the Intifada, and adhered to all the eternal
 values and meanings that his pure blood was spilled for”.
 The comrade concluded his telegram by saying: “I hold the hands of all of you. I express
 my condolences and I promise to the shahid [martyr] to continue in the path.”
 And Greets the Family of the Shahid Majed Abu Sa’ada
 The comrade greeted also the family of the Shahid [martyr] Majed Abu Sa’ada and
 repeated his promise to continue marching for free Palestine, which requires many
 sacrifices.




 Al-Hadaf – Palestine – First Year – Eighth Issue, February 2002.
Case 1:18-cv-12355-MKV-DCF Document 136-11 Filed 10/05/21 Page 43 of 245
     Case 1:02-cv-02280-RJL Document 260-6 Filed 11/13/13 Page 6 of 6
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               EXHIBIT D
  Case 1:18-cv-12355-MKV-DCF Document 136-11 Filed 10/05/21 Page 45 of 245




UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA


SHABTAI SCOTT SHATSKY, et al.,

                                      Plaintiffs,

                          -against-                             Civil Action No. 08-496 (RJL)

THE SYRIAN ARAB REPUBLIC, et al.,

                                      Defendants.



                            DECLARATION OF YANIV BERMAN

       I, Yaniv Berman, declare pursuant to 28 U.S.C. §1746, as follows:

       1.      I am a professional translator with an M.A. degree in Middle Eastern Studies from

the Hebrew University of Jerusalem (Israel). I read and understand Arabic and English fluently,

and I am capable of translating accurately from Arabic to English.

       2.      The English-language text appearing in the document attached hereto is a full and

accurate translation the Arabic-language text which appears on the document.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



October 16, 2020
                                                           ______________________
                                                                Yaniv Berman
Case 1:18-cv-12355-MKV-DCF Document 136-11 Filed 10/05/21 Page 46 of 245

   The Popular Front for the Liberation of Palestine escorts
 its heroic self-sacrificing martyr Sadeq Ahed Abd Al-Hafez
                    [to his celestial wedding]




    Hero of the Karnei Shomron martyrdom operation
Case 1:18-cv-12355-MKV-DCF Document 136-11 Filed 10/05/21 Page 47 of 245




                EXHIBIT E
  Case 1:18-cv-12355-MKV-DCF Document 136-11 Filed 10/05/21 Page 48 of 245




UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA


SHABTAI SCOTT SHATSKY, et al.,

                                      Plaintiffs,

                          -against-                             Civil Action No. 08-496 (RJL)

THE SYRIAN ARAB REPUBLIC, et al.,

                                      Defendants.



                            DECLARATION OF YANIV BERMAN

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and I am capable of translating accurately from Arabic to English.

       2.      The English-language document attached hereto on which appears the caption,

“The shahid [martyr], comrade, hero: Sadeq Ahed Abdel Hafez” is a full and accurate

translation of the text of the memorial page on the Arabic-language document which follows it.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



October 16, 2020
                                                           ______________________
                                                                Yaniv Berman
  CaseCase
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                                                                   2 of of 245
[http://pflp.ps/khaldeen.php?id=1058. Site accessed on July 17, 2012]


SHATSKY-000902 T




The shahid [martyr], comrade, hero: Sadeq Ahed Abdel Hafez
Date of istishhad [act of martyrdom]: February 2, 2002

 The comrade was born in Qalqilya and became one of the cadres of the Union of Secondary Student
SHATSKY-000903
 Committees.      T
The comrade was born in Qalqilya and became one of the cadres of the High School Students’
 He perpetrated an amaliya istishhadiya [act of martyrdom] in the settlement Karnei Shomron
Union.
 near Qalqilya, killing two Zionist soldiers and injuring 30.
He perpetrated an amaliya istishhadiya [act of martyrdom] in the settlement Karnei Shomron
near Qalqilya, killing two Zionist soldiers and injuring 30.
Case 1:18-cv-12355-MKV-DCF Document 136-11 Filed 10/05/21 Page 50 of 245
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                EXHIBIT F
  Case 1:18-cv-12355-MKV-DCF Document 136-11 Filed 10/05/21 Page 56 of 245




UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA


SHABTAI SCOTT SHATSKY, et al.,

                                      Plaintiffs,

                          -against-                             Civil Action No. 08-496 (RJL)

THE SYRIAN ARAB REPUBLIC, et al.,

                                      Defendants.



                            DECLARATION OF YANIV BERMAN

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the Hebrew University of Jerusalem (Israel). I read and understand Arabic and English fluently,

and I am capable of translating accurately from Arabic to English.

       2.      The English-language document attached hereto on which appears the caption,

“Qalqilya branch of the PFLP Commemorates Hero Shahid Sadeq Abd al-Hafez” is a full

and accurate translation of the text of the Arabic-language announcement which follows it.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



October 16, 2020
                                                           ______________________
                                                                 Yaniv Berman
Case 1:18-cv-12355-MKV-DCF Document 136-11 Filed 10/05/21 Page 57 of 245



    Qalqilya branch of the PFLP Commemorates Hero Shahid Sadeq Abd al-Hafez – The Popular Front for the Liberation of Palestine   9 March 2020


          The Popular Front for the Liberation of Palestine
          Home page / News of the Left and the Progressive Forces

Qalqilya branch of the PFLP Commemorates Hero Shahid1 Sadeq Abd al-Hafez
Published on 17 Feb. 2014 | 00:00


The Qalqilya district branch of the Popular Front for the Liberation of Palestine
commemorated the martyrdom of its heroic son, "son the Abu Ali Mustafa Brigades" (Sadeq
Abd al-Hafez), during a national convention that the shahid's family and relatives attended,
as well as national male and female figures. Many members of the shahid's family, the tribal
elder of the Zeid tribe, and relatives and friends of the shahid welcomed visitors at the
home of the shahid's family in the city of Qalqilya. During the event, a representative of the
Popular Front spoke about the shahid's life and exploits. A series of photographs in memory
the shahid were presented and handed to the shahid's family and young men from his
neighborhood, which was decorated with pictures of the shahid.
It is noteworthy that the hero istishhadi2 shahid Sadeq Abd al-Hafez, was killed in the course
of a martyrdom operation3 he carried out in a supermarket in the usurped community of
Karnei Shomron, located to the east of Qalqilya. As a result of the operation, two settlers
were killed and over thirty were injured.
The Zionist occupation forces are holding the shahid's body in the so-called Cemetery of
Numbers and refuse to hand over the body to his family members, despite requests made
by family members and human rights organizations.




1
  Translator's note: Shahid is a person who perpetrates a suicide attack for the sake of Allah.
2
  Translator's note: There is no fundamental difference between the words istishhadi and shahid. Both
essentially refer, in this context, to a person who perpetrates a suicide attack for the sake of Allah.
3
  Translator's note: Martyrdom Operation – in Arabic: Amaliya Istishhadiya, which literally means an operation
perpetrated by an istishhadi (a person who perpetrates a suicide attack for the sake of Allah).
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                                                                                                                                                              ĚżŨİŝĝŤē ŶŵŝŤēŴ ĳĔĹżŤē ĳĔėĬĉ  ĚżĹżĐĴŤē




                                                                  ŎŘĔĩŤē İėŐ śįĔŀ İżŲĽŤē ŦŉėŤē źįĔŲĽĝĸǘē ŶĴŠı ŽĩĜ ĚżťżŝťŝĖ ĚżėőĽŤē
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                ŊĭŤē ŪĥĨ D                  +                                                                                                                                         M       H      I



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                  İėŐ ŧĔĸŴ ŦĨēĴŤē ŞżŘĴŤē ģŵŘ Ūĸē ŦũĨ                                       ęĔŘŵĖ ĚŻĶőĜ ĚżŜĴĖ ŧİŝĜ ĚżėőĽŤē ĚŲėĥŤē                       ŪŻĴšŤē İėŐ ŧĔĸŴ İżŲĽŤē  ģŵŘ Ūĸē ŦũĨ
                   ţĔũĽŤē ĚōŘĔĩŨ ŽŘ ĚżėőĽŤē ŪŻĴšŤē                                           ţŴČĹŨ İŻİĨ ŮĖ İżĥũŤē İėŐ ŦńĔŭũŤē                          ŮŨ ĚėŠŵŠ ŧĴ ƿšĜ ŹŉĸŵŤē ŽŘ ĚżėőĽŤē 
                    ĚŻŵŬĔġŤē ĚėťňŴ ěĔėŤĔň ŮŨ ĚėŠŵŠ ŧĴ ƿšĜ                                        ĴŻĴĩĝŤē ĚŲėĤ ŽŘ ĚżĤĳĔĭŤē ěĔŜǙőŤē                                        ŮżŜŵřĝũŤē ĚŻŵŬĔġŤē Ěėťň
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               EXHIBIT G
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA


SHABTAI SCOTT SHATSKY, et al.,

                                       Plaintiffs,

                           -against-                            Civil Action No. 08-496 (RJL)

THE SYRIAN ARAB REPUBLIC, et al.,

                                       Defendants.



                            DECLARATION OF YANIV BERMAN

       I, Yaniv Berman, declare pursuant to 28 U.S.C. §1746, as follows:

       1.      I am a professional translator with an M.A. degree in Middle Eastern Studies from

the Hebrew University of Jerusalem (Israel). I read and understand Arabic and English fluently,

and I am capable of translating accurately from Arabic to English.

       2.      The English-language document attached hereto is a full and accurate translation

of the complete Arabic-language audio track of the audiovisual recording which is currently

available for viewing at

               https://www.youtube.com/watch?v=yGMYrqDMNOU&feature=youtu.be

and was available for viewing as of July 16, 2017 at:

               https://www.facebook.com/PFLPinformationoffice/videos/1042926575811847/

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



October 16, 2020
                                                           ______________________
                                                                 Yaniv Berman
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                     Israeli Security Agency [logo]




Suicide Terrorists in the Current Conflict




            September 2000 - September 2007

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                                                                                                 Israeli Security Agency [logo]


                                      Suicide Terrorists in the Current Conflict

Foreword
Since September 2000, the State of Israel has been in a violent and ongoing conflict with the Palestinians, in which
the Palestinian side, including its various organizations, has carried out attacks against Israeli citizens and residents.


During this period, over 27,000 attacks against Israeli citizens and residents have been recorded, and over 1000
Israeli citizens and residents have lost their lives in these attacks. Out of these, 155 (May 2007) attacks were suicide
bombings, carried out against Israeli targets by 178 (August 2007) suicide terrorists (male and female). (It should be
noted that from 1993 up to the beginning of the conflict in September 2000, 38 suicide bombings were carried out
by 43 suicide terrorists).
Despite the fact that suicide bombings constitute 0.6% of all attacks carried out against Israel since the beginning of
the conflict, the number of fatalities in these attacks is around half of the total number of fatalities, making
suicide bombings the most deadly attacks. From the beginning of the conflict up to August 2007, there have
been 549 fatalities and 3717 casualties as a result of 155 suicide bombings.
Over the years, suicide bombing terrorism has become the Palestinians’ leading weapon, while initially bearing an
ideological nature in claiming legitimate opposition to the occupation. However, during the period of conflict, a
trend emerged in which ideological motives declined in comparison to growing financial motives. Terrorist
headquarters initiate and control terrorist activities by transferring large sums of money to operatives in the field,
who earn a living from directing terrorist activity, and don’t necessarily act out of pure ideological motives. In
many cases the terrorists enlisted to carry out suicide bombings are Palestinians with social or financial problems,
who agree to carry out the attack in exchange for the promise that the terrorist organization, for which they are
carrying out the attack, will take care of their family financially after their death.
With the establishment of the buffer zone, which makes it more difficult for terrorist organizations to carry out
attacks, terrorist organizations have increased their use of “weak” populations, such as: minors, women, sick
persons, persons suffering from a negative social image etc., for carrying out suicide bombings, while exploiting
their personal situations and their innocent appearances in an attempt to deceive security forces at the various
inspections.


This booklet presents an overview detailing the perpetrators of suicide bombings over 7 years of conflict with
the Palestinians, from September 2000 to August 2007.




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                                       Suicide Terrorists in the Current Conflict


Suicide terrorists - Personal Characteristics
It is not possible to sketch a single profile of a suicide terrorist in the Israeli-Palestinian conflict, as characteristics of
suicide terrorists have been constantly changing throughout the years.
Below are a number of principal characteristics, which demonstrate the changes throughout the years:


Age of the Suicide terrorists - the vast majority of suicide terrorists are young persons aged 17-24.
During 2004 their age somewhat decreased: The phenomenon of minor suicide terrorists (under the age of 17)
increased. Furthermore, the phenomenon of older suicide terrorists, which was in fact reduced in previous years,
almost completely “disappeared,”.


Marital Status - the vast majority of suicide terrorists are single, with only a minority of them being married, a fact
which is directly related to the young age of the suicide terrorists.


Education - the majority of suicide terrorists are educated. Between the years 2000 - 2003, 22% of them had
completed higher education, 34% had graduated from high school, 9% had completed elementary school, and the
rest - unknown (although it is highly likely that they have completed elementary and high school education, and not
higher education).
In 2004 there was a fall in the percentage of those who had completed higher education (8%) and high school
education (8%).


Origin of the Suicide terrorists - between the years 2000 - 2003 most of the suicide terrorists originated from
Samaria (64%) and Judea (17%). Throughout 2004 there was a significant increase in the proportion of suicide
terrorists who were citizens of the [Gaza] Strip (44% compared to 16% in previous years), while there was a parallel
decrease in the proportion of suicide terrorists from Samaria (44%) and Judea (17%).




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                                                                                    Israeli Security Agency [logo]


                           Suicide Terrorists in the Current Conflict


         Suicide Terrorists Over 7 Years of Conflict - Geographical Data
                          Suicide terrorist characteristics profiled by age




          Under 18                                     Over 35




                     Suicide terrorist characteristics profiled by marital status




             Single Married Divorced Widow/er
                                                  3
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                                                                                        Israeli Security Agency [logo]


                             Suicide Terrorists in the Current Conflict

                     Suicide terrorist characteristics profiled by place of residence




      “Green Line”      Abroad        Judea     Samaria     [Gaza] Strip Jerusalem


                         Suicide terrorist characteristics profiled by education




                      Unknown Elementary High School Higher



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                                                                                             Israeli Security Agency [logo]


                                     Suicide Terrorists in the Current Conflict


Suicide Attacks since the Beginning of the Conflict

                             January 29, 2007: Suicide terrorist detonation in Eilat,
                                                 3 killed, 1 injured


                                                         ***


                      November 23, 2006: Female suicide terrorist detonation in Jabalia,
                                                      3 injured


Fatima Najar - A resident of Jabalia, aged 64, who detonated herself near IDF forces east of Jabalia refugee camp.
The suicide terrorist was a mother of 6 and a grandmother, and is the oldest suicide terrorist to date. The Hamas
organization claimed responsibility for the attack.


                                                         ***


                   November 6, 2006: Female suicide terrorist detonation in Beit Hanoun,
                                                      1 injured


 Mirfat Mas’oud - A resident of Jabalia, aged 18, who detonated herself near IDF forces who were in Beit Hanoun
  as part of the “Autumn Clouds” operation to eradicate Qassam attacks. The attack was carried out by the Islamic
                                   Jihad infrastructue in the northern [Gaza] Strip.


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                                      Suicide Terrorists in the Current Conflict



                             April 17, 2006: Suicide terrorist detonation in Tel Aviv,
                                                  11 killed, 64 injured


Samer Hamad - A resident of Araka in the Jenin area, aged 22, who detonated himself near a falafel stand in the
old Tel Aviv central bus station. The attack was carried out under the instruction of Aliyas Ashqar and Ma’tasim
Ga’ara, senior Islamic Jihad operatives from the Tulkarem area who were killed in a defense forces activity around
a month after the attack.
Ashqar was responsible for manufacturing the explosive device used by the suicide terrorist and also for the
preparation, filming and dispatching of the suicide terrorist to the target of the attack in Israel.
The suicide terrorist was led into Tel Aviv by Muhammad Amoudi, an Islamic Jihad operative from Burqin who
stated in his interrogation that he made several trips to Tel Aviv using transporters of illegal aliens before the attack,
with the aim of gathering information on suitable destinations for an attack and to check the routes into Tel Aviv.
On the day of the attack, Amoudi and the suicide terrorist left Jenin for Ramallah and from there to Anata where
they got into the vehicle of Fawaz Rajbi, a Jerusalem citizen with a blue [Israeli] ID card who would often transport
illegal aliens continuously for a number of months before his arrest. Rajbi drove the two to Tel Aviv, but in his
interrogation with the Israeli Security Agency he claimed that although he was aware of the possibility of
transporting a terrorist into Israeli territory as part of his transportation of illegal aliens, he did not know that he was
transporting a suicide terrorist on the day of the attack.
Several hours after the suicide terrorist detonated himself in Tel Aviv, Amoudi was arrested in Jaffa, following
precise information held by the Israeli Security Agency. In addition, further persons were arrested, suspected of
involvement in the execution of the attack.
The instructions and funding for the aforementioned attack came straight from the Islamic Jihad military
headquarters in Syria.




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                                      Suicide Terrorists in the Current Conflict


              March 30, 2006: Suicide terrorist detonation in a vehicle in the Kedumim area,
                                                         4 killed


Ahmad Musharaqa - A resident of Al Burj in the Hebron area, aged about 24, who hitchhiked in the Kedumim
area and detonated himself during the drive with the four vehicle passengers who were killed as a result of the
explosion. The attack was carried out under the instruction of Dawud Qatouni and Hani Hashash, Tanzim
operatives from Nablus, who were killed in a defense forces operation several months later.
The suicide terrorist was led by Anas Alan, a Tanzim operative from Qalqilya, who admitted in his interrogation
that he had received an explosive belt from Qatouni and Hashash in Nablus, which he had hidden under the rear seat
of his vehicle. At the request of the two, he drove to meet the suicide terrorist in the Qalqilya area, where he gave
him the belt. Alan then drove the suicide terrorist to the Karnei Shomron shuttle station.
The suicide terrorist started to walk to the Karnei Ginot intersection while wearing the explosive belt, where he
started to signal to Israeli vehicles to stop for him. An Israeli vehicle with four Israeli passengers stopped for the
suicide terrorist and let him into the vehicle. The suicide terrorist detonated himself inside the vehicle near the
Kedumim intersection and caused the deaths of the four Israelis.


                                                           ***
                     January 19, 2006: Suicide terrorist detonation in Tel Aviv, 26 injured


Sami Antar - A 19-year-old from Nablus, who detonated himself near the “Rosh Ha’ir” shawarma stand on Neve
Sha’anan Street in Tel Aviv. As a result of the explosion, 26 Israelis were injured.
The attack was carried out under the instruction of Hamza Muhammad and Ahmad Araishi, Islamic Jihad
operatives in Nablus, who were arrested after the attack. Araishi obtained the explosive belt, equipped the suicide
terrorist with it and provided him with taxi fare so that he could get into Israel.


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                                     Suicide Terrorists in the Current Conflict

         December 29, 2005: 2 Suicide terrorist detonations near IDF forces in the Tulkarem area,
                                               one killed and 3 injured


Suheib Ajami - A resident of Attil in the Tulkarem area, aged 18, left on the morning of December 29 along with
Alaa Sa’di, a resident of the Jenin refugee camp, aged 21, with the intent of carrying out a double suicide attack in
the industrial zone at the entrance into Rosh Ha’ayin.
The two were dispatched for the attack by the Islamic Jihad network in Tulkarem and Jenin under the instruction of
Nidal Abu Sa’ada, a senior Islamic Jihad operative who was killed by IDF forces around a month later.
The two left Tulkarem while in the possession of two explosive belts and boarded a taxi with the aim of arriving in
Kalandia, where they planned to leave for Rosh Ha’ayin. On their way they were stopped at an IDF checkpoint north
of Far’oun which was set up following intelligence information from the ISA concerning intentions to carry out an
attack on the Israeli hinterland. During the checkpoint inspection, the suicide terrorists detonated themselves. The
explosion killed one IDF officer and injured three other soldiers.


                                                          ***


              December 5, 2005: Suicide terrorist detonation in the HaSharon mall in Netanya,
                                               5 killed and 61 injured


Lutfi Abu Sa’ada - A resident of Illar in the Tulkarem area, aged 21. The attack was carried out under the
instruction of the suicide terrorist’s cousin - Nidal Abu Sa’ada a senior Islamic Jihad operative who was killed by
IDF forces around two months later. The Islamic Jihad organization claimed responsibility for the attack in which 5
Israeli citizens were killed and a further 61 were injured.


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                                      Suicide Terrorists in the Current Conflict


                       October 26, 2005: Suicide terrorist detonation in a Hadera market,
                                                6 killed and 27 injured


Hassan Abu Zeid - A resident of Qabatiya, aged 19, detonated himself in a market in Hadera on October 26, 2005.
The attack was carried out under the instruction of Nidal Abu Sa’ada, a senior Islamic Jihad operative from
Tulkarem. The suicide terrorist was led by Muhammad Qashu'a, an Islamic Jihad operative, resident of Illar. On the
day of the attack, Qashu'a and the suicide terrorist left Tulkarem and drove to Kalandia, where they boarded a taxi
which took a route which bypassed Jerusalem and from there on the Cross Israel Highway up to Jatt.
In Jatt, the two joined with Fakhri Mansour, who lives in Jatt following a family unification, who drove the two to
Hadera. Mansour would often transport illegal aliens from the Judea and Samaria area into Israeli territory, and in
Qashu'a’s interrogation it was revealed that Mansour had already understood at the beginning of the journey that he
was transporting a suicide terrorist, yet continued to drive to Hadera.


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               August 28, 2005: Suicide terrorist detonation in the Be’er Sheva central station,
                                                        49 injured


Abd al-Rahman Qisiya - A resident of Daharia, aged 19, worked in construction in the Negev. On the day of the
attack the suicide terrorist easily crossed the border in the absence of a fence, arrived at the central bus station in
Be’er Sheva, where he was spotted by two security guards, who prevented him from detonating himself in the heart
of the crowd, and were severely injured as a result of the blast, as well as 47 more Israelis who were injured in the
attack.
The attack was carried out by the network led by 3 Hamas operatives from Daharia: Hussam Qisiya, Yusef Qisiya
and Haytham Batat. The network was also responsible for a series of gunfire attacks, as of November 2001, among
which was a shooting at an IDF vehicle south of Mt. Hebron in February 2005, in which 4 people were injured. In
Hussam Qisiya’s handover of weapons, explosive devices and raw materials for making explosive devices were
handed over.


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                                      Suicide Terrorists in the Current Conflict


                  July 12, 2005: Suicide terrorist detonation near a shopping mall in Netanya
                                                5 killed and 88 injured


Ahmad Gawi - A resident of Atil, aged 18, detonated himself near a shopping mall in Netanya. The attack was
carried out by the Islamic Jihad network in Tulkarem. Nidal Abu Sa’ada, a senior Islamic Jihad operative,
commanded and controlled the execution of the attack from the Special Forces headquarters in Tulkarem, despite
being apparently arrested by the system.
Investigation of the attack revealed that the terrorist and his director, Asef Zaharan, a resident of Illar, entered
Israeli territory using two Israeli citizens, transporters of illegal aliens, which they had already been doing for
several months according to their confessions in the Israeli Security Agency interrogation. The two, Kfir Levy, a
resident of Ramat Gan, and Sayf Azem, a resident of Tayibe, admitted in their interrogation that on the day of the
attack they had transported two West Bank residents to Tayibe in Israel via IDF checkpoint “Tsofin,” after Levy had
taken advantage of the fact he is a Jew who does not get checked at checkpoints.
In addition Abd al-Rahman Abu Muh, a resident of Baqa al-Gharbiyyeh, who admitted in his interrogation that he
picked up the suicide terrorist and his companion in Tayibe and drove them to Netanya, the place of the attack.
All three claim in their interrogation that they were not aware that the two were terrorists. However, the
interrogation revealed that Levy and Azem knew these were not just innocent Palestinian workers, but thought they
were thieves/burglars. Abu Muh also assisted Zaharan since being acquainted with him from a criminal background.


                                                           ***


 February 25, 2005: Suicide terrorist detonation at the entrance to “The Stage” club in Tel Aviv, 5 killed
                                                     and 52 injured


Abdallah Sa’id Badran - A resident of Deir al-Ghusun/Tulkarem, aged 23, detonated himself near the entrance to
“The Stage” club on the Tel Aviv promenade, where dozens of people were waiting. The Islamic Jihad organization
initially claimed responsibility for the attack, and later a denial was published. The Islamic Jihad network in
Tulkarem was behind the attack, which was directed by the Islamic Jihad headquarters in Syria and the Islamic Jihad
network in Jenin.
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                                        Suicide Terrorists in the Current Conflict

                     January 18, 2005: Suicide terrorist detonation at the Orhan post checkpoint
                                        one killed (ISA employee) and 8 injured


                        Omar Tabash- A resident of Khan Yunis, aged 21, a Hamas operative, detonated himself
                        against security forces during an attempted arrest in the checkpoint area of the post at Orhan.
                        The suicide terrorist arrived at the Gush Katif intersection around 4:40 p.m., almost 2 hours
                        after closing the intersection to Palestinian vehicles passing through, and he was arrested and
                        taken to an inspection facility following intelligence information. The explosives examination
                        after the blast revealed that the suicide terrorist was carrying the explosive belt on his thighs.
The explosive belt did not contain fragmentation and was activated by a pulling mechanism, seemingly to deceive
inspection measures. The Hamas movement publicly claimed responsibility for the attack and published the suicide
terrorist’s will.


                    November 1, 2004: Suicide terrorist detonation at Carmel Market in Tel Aviv,
                                                   3 killed and 32 injured


Amer Ali/Alfar - A resident of the Askar refugee camp, a minor, aged 16, worked as a carpenter. He expressed his
willingness to carry out a suicide attack as revenge for his uncle’s death at the beginning of the Intifada. The suicide
terrorist was led to the attack by Bassem Hundaqji, a communication studies student at An-Najah National
University, a resident of Nablus, who used a journalist document, issued to him as part of his studies, to pass
through military checkpoints easily. While transporting the terrorist to Tel Aviv, Hundaqji used the assistance of
Bashar Muhammad Dawur Abassi, an Arab taxi driver from east Jerusalem, who had previously served a short
imprisonment term for transporting Palestinians illegall aliens into Israel. The suicide terrorist got out of the taxi at
the entrance to the market, made his way into the heart of the market and detonated himself.
It should be noted that the suicide terrorist’s family were in a very difficult financial situation and this may have
been the motive of the PFLP (Popular Front for the Liberation of Palestine) network in Nablus, the directors of the
attack, for approaching this family and exploiting their hardship.


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                                     Suicide Terrorists in the Current Conflict

                   October 5, 2004: Suicide terrorist detonation near an IDF unit in Jabalia,
                                                     no casualties


Unknown - A suicide terrorist on behalf of Hamas, the identity of which is unknown, apparently aged around 50,
detonated himself near a building in which IDF forces were posted in Jabalia, in the Gaza Strip. Parts of the
terrorist’s body were found in the area. There were no casualties among our forces.


                                                          ***
           September 22, 2004: Suicide attack at a hitchhiker’s stop on French Hill in Jerusalem,
                                      2 killed (border police) and 17 injured


Zainab Abu-Salem - A female resident of the Askar/Nablus refugee camp, aged about 18, finished her high school
studies in the previous year and was enrolled at An-Najah National University to complete her studies. She left her
home on the morning of the attack after telling her family she was heading to the university to hand in some
documents. The suicide terrorist, who was sent on behalf of the Fatah organization in Nablus, detonated herself near
border control police, while being inspected.


                                                          ***
         September 14, 2004: Suicide terrorist detonation on a bicycle near IDF forces in Qalqilya,
                                                  2 soldiers injured


Yusuf Taleb Yusuf Agbari - A resident of Qalqilya, single, aged 24, worked odd jobs (carpentry, porterage). On
the day of the attack he arrived from Qalqilya on a black bicycle to the agricultural gate facing towards Hableh. On
the rear mount of the bike was a box filled with a sack of potatoes. The soldiers at the checkpoint asked him to
produce his ID and asked if he had a passage permit. He told them he didn’t, and was told to return to Qalqilya. The
suicide terrorist turned to the direction of Qalqilya and detonated himself near the soldiers.
The network responsible for the attack was a combination of Hamas and Tanzim, and was led by Ibrahim Isa (a
Hamas operative in the past and knowledgeable in the manufacturing of explosive devices) as the military
supervisor. Isa was the one who dispatched the aforementioned to execute the attack.




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                                     Suicide Terrorists in the Current Conflict

            August 31, 2004: 2 Suicide terrorist detonations on 2 adjacent buses in Be’er Sheva,
                                              16 killed and 100 injured


                                               The suicide terrorists
                      Nassim Ja’bari                                          Ahmad Qawasmeh




Nassim Ja’bari, a resident of Hebron, aged 22, and Ahmad Qawasmeh, a resident of Hebron, aged 29, detonated
themselves almost simultaneously on 2 adjacent buses near Soroka Hospital in Be’er Sheva.
The two were recruited by Mus'ab Hashlamoun, head of the Hamas cell in north Hebron, who was imprisoned in
Ktzi’ot [Prison] along with Mahmud Qawasmeh, the brother of Murad Qawasmeh (Commander of the military arm
of the Hamas - killed). Upon release of the two, as part of the release of prisoners, they established a Hamas cell.
Ahmad Qawasmeh was sent to gather information in Be’er Sheva for the purpose of executing the attack, after
initially intending to carry out the attack on a bus traveling to Kiryat Arba, but they reached the conclusion that
penetrating that area would be difficult and that the density of the population in the area is not significant enough to
favor the attack. Ahmed went to work in Be’er Sheva several times with his brother and was able to become familiar
with the area and to choose the appropriate target. The preparation of the explosive belts was completed two days
before the attack. On the day before the attack, the terrorists filmed themselves with a Hamas backdrop and
weapons, while reading out wills which were prepared in advance. The two stayed in an apartment used by
prostitutes in Hebron. The belts were concealed in plaster picture frames so that the terrorists could avoid being
exposed during their journey to Be’er Sheva. The terrorists, who were guided on how to operate the belts by a cell of
wanted persons, received 300 NIS travel allowance and boarded an illegal alien shuttle to Be’er Sheva.


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                                      Suicide Terrorists in the Current Conflict

                   May 28, 2004: Suicide terrorist detonation near a bus terminal in Rafah,
                                                        2 injured


                 Ahmad Abu Jamus - A resident of Hai Genina/Rafah, aged 22, arrived in the early hours of the
                 morning in a jeep coming from Dahaniya toward an Israeli bus traveling to the terminal. The jeep
                 stopped at an embankment, the suicide terrorist exited the vehicle and opened fire at the bus, the
                 jeep exploded a few seconds later. The bus driver halted the bus, which caused the escorting vehicle
                 to crash into the rear of it. As a result of the crash, 2 IDF soldiers were slightly injured. The attack
was carried out in cooperation between the resistance committees, the Islamic Jihad and the Fatah. The suicide
terrorist’s brother, Hisham, had executed an infiltration attack in the past, on the “Marganit” post in August 2001, in
which 3 soldiers were killed.


                                                           ***
   May 22, 2004: Suicide terrorist detonation near the Bkaot checkpoint during an arrest procedure of a
                                wanted person, one soldier and 4 Palestinians injured


Sami Salameh - A resident of Nablus, aged 19, an Islamic Jihad military recruit who was supposed to participate in
a self-sacrificing attack, was involved in gunfire attacks in Nablus. On the day of the attack, the suicide terrorist
arrived from Nablus to the Bkaot checkpoint, wearing a black coat. The soldiers at the checkpoint suspected the
suicide attacker, and performed a suspect arrest procedure on him, during which he detonated a device he was
carrying on his person. The PFLP claimed responsibility for the attack, despite the suicide terrorist being an Islamic
jihad recruit.


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                                      Suicide Terrorists in the Current Conflict

                April 28, 2004: Suicide terrorist detonation in a car bomb in the Kfar Darom area,
                                                   4 soldiers injured


                  Tareq Hamid - A resident of the Nuseirat refugee camp, aged 24, single, known Hamas military
                  operative. On the morning of the attack, at about 6:45 a.m., he left in a blue Hyundai jeep, carrying
                  an Israeli flag, from the direction of “Beit-Hashlada” (south of Kfar Darom) while towing the
                  barbed wire from there and crossing westwards in the direction of the Tencher route. When the jeep
                  got on the route, he started driving south (to the Orhan area). IDF forces in the area recognized the
vehicle and opened fire. The jeep reached a distance of around 50m from the IDF forces and exploded. A claim of
responsibility for the attack was published by Hamas.
                                                           ***

          April 17, 2004: Suicide terrorist detonation at an IDF viewpoint in Erez industrial zone,
                                           one soldier killed and 3 injured


                     Fadi al-Amoudi - A resident of Jabalia refugee camp, aged 22, worked at the “Tatu” factory in
                     Erez industrial zone. On the day of the attack he arrived with around 30 workers, who entered
                     via “Magen 12” terminal into Erez industrial zone. The suicide terrorist and the workers were
                     requested to lift their shirts and trousers, and passed through the detectors, which did not beep or
                     sound an alarm. After the workers entered, the suicide terrorist remained last to enter, and when
he got through the workers passage, he went out to the outer yard of the terminal and detonated himself.
Examinations carried out on the ground revealed that the suicide terrorist was equipped with an explosive belt which
was apparently concealed in the groin area, that the device weighed around 2-3kg, and did not contain
fragmentation. An activation mechanism and battery were not found, and therefore, seemingly, the magnetometer
did not beep.


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                                        Suicide Terrorists in the Current Conflict

                        March 14, 2004: 2 Suicide terrorist detonations at Ashdod port,
                                                10 killed and 12 injured


                                                 The suicide terrorists
                       Nabil Mas’oud                                          Mahmud Salem




Nabil Mas’oud, a resident of Jabalia, aged 17, a terrorist on behalf of Fatah, and Mahmud Salem, a resident of Beit
Lahia, aged 18, a terrorist on behalf of Hamas, arrived at Ashdod port on the day of the attack at about 3:50 p.m. by
means of a shipping container which was meant to return empty from the [Gaza] Strip to Ashdod port via Karni
crossing. The suicide terrorists were hidden, along with the explosive devices, grenades and personal equipment, in
a double-walled section of the container which was prepared with the option of opening the doors from the inside.
The two detonated themselves within a few minutes of one another at 2 adjacent locations: one inside the port area
and the other near the entrance gate.


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                                      Suicide Terrorists in the Current Conflict

                       March 6, 2004: 4 Suicide terrorist detonations at Erez checkpoint,
                                            2 Palestinian policemen killed


                                                The suicide terrorists
               Muhtadi Mubid             Hatem Tafesh            Muhmmad Abu Daya Amru Sa’ayed
              aged 30, Al-Shati         aged 18, Al-Shati        aged 19, Rimal          aged 30, Sheikh Radwan




At about 10:20 a.m. a triple, bombing attack occurred, by a combination of the Islamic Jihad, Hamas and Fatah in
the Erez industrial zone, which included 4 terrorists that arrived in a number of vehicles to the area of the attack. The
attack included: detonation of a Palestinian taxi bomb near an IDF post, in which the terrorist in the vehicle was
killed. At the same time, a jeep arrived, from which a terrorist emerged dressed in camouflaged clothing and opened
fire at IDF forces. The terrorist returned t the jeep and continued driving towards the IDF post where he dropped off
an additional terrorist from the jeep. Both terrorists were shot and killed by IDF forces. In addition, another jeep
arrived at the Palestinian post where it detonated with a terrorist inside. Preparation for the attack lasted several
months and included preparing the vehicles, transporting them to Jabalia and training the terrorists to crawl and
shoot. The two jeeps that were involved in the attack were camouflaged as IDF “Storm” type jeeps and had Israeli
license plates. As part of the preparation of the vehicles, changes were made to them including among others: brown
paint, IDF number registration, an orange flashing light and a searchlight on the roof of the vehicle, a
communication antenna, nets to protect from stone-throwing, back doors identical to the fortification doors on a
Storm jeep.


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                                      Suicide Terrorists in the Current Conflict



               February 22, 2004: Suicide terrorist detonation on the route 14 bus in Jerusalem
                                                8 killed and 60 injured


                 Muhmmad Za’oul - A resident of Husan, aged 23, married + one young son, a construction
                 worker, worked in the Jerusalem area. The suicide terrorist detonated an explosive device which
                 was carried in a bag on the route 14 bus, near Liberty Bell Park in Jerusalem. The epicenter of the
                 explosion was located in the center of the bus, opposite the back door. The suicide terrorist was
                 apparently seated during the explosion. The Fatah’s al-Aqsa Martyrs’ Brigades claimed
responsibility for this attack. The suicide terrorist was not known as an operative or involved in political activity
(besides the fact that a few years ago he was involved in religious activity and became close to “Da’wa” authorities,
but following pressure from his family he ceased his activity and distanced himself from these authorities). At the
start of the events, he was injured by soldier gunfire during riots in his village following the running over of a local
resident by an Israeli vehicle.


                                                           ***


                January 29, 2004: Suicide terrorist detonation on the route 19 bus in Jerusalem
                                                11 killed and 44 injured


                    Ali Ja’ara - A resident of the Al-’aida/Bethlehem refugee camp, aged 25, a Bethlehem police
                    officer, detonated himself on an “Egged” bus (route 19) in central Jerusalem. The epicenter of the
                    explosion was at the rear part of the bus. The suicide terrorist carried the explosive device with
                    him, weighing 6-8kg, in a bag. The Bethlehem “al-Aqsa Martyrs’ Brigades” claimed public
                    responsibility for the attack.
The suicide terrorist left behind a will, in his handwriting, in which he states that he carried out the act to avenge
those who were killed in the massacre which occurred in the al-Zeitun neighborhood. It was also stated in the will
that this act is part of a series of impending acts, to avenge the al-Zeitun neighborhood martyrs and all Palestinian
martyrs. In his will, the suicide terrorist asked his mother to forgive him and not to shed a tear for him as he is
submitting to the will of Allah.


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                                     Suicide Terrorists in the Current Conflict



                              January 14, 2004: Suicide attack at Erez checkpoint
                                     4 soldiers and civilians killed, 10 injured


                  Rim Awad - a resident of Gaza, daughter to a wealthy family, aged about 23, married for 5 years
                  and a mother to two young children (a 3-year-old girl and a boy aged a year and a half). Recruited
                  by Hamas, and is the first Palestinian mother to carry out a suicide attack. Her husband is a
                  Hamas operative. She had expressed suicidal intentions in the past, sounding as though she was
                  eager to carry out a suicide attack and even sought persons who could dispatch her. She had a
romantic relationship with a senior military Hamas operative and it is possible that the attack was also intended to
clear her name.


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               January 11, 2004: Suicide terrorist detonation near IDF forces next to Qalqilya
                                                    no casualties


Iyad Masri - a resident of Nablus, aged 17, detonated himself at the Jinsafut village intersection following an
“occupational accident.”
The suicide terrorist and another young man, who was his director, left Nablus in the direction of Tappuah
intersection, with the aim of arriving in the Ramallah area. They reached the Jinsafut area and got stuck. A short
while after the director instructed the suicide terrorist to reach him in Hawara via Jama’in village/the Trans-
Samarian highway, the suicide terrorist detonated in the Jinsafut village area following an occupational accident (he
may have equipped the [explosive] device against the recommendation of his director). The [explosive] device
which, was placed in a black shoulder bag with a pouch, included small iron nuts and pellets, 1.5V batteries and a
red oven switch which was placed inside the pouch. The remains of a cell phone carried by the suicide terrorist were
also found.


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                                      Suicide Terrorists in the Current Conflict



            December 25, 2003: Suicide terrorist detonation at a bus station at Geha intersection,
                                                4 killed and 20 injured


Thaer Hanani - a resident of Beit Furik, aged 18, a member of the “Popular Front,” a construction worker,
detonated himself at a bus station at Geha intersection in Petach Tikva. The attack was carried out by the Popular
Front network in Nablus, as revenge for the elimination of Jibril Awad and Fadi Hanani. After the attack, Munzar
Sanubar, a resident of the Territories, who accompanied the suicide terrorist to the attack location. In his
interrogation he said that he accompanied the suicide terrorist to Geha intersection and that the two traveled in a taxi
driven by an Israeli driver who was identified in the investigation as Ofer Schwartzenbaum, born in 1965, a
resident of Oranit, father of four. In his interrogation, Ofer said that within his employment as a taxi driver, he often
transported many residents of the Territories, including those he knew did not have permits to be in Israel.


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              November 3, 2003: Suicide terrorist detonation close to IDF forces near Azzoun,
                                                   2 soldiers injured


Sabih Saoud - a resident of Rafidiya/Nablus, aged 16, a high school student, departed to carry out a bomb attack
inside Israel by the Tanzim military network in Nablus. The suicide terrorist was transferred to the Qalqilya area in
order to penetrate into the center of Israel in the Kafr Qasim area where there is no separation fence. Following
intelligence information, IDF and Israel Police forces were deployed extensively in order to prevent him entering.
Within IDF activity in Kfar Azzoun in the Qalqilya area, IDF forces suspected a number of locals and signaled for
them to stop, at which point the suicide terrorist detonated himself on the battalion commander’s jeep. The foiling of
this attack prevented a major disaster in central Israel.


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                                     Suicide Terrorists in the Current Conflict

       October 9, 2003: Suicide terrorist detonation at the Tulkarem coordination and liaison office,
                                                  2 soldiers injured


Ahmad Safadi - a resident of Urif/Nablus, aged 18, a student at a vocational high school (auto mechanics) in
Nablus, arrived at the coordination and liaison office in Tulkarem with a black backpack, waited with other
Palestinians in the waiting area and at a certain point got up, approached the reception window of the facility and
detonated himself with his back, and the backpack, facing the window.
The suicide terrorist left a will behind, written in his handwriting on October 8, 2004, in which he wrote: “In my
blood I write the path of freedom and walking the path of righteousness for Islam, to raise the prestige of the Islamic
nation.” He also called in his will for the submissive Arab regimes to abandon the path of fear and treason and called
for the Palestinian people to continue in the path of resistance. Responsibility for the attack was claimed by Fatah.


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                        October 4, 2003: Suicide attack at “Maxim” restaurant in Haifa
                                              21 killed and 48 injured


Hanadi Jaradat - a female resident of Jenin, single, aged 29, a law studies graduate at the Al-Quds Open
University. Her brother was killed before her eyes in the operation to shoot down her beloved, Salah Jaradat, who
was head of the Islamic Jihad network in Jenin. She carried out the attack to avenge both of their deaths.
The suicide terrorist was transported from Barta’a to Haifa by Jamal Musa Mahajna, supposedly in order to arrange
matters at Rambam Hospital for her sick father. On the way she asked to eat at a restaurant, where she detonated
herself. The explosive device weighed 4kg and included ball bearings, chopped construction iron and copper foil.


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                                    Suicide Terrorists in the Current Conflict


                October 9, 2003: Suicide terrorist detonation at the entrance of “Hillel” Café,
                                               7 killed and 70 injured


                 Ramez Abu Salim - a resident of Rantis, aged 22, a Hamas operative, a student and operative of
                 the “Kutla Islamiya” [The Islamic Bloc] at the Al-Bireh Open University. He was in administrative
                 detention and was released in February 2003. At 11:20 p.m. he detonated himself at the entrance of
                 “Hillel” Café on Emek Refa’im St. in Jerusalem. The suicide terrorist was sent for the attack by a
                 front cell of the Hamas network from Beit Lakia village, a cell made up of east Jerusalem Hamas
recruits, which was operated by the Hamas headquarters in Ramallah. During October 2004, a number of residents
of Isawiya village were arrested in Jerusalem by the Israeli Security Agency and Jerusalem police. In their ISA
interrogation, two of them admitted to being those who received the suicide terrorist and led him to the attack
destination. Additional interrogated individuals admitted that they had assisted the two in communicating with the
Hamas headquarters in Ramallah and in the execution of the attack.


                                                          ***
                     October 9, 2003: Suicide terrorist detonation at Tzrifin Bus Station,
                                               9 killed and 14 injured



                  Ihab Salim - a resident of Rantis, aged 19, a student at the Ramallah Open University, known as
                  a Hamas operative and as the one who incited revenge following the death of a Hamas operative
                  from IDF soldier gunfire. In light of his connections with Hamas, the suicide terrorist was arrested
                  on December 21, 2002, transferred into administrative detention for three months at Ktzi’ot prison
                  and released in early March 2003. The suicide terrorist was recruited by Ramez [Abu Salim], the
                  Hillel Café suicide terrorist. This attack, similarly to the Hillel Café attack carried out several
hours later, was orchestrated by the Hamas network in Ramallah, headed by Ibrahim Hamed.


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                                     Suicide Terrorists in the Current Conflict



                     August 19, 2003: Suicide terrorist detonation on a bus in Jerusalem,
                                             23 killed and 115 injured


                Raed Misk - a resident of Hebron, aged 29, married + 2 children, an Imam at the mosque, a
                graduate of religious studies at Najah University, began studying for a masters. Worked as a teacher
                in a school in Hebron, taught Quran at Hebron University. The suicide terrorist detonated himself
                on the no. 2 bus which was on its’ way from the Western Wall via Nablus Gate towards Shmuel
                Hanavi St. in Jerusalem. The Hamas organization officially claimed responsibility for the attack.
                The attack was carried out by a Jerusalem cell which was directed by the Hamas military network in
Hebron and which planned to carry out additional bomb attacks. Among its key operatives were: Nassim Za’tari,
head of the cell, Majdi Za’tari, Nassim’s brother-in-law, Abdallah Sharabati, “professional” criminal. On the
morning of the attack, the suicide terrorist arrived in Abu Dis, where he was picked up by Majdi and Abdallah and
was transferred to Abadin mosque in Wadi Joz. At the same time, the explosive belt was sent from Hebron to
Jerusalem via a private courier company. The explosive device was concealed in a plaster beam and was collected
by Nassim from the company’s branch in Jerusalem. Nassim hid the belt in his parents’ house in Wadi Joz. The belt
was taken to the mosque in the evening, Majdi and Abdallah equipped the suicide terrorist with it and instructed him
on how to operate it. From there, they drove him to the bus station, a 2 minute drive from the mosque.


                                                          ***


                   August 12, 2003: Suicide terrorist detonation near a bus station in Ariel,
                                               2 killed and 2 injured


Islam Qatishat - a resident of Ras al-Ein/Nablus, aged 18, detonated himself at the intersection at the entrance to
the settlement of Ariel. The suicide terrorist apparently noticed the security forces, was alarmed, and activated the
explosive belt. The Hamas organization claimed official responsibility for the attack and published his will.
Intelligence information gathered after the attack revealed that the Hamas military network in Nablus, headed by
Muhammad Hanbali, carried out the attack as revenge for the elimination of Faez Sadr and Hamis Abu Salem,
network seniors, on the weekend prior to the attack.


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                                                                                                  Israeli Security Agency [logo]


                                      Suicide Terrorists in the Current Conflict

                August 12, 2003: Suicide terrorist detonation at a supermarket in Rosh Ha’ayin,
                                                one killed and 9 injured


Khamis Jarwan - a resident of Ascar refugee camp/Nablus, aged 17, a high school student, detonated himself at a
supermarket “Hazi Kupa” in Afek park, Rosh Ha’ayin. The explosive device was carried in a bag on his back.
Responsibility for the attack was claimed by the Nablus Tanzim network under the direction of Uthman Yunis. The
suicide terrorist was transported to Rosh Ha’ayin by Yusuf Shumali - an Israeli Arab from Jaljulia, known as a
driver of illegal aliens.


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                   July 7, 2003: Suicide terrorist detonation at a private home in Kfar Yavetz,
                                          one (female) killed and 4 injured


Ahmad Yahia - a resident of Kafr Rai, aged 21, a student at the Jerusalem Open University in Jenin, known as an
operative of the Jama’a Islamiya [the Islamic Group], detonated himself next to a private home in Kfar Yavetz,
located in the Tel Mond region. The overall information revealed that the dispatching network was a combined
network of Islamic Jihad operatives from Jenin and Tulkarem. The suicide terrorist was recruited into the Islamic
Jihad in April 2003 and in the period before the attack he began behaving in a strange and unusual manner,
uncharacteristic of him in the past. In a joint ISA and Israel Police/“Tsabar” Unit operation on October 11, 2004,
Muhammad Ahmad Abd al-Ghani Khalil, aged around 19, a resident of Nur Shams, an Islamic Jihad operative
involved in the suicide attack, was arrested in Kafr Qasim. According to existing intelligence, Muhammad Khalil led
the suicide terrorist into Israeli territory, through Kfar Yavetz, where, as stated, the suicide terrorist decided to
detonate himself. It should be noted that all directors of the attack were arrested or killed.




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                                                                                               Israeli Security Agency [logo]


                                     Suicide Terrorists in the Current Conflict

           June 19, 2003: Suicide terrorist detonation at a grocery store in Moshav Sdei Trumot,
                                                       one killed


Ahmad Abahara - a resident of the village Yamun/Jenin, aged 19, was recruited for the attack by the Islamic Jihad
network in Jenin. Shortly after 6:00 a.m. the suicide terrorist arrived at the grocery store in Sdei Trumot, wearing
jeans, a black T-shirt, carrying a crossover bag on his shoulder. The suicide terrorist began looking through items
outside the store, the store owner asked him what he was doing and called him to come inside so he could talk to
him, upon his entry to the store a violent blast occurred.


                                                             ***
                    June 11, 2003: Suicide terrorist detonation on bus no. 14 in Jerusalem
                                              17 killed and 104 injured


Abd al-Mu'ti Shabana - a resident of Hebron, aged 18, a student at a vocational high school in Hebron, detonated
himself on bus no. 14 on Jaffa St. in Jerusalem while dressed as an ultra-orthodox Jew. Responsibility for the
attack was claimed by Hamas. Following investigations after the attack, a cell within which the suicide terrorist
operated was exposed, as well as a network of Jerusalem operatives, including a member who received the suicide
terrorist in Jerusalem prior to his departure for the attack. This organization was linked to the Hamas military
headquarters in Hebron.


                                                             ***
               May 19, 2003: Female suicide terrorist detonation in Ha’amakim Mall in Afula,
                                               3 killed and 50 injured


Hiba Daraghmeh - a resident of the village Tubas, aged 19, single, an English student at the “Al-Quds” Open
University. The suicide terrorist is the sister of Baker Daraghmeh, a Fatah/Islamic Jihad operative recruited for the
execution of a suicide attack in June 2002, but was arrested beforehand and is now imprisoned in Israel. The attack
was as revenge for her brother’s arrest. The terrorist was described as wearing jeans, a tight shirt, high heels and
carrying a feminine black bag which appeared heavy. The terrorist apparently departed for Israel with no
accompaniment and arrived in Afula by herself.


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                                                                                               Israeli Security Agency [logo]


                                    Suicide Terrorists in the Current Conflict



              May 19, 2003: Suicide terrorist detonation next to an IDF jeep near Kfar Darom,
                                                  3 soldiers injured


                     Shadi Nabahin - a resident of Bureij refugee camp/Deir al-Balah/Gaza, aged 20, single,
                     Hamas operative, arrived in Kfar Darom riding a bicycle and detonated himself close to an IDF
                     jeep which was carrying out a reconnaissance of the area. The suicide terrorist was carrying a
                     backpack on his back, containing the explosive device, with the activation mechanism for the
                     device placed on the bicycle’s handlebars. This attack was part of Hamas organization activity
in Dir al-Balah, which routinely fired mortars/anti-tank weapons toward Kfar Darom and rolled out “quality attacks”
every few months.


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              May 18, 2003: Suicide terrorist detonation next to a-Ram/Jerusalem checkpoint,
                                                    no casualties


                    Mujahed Ja’bari - a resident of Hebron, aged 19, an engineering student at the Polytechnic,
                    detonated himself next to the a-Ram checkpoint wearing a blue shirt and new jeans, shaven and
                    with a haircut cropped at the sides. The suicide terrorist was dispatched for the attack by a “front
                    cell” of the Hamas, residents of the Jerusalem area, which operated on behalf of the Hamas
                    military network in Hebron. The suicide terrorist arrived at the checkpoint in a shuttle taxi from
Hebron to Abu Dis, where he was received by the Jerusalem operatives and was transferred from there to the
checkpoint by foot. The suicide terrorist detonated himself before reaching his destination due to being suspected by
soldiers.


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                                     Suicide Terrorists in the Current Conflict

              May 18, 2003: Suicide terrorist detonation on a bus on French Hill in Jerusalem,
                                               7 killed and 20 injured


                     Bassem Takruri - a resident of Hebron, aged 19, a first year computer course student at the
                     Polytechnic, detonated himself on Egged bus no. 6, near French Hill, while dressed as an
                     ultra-orthodox Jew: black trousers, white shirt, a skullcap and a tsitsit [a vest worn by
                     religious Jews]. The suicide terrorist was dressed on the morning of the attack during his stay at
                     the home of one of the recruits operated by the Hebron Hamas network, Samer Atrash. In his
                     interrogation, Samer Atrash admitted collecting intelligence ahead of the attack, picking up the
suicide terrorist from the Abu Dis area and smuggling him into Jerusalem, hosting him overnight at his home as well
as preparing and leading him to the location of the attack.
                                                          ***


                   May 17, 2003: Suicide terrorist detonation near Gross Square in Hebron,
                                                        2 killed


                      Fuad Qawasmeh - a resident of Hebron, aged 22, a Hamas operative, arrived in the Gross
                      Square area in Hebron, dressed as a religious Jew, was suspected by soldiers who called for
                      him to stop and then detonated himself near a number of Israelis. The suicide terrorist was an
                      administrative detainee after being arrested as part of the incursion into the city of Hebron as
                      part of Operation “Defensive Shield.” The suicide terrorist was linked to a group of Hamas
                      operatives from the “Jihad” mosque, 4 of which carried out 2 suicide attacks on March 7,
2003, one in Kiryat Arba and the other in the Negohot settlement. Interrogation material revealed that 3 other
terrorists were recruited for Hamas activity along with the suicide terrorist. All four were interested in carrying out a
suicide attack, but this suicide terrorist was chosen for the execution of the attack by Bassel Qawasmeh, a senior
member of the Hamas network in Hebron, who directed the attack.


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                                                                                               Israeli Security Agency [logo]


                                     Suicide Terrorists in the Current Conflict

        May 8, 2003: Suicide terrorist detonation in a car bomb adjacent to a tank in the Gaza Strip
                                                     no casualties


                  Mahmud Anani - a resident of the Nuseirat refugee camp in Deir al-Baleh, aged 22, single, a
                  Fatah police officer and operative, detonated himself in a vehicle bomb near a tank, close to Kfar
                  Darom. Several minutes before the attack, deflection gunfire was fired at our forces on the
                  Tencher route. Scans after the attack revealed that the truck contained 2 gas cylinders and
                  explosive devices on its doors, but due to a fault only one gas cylinder detonated during the
attack. The “al-Aqsa Martyrs’ Brigades” claimed public responsibility for the attack.


                                                          ***


        April 30, 2003: Suicide terrorist detonation at the entrance to Mike’s Place pub in Tel Aviv
           an additional suicide terrorist cast an explosive device nearby, 3 killed and 62 injured


                                               The suicide terrorists




               Hanif Assif                                            Amar Sharif

Hanif Asef, aged 22, a British citizen, detonated himself at the entrance to “Mike’s Place” pub on the promenade in
Tel Aviv. Omar Sharif, aged 27, a British citizen, also tried to carry out a suicide attack along with Hanif but due to
a fault in the explosive device he could not carry out his plan and fled the scene, while disposing of the charge in his
possession. The charge Amar was carrying was made up of standard explosives weighing around 5kg, without
fragmentation, and was concealed in a book cover. Omar’s body emerged from the sea around two weeks after the
attack. The Hamas organization claimed responsibility for the attack and published a videotape in which both of the
Brits make speeches before departing for the attack. Analysis of the passport findings reveals that the two arrived in
the area on a route which started on April 8 in Syria, through Jordan on April 11 and entered the area on April 12.
General investigations revealed that for their movements in Israel, the Gaza Strip and the West Bank, the terrorist
pair was assisted by a number of foreign left wing operatives staying in the area.
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                                                                                              Israeli Security Agency [logo]


                                      Suicide Terrorists in the Current Conflict

          April 24, 2003: Suicide terrorist detonation at the entrance to the Kfar Saba train station,
                                                1 killed and 15 injured


Ahmad Khatib - a resident of Balata/Nablus, aged 18, a high school student, with divorced parents, arrived on the
morning of the attack in the Kfar Saba train station area, wearing jeans and a long black coat with English writing on
the back, to which the explosive belt was apparently attached. The suicide terrorist passed two police officers and
when he came close to the station’s security guards, one of the guards approached him, chatted to him and asked
him to identify himself. The suicide terrorist put his hand in his trouser pocket and detonated himself. The Fatah’s
al-Aqsa Martyrs’ Brigades and the PFLP’s Abu Ali Mustafa Brigades claimed joint responsibility for the attack.


                                                           ***


April 15, 2003: Suicide terrorist detonation equipped with light weapons, a grenade and an explosive belt
                                      at Karni Crossing, 2 killed and 3 injured


                 Muhammad Yunis - a resident of Jabalia refugee camp/Gaza, aged 18, a high school student,
                 Hamas operative. On the morning of the attack Rami Abu Sahila, a military Hamas operative from
                 the Jabalia refugee camp came to him and prepared him for departure for the attack. Later in the
                 morning, a trader with an entrance permit to the area of the terminal came along with his son, and
together they hid the suicide terrorist in the trunk of their car among their merchandise. At the terminal’s checkpoint
the trunk was not inspected and the suicide terrorist was dropped off from the car at the terminal, equipped with light
weapons, grenades and an explosive belt, and began shooting and casting grenades toward the terminal. The suicide
terrorist was shot and killed by security and reservists at the scene.
                                                           ***
         March 30, 2003: Suicide terrorist detonation at the entrance to “London” café in Netanya,
                                                       54 injured


Rami Ghanem - a resident of Dir al-Ghusun, aged 20, single, an accounting/business management student at
Kadoorie College in Tulkarem, known as a Popular Front operative. Due to being a suspected collaborator he left
the Popular Front and joined the Islamic Jihad ranks a few days before the attack. The suicide terrorist detonated
himself at the entrance to the café in Netanya with an explosive device made up of a tin box weighing
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                                                                                              Israeli Security Agency [logo]


                                    Suicide Terrorists in the Current Conflict

1-1.5kg affixed to his abdomen using a leather belt and white rags. Responsibility for the attack was taken by the
Islamic Jihad.
                                                          ***
                 March 5, 2003: Suicide terrorist detonation on a bus on Sderot Moria in Haifa,
                                              15 killed and 42 injured


Mahmud Amran Qawasmeh - a resident of Hebron, aged 20, a computer course student at the Polytechnic in
Hebron, detonated himself on bus no. 37, at the entrance to the Karmeliya neighborhood in Haifa. Hamas military
headquarters in Hebron were behind the attack, with Ali Rajbi as a central operative responsible for the logistical
network and the wanted person Ali Alan alongside him, responsible for making the explosive belt. The person
responsible for leading the suicide terrorist to Haifa was Hafez Rajbi, a resident of Hebron, with an east Jerusalem
identity card which provided him with access to Israel.
                                                          ***
                       February 9, 2003: Car bomb detonation with 3 terrorists in Orhan,
                                                 4 soldiers injured


                                              The suicide terrorists




      Sami abd al-Salem                    Sulieman Miqdad                  Muhammad Amum

Sami abd al-Salem, a resident of Bureij/Deir al-Balah, aged 17, Sulieman Miqdad, a resident of Nuseirat/Gaza, aged
22, and Muhammad Amum, a resident of Bureij aged 18, drove in a white Pontiac car, and arrived from the northern
part of Orhan. Two of them were seated in the front of the vehicle and one in the back, holding a Kalashnikov.
While approaching the checkpoint, the terrorist in the rear fired shots towards our forces, the vehicle swerved to the
right, collided with the concrete blocks of the Orhan post and exploded. Responsibility for the attack was claimed by
the Islamic Jihad network in the refugee camp area in the central Gaza Strip area, led by (until he was killed on
March 17) Muhammad Sa’afin.
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                                       Suicide Terrorists in the Current Conflict

                    January 17, 2003: Suicide terrorist detonation on a raft bomb west of Dugit,
                                                       no casualties


                        Mahmud Jamasi - a resident of Rimal/Gaza, aged 21, single, known as a Hamas operative.
                        The suicide terrorist departed, as it seems, from the Shati area, carrying half a barrel containing
                        40kg of weapons. The suicide terrorist arrived in the area of the attack on a fishing boat and got
                        out of it while wearing floatation devices, in order to be carried by the water with most of his
                        body submerged in the water. His aim was to get close to the Dabur patrol boat and detonate
                        himself near it. Fishermen who noticed him thought he was in distress and sent a raft his way,
when the raft reached him (at the same time as the Dabur patrol boat), he detonated himself in the water. The attack
was directed by the prominent Hamas military operative, Wael Nasar, and after the attack it was revealed that the
suicide terrorist had trained in the Shati area for around a year in swimming and diving without equipment.


              January 5, 2003: Detonation of 2 suicide terrorists at the old central station in Tel Aviv,
                                                23 killed and 106 injured


Buraq Halifa and Samer Nuri - Buraq Halifa, aged 20 and Samer Nuri, aged 19, both residents of Nablus, carried
out a double suicide attack at the old central station in Tel Aviv. The suicide terrorist pair, who were friends since
childhood, detonated themselves at two different points (200m apart) and 50 seconds apart. The two were
transported to the location of the attack by an Israeli Arab. Responsibility for the attack was taken by the military
arm of Fatah in Nablus, headed by Naef Abu-Sharah (killed). Abu-Sharah was directed by the Iranian
Revuloutionary Guard of the Islamic Revolution in Lebanon, who fund attacks and allow Fatah organizations to
continue carrying out attacks within Israel. This attack is one of the deadliest attacks since the beginning of the
conflict, as reflected by the number of casualties and the quality of explosive devices, which contained an estimated
weight of over 10kg of high explosives and a large amount of metal fragmentation in order to increase the effect of
the attack.


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                                     Suicide Terrorists in the Current Conflict

  December 28, 2002: Car bomb detonation driven by a suicide terrorist near the Russian Compound, no
                                                       casualties


Ala Karaki - a resident of New Anata/Jerusalem, aged 20, single, a first year management student at Ibrahimiya
College, attempted to detonate himself in a car bomb parked on Monbaz St. in Jerusalem, near a lively recreation
area. In his interrogation with the Israeli Security Agency, the suicide terrorist admitted that he carried out the attack
with the aim of killing Jews and being killed. He also told of how he became religious around six months earlier and
started praying, and that his decision to carry out an attack was in order to repent for his heretical behavior over the
years. The suicide terrorist admitted that he was the one who initiated and carried out the attempted attack alone.
                                                           ***


     November 27, 2002: Car bomb detonation driven by a suicide terrorist in the DCO site, near Erez
                                    checkpoint in the Gaza Strip, no casualties


                     Muhaned Mahdi - a resident of Sheikh Radwan/Gaza, aged 25, married, father of one son,
                     drove a car along the Tencher route, barged into the Palestinian communication station and
                     detonated while driving. The popular front network stands behind this attempted attack. The
                     blast was of an explosive device and an improvised 82mm mortar.


                                                                      ***
   November 22, 2002: Boat bomb detonation driven by 2 suicide terrorists near a navy ship in front of
                                           Dugit beach, 4 injured soldiers


Jamal Ismail - a resident of Bureij, aged 22, and Mohammad Masri, a resident of Beit Hanoun, aged 19, a first
year student at the Islamic University, stole a fisherman’s surfboard, loaded it with explosives and sailed in the no-
fishing zone. This caused the navy Dabur patrol boat to be called to the scene, the Dabur team called at them and
when they received no reply the Dabur approached the fishing boat. At this point the two suicide terrorists detonated
themselves inside the boat. The Islamic Jihad claimed public responsibility for the attack. Members of the
organization which carried out the attack were familiar with our forces’ routine naval activity, used two attackers to
liken the boat bomb to a “normal” fishing boat and thus helped attract the Dabur towards the boat.
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                                     Suicide Terrorists in the Current Conflict

               November 21, 2002: Suicide terrorist detonation on bus route 20 in Jerusalem,
                                               11 killed and 50 injured


Nael Abu Hulail - a resident of Dura, who moved to Bethlehem several months before the attack, aged 22, single,
religious, worked with his father on a vegetable stall in the old market in Bethlehem. The suicide terrorist detonated
himself on Egged bus route no. 20 on Mexico St. in Jerusalem. Responsibility for the attack was claimed by Hamas.
The Israeli Security Agency revealed the cell from Bethlehem which was responsible for the attack in a joint
operation with IDF. Within the operation the following persons were arrested: 2 manufacturers of explosive devices,
5 additional operatives who dealt with preparing the devices and recruitment, and 6 youngsters who were recruited
to carry out suicide attacks. On November 20, 2002, Muhammad Shaker Al’an Ma’la (one of the manufacturers
of the explosive device and Ali Al’an’s cousin, the senior wanted member of Hamas in Bethlehem) approached
Ibrahim Jundiya, a Hamas operative in Bethlehem, and asked him to join him for the purpose of transferring a
terrorist to Jerusalem. The two walked through Wadi Ahmad, near Bethlehem, with Muhammad carrying a black
bag containing a black exercise suit and notebooks. After a short walk, the two met with the suicide terrorist and
began walking in the direction of Beit Jala. 30 minutes later, Muhammad took the exercise suit out of the plastic bag
he had brought with him and ripped out the inner lining of the suit so that it would not hinder the suicide terrorist in
activating the explosive belt. Near Sharafat village, at the foothills of the Gilo neighborhood, Muhammad noticed a
cave in which the suicide terrorist stayed the night. The next morning the suicide terrorist boarded a bus traveling
towards Kiryat Menachem in Jerusalem, and detonated himself.


                                                          ***


November 11, 2002: Discovery of the body of a suicide terrorist who departed for an attack, with remains
                              of an explosive belt, near Erez crossing, no casualties


Sayyid Khasnin - a resident of Egypt, aged 23, departed for a suicide attack against an IDF post at a workers
crossing in the north of the Gaza Strip, directed by the Islamic Jihad organization in the Strip. According to
estimations, the suicide terrorist attempted to reach the rear post, became entangled in barbed wire on the descent to
Hanoun River and as a result of a fault in the explosive device or Sayyid’s fall, the device was activated and killed
him on the spot. His body was found about 350m south of a rear post at Erez terminal, with remains of an explosive
belt and a grenade. On his head was a black band with the writing “Jerusalem [i.e. al-Quds] Brigades.”
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                                      Suicide Terrorists in the Current Conflict

                 November 4, 2002: Suicide terrorist detonation in “Arim” mall in Kfar Saba,
                                                2 killed and 37 injured


Khaled Sawalha - a resident of Balata village/Nablus, aged 18, single, detonated himself on the first floor of
“Arim” mall in Kfar Saba, as revenge for the death of his relative when the army entered Balata refugee camp. The
attack was carried out by the Fatah organization in Nablus. Responsibility was claimed by the “Black Arms”
organization under the direction of Saleh Qini. Saleh, a resident of Qalil village, a military Tanzim operative, was
arrested and admitted in his interrogation to locating and dispatching Khaled Suwalkha to the attack.


                                                           ***


           November 4, 2002: Suicide terrorist detonation at a gas station at the entrance to Ariel,
                                                3 killed and 17 injured


Muhammad Bustami - a resident of Nablus, aged 19, a computer programming student at an-Najah University,
arrived at the gas station in Ariel carrying an explosive belt on his person. Citizens and soldiers at the station
suspected him as a terrorist.
During their attempts to control him, one of them shot the terrorist, and he detonated, apparently he had managed to
activate the explosive belt he was carrying. Responsibility for the attack was claimed by Hamas, the attack was
carried out by the Hamas network in Nablus.


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                                     Suicide Terrorists in the Current Conflict

    October 21, 2002: Detonation of 2 suicide terrorists in a car bomb adjacent to bus route 841 next to
                                   Karkur intersection, 14 killed and 48 injured


Muhammad Hasnin, aged 19, and Ashraf Asmar, aged 18, both residents of Jenin and Islamic Jihad operatives,
drove in a bomb laden vehicle from the direction Megiddo intersection to Hadera, drove alongside Egged bus no.
841 and detonated themselves. Responsibility for the attack was claimed by the Islamic Jihad. The attack was
carried out by the Islamic Jihad network in Jenin, under the instruction and planning of Iyad Sawalha and Sa'id
Toubasi.
The names of the suicide terrorists were transferred to Toubasi, who transferred them to Suwalha. Suwalha asked
Toubasi to arrange for a vehicle and transfer it to Anas Jaridat, who loaded it with explosives. Later, the explosive
laden vehicle was transferred to a garage in Jenin. Toubasi met with the two suicide terrorists and took them to
Suwalha’s home, who gave the two suicide terrorists money for them to buy clothes ahead of the planned attack and
asked Toubasi to bring, the next afternoon, an empty bag, a weapon, passwords, Allah and Islamic Jihad related
inscriptions as well as cellophane tape to attach the announcements and slogans. In the afternoon of the next day,
Toubasi drove Suwalha and the two suicide terrorists, dressed in their new clothes, in a green vehicle with tinted
windows, to the town area, where they received the explosive material. The attack was launched when Muhammad
Jaridat, an Islamic Jihad operative from Silat al-Harithiya, leading the suicide terrorists and assisting with getting it
underway.


                                                          ***
 October 11, 2002: Capturing of a suicide terrorist as he attempted to detonate an explosive belt in a café
                                     on the Tel Aviv promenade, no casualties


                     Rafat Muqdi - a resident of Zawiya/Qalqilya, aged 23, arrived at “Tayelet” café in Tel Aviv in
                     the evening hours. During an inspection carried out by the security guard at the entrance, the
                     explosive belt was detected on the suicide terrorist, who began to flee. Hearing the guard’s
                     shouting, security guards from the American embassy chased the suicide terrorist and arrested
                     him. The attempted attack was directed by the Hamas network in Ramallah, who received and
                     dispatched the suicide terrorist.
An Israeli Arab driver, Ashraf Za'yir, a resident of Kafr Aqab, holder of a blue ID card, was the one who led the
suicide terrorist to Tel Aviv.


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                                     Suicide Terrorists in the Current Conflict

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       October 10, 2002: Suicide terrorist detonation next to a bus station at Coca Cola intersection,
                                         one (female) killed and 20 injured


                  Rafik Hamad - a resident of Qalqilya, aged 31, married and a father of 4, attempted to board a
                  “Dan” bus near Bar-Ilan interchange, was injured during the boarding attempt and was treated at
                  the scene by the bus driver and a doctor. When they noticed he was carrying an explosive belt, the
                  suicide terrorist attempted to flee, ran towards the gas station and detonated himself. The suicide
                  terrorist was recruited for the attack in light of suspicions of collaboration against him and against
                  his family and to clear the family name. The suicide terrorist was a relative of the ex-Hamas
leader in Qalqilya, Abd al-Rahman Hamad (killed). Responsibility for the attack was claimed by the Izz al-Din al-
Qassam Brigades. The attack was carried out by the Hamas network in Qalqilya.


                                                          ***
         September 19, 2002: Suicide terrorist detonation on bus no. 4 on Allenby St. in Tel Aviv,
                                               6 killed and 71 injured


Iyad Radad - a resident of Ramallah, originally from Jordan, aged 23, arrived in Israel in July 2000, was recruited
by the Hamas military network in Ramallah for the purpose of carrying out a suicide attack. The person responsible
for the cell and for the recruitment of suicide terrorists and the execution of attacks was Mahmud Hamad Mahmud
Sharitah, aged 25, a resident of Yatta, a student at Bir Zeit University and a central operative in the student
movement representing Hamas at the university - the Kutla Islamiya [Islamic Bloc]. At the head of the network was
the Hamas headquarters in Ramallah, which was responsible for carrying out additional suicide attacks. Sharitah met
with the suicide terrorist in Ramallah according to instructions he received, and recruited him into the network. Two
days before the attack, the suicide terrorist was transferred by Sharitah to an operational apartment in Jerusalem,
photographed and equipped with the explosive belt. Ashraf Za'yir, a clothes merchant with a Jerusalem identity
card, drove him from the apartment to the location of the attack on Allenby St. while instructing him regarding the
outline of the attack he had chosen (an explosion inside the bus).


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                                    Suicide Terrorists in the Current Conflict

         September 18, 2002: Suicide terrorist detonation next to a police car near Umm al-Fahm,
                                          one policeman killed and 2 injured


                 Marzuq Jawadra - a resident of Bi’r al-Basha/Jenin, aged 21, single, detonated himself at a bus
                 station at Umm al-Fahm intersection. The explosive device was placed in a bag and activated
                 against police who arrived at the site after receiving a phone call about a suspected suicide terrorist
                 standing at the intersection. The attack was carried out by an Islamic Jihad organization in the
                 Qabatiya area.


                                                         ***


August 6, 2002: Suicide terrorist detonation in the car of an Israeli Arab who was driving him near Umm
                                                al-Fahm, one injured


                   Muhammad Asfar - a resident of Aksar village/Nablus, aged 19, single, worked at a meat
                   store, detonated himself inside the vehicle of an Israeli Arab, a resident of Nazareth, near Umm
                   al-Fahm. Responsibility for the attack was taken by the al-Nazir Brigades (a new Fatah Tanzim
                   cell), who released a message following heavy pressure from the family of the suicide terrorist,
                   to know what had happened to him, after he had been missing from his home for several days.
                   The dispatchers of the suicide terrorist were Ali Ajouri and Murad Marshoush, two of the
leaders of the Fatah network in Nablus.


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                                      Suicide Terrorists in the Current Conflict

               August 4, 2002: Suicide terrorist detonation on a bus at Mt. Meiron intersection,
                                                9 killed and 52 injured


Jihad/Mujahid Hamada - a resident of Burkin/Nablus, aged 20, originally from Jordan, was employed without a
permit by his uncle, doing electrical work. As part of his job he became acquainted with Ibrahim Muhammad
Ibrahim Bakri, an Israeli citizen from Bi’ina village who worked in partnership with his good friend Yassin Bakri
to carry out the attack. The suicide terrorist had been arrested in the past for illegally staying in Israel; he was
deported back to Palestinian Authority territory but continued being in contact with Ibrahim via telephone. Within
this contact the suicide terrorist told Ibrahim that he had been recruited into Hamas and that he wanted to carry out a
suicide attack. The suicide terrorist requested Ibrahim’s help in getting from one place to another. On the morning of
the attack, Ibrahim, Yassin and the suicide terrorist departed in the direction of Karmiel, to choose a bus route used
by many soldiers, with Ibrahim leading in his vehicle as a “route opener” and Yassin and the suicide terrorist in the
vehicle behind him. During the drive, the suicide terrorist changed his clothes into clothes intended to give him an
Israeli look. Due to the presence of security forces in Karmiel, the three drove towards one of the bus stops. The
suicide terrorist was dropped off at Shezor intersection, boarded Egged bus no. 361 to Safed, and when the bus
arrived at Meiron intersection, he activated the explosive device he was carrying and detonated himself.


                                                            ***
                    July 30, 2002: Suicide terrorist detonation on Nevi’im St. in Jerusalem,
                                                        5 injured


                       Hazem Yusuf - a resident of Beit Jala, aged 17, a high school student, detonated an explosive
                       device inside a bag he was carrying, near “Merkaz HaFalafel” on Nevi’im St. in Jerusalem.
                       Responsibility for the attack was claimed by the al-Aqsa Martyrs’ Brigades. Alaa Abd al-
                       Karim and Mahmud Hamash admitted in their interrogation with the Israeli Security
                       Agency that they were the ones responsible for preparing the explosive device and the
                       dispatching the suicide terrorist to the attack, after the latter approached Alaa Abd al-Karim
and asked to be sent on a suicide attack.


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                                      Suicide Terrorists in the Current Conflict

July 17, 2002: Detonation of 2 suicide terrorists on Neveh Sha’anan pedestrian street in Tel Aviv, 5 killed
                                                     and 33 injured


Ibrahim Naji - a resident of Balata village/Nablus, aged 18 and Muhammad Atallah, a resident of Askar village,
aged 19, detonated themselves in stages, around 30 seconds apart, at the entrance to the Neveh Sha’anan pedestrian
street, standing about 30m away from each other. The attack was carried out by the Nablus Fatah organization, led
by Ali Ajuri, who claimed responsibility for the attack on behalf of “Al Nazir Brigades.” The suicide terrorists were
recruited and smuggled into Israel by Fatah operatives. Islamic Jihad operatives supplied the explosive devices. The
terrorists traveled from Nablus to the Jenin region and stayed in the Umm al-Fahm area for around 5 hours before
departing for Tel Aviv. Their transport to Tel Aviv was provided by Khaled Ashour, a driver of illegal aliens, a
Jaffa resident, who told the Israeli Security Agency in his interrogation that the two told him they were intending on
carrying out a suicide attack but, due to fear for his life, he drove them to the place and didn’t tell anyone about it.


                                                           ***
                    June 19, 2002: Suicide terrorist detonation on French Hill in Jerusalem,
                                                7 killed and 39 injured


Sa’id Awada - a resident of Nablus, aged 17, a Tanzim operative, detonated himself at a shuttle station at the
French Hill intersection in Jerusalem. The attack was directed by the Fatah’s terrorism network in Nablus.


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                                     Suicide Terrorists in the Current Conflict

        June 18, 2002: Suicide bomber detonation on a bus in the Gilo neighborhood of Jerusalem,
                                               19 killed and 50 injured


                      Muhammad al-Ghul - a resident of Nablus, aged 22, a religious law Masters Degree student
                      at Al-Najah University, detonated himself on Egged bus no. 32 on Dov Yosef St. in the Gilo
                      neighborhood of Jerusalem. The suicide terrorist was spotted, recruited and trained by the
                      Hamas military network in Samaria. After two failed attempts to dispatch the suicide terrorist
                      for an attack and the elimination of Qais Adwan (one of the Hamas network’s leaders in
                      Samaria), the suicide terrorist was directed by Mazen Fuqaha to Muhanad Taher, who at that
point was head of the Hamas network in Samaria (killed). Mahaned Taher brought the suicide terrorist to Khalil
Marwan Khalil, a member of the organization in Samaria (detained), who drove him to Azaria in east Jerusalem
where he was supposed to be collected by prior arrangement of Ali Alan, a Hamas military operative from
Bethlehem. Ali used the assistance of his friend Ramadan Mushahara, and his brother, Fahmi Mushahara, both
residents of east Jerusalem with blue identity cards (detained), for the execution and planning of the attack. After the
gathering of intelligence carried out by Fahmi, the target of the attack was chosen – Egged route 32 traveling from
the Gilo neighborhood direction towards the center of Jerusalem. The target was chosen as attractive for carrying out
an attack given the fact that it stops at the Beit Safafa station, an area with a large Arab population, where a visibly
Arab person would not be viewed suspiciously. As part of the preparations for the attack, Fahmi traveled on this bus
route several times, bought a multiple-entry ticket and even had holes punched in it so that the suicide terrorist could
use it without raising suspicion. The suicide terrorist was transferred to Bethlehem, was accommodated overnight in
the city and the next morning driven to the Abu Dis area in Jerusalem, where he was picked up by Fahmi and the
two continued on the route towards west Jerusalem, with Ramadan Mushahara driving in front and alerting them to
any Israeli checkpoints. Upon their arrival at the bus station near Beit Safafa the suicide terrorist was dropped off, he
boarded the bus and detonated himself.
                                                           ***
    June 17, 2002: Detonation of a suicide terrorist suspected by border forces near Marja/Yarkon, no
                                                       casualties


Ala Marshud - a resident of Balata refugee camp/Nablus, aged 20, an electrical appliance factory worker, detonated
himself in Marja, after being suspected by border forces who called for him to stop and strip. Responsibility was
claimed by Fatah’s Al-Nazir Brigades. The Israeli Security Agency’s interrogation of Samer Hashash, a Tanzim


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                                     Suicide Terrorists in the Current Conflict

military operative from Nablus, revealed that the suicide terrorist was sent to the attack by Ali Ajuri, who also
provided him with the explosive device, and that the recruiter of the suicide terrorist was his brother Murad.


                                                          ***



            June 11, 2002: Suicide bomber detonation at the entrance of a restaurant in Herzliya,
                                         1 killed (female) and 12 injured


                    Omar Ziyada - a resident of Nablus, aged 29, married, father of a baby daughter, detonated
                    himself in Mifgash HaSharon Jamil restaurant in Herzliya. Responsibility for the attack was
                    claimed by the al-Aqsa Martyrs’ Brigades. The suicide terrorist worked as a trader and his
                    financial situation was good. In his will he asked to erase his debts to others. In the past he was a
                    member of Fatah and became religious a short while before the attack.


                                                          ***
                June 5, 2002: Suicide bomber detonation near a bus by Megiddo intersection,
                                              17 killed and 42 injured


Hamza Samoudi - a resident of Jenin, aged 18, drove in a car bomb, closely approached the rear part of the Egged
no. 830 bus traveling to Tiberias and detonated near it, around 500 m before Megiddo intersection. The Islamic
Jihad network from the Jenin area headed by Iyad Sawalha (killed) was the network responsible for the execution
of this attack. ISA’s interrogation of Sa'id Tubasi (a member of the network and Iyad’s senior assistant (-detained)
revealed that Iyad Sawalha asked him to arrange for a car to be made into a car bomb. Sa'id agreed and requested the
assistance of Shadi Amuri in arranging the matter. Shadi acquired a white vehicle, similar to a pickup truck
(Renault Kangoo), for which Sa'id transferred him 8000 NIS in exchange. Sa'id and Shadi approached Rushdi Nursi
and asked him for yellow license plates without explaining the purpose of their request. The two received the license
plates (from a stolen Subaru vehicle) and paid him 200 NIS. Sa'id and Shadi traveled to Iyad’s house after mounting
the yellow license plates and helped him load two barrels from his house. Iyad explained to them that they contained
explosives. Sa'id estimated that each barrel weighed around 55kg. In the days leading up to the attack, Sa'id dealt
with, among other things, manufacturing the device in the vehicle and preparing the suicide terrorist for the attack.


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                                      Suicide Terrorists in the Current Conflict

                      May 27, 2002: Suicide bomber detonation by a café in Petach Tikva,
                                          2 killed (females) and 30 injured


Jihad Titi - a resident of Balata village, aged 19, detonated himself at the entrance to the “Café Hamoshava” bakery
in Em Hamoshavot Mall in Petach Tikva. According to eye witnesses, the suicide terrorist tried to enter the
children’s play area in the mall but after he was unsuccessful, he went to the café. The attack was carried out by the
Tanzim military network in Nablus. The suicide terrorist was sent by Kamal Khatib, a member of the network who
works as a police officer in the Nablus Police Special Forces, and by Nahad Sabih and Ibrahim Abd al-Hai.
Additional operatives drove the suicide terrorist to the Rosh Ha’ayin area and from there the latter took an Israeli
taxi to the location of the attack.


                                                          ***


                        May 24, 2002: Suicide bomber killing in a car bomb in Tel Aviv
                                                       7 injured


                      Omar Shakukani - a resident of al-Bireh/Ramallah, aged 26, was driving at high speed
                      towards the entrance of a club on Kibbutz Galuyot St. in Tel Aviv, was stopped by the security
                      guard at the entrance and detonated. After the detonation of the vehicle in front of the club’s
                      entrance, it appeared as though the suicide terrorist was trying to exit the vehicle and was shot
                      again several times by the security guard. 4 pipe bombs were placed in the rear part of the car.
                      Al-Aqsa Martyrs' Brigades claimed responsibility for the attack. The ISA interrogation of
Amin Ziyad, a Tanzim military operative, who was involved in the dispatching of the suicide terrorist, revealed that
the person who had planned the attack and put together the car bomb was Muhammad Abu Hamid (detained).
Amin photographed the suicide terrorist on the evening before the attack using a camera he had brought from his
(female) cousin.


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                                     Suicide Terrorists in the Current Conflict

       May 22, 2002: Suicide bomber detonation on Rothschild pedestrian street in Rishon LeZion,
                                                2 killed and 36 injured


                   Issa Badir - a resident of Duha/Bethlehem, aged 17, detonated himself on the Rothschild
                   pedestrian street in Rishon LeZion. The suicide terrorist was led, from Bethlehem to Rishon
                   LeZion, in the vehicle of Ibrahim Sarahana from Dahshiya and his wife Marina Pinski, a
                   Jewish, Israeli citizen who emigrated from Russia 11 years ago. The ISA interrogation of the two
                   leaders revealed that an additional female terrorist Arin Ahmad, aged 20 from Beit Sahour
(detained) was supposed to take part in the suicide attack, according to the plan she was to detonate herself at the
point when search and rescue forces arrived to take care of the casualties from the first blast. When they were on
their way to carry out the attack, Arin changed her mind and was returned to Bethlehem. On May 27, 2002, all
operatives of the Tanzim military network which was behind dispatching the suicide terrorist to the attack were
arrested in Dahshiya refugee camp. Among the detainees was Ahmad Yusef Ahmad Mughrabi, head of the
network and a senior wanted person who admitted in his interrogation with the ISA that he had offered to assist
Ibrahim Sarhana in the execution of attacks and told of his involvement directing the attack and preparing the
devices for the suicide terrorists. Along with him, his brother was arrested – Ali Mughrabi, a 16-year-old resident
of Dahshiya, who admitted in his interrogation that he was instructed by his brother Ahmad to pay the suicide
terrorist and obtain a stolen car for the execution of the attack. Ali also admitted that he knew the pair of suicide
terrorists and said that he filmed the suicide terrorists before their departure for the attack. Another detainee was
Mahmud Sarahana, a Tanzim operative from Dahshiya, who was involved in transporting the suicide terrorists to
the field. Mahmud said that he had prepared the terrorist for the attack and dyed his hair. Later, Mahmud transferred
the suicide terrorists into Ibrahim and Marina’s hands and they led him to the center of the country.
                                                           ***
      May 20, 2002: Suicide bomber detonation at a bus station near a border police jeep at Ta’anach
                                                intersection, 3 injured

                     Muhammad Hamadiya - a resident of Jenin, aged 20, a tailor, detonated himself at the
                     Ta’anachim intersection bus station near a border police jeep. Responsibility for the attack was
                     claimed by the Islamic Jihad, the attack was carried out by the Islamic Jihad network in Jenin,
                     headed by Iyad Suwalha (killed). Muhammad Abu Tabih, an Islamic Jihad military operative
                     (detained) admitted in his interrogation that he himself recruited the suicide terrorist for the
                     attack. Muhammad Abu
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                                     Suicide Terrorists in the Current Conflict

Tabih linked the suicide terrorist with Iyad Sualaha. After the attack, Abu Tabih met with Iyad Suwalha who
expressed disappointment at the failure of the attack.


                                                           ***
                       May 19, 2002: Suicide bomber detonation at a market in Netanya,
                                                3 killed and 60 injured

Osama Bashkar - a resident of Askar refugee camp/Nablus, aged 18, wandered around the market in Netanya
wearing an IDF uniform and carrying a black bag, he was suspected due to his Middle Eastern appearance and
detonated himself immediately thereafter. Responsibility for the attack was claimed by the “Popular Front”
organization, the attack was carried out by the “PFLP” network in Nablus, with Alam Ka’abi in its center. The
network operatives behind this attack were in constant contact with the PFLP prisoners in Jericho via messengers
and also in continuous contact by phone. During the previous days Ahad Oulma and the other PFLP prisoners had
been updated regarding the plans to carry out the attack. On May 23, 2002, Adel Adnan Mahmud Jum’a, a
resident of Tayibe, was arrested. In his interrogation with the Israeli Security Agency he admitted that he had driven
the suicide terrorist together with a female who served as the suicide terrorist’s guide. Adal noted that he understood
that he was transporting a suicide terrorist only after dropping the suicide terrorist off and hearing the explosion.
After the attack, he returned the suicide terrorist’s guide to Baqa al-Gharbiyye. On June 6, 2002, Du'a Ziyad Jamil
Jayusi, a resident of Tulkarem, studying at al-Najah University, was arrested. Du'a mentioned in her interrogation
that she was requested by the Popular Front network in Nablus to lead the suicide terrorist into Netanya to give him
an innocent appearance. Du'a also added that before dropping the suicide terrorist off at the market in Netanya, the
terrorists looked into the options of carrying out the attack at the mall in Netanya and in the promenade area.

                                                           ***
      May 8, 2002: Suicide bomber sustains heavy injuries at a shuttle stop at Megiddo intersection,
                                                         3 injured
Zaydan Zaydan - a resident of Jenin, aged 19, was injured in the detonation of an explosive device he was carrying
in his bag at a shuttle stop at Megiddo intersection. After the explosion, shots were fired toward the suicide terrorist
by a bomb disposal police officer who was at the site. The suicide terrorist was injured in his arms and legs. The rest
of the explosive device which remained in the bag was later detonated by a police robot. In his interrogation, the
suicide terrorist informed the Israeli Security Agency that he had asked Mahmud Tuwalba (killed), one of the
heads of the Islamic Jihad in Jenin, to depart for the attack. A person acting on behalf of Mahmud provided the
suicide terrorist with a device weighing
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                                      Suicide Terrorists in the Current Conflict

around 18kg. The suicide terrorist took a taxi to Anin, walked from there to Umm al-Fahm and continued by
hitchhiking to Wadi Ara. Responsibility for the attack was claimed by the Islamic Jihad.


                                                           ***
                May 7, 2002: Suicide bomber detonation at a billiards club in Rishon LeZion,
                                               16 killed and 51 injured


                    Muhammad Mu’amar - a resident of the Krayot/Nablus, aged 28, originally from Jordan,
                    associated with Hamas, entered “Sheffield” club on Sahrur St. in the Rishon LeZion industrial
                    zone, carrying a suitcase, he walked toward the center of the room, to a gathered crowd near the
                    slot machine and detonated himself. The Izz al-Din al-Qassam Brigades publicly claimed
                    responsibility for the attack; the message also included threats of further attacks. The attack was
                    carried out by the Hamas network in Ramallah in collaboration with a Jerusalem cell, with
Muhammad Imran serving as the contact person between Wael Qasem (killed), a Hamas operative from Ras al-
Amoud, and Ibrahim Hamed, head of the Hamas network in Ramallah. In practice, Amran transferred the
instructions for carrying out the attacks, transferred the suicide terrorists and the explosive devices.


                                                           ***


                  April 20, 2002: Suicide bomber detonation near a checkpoint in Qalqilya,
                                                      no casualties


Unknown - a suicide terrorist detonated near checkpoint 108, west of Qalqilya during a suspect arrest procedure.
The Hamas website quoted a spokesperson on behalf of the Izz al-Din al-Qassam Brigades who announced that the
perpetrator of the attack near Qalqilya was Mahmud Muhammad Yusuf Shuli, from Asira ash-Shamaliya, north of
Nablus. The spokesperson said in a telephone call that so far responsibility had not been officially claimed due to
security reasons. Mahmud Shuli worked for National Security, he had informed his family in the past that he would
carry out an attack and then disappeared. The attack was carried out by a collaboration between the Hamas military
networks in Nablus and Qalqilya.


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                                     Suicide Terrorists in the Current Conflict

 April 19, 2002: Suicide bomber detonation in a car bomb near an IDF post at Gush Katif intersection, 2
                                                        injured


                      Abdallah Abu Ouda - a resident of Khan Yunis, aged 19, drove a white pickup type Peugeot
                      504 car bomb with an open rear trunk. The suicide terrorist arrived with the car at Pillbox 24 at
                      Gush Katif intersection, with 2 cars in front and adjacent to him, obscuring the front of the car
                      from the IDF pillbox viewpoint. When the 2 cars in front passed Pillbox 24 and moved away
                      from the intersection, the suicide terrorist reduced the speed of the vehicle, bringing himself to
                      a distance of several meters from the pillbox. A soldier at the post aimed his weapon at him
with the intention of opening fire at him. The suicide terrorist swerved the car from the driving route, approached the
concrete walls surrounding the pillbox and detonated the car. Responsibility for the attack was claimed by Islamic
Jihad.
                                                          ***


         April 12, 2002: Female Suicide bomber detonation at Mahane Yehuda market in Jerusalem,
                         6 killed (including 2 Chinese foreign workers) and 60 injured


Andalib Taqatiqa – a 21-year-old Tanzim operative from Bethlehem. The attack was directed by Muataz Haimoni,
the Palestinian Liberation Front (PLO) operative who was arrested as part of Operation ‘Defensive Shield.’ The
person who prepared the device for the attack was Marwan Zulum, the Tanzim senior in Hebron, who was killed as
a result of an initiated operation by the Security Forces. The device comprised of three plastic pipes and a battery,
and was hidden in a black women’s bag for the purpose of concealing it. On the day of the attack the suicide terrorist
was driven to Abu Dis and from there she took a taxi into the city of Jerusalem, reached Mahane Yehuda market –
where she detonated herself near an Egged bus. Several days before the attack, the suicide terrorist was filmed on a
video camera, wearing black and holding a Qur’an.




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                                      Suicide Terrorists in the Current Conflict

                 April 10, 2002: Suicide bomber detonation on a bus near Yagur intersection,
                                                8 killed and 17 injured


                   Ragheb Jaradat – a resident of Silat al-Khartiya/Jenin, aged 18, detonated himself inside a bus
                   which was on its way from Haifa to Jerusalem between Yagur intersection and Ha’Amakim
                   intersection. Responsibility was claimed by Islamic Jihad operatives. The network behind the
                   attack was the network of Iyad Sawlaha (killed) and Khaled Zkarna. Ayad and Khaled were the
                   ones who prepared Ragheb for the attack.


                                                           ***
              April 1, 2002: Suicide bomber detonation near a police checkpoint in Jerusalem,
                                               one police officer killed


                    Rami Issa – a resident of Dahshiya refugee camp/Bethlehem, aged 23, was a member of a
                    Tanzim military cell which carried out dozens of gunfire and bomb attacks in the Bethlehem and
                    Jerusalem area. (Cell members were detained). Around 6 months before the attack, along with
                    another youngster, they had robbed and murdered a money changer. The two were arrested,
                    released from their arrest several days before IDF entered the city and were recruited by Fatah
                    officials in Dahshiya refugee camp. On the day of the attack, police officers standing at the police
checkpoint on Hanevi’im St., on the corner of Shivtei Israel St. in Jerusalem, noticed a suspicious vehicle on the
pavement of Route 1. When the two officers arrived to inspect it, an explosion occurred. Responsibility for the
attack was taken by al-Aqsa Martyrs’ Brigades. Witness testimonials at the scene revealed that a driver who had led
the suicide terrorist fled moments before the blast. The suicide terrorist’s accompaniers to the attack were arrested
by the Israeli Security Agency and IDF. The detainees are brothers from the Sarahna family, residents of Dahshiya
refugee camp, who admitted in their interrogation with the Israeli Security Agency to taking part in dispatching the
suicide terrorist to the attack, while exploiting the blue identity cards of the wife and daughter of one of the
operatives for the purpose of leading the suicide terrorist into the territory of Jerusalem.


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                                     Suicide Terrorists in the Current Conflict

                  March 31, 2002: Suicide bomber detonation near a medical clinic in Efrat,
                                                          6 injured


                   Jamil Hamid – a resident of Bethlehem, a minor aged 16, who was recruited by Fatah, arrived in
                   a vehicle from the direction of Wadi Nis up to the Efrat settlement gate, exited the vehicle about
                   10m from the gate, entered the settlement on foot and detonated himself near an MDA (Magen
                   David Adom) station. Responsibility for the attack was claimed by the al-Aqsa Brigades. The
                   explosive device which was on his person was prepared by Yahya Da'masa and Ahmad
                   Mugrabi, among the leaders of the Fatah network in Bethlehem. Riyad al-Amur and Ibrahim
Ubiyat were the initiators and directors of the attack.


                                                            ***


                 March 31, 2002: Suicide bomber detonation at “Matza” restaurant in Haifa,
                                               15 killed and 34 injured


Shadi Tubasi – a resident of Jenin, aged 24, holder of an Israeli ID, due to his mother being an Israeli citizen from
Muqeible, entered the “Matza” restaurant in Neve Sha’anan/Haifa carrying on his person a device concealed in a
khaki colored explosive belt, and detonated himself. The attack was carried out under the direction of the Hamas
network in Jenin, headed by Qais Adwan. The suicide terrorist had been arrested in the past for disorderly conduct
as well as being arrested in Israel for criminal offenses. According to the interrogation of Bilal Ruzi, Shadi was
arrested in the Palestinian Authorities [sic] and accused of collaboration. The suicide terrorist wanted to clear his
name and approached Hamas asking to prove that he is not a collaborator by carrying out a suicide attack. His
arrival at the site of the attack and selection of an attack target were done independently, with no accompaniment,
while exploiting the fact he carried an Israeli ID.


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                                      Suicide Terrorists in the Current Conflict

 March 30, 2002: Suicide bomber detonation in a car and the killing of an additional terrorist during their
                     shooting down in Tulkarem, one police officer killed and one injured


                      Majdi Hanfar – a resident of Jenin, aged 21, approached Ahmad Ali Mahmud Abu Khadar,
                      a resident of Nablus, an Al-Aqsa Brigades operative and the right hand man of Nasser Awis,
                      the Tanzim commander in Nablus, asking to carry out a suicide attack. Abu Hadar informed
                      Nasser that he had a suicide terrorist available and Nasser requested to meet him the next day.
                      Abu Khadar took the suicide terrorist to the studio in Nablus to be photographed and later
                      drove the suicide terrorist to Nasser’s home and left him there. He was also requested by
Nasser to purchase a car with Israeli license plates. On the day of the attack the suicide terrorist departed, carrying
an explosive belt on his person, along with another terrorist, Fathi Amira, who was armed with an M-16 rifle and
cartridges to carry out an attack. The two arrived in the Baqa al-Gharbiyyeh area, were surprised by border forces
and began exchanging fire when the suicide terrorist detonated the explosive belt he was carrying while Fathi was
firing at the forces, until a border officer was killed by the gunfire.


                                                            ***


                   March 30, 2002: Suicide bomber detonation at “Bialik” café in Tel Aviv
                                          one (female) killed and 29 injured


                    Muhanad Salahat – a resident of Nablus, aged 23, entered the café wearing jeans and a blue
                    coat, stood near the drinks bar and detonated himself. Responsibility for the attack was claimed
                    by the al-Aqsa Brigades. The suicide terrorist was recruited into the al-Aqsa Brigades in Nablus
                    around 3 months before the attack. On the morning of the attack, he left his village for Israel
                    after shaving and having his hair cut very short. He had also informed his family of his intention
to carry out an attack.




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                                      Suicide Terrorists in the Current Conflict

                 March 27, 2002: Suicide bomber detonation at the “Park” Hotel in Netanya
                                              29 killed and 144 injured


                     Abd al-Baset Odeh – a resident of Tulkarem, aged 25, entered the Park Hotel in Netanya while
                     dozens of citizens were having their Leil Haseder (Passover) meal and detonated himself. The
                     attack was directed by the Hamas military networks in Tulkarem and Nablus, headed by Abbas
                     al-Sayyid and Muhanad Taher. Abbas al-Sayyid, responsible for the attack from Tulkarem
                     (detained), served as the Hamas military leader in the area. Abbas admitted in his interrogation
that he had planned to execute the attack many months earlier, but his plans were postponed. Abbas was the one
who instructed Ma’amar Shachruri, an operative from the network, to obtain 2 explosive belts from the military
network in Nablus and was the one who suggested for Fathi Hatsib to lead the suicide terrorist into Israel and locate
an appropriate target destination for the attack. Before the attack, Abbas and other operatives from the network
prepared Abd al-Baset for the execution of the attack - the suicide terrorist shaved his beard, applied make up, wore
a pair of feminine blue jeans, women’s shoes, a straight hair wig, a brown shirt and a brown leather coat with a
leopard print collar. This was all for the purpose of assimilating himself in crowded areas in Israel. Abbas equipped
the suicide terrorist with the explosive belt, which had the appearance of a khaki colored vest with pockets, in which
the explosive materials were concealed, which weighed 10kg, and explained to him how to operate it. After
photographing the suicide terrorist with an M-16 rifle, the movement’s flag in the background and photos of Shahids
[martyrs], Abbas wrote the suicide terrorist’s will in which it is stated that he is going to carry out an attack on
behalf of the Izz al-Din al-Qassam Brigades. In addition, Abbas equipped the suicide terrorist with a woman’s ID.
Muhanad Taher, a resident of Nablus, who served as head of the military arm of Hamas in Samaria (killed), was
responsible for supplying explosive belts from the network in Nablus to the network in Tulkarem. Fathi Hasib, a
Tulkarem resident (detained), admitted in his interrogation that he had purchased a vehicle in Israel in which he led
the suicide terrorist up to Tulkarem, where the two got into another car and drove from there into Israel.


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                                                                                              Israeli Security Agency [logo]


                                     Suicide Terrorists in the Current Conflict

   March 29, 2002: Female suicide bomber detonation at a supermarket in Kiryat Yovel in Jerusalem, 2
                                               killed and 22 injured


                    Ayat al-Akhras – an 18-year-old girl from Dahshiya refugee camp near Bethlehem.
                    The Fatah Tanzim organization took responsibility for the attack. The suicide terrorist was
                    carrying the explosive device that had been prepared for her in a black women’s bag. Ibrahim
                    Sarahna and his brother Musa Sarahna led the suicide terrorist to the destination of the attack.
                    The two led the suicide terrorist in a red pickup truck close to the supermarket in the Kiryat
                    Yovel neighborhood of Jerusalem. Prior to the attack, Musa approached two elderly Arab ladies
who were selling vegetables and warned them of the attack which was about to occur. Before departing to carry out
the attack, the suicide terrorist was filmed on a video camera and wrote a will in which she said goodbye to her
family.


                                                         ***


                    March 26, 2002: Suicide attack attempt at Haris/Qalqilya checkpoint,
                                                    no casualties


Unknown – an Israeli Police force, who was sitting in a police vehicle, identified a suspicious person standing near
Haris intersection. The police force called for the unidentified person to come closer for the purpose of questioning,
the unidentified person approached the police vehicle, attempted to open the car door while activating an explosive
belt which he was carrying on his person. Upon recognition of the activation attempt, the police vehicle moved away
from the area, the unidentified person took advantage of the delay, removed the explosive belt he was wearing on his
person and fled into the village of Haris. Overall information revealed that the Nablus and Jenin PFLP organizations
were behind this attempted attack.


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                                     Suicide Terrorists in the Current Conflict

                   March 22, 2002: Suicide bomber detonation at Salem/Jenin checkpoint,
                                                  one soldier injured


                       Anad Shaqirat – a resident of Ein Beit al-Ma refugee camp/Nablus, aged 25, who was
                       carrying an explosive belt on his person, took a Palestinian taxi, got out next to the checkpoint
                       and detonated himself. The attack was carried out in cooperation between the Tanzim
                       networks in Nablus and Jenin and with the assistance of the Islamic Jihad. Ziyad Yunis, from
                       the Tanzim in Jenin, transferred the suicide terrorist and another person from Ein Beit al-Ma
                       refugee camp into the hands of Muhammad Nurisi, a Tanzim operative from Jenin refugee
camp who was supposed to dispatch them for an attack. The two returned for unclear reasons to Jenin and were
arrested on their way by the military. During the arrest, the suicide terrorist detonated himself. Interrogations of
detainees of this case revealed that the device was prepared by Majed Qini from the Tanzim network in Nablus.
                                                          ***


          March 21, 2002: Suicide bomber detonation in a café on King George St. in Jerusalem,
                                               3 killed and 80 injured


Muhammad Hashaika – a resident of Talouza/Beka’ot, aged 21, a Palestinian policeman from Tall/Nablus,
detonated himself at the entrance to a café on King George St. in Jerusalem. Responsibility for the attack was
claimed by the al-Aqsa Brigades, who are identified with Fatah. The suicide terrorist had been arrested in the past by
the systems of the “Authority,” after receiving information from Israel regarding his intention to carry out a suicide
attack within the “green line” zone. In his interrogation then, Muhammad admitted that he was planning on carrying
out an attack in Ra’anana and that he had also been involved in smuggling the 2 suicide terrorists, who detonated
themselves after running into Israeli security forces near Mei Ami (February 8). Later, the suicide terrorist was
transferred, at the Palestinians’ request, with an Israeli permit and escort, from Tulkarem to Ramallah, for the
purpose of detaining him there, and then he was either released or escaped with the authority turning a blind eye.
Several days before the attack, contact was renewed between the suicide terrorist and Nasser Shawish, who had
tried to dispatch him for an attack in the past, and with the renewed contact preparations were complete for
dispatching Mohammed for an attack. Muhammad was directed and dispatched for the attack by Abd al-Karim
Awis and Nasser Shawish from the Tanzim network in Jenin. The leading of Muhammad to the attack location was
done by two young women (arrested).
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                                     Suicide Terrorists in the Current Conflict

          March 20, 2002: Suicide bomber detonation on a bus at Musmus/Wadi Ara intersection
                                  7 killed (including 4 soldiers) and 28 injured


                    Rafat Abu Diyak – a resident of Silat al-Dhahr/Jenin, aged 24, worked in a clothing store in
                    Jenin. The suicide terrorist boarded Egged bus no. 823 from Tel Aviv to Nazareth Illit at Umm
                    al-Fahm intersection and detonated himself at Musmus intersection near the rear door. The
                    Islamic Jihad headed by Thabet Mardawi took responsibility for the attack before the Islamic
                    Jihad headquarters in Syria. In Thabet Mardawi’s interrogation, the latter said that around a
                    week before the attack, the suicide terrorist Abu Diyak approached Mahmud Nursi and told
him that he was intending to carry out a suicide attack. Thabet said he was present for the conversation between the
suicide terrorist and Mahmud Nursi. Thabet also said that if the suicide terrorist could enter Israel alone, they would
supply him with the explosive belt. On the evening before Rafat’s departure for the attack, Mahmud Nursi gave him
an explosive belt, which was prepared by Thabet and Mahmud.


                                                          ***



            March 17, 2002: Suicide bomber detonation at French Hill intersection in Jerusalem
                                                      25 injured


                       Akram Nabtiti – a resident of Ayida refugee camp, aged 24, an Islamic Jihad operative,
                       worked as a tailor, attempted to board the bus on French Hill in Jerusalem, upon failing to
                       board the bus he detonated himself next to it. The attack was carried out by the leading
                       Islamic Jihad military network in Bethlehem headed by Muhammad Ta’amri. In addition,
                       Bassam Abu Aqar and Ahmad Balbul participated in the execution of the attack, with
                       Bassam even taking care of writing the suicide terrorist’s will.


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                                     Suicide Terrorists in the Current Conflict

                 March 9, 2002: Suicide bomber detonation at Café “Moment” in Jerusalem,
                                              11 killed and 58 injured


                     Fuad Hurani – a resident of Al’Arub refugee camp (born in Bethlehem), aged 22, a student at
                     the teachers college in Ramallah, a religious Hamas operative, his father is a Palestinian
                     Authority officer. Around two years before the attack, he was suspected by the Palestinian
                     Preventative Security Services of intending to carry out a suicide attack as part of Hamas. The
                     Hamas headquarters in Ramallah was responsible for the execution of this attack with
                     assistance from an east Jerusalem cell. At the Israeli Security Agency it was revealed that
Ibrahim Hamed, head of the military Hamas in Ramallah told Muhammad Arman that he had a suicide terrorist
available and instructed him to transfer him to Wa’el Qasem, commander of the east Jerusalem cell. The collection
point for the departure for the attack was set in the mosque in Beit Hanina. Arman and the suicide terrorist met at the
al-Bireh mosque. Hamed took the suicide terrorist from the mosque, equipped him for the attack and accompanied
him to a taxi stand, from which the suicide terrorist drove to the new Beit Hanina mosque. In his interrogation he
said that the suicide terrorist waited for him near the new Beit Hanina mosque, where he picked him up and dropped
him off at the intersection before the café, showed the suicide terrorist the attack target and drove away. Moreover,
along with other cell members, Wa’el Qasem dealt in gathering information on additional destinations for attacks.
                                                          ***

    March 7, 2002: Detection of a suicide terrorist with an explosive device concealed in a birdcage in
                                               Karkur, no casualties


                      Bilal Walid Ali – a resident of Sanur/Jenin, aged 18, was walking around with a birdcage in
                      the Karkur area. An Israeli citizen who suspected him called out to him in Hebrew to stop and
                      when he received no reply, spoke to him in Arabic. The suicide terrorist placed the birdcage on
                      the ground and then the citizen noticed pipes on the suicide terrorist’s body, presuming he had
                      an explosive belt. The citizen retreated and the suicide terrorist fled the scene. The birdcage he
                      left behind was found to be booby trapped with an improvised explosive device and a switch.
The next day, the suicide terrorist was caught and admitted in his interrogation that he had agreed to carry out a
suicide attack after falling out with his father and becoming tired of his life. According to him he was photographed
by his dispatchers holding a gun and a pistol, had the explosive belt strapped to him and was equipped with the
booby trapped birdcage. After receiving instructions as to how to operate the devices,
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                                     Suicide Terrorists in the Current Conflict

he was smuggled by operatives into Israeli territory in order to carry out the attack. The suicide terrorist also turned
in the explosive belt, which was detonated by an explosives expert. The attack was directed by the Islamic Jihad
organization.
                                                           ***
                March 7, 2002: Detection of a suicide terrorist at Eshel Hashomron hotel in Ariel,
                                                        9 injured

                        Shadi Nasser – a resident of Madama/Bek’aot, aged 24, arrived on foot, dressed in a long
                        coat, from the direction of Kifl Hareth towards the gas station at the entrance to Ariel while
                        carrying a yellow plastic jerry can for petrol. Upon his arrival near the gas station he turned
                        towards the “Eshel Hashomron” hotel, located near the station, and placed the empty jerry
                        can in the corner at the entrance to the hotel. At this stage the suicide terrorist aroused the
                        suspicion of citizens at the scene, who alerted two IDF officers in order to arrest him. The
                        suicide terrorist managed to make it to the hotel, went up to the upper floor, down to the
lobby again, where he ran into the two officers and activated the explosive device he was carrying on his person.
The attack was carried out by the Popular Front military network in Nablus, headed by Kamil Abu Hanish
(detained). During the interrogation of Mahmud Issa, one of the Nablus military PFLP’s leaders, the latter said that
Kamil Abu Hanish approached him and told him that there was a young man from Madama/Beka’ot, a recruit of
Yamen Faraj (killed), who was supposed to carry out a suicide attack in Ariel. Kamil also asked Issa to approach
Fatah operatives in order for them to prepare an explosive device for him. An operative named Munzar Khalaf
drove the suicide terrorist in a shuttle vehicle up to the taxi station in Rafidia where they met with Yamen Faraj,
from which point Yamen and the suicide terrorist continued in the direction of the Tel checkpoint, where the suicide
terrorist headed on to Ariel.
                                                           ***
                  March 7, 2002: Capturing of a suicide terrorist at Café “Caffit” in Jerusalem,
                                                     no casualties

Nidal Mish’al – a resident of Makbar/Jerusalem, aged 21, a Hamas operative, entered Café “Caffit” on Emek
Refa’im St. on the corner of Hanania St. in Jerusalem with a bag containing an explosive device. Wires were visible
on the bag, and the suicide terrorist was shaking, which aroused the suspicion of one of the employees who pinned
him down, with the help of other citizens. The Hamas network in Bethlehem was behind this attempted attack and
within its exposure it was revealed that it was based on 6 students from Abu Dis College (detained), who formed a
central component in the preparations for the attack, the recruitment of the suicide terrorist and his dispatching to
Jerusalem. In his interrogation, the suicide terrorist said that Mumammad Khalil Shaqirat
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                                      Suicide Terrorists in the Current Conflict

recruited him into the “Izz al-Din al-Qassam Brigades,” and they later discussed the idea of Nidal’s suicide in an
attack. The suicide terrorist wanted to die in the attack out of the belief that he would die a “shahid” [martyr] and he
also aspired to avenge the deaths of the shahids [martyrs] who had been killed in the Intifada.
                                                           ***
                         March 5, 2002: Suicide terrorist detonation on a bus in Afula,

                                                1 killed and 20 injured

                    Abd al-Karim Tahaina – a resident of Silat al-Khartiya/Jenin, aged 23, detonated himself at the
                    Afula central station on bus no. 823 which was making its’ way from Nazareth Illit to Tel Aviv.
                    The driver’s account revealed that the suicide terrorist boarded the bus at the Nazareth Illit
                    central station wearing jeans, a white-cream colored turtleneck shirt and an IDF type duffle coat.
                    He gave the driver a 50 NIS bill and moved towards the rear part of the bus, when he was called
                    by the driver to take his change, he reached the driver, took the change and returned to sit at the
back of the bus. At the entrance to the central station in Afula he activated the explosive belt on his person.
Responsibility for the attack was claimed by the Islamic Jihad.


                                                           ***
                  March 2, 2002: Suicide terrorist detonation on Haim Ozer St. in Jerusalem,

                                                          10 killed and 46 injured

                    Muhammad Darghama – a resident of Dahshiya refugee camp/Bethlehem, aged 18, detonated
                    himself on Haim Ozer St. in the Beit Israel neighborhood of Jerusalem, on Saturday evening,
                    near a group of people exiting the synagogue. According to an eyewitness account, the suicide
                    terrorist was disguised as an ultra-orthodox Jew. Responsibility for the attack was claimed by the
                    “al-Aqsa Martyrs’ Brigades.” The suicide terrorist was led to the site by Ashraf Hajajra, aged
                    20, a “professional” criminal from Dahshiya refugee camp who was arrested near the scene of
the attack. In his interrogation at the Israeli Security Agency, Ashraf admitted to that which was attributed to him
and regarding the Tanzim military network in Dahshiya refugee camp/Bethlehem which carried out the attack. On
May 27, 2002, the network seniors Ahmad Mughrabi and Mahmud Sarahna, who had confessed in their
interrogation as to their responsibility for the direction of the execution [sic] and preparation of the network for it,
were arrested.
                                                           ***

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                                     Suicide Terrorists in the Current Conflict

              February 27, 2002: Female suicide bomber detonation at Maccabim checkpoint,
                                                2 injured (policemen)
Darin Abu-Aysha – aged 22, a resident of Beit Wazan in Samaria. The suicide terrorist arrived at Maccabim
checkpoint heading from east to west in a vehicle with two Tanzim operatives, Hafez Muqbil and Musa Hasuna. The
two were asked to show their identity cards, when the suicide terrorist was asked to identify herself, the detonation
occurred. The suicide terrorist was killed, and two Israeli police officers sustained minor injuries. Before her
departure for the suicide attack, the suicide terrorist was photographed holding a sharp knife by Ahmad Aasi, a
journalist from Ramallah. The Fatah’s Tanzim organization claimed responsibility for the attack.


                                                          ***
                   February 22, 2002: Suicide bomber detonation at a supermarket in Efrat,
                                                       3 injured


                    Muhammad Dar Yassin – a resident of Doha/Bethlehem, aged 26, worked as a construction
                    worker in Efrat, attempted to detonate himself using an explosive belt in a supermarket, located
                    in the southern shopping center of the settlement. Since he did not succeed in detonating the
                    explosive belt, which contained pipe bombs and a pressure charge, and after he was identified as
                    a terrorist he was shot dead by an Efrat resident. The attack was directed by the Tanzim network
                    in Bethlehem headed by Yahya Da’amsa, in collaboration with Rafat Jawabra, head of the
Tanzim in Doha.


                                                          ***
              February 22, 2002: Suicide bomber detonation near a bus at Mehola intersection,
                                                     no casualties


                     Omar Yassin – a resident of Junaid/Nablus, aged 20, attempted to board an Egged bus
                     traveling from Jerusalem to Tiberias. The driver, who suspected the suicide terrorist due to the
                     way he was dressed (an inflated coat) and his appearance, instructed him to get off the bus for
                     an inspection. When the driver began the inspection the suicide terrorist fled, and after a few
                     meters he detonated himself




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                                     Suicide Terrorists in the Current Conflict

and was killed. Responsibility for the attack was claimed on behalf of the Black Arms/the al-Aqsa Martyrs’
Brigades. Behind the dispatching of the suicide terrorist to the attack was The Tanzim network in the village of
Qalil, headed by Majed Qini, who prepared Amar for the attack and accompanied him for part of the way, up to
Wadi Bidan, from which point he was picked up by another operative who led him to the area of the attack.
                                                          ***
         February 18, 2002: Suicide bomber detonation in a car bomb next to al-Za'im checkpoint,
                                        one policeman killed and 2 injured


                     Yasser Owda – a resident of Beit Sahour, aged 34, married and father of three, a Fatah
                     operative, originally from Jordan, received an identity card by family unification, due to his
                     wife being a resident of Beit Sahour. The suicide terrorist was parked in a gray Peugeot 205
                     vehicle, on the roadside on the route from Ma’ale Edumim to Jerusalem. A police car with two
                     policemen noticed the vehicle, suspected it, and when they noticed the suicide terrorist
                     distancing himself from the car, they detained for questioning. The suicide terrorist claimed he
was a resident of Abu Dis, married with three children and that he was stuck without gas and was on his way to Al-
Tur to fill up gas. While one of the policemen exited the police car to question him, the suicide terrorist leapt into
the vehicle and activated the explosive device. The attack was carried out by the Tanzim network in Bethlehem,
under the direction of Ahmad Ma’arbi, who admitted in his interrogation at the Israeli Security Agency that he had
sent the suicide terrorist to detonate himself in the car bomb around a week before carrying out the attack at the
checkpoint but he did not detonate it, as he didn’t find an appropriate place to do so.
                                                          ***
February 17, 2002: The killing of 2 suicide terrorists on their way to carry out an attack near Camp 80, 2
                                                    injured policemen

Muhammad Hamouda – a resident of Nablus, aged 18 and Abd al-Jabar Khaled, a resident of Jayyous/Qalqilya,
aged 22, drove in a Mazda 323 vehicle towards Hadera. A police vehicle on the road suspected them and decided to
pull over the vehicle. While driving, they opened fire from the vehicle towards the police car. The vehicle stopped in
the Camp 80 area, letting one terrorist out who apparently cast a device or grenade and attempted to shoot at the
policemen. The policemen returned fire and killed the terrorist. The second terrorist continued driving in the
direction of Talmei Elazar with the police car chasing while continuing to fire. In the Metzer area, while the
policemen were trying to overtake the vehicle, an explosion occurred in the terrorist’s vehicle and the vehicle began
to go up in flames. Responsibility for the attack

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                                      Suicide Terrorists in the Current Conflict

was claimed by the al-Aqsa Martyrs’ Brigades. Ayad Mahmud Salah Nasser, a Fatah military operative in
Tulkarem, told in his interrogation at the Israeli Security Agency of his involvement in the attack and the
involvement of Muhammad Zitawi, head of the Tanzim in Tulkarem, in the execution of the attack.
                                                            ***
         February 16, 2002: Suicide terrorist detonation at the shopping center in Karnei Shomron,

                                                 3 killed and 22 injured

Zadek Abd al-Hafat – a resident of Qalqilya, aged 19, a student at the vocational college in Kalandia, detonated
himself at a pizzeria in the shopping center in Karnei Shomron. The “Popular Front” claimed responsibility for the
attack. The attack was planned and executed by the PFLP military network in Qalqilya, under the direction of Raad
Madi, in collaboration with the PFLP network in Nablus, headed by Ahad Oulma.
                                                            ***
 February 6, 2002: Capturing of a suicide terrorist on a bus traveling from Jerusalem to Ma’ale Edumim,
                                                      no casualties


                      Nidal Sourakji – a resident of Nablus, aged 23, boarded Egged bus no. 176 at French Hill
                      intersection and seated himself next to the driver. The driver noticed him moving his hands
                      inside the pocket of the coat he was wearing and suspected him when he saw electrical wires
                      protruding from his coat. At al-Za'im intersection, the driver brought border force police onto
                      the bus, who bound the suicide terrorist’s hands and removed him from the bus. Explosives
experts neutralized the explosive belt’s activation system. In his interrogation, the suicide terrorist said that he had
agreed to be a shahid as he was deeply affected by the death of his relative, Yusuf Surkaji (a senior Hamas member)
and the scenes he witnessed after his death. The recruitment of the suicide terrorist was carried out by Ayman
Shakhshir, whom he had met several years earlier when going out for the “Umrah” ceremony. Muhanad Taher
transferred the suicide terrorist tactical instructions for the execution of the attack: instructions for assimilation
purposes, instructions for driving towards Jerusalem, instructions for the activation of the explosive belt and a guide
of the destination. On the day of the attack the suicide terrorist shaved and purchased new clothes (to give him an
Israeli appearance), later in the morning he arrived at Ayman’s house where he strapped on the belt and wore a coat
over it. In the Anata checkpoint area, a person joined him who accompanied him to the area of the target destination.
When he arrived at the station, he boarded the bus with one hand in the pocket where the activation switch was
located. He paid the driver but could not activate the device, was overcome with fear and eventually caught.
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                                     Suicide Terrorists in the Current Conflict


    January 30, 2002: Suicide terrorist detonation on his way to meet an ISA coordinator near Tayibe,
                                                       2 injured

                     The suicide terrorist Marad Abu Asal – a resident of Anabta/Tulkarem, aged 23, boarded a
                     shuttle vehicle on the way to a meeting with an ISA coordinator and detonated himself. The
                     attack was carried out under the planning and direction of the Islamic Jihad operatives Ayad
                     Sualaha and Tarek Izz al-Din and with the assistance of operatives from the Tulkarem area:
                     Muastim Mahluf, Jasser Radar and Fadi Bahti. The suicide terrorist spent the night before
                     the attack with Muastim, who armed him on the morning of the attack according to precise
instructions he received from Ayad Sualaha and then sent him off to the attack.


                                                          ***
               January 27, 2002: Female suicide terrorist detonation on Jaffa St. in Jerusalem,

                                                one killed, 90 injured

                     Wafaa Idris – aged 31, a resident of the Alma’ari refugee camp in Ramallah, divorced,
                     without children due to infertility, worked at the ‘Red Crescent’ organization. The suicide
                     terrorist was an academic and a nurse. Three of the suicide terrorist’s brothers are members of
                     the Fatah organization and the eldest was detained by Israel in the first Intifada. The attack was
                     carried out under the direction of a Tanzim operative from Ramallah. The suicide terrorist was
injured twice as a result of rubber bullets being fired while she was providing medical assistance to injured
Palestinians, a fact which may have served as a motive to carry out the attack. This is the first suicide attack carried
out by a woman in this conflict.
                                                          ***
               January 25, 2002: Suicide terrorist detonation on Neve Sha’anan St. in Tel Aviv

                                                      23 injured




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                                     Suicide Terrorists in the Current Conflict

Safwat Khalil – a resident of Beit Wazan/Nablus, aged 18, detonated himself on Neve Sha’anan St. near the old
central station in Tel Aviv. An additional terrorist who was supposed to carry out a shooting was captured at the site
of the attack. The attack was directed by the Islamic Jihad network in Jenin, and in collaboration with a Fatah
operative, who was supposed to carry out the shooting. Nasser Shawish and Rabi' Abu Rub from the network in
Jenin were the ones who smuggled both terrorists into Israel through Tulkarem in the morning, in cooperation with
Israeli Arab facilitators.


                                                          ***
                       December 15, 2001: Suicide terrorist detonation near a checkpoint south of Tulkarem,
                                                                no casualties

                       The suicide terrorist Muhammad Faraj – a resident of Nur Shams/Tulkarem, aged 28,
                       single, an Islamic Jihad operative, detonated himself about 30m north of checkpoint 105, south
                       of Tulkarem. The attack was carried out in cooperation between the Tanzim and Islamic Jihad
                       organizations in Tulkarem. The suicide terrorist was recruited and prepared for the operation
                       by Riyad Badir, an Islamic Jihad military operative from Tulkarem, in coordination with
Anwar Alyan, a GA [?] military operative from Nur al-Shams and a member of a military cell in the Tulkarem area
(detained).
                                                          ***
                December 12, 2001: 2 Suicide terrorist detonations near Ganei Tel/Gush Katif,

                                                       3 injured

                                                The suicide terrorists




              Ajmad Abu Fiyad                                              Ali Ashour


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                                     Suicide Terrorists in the Current Conflict

Ajmad Abu Fiyad, a resident of Sheikh Hamouda/Gaza, and Ali Ashour, a resident of Khan Yunis, both 22-year-old
students, detonated explosive devices they were carrying in their bags against 2 vehicles traveling to Ganei Tel,
before one of them committed suicide, the terrorist detonated a ground explosive device. The attack was carried out
by the Hamas organization in Khan Yunis, under the direction of Muhammad Deif. Ismail Hamdan served as
Muhammad Dif’s contact person to the rest of the operatives. The most senior operative in Muhammad Dif’s
network in the Khan Yunis area was Abdallah al-Fara, who was seemingly the person behind the attack.


                                                          ***
           December 9, 2001: Suicide terrorist detonation at the Check Post intersection in Haifa,

                                                      30 injured

Nimr Abu Sifin – a resident of Yamun/Jenin, aged 18, carried an explosive belt on his person and detonated
himself among a group of soldiers at the Check Post intersection in Haifa. The explosive device did not fully
detonate, the suicide terrorist sustained heavy injuries as a result of the explosion and was shot dead by police
officers at the scene. A map/sketch was found on his body explaining how to get to Haifa, as well as a Qur’an and a
journey prayer in Arabic. The claiming of responsibility was published by the Islamic Jihad organization. The attack
was carried out by the Islamic Jihad network in Samaria, with the assistance of Tanzim operatives.


                                                          ***
         December 4, 2001: Suicide terrorist detonation near the Mamila Hilton hotel in Jerusalem,

                                                                 5 injured

                    Dawud Sayid – a resident of Artas/Bethlehem, aged 46, married and a father of 8, detonated
                    himself on the corner of David Hamelech Way and Eliyahu Shmaiya in Jerusalem, several
                    meters from the Mamila Hilton hotel. The suicide terrorist had apparently attempted to board a
                    bus but did not manage to do so. The military arm of the Islamic Jihad organization, the
                    “Jerusalem Brigades,” claimed responsibility for the attack. The attack was carried out by the
                    Islamic Jihad network in Bethlehem which is in continuous and direct contact with the Islamic
Jihad headquarters in Damascus. The network commander behind the dispatching of the suicide terrorist to the
attack was Issa Muhammad Isma'il Batat from Bethlehem (detained).




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                                                                                                   Israeli Security Agency [logo]


                                      Suicide Terrorists in the Current Conflict

 December 24, 2001: Suicide terrorist detonation on a bus on Yad Levenim St. in Haifa, 15 killed and 35
                                                          injured

                      Maher Habishi – a resident of Nablus, aged 20, single, detonated himself on an “Egged” bus
                      on route 16 on “Yad Levenim” street, in Haifa’s Lower City. Questioning of the bus driver
                      revealed that the suicide terrorist boarded the bus one stop before the explosion, paid and began
                      moving further into the bus. When the driver called him to give him his change, the suicide
                      terrorist turned around and detonated himself, apparently using an explosive belt as he was not
                      carrying a bag. The Hamas movement claimed responsibility for the attack. The director of the
                      attack was Salim al-Hija, one of the senior members of the Hamas military network in
Samaria. In his interrogation he said that he received the suicide terrorist and prepared him for the attack, while
checking whether the suicide terrorist was really prepared to die, and told him that if he was not ready then it would
be better if he did not depart for the attack. Haja gave the suicide terrorist a briefing of the target location, after
studying the subject, and instructed him not to speak at length with the bus driver.


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                                                                                              Israeli Security Agency [logo]


                                     Suicide Terrorists in the Current Conflict

 December 1, 2001: 2 Suicide terrorist detonations on the Ben Yehuda pedestrian street in Jerusalem, 11
                                               killed and 170 injured

                                                The suicide terrorists




                  Osama Bahar                                             Nabil Abu Halabiya

Osama Bahar, aged 25, a member of Hamas in Abu Dis, member of the security committee in the jail and
interrogator of persons suspected of collaboration and Nabil Abu Halabiya, aged 24, known as a General
Intelligence operative, a plasterer by trade, with combat skill knowledge, a resident of Abu Dis, detonated
themselves on the Ben Yehuda pedestrian street in Jerusalem. Around 15 minutes later, a car bomb exploded on
[Ha’Rav] Kook Street near the pedestrian street. The Hamas organization claimed official responsibility for the
attack. Osama approached Farid Atrash (a resident of Abu Dis who served as a communication pipeline between
the Hamas military operations in Ramallah and Jerusalem) and asked him to meet with Jamal Tawil, a senior
Hamas operative from Ramallah, for them to be recruited into the military Hamas. Tawil told Farid that Osama
needs to “arrive at Manara Square in two weeks on Sunday wearing a black jacket and holding a newspaper.” Later,
Tawil passed on Osama’s message to Ibrahim Hamed, one of the heads of the Hamas headquarters in Ramallah,
who, apparently, was recruited for the attack. In the interrogation of Abdallah Jamil, a senior member of the Hamas
network in Ramallah, he said that he had prepared and transferred the [explosive] belts and devices for the attack via
Sayyid Sheikh Qasem, Ibrahim Hamed’s officer of operations. Nabil Abu Halabiya was Osama’s good and close
friend and apparently was recruited for the attack using the method of “a friend brings a friend.” The car bomb that
exploded belonged to Nader Alyan, a resident of Abu Dis, an Islamic Jihad operative, who admitted in his
interrogation that the vehicle, a blue 1987 Opel Kadett, belonged to him, but since he lived in the [Palestinian]
Territories and the vehicle had Israeli license plates, Nader required the assistance of his friend, Murad Abu Ramila
who registered the vehicle under his cousin’s name. Nader sold the car to Nabil and Osama and gave it to them the
day before the attack.




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                                                                   Israeli Security Agency [logo]


                      Suicide Terrorists in the Current Conflict

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                                                                                               Israeli Security Agency [logo]


                                     Suicide Terrorists in the Current Conflict



                 November 29, 2001: Suicide terrorist detonation on a bus next to Camp 80,
                                               3 killed and 8 injured

Samer As'ad Sahwana – a resident of Silat al-Khartiya/Jenin, aged 20, single, religious, detonated himself on
Egged bus no. 823. The explosion occurred near Camp 80. Investigation of the incident revealed that before the
detonation, the bus picked up one passenger from the station at Umm al-Fahm intersection, around 25 years old with
a neat appearance, a small moustache and shaved black hair. The passenger handed the driver two 100 NIS bills and
said “Hadera.” The driver noticed two more people at the station, one of them patted the back of the passenger who
boarded the bus. The passenger walked towards the rear part of the bus and sat down. The driver arrived at Camp 80
intersection, heard a sort of small explosion, stopped, then a mighty explosion occurred. Responsibility for the attack
was claimed by the Islamic Jihad movement. During Operation “Defensive Shield” (April 2002), Thabet Mardawi,
a senior Islamic Jihad military operative from Jenin was arrested, who gave information of the attack in his
interrogation, according to which, Mahmud Tawalba (killed) was arrested by the PA. Before his arrest, Mardawi
had received an explosive belt ready for use from him. He also said that Muhammad Yassin al-Anini (killed)
recruited the suicide terrorist. Mardawi gave Muhammad the explosive belt which was in his possession for two
days before the attack was carried out. Muhammad was the one who photographed the suicide terrorist and the one
who drove him to the Umm al-Fahm area, from which the suicide terrorist was meant to get to the area of a large
city. According to the plan he was not supposed to detonate himself near Camp 80, therefore they were late in
claiming responsibility for the attack.
                                                          ***


                     November 26, 2001: Suicide terrorist detonation at Erez checkpoint,

                                          2 injured border police officers

                   Taysir Al-Ajrami – a resident of Jabalia refugee camp/Gaza, aged 25, married and a father of 3,
                   worked at a sewing workshop for around a month in the Erez industrial zone and apparently
                   gathered information ahead of the attack. In the early hours of the morning while workers were
                   entering the checkpoint, the suicide terrorist arrived and stood in the line for the revolving gate
                   which regulates the workers’ entrance. Several minutes later he activated a device he was
                   carrying in his hands as he was standing next to the post viewing the people entering.
Responsibility was claimed by the Hamas Izz al-Din al-Qassam Brigades.
                                                          ***

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                                                                                                 Israeli Security Agency [logo]


                                     Suicide Terrorists in the Current Conflict



  November 8, 2001: Suicide terrorist detonation during his shooting down in Baqa al-Sharqiyya on his
                    way to carry out a suicide attack, 2 border force police officers injured

                      Mayed Khatib – a resident of Tulkarem, aged 25, a structural engineering student at Bir Zeit
                      [University] and later at Al-Najah [University]. He was responsible for the “Preaching
                      Committee” at the Kutla[Islamic Bloc]. During the operation to capture the suicide terrorist,
                      who was seeking to carry out a suicide attack in the territory of Israel, the suicide terrorist
                      noticed our forces and detonated himself. The Izz al-Din al-Qassam Brigades claimed
                      responsibility for the attack. The attack was carried out by the Hamas network in Nablus,
headed by Yusuf Sorkaji (killed). Other participants in the execution of the attack were Nasim Abu Rus (killed) -
“head engineer” and operational supervisor, Taher Nasser (killed) - dispatcher, Nasr Adin Asida (detained) - front
operator and head of cell/s.


                                                          ***
    October 17, 2001: Suicide terrorist detonation next to an IDF jeep, in the Hurshat Be’eri area in the
                                              Negev, 2 injured soldiers

                     Fuad Abu Sariah – a resident of Gaza, aged 25, single, detonated himself by an unarmored
                     IDF jeep in which there were two scouts performing a reconnaissance at the time. The
                     explosion occurred around 400m east of the border fence, inside Israel. An examination of the
                     area after the incident revealed that the suicide terrorist smuggled himself into Israeli territory,
                     while dressed in IDF uniform, from a border fence area with a small bridge for the transporting
                     water. After crossing the bridge he reached a wood in which he hid, as soon as he recognized
the jeep he ran towards it and detonated himself. The “Popular Front” claimed responsibility for the attack.




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                                                                                                Israeli Security Agency [logo]


                                     Suicide Terrorists in the Current Conflict



             October 7, 2001: Suicide terrorist detonation near the entrance to Kibbutz Shluhot,
                                                       one killed

Ahmad Draghma – a resident of Tubas/Jenin, aged 17, detonated himself next to the vehicle of a resident of
Kibbutz Shluhot (near Beit She’an) at the entrance to the Kibbutz. Responsibility was claimed by the Islamic Jihad
organization. The attack was carried out by the Islamic Jihad network in Tubas. The interrogation of Thabet
Mardawi by the Israeli Security Agency revealed that Ayman Draghma dispatched the terrorist and gave him a
suitcase weighing 8-10kg for the attack.


                                                          ***
                 September 9, 2001: Suicide terrorist detonation at the Nahariya train station,
                                               3 killed and 46 injured

Shaker Habishi – a resident of Abu Sanan, aged 48, married and a father of 6, detonated himself on the platform of
the Nahariya train station. The Hamas organization claimed responsibility for the attack and published a video tape
in which the suicide terrorist was filmed before his departure for the attack. Around 10 days before the attack, the
suicide terrorist was suspected as a potential terrorist, his photograph was distributed to the police and an attempt to
arrest him was made. The attack was carried out by the Hamas military network in Samaria. Qais Adwan, one of the
heads of the military arm in Samaria (killed) was behind this attack, he recruited the suicide terrorist for the suicide
attack and later provided him shelter after the suicide terrorist fled from his home.


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                                                                                              Israeli Security Agency [logo]


                                    Suicide Terrorists in the Current Conflict



               September 4, 2001: Suicide terrorist detonation on Hanevi’im St. in Jerusalem,
                                                     13 injured

                     Raed Barghouthi – a resident of Ramallah, aged 26, single, a teacher, graduate of the Sharia
                     college in Abu Dis, a Hamas operative since the early 90’s, a religious extremist, detonated
                     himself on Hanevi’im St. in Jerusalem while being arrested by border force police officers who
                     suspected him. The Izz al-Din al-Qassam Brigades claimed responsibility for the attack. Eye
                     witness accounts revealed that the suicide terrorist was wearing black trousers, a white shirt and
                     a black kippah, with an ultra-orthodox Jew appearance, carrying a large rucksack on his back.
Walking along with him was another person, Ahed Natsheh, who was injured in the explosion, and who served as
the suicide terrorist’s assistant. The network which executed the attack was the Hamas headquarters network in
Ramallah, which operated using operatives from Ramallah and Jerusalem. In his interrogation at the Israeli Security
Agency Ahed Natsheh said that he had met the cell members and the suicide terrorist at the mosque in el-Bireh two
weeks before the attack, and concluded that the attack would be carried out within a few days. According to the
original plan the attack was supposed to be carried out on Egged bus no. 13 in Jerusalem, and then was changed to
the route 13 bus station. On the day of the attack Ahed met the suicide terrorist at a-Ram intersection and from there
they continued to Jerusalem. In Jerusalem they met with Hamza Qaluti, who gave them the explosive device, and
Ahed led the suicide terrorist to the Klal building area. Examinations revealed that the explosive device for the
attack was prepared by Ahmad Abu Taha and Raed Abu Daher (commander of the cell), and that Raad was
recruited for the attack by Bilal Barghuthi.
                                                         ***
         August 12, 2001: Suicide terrorist detonation at the “Wall Street” café in Kiryat Motzkin,

                                                     16 injured

Muhammad Nasr – a resident of Qabatiya/Jenin, aged 28, single, detonated himself at the “Wall Street” café,
located on Sderot Ben-Gurion in Kiryat Motzkin. Eye witnesses at the scene said that Muhammad wore blue jeans
and a white buttoned shirt and was not carrying a bag. He was acting irritably, with a sort of bandage wrapped
around his body, beneath which electrical wires were protruding. The suicide terrorist pressed on an object he was
holding in his hand which looked like a lighter, and then the explosion occurred. Responsibility for the attack was
claimed by the Islamic Jihad organization. The attack was carried out by the Islamic Jihad’s military organization in
Jenin, headed by Mahmud Nursi.
                                                         ***

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                                                                                                Israeli Security Agency [logo]


                                    Suicide Terrorists in the Current Conflict

          September 4, 2001: Suicide terrorist detonation at the “Sbarro” restaurant in Jerusalem,
                                             15 killed and 110 injured

Izz al-Din al-Masri – a resident of Aqaba/Jenin, aged 22, single, detonated himself at the “Sbarro” restaurant on
the corner of King George Street and Jaffa Street in Jerusalem. The attack was planned and directed by the Hamas
network in Ramallah. The deadly explosive device was manufactured by Abdallah Jamal, head “Engineer” of the
Hamas network in the Judea area who dealt in the production of the explosive devices and the training of Hamas
operatives in the production of explosive devices and the establishment of explosives laboratories. Jamal concealed
the powerful device inside a guitar, which was placed in a guitar case and provided perfect concealment. The
network which carried out the attack was directed by Bilal Barghuthi, a 27-year-old senior Hamas operative from
Beit Rima. The recruiter and assistant was Muhammad Daghlas, a Hamas military operative aged 24 from Burqa,
who was operated by Barghuthi. Daglas recruited Izz al-Din and the female guider Ahlam Tamimi, aged 20, a
Jordanian who was living in Ramallah, learning in Bir Zeit and working as a journalist. Daghlas bought the guitar in
which the explosive device was concealed as well as a carrying case for the guitar. Tamimi dealt with gathering
information ahead of the attack. Barghuthi met with the suicide terrorist the day before the execution of the attack,
hosted him overnight and offered him hospitality in an apartment in the Ramallah area and went out with him to buy
new clothes. On the day of the attack Daglas received the suicide terrorist at the mosque in el-Bireh and later they
met with Barghuthi, who took them to the operational apartment in the Am’ari refugee camp. At the apartment, Bilal
briefed the suicide terrorist on how to operate the device. As well as this, on the day of the attack Daghlas met with
Tamimi in Ramallah together with the suicide terrorist. Tamimi continued with the suicide terrorist and the device
which was concealed in the guitar to a taxi stand in Ramallah, from which they took a taxi to Jerusalem. Tamimi
carried a camera with her and talked to the suicide terrorist, who was carrying a guitar case, in English, to give
herself the unsuspicious appearance of a tourist.
                                                          ***
   August 8, 2001: Detonation of a car bomb driven by a suicide terrorist near Beqa’ot checkpoint, one
                                                   soldier injured

                     Ashraf Sayyid – a resident of Nablus, aged 23, a Hamas operative, was killed in the
                     detonation of a car bomb near an IDF checkpoint close to Beqa’ot in the Jordan Valley.
                     Debriefing of the forces at the site revealed that the vehicle arrived at the checkpoint and
                     stopped before the concrete blocks. A soldier instructed the driver to come closer for the
                     purpose of an inspection and the latter stepped on the gas pedal and detonated near the soldier.
                     It is likely that the original target destination was different and the suicide terrorist was on his
way to the attack but was worried that the vehicle inspection may disclose him and so decided to carry out the attack
on the spot.




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                                                                                                Israeli Security Agency [logo]


                                     Suicide Terrorists in the Current Conflict

August 2, 2001: Capturing of a suicide terrorist as he was attempting to board a bus near Beit She’an, no
                                                      casualties

                      Muhammad Abu Khader Basharat – a resident of Tamun/Jenin, originally from Nablus,
                      aged 16, a high school student, was caught as he was attempting to board an Egged bus in Tel
                      Teomim near Beit She’an, for the purpose of carrying out a suicide attack. The suicide
                      terrorist’s bag contained 3 mortars and a silver switch attached with a red wire. His
                      interrogation revealed that the attempted attack was directed by the Islamic Jihad network
                      from Toubas operated by Zayd Basisi (detained). Basisi’s interrogation revealed that Ramzi
Basharat offered the suicide terrorist a recruitment into the Islamic Jihad and then talked to him about carrying out
a suicide attack. Araf Basharat (detained) solicited the execution of the attack and introduced the suicide terrorist to
Zayd Basisi. Fuad Basharat was the one who led the suicide terrorist to the place of the attack.


                                                          ***
July 22, 2001: Capturing of a suicide terrorist as he was attempting to activate an explosive belt at the flea
                                                      market in Haifa, no casualties

                     Murad Tawalba (Nursi) – a resident of Jenin refugee camp, aged 18, was arrested while he
                     was attempting to carry out a suicide attack in Haifa. The suicide terrorist turned in explosive
                     devices he was hiding before he was arrested in an abandoned house in Haifa to the police. In
                     his interrogation the suicide terrorist said that he was interested in carrying out a suicide attack
                     and was linked by his brother Mahmud Tawalba to the Islamic Jihad operatives. In Thabet
                     Mardawi’s interrogation he admitted that the suicide terrorist received an explosive belt which
was prepared by his brother Mahmud Tawalba and was dispatched to Israel by Muhammad Yassin.


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                                                                                                Israeli Security Agency [logo]


                                     Suicide Terrorists in the Current Conflict

July 16, 2001: Suicide terrorist detonation at the bus station near the train station in Binyamina, 2 soldiers
                                            killed and 8 injured

                       Nidal Abu Shadouf – a resident of Burqin/Jenin, aged 20, single, detonated himself at the
                       bus station opposite the train station in Binyamina. The directors of the attack were Thabet
                       Mardawi and Mahmud Nursi. Nursi provided a bag weighing 20kg to Muhammad Yassin,
                       who transferred the terrorist and the explosive device to Samir Fayed, a taxi driver from the
                       Jenin refugee camp, who drove the suicide terrorist on his way to Israel.

                                                                      ***

                               July 11, 2001: Suicide terrorist capturing in Afula,
                                                     no casualties

                      Jihad Jarar – a resident of Jenin, aged 17, departed in the morning with a bag containing a
                      prepared explosive device from the Jenin area in the direction of Afula in two taxis, when the
                      second taxi drove around the Salem checkpoint. The local police station was alerted by a
                      police officer who suspected him and carried out a suspect arrest procedure on him. The
                      suicide terrorist attempted to activate the device and moved his hand towards the bag but was
                      physically neutralized by the police officer. In his interrogation he admitted that he was
planning on carrying out a suicide attack in a crowded place in Afula. He also said that he was an Islamic Jihad
operative, and that he had received the device from Mahmud Tawalba (Nursi) along with instructions of its
operation. The suicide terrorist also said that before departing for the attack, he wrote a will and even filmed himself
expressing his intention to carry out a suicide attack. The suicide terrorist was recruited into the Islamic Jihad around
two months before the attack and expressed his intent to carry out an suicide attack.

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                                    Suicide Terrorists in the Current Conflict

                 July 9, 2001: Suicide terrorist detonation in a car bomb in the Gush Katif area,
                                                one soldier injured

                      Nafed Nadar – a resident of Jabalia/Gaza, aged 26, married and a father of 2, a Hamas
                      operative, worked in the Islamic University, detonated himself in a car bomb near an IDF
                      vehicle in the Gush Katif area. Debriefing of the explosives experts revealed that an explosive
                      device weighing around 40 to 50kg was placed in the vehicle, out of which around 10 to 15kg
                      detonated. The attack was carried out by the military arm of the Hamas organization in the
                      Gaza strip, under the direction of Salah Shahada. Shahada’s right hand man and implementor
                      of the attack, Mahmud Mutlaq Issa, was arrested by the apparatus immediately after the
attack.


                                                         ***
          June 22, 2001: Car bomb detonation near an IDF reconnaissance on Shikma Beach/Elei Sinai
                                      2 soldiers killed and one injured

                       Isma'il Ma'aswabi – a resident of the Shati refugee camp/Gaza Strip, aged 22, single, a
                       Hamas operative, a student at the Islamic University, detonated a car bomb near an IDF
                       reconnaissance on Shikma Beach/Elei Sinai. The suicide terrorist, who was driving a white
                       jeep with yellow license plates, became entrenched in the sands near a building, an IDF
                       reconnaissance passing by was alerted by locals for assistance, and when the soldiers
                       approached to help the jeep driver, the jeep was detonated by the suicide terrorist.
                       Information discovered later revealed that the suicide terrorist did not intentionally become
entrenched in the attack area, but probably intended on reaching one of the settlements in the area or even enter
Israeli territory. Mahmud [al-]Ghul traveled with him in the jeep, who escaped from the vehicle 10 minutes before
the detonation. The attack was carried out by the Hamas organization.


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                                     Suicide Terrorists in the Current Conflict

  July 9, 2001: (Partial) suicide terrorist detonation in a cart bomb harnessed to a donkey next to an IDF
                                            post in Dahaniya/Rafah

                       Murad Abu Ma'ilak – a resident of Nazirat refugee camp in the Gaza Strip, aged 23, a
                       student at the Open University in Gaza, approached the Dahaniya settlement gate while riding
                       a donkey with a cart, which was carrying a large water container. When he attempted to
                       activate the explosive device, a partial detonation occurred which knocked it off the cart.
                       When he attempted to flee, he was shot by the checkpoint soldiers and arrested. In his
                       interrogation, the suicide terrorist said that Nabil Sharihi, an Islamic Jihad operative active in
the northern [Gaza] Strip, recruited and dispatched him to an attack after the suicide terrorist approached him on his
own initiative and requested to carry out a suicide attack. The suicide terrorist received 2,500 NIS from Sharihi and
in accordance with his instructions, went to Rafah where he met with a person named Saleh. The two stayed
overnight together and the next day (the day of the attack), they traveled to an orchard near Dahaniya, where the
suicide terrorist received a cart harnessed to a donkey, which contained an explosive device and an activation
mechanism, as well as receiving a briefing on how to carry out the attack.


                                                          ***
June 1, 2001: Suicide terrorist detonation at the entrance to a club in the “Dolphinarium” in Tel Aviv, 22
                                           killed and 83 injured

Sa'id [al-]Hutari – a resident of Qalqiliya (originally from Jordan), aged 22, a Hamas operative, detonated himself
near a group of young people at the entrance to the “Water World” club in the Tel Aviv Dolphinarium. The Hamas
military network in Qalqiliya carried out this attack. The network was established by Salim al-Hija, a 30-year-old
from Nablus, one of the senior members of the Hamas organization in Judea and Samaria and the person responsible
for the organization’s military network in Northern Samaria. At the head of the network, al-Hija placed Abd al-
Rahman Hamad, who he knew from a joint stint in Ayman prison. Mahmud Nadi (detained) was the taxi driver
who drove the suicide terrorist to the Dolphinarium. In his interrogation at the Israeli Security Agency, he said that
Anas Abd al-Karim Dawud, a resident of Qalqiliya, associated with Hamas and with a criminal record, was the
one who coordinated the transport of the suicide terrorist from Qalqiliya to Tel Aviv while being in contact via
telephone with Mahmud and the suicide terrorist throughout the drive.


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                                     Suicide Terrorists in the Current Conflict

      May 29, 2001: Suicide terrorist detonation and the killing of an additional terrorist at “Tofakh”
                                       checkpoint, 2 injured soldiers

                       Abd al-Mu'ti Asar – a resident of Khan Yunis, aged 19, single, a student at the Islamic
                       University, arrived at “Tapuah” checkpoint along with another young man, Isma'il Ashour, a
                       resident of Khan Yunis refugee camp, aged 20, also a student at the Islamic University. The
                       two arrived at the magnometer stand and were requested to show their identity cards. Since
                       they did not hold identity cards they were asked by the soldiers to move away from the
                       station. At this point, the suicide terrorist approached the soldiers and detonated himself,
while Isma'il Ashour retreated a small distance and after the blast approached the soldiers station while throwing
grenades. Isma'il was shot and killed by IDF soldier fire. The attack was carried out by the Hamas organization.


                                                          ***
 May 25, 2001: Car bomb detonation by 2 suicide terrorists at the Hadera central [bus] station, 66 injured

Osama Abu al-Hija – a resident of Jenin refugee camp, aged 22, single, worked at a carpet company, and Ala
Sabah a resident of Jenin, aged 22, single, worked at a fashion store. The two detonated a car bomb at the Hadera
central station. The Islamic Jihad organization claimed responsibility for the attack. The organizers of the attack
were Thabet Mardawi and Mahmud Nursi, who had prepared an explosive vehicle and explosive suitcase, and
departed with them from Barata’a to Israel. This was the first suicide attack (since November 1998 - Jerusalem)
carried out inside Israel by the organization.


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                                     Suicide Terrorists in the Current Conflict

         May 25, 2001: Detonation of a tanker bomb by a suicide terrorist at Netzarim intersection,
                                              no casualties

Husain Abu Nasser – a resident of Jabalia refugee camp/Gaza, aged 22, single, a student at the Islamic University,
an Islamic Jihad operative in the past. Abu Nasser drove a fuel tanker near a military convoy at Netzarim
intersection. IDF forces at Magen post 3 opened fire towards the tanker. Abu Nasser drove off the road, stopped on
one of the post’s mounds, then the explosion of the tanker occurred, with the suicide terrorist seated inside it. At the
front of the truck there were 3 gas cylinders and 48kg of improvised explosive material. Responsibility for the attack
was claimed by Hamas. The attack was directed by Salah Shahada, one of the senior Hamas leaders in the Gaza
Strip region and one of the founders of its military arm.


                                                            ***
          May 18, 2001: Suicide terrorist detonation at the entrance to Hasharon Mall in Netanya,
                                           5 killed and 86 injured

                     Mahmud Marmash – a resident of Tulkarem, aged 21, single, religious, a Hamas operative,
                     detonated himself at the entrance to Hasharon Mall in Netanya. The Hamas organization
                     claimed responsibility for this attack and even published a tape in which the suicide terrorist,
                     Mahmud Marmash, appeared. The attack was carried out by the Hamas network in the
                     Tulkarem area, which was also responsible for the 2 other attacks in Netanya (March 4 and
                     May 18), in which the local operatives of the old mosque in Tulkarem committed suicide. Fuaz
Badran (killed), a Hamas military operative from Tulkarem, recruited the suicide terrorist for the attack. Omar
Khudairi, who served as an assistant for Abbas al-Sayyid (head of the network, detained), was the field person and
mediator between Fuaz and Abbas. Among other things, Abbas instructed Omar to prepare all of the equipment for
filming the suicide terrorist and hand it over to Fuaz.


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                                     Suicide Terrorists in the Current Conflict

 April 29, 2001: Detonation of a car bomb by a suicide terrorist near a bus at Dir Sharaf intersection, no
                                              casualties

Jamal Nasser – a resident of Nablus, aged 23, single, an engineering student at An-Najah University in Nablus, an
operative in “al-Kutla al-Islamiya,” [the Islamic Bloc] detonated a car bomb near a bus transporting school children
at Dir Sharaf intersection. Investigation material revealed that a fault occurred during the attack. A Palestinian
vehicle was driving adjacent to the bus which caused Nasser to hesitate and detonate the vehicle further away from
the bus than planned - which in practice miraculously prevented many casualties. The attack was carried out under
the direction of the Hamas network in Nablus. Abadah Bilal dispatched the suicide terrorist for the attack and the
involvement of Khaled Riyan and Majdi Balasma in the implementation of the attack is known.


                                                          ***
                   April 22, 2001: Suicide terrorist detonation at a bus station in Kfar Saba,
                                           one killed and 45 injured

Imad Zabidi – a resident of Nablus, aged 18, a high school student, detonated an explosive device on his person
near an Egged bus, route 29, which was stopped at a bus station on Tchernichovsky St. in Kfar Saba. Responsibility
for the attack was claimed by the Hamas organization. The attack was carried out by an organization of Hamas
operatives in the Nablus area. The person responsible for the recruitment and dispatching of the suicide terrorist was
Muhanad Taher. In his interrogation, Abd al-Rahman Shadid admitted his involvement in the transport of the
suicide terrorist for the execution of the attack in Kfar Saba. The arrangement of the attack location and the transport
was carried out by Ali Hudairi and the driving was handled by Nihad Abu Qashq, a driver by trade, with an Israeli
ID.


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                                                                                                Israeli Security Agency [logo]


                                     Suicide Terrorists in the Current Conflict

               March 28, 2001: Suicide terrorist detonation near a gas station in Neve Yamin,
                                           2 killed and 4 injured

Fadi Amer – a resident of Qalqilya, aged 23, single, a Hamas operative, a student at the “Open University” in
Qalqilya, detonated himself at the gas station on route 444 south of Kfar Saba West intersection, near a group of
high school students who were waiting at the gas station for a shuttle to their school in Kedumim. The Hamas
network in Qalqilya was responsible for the execution of the attack. The suicide terrorist was sent by Jabril Jabril
and Tareq Barzili, military Hamas operatives from Qalqiliya. The operatives updated Abd al-Rahman Hamed
(killed) and Raed [al-]Hutari, a senior Hamas operative, regarding the attack, so that they could claim
responsibility for it. Ibrahim Dahmas, a Hamas operational activist in Qalqiliya, also admitted in his interrogation
to having connections with the suicide terrorist and to being aware of the planning of the attack.


                                                          ***


           March 27, 2001: Suicide terrorist detonation next to a bus on French Hill in Jerusalem,
                                                 13 injured

                      Dia Tawil – a resident of el-Bireh/Ramallah, aged 20, single, an engineering student at Bir
                      Zeit University, a Hamas operative, the nephew of Jamal Tawil, a senior Hamas operative in
                      Ramallah. The suicide terrorist detonated himself near an Egged no.6 bus, which was traveling
                      from the French Hill direction eastward. Responsibility for the attack was claimed by the
                      Hamas organization. As of July 2001, a military Hamas network began to be exposed, with it’s
                      center in Samaria and its operations reaching Ramallah. On August 9, 2001, MMS [?]
Ramallah arrested Abdallah Jamal and Bilal Barghuthi, both residents of Beit Rima. In their interrogation at the
Israeli Security Agency they admitted responsibility for the dispatching of the suicide terrorist to the attack. They
also admitted operating an explosives laboratory in Ramallah. Barghuthi was the one who recruited the suicide
terrorist for the attack and then sent him to Nablus to receive the explosive device. The suicide terrorist was sent to
the attack by Ayman Halawa (killed), one of the heads of the Hamas network in Samaria.


                                                          ***




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                                                                                               Israeli Security Agency [logo]


                                     Suicide Terrorists in the Current Conflict

                  March 4, 2001: Suicide terrorist detonation on a central street in Netanya,
                                           3 killed and 53 injured

                      Ahmad Alyan – a resident of Nur al-Shams refugee camp/Tulkarem, aged 23, single, a
                      religious cleric, a muezzin, approached Egged bus no. 22 which was stopped at the traffic light
                      at the intersection of Herzl St. and Shoham St., and detonated himself at a distance of around
                      2-3m from the bus. Around a week before his suicide, the suicide terrorist wrote a will in
                      which he mainly addressed the suicide itself and it was clear that he had been exposed to
                      brainwashing from Hamas in the mosque where he prayed. In the second part of the will the
suicide terrorist divided his inheritance. The attack was carried out by the Hamas network in Tulkarem, led by Fuaz
Badran (killed), and including the involvement of Ahmad Jayusi, a 23-year-old Hamas operative, resident of
Tulkarem (detained), who admitted in his interrogation that he had led the suicide terrorist to the attack and that he
had driven ahead on the route to Netanya.


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                                                                                                Israeli Security Agency [logo]


                                     Suicide Terrorists in the Current Conflict

 March 1, 2001: Suicide terrorist detonation of an explosive device in a taxi, near Mei Ami intersection,
                                        one killed and 10 injured

                      Zayd Kilani – a resident of Siris/Jenin, aged 28, sat in the back seat of a shuttle taxi (driven
                      by an Israeli citizen from El’ad) on its way from Tel Aviv to Tiberias and activated an
                      explosive device (which was inside a bag) when they ran into an initiated police checkpoint,
                      near Mei Ami intersection. The suicide terrorist sustained heavy injuries in the attack. The
                      suicide terrorist had carried out a stabbing attack in Carmel Market in Tel Aviv on December
                      21, 2000 in which he stabbed and wounded an Israeli citizen while he was shopping in the
market. The day before the attack in the taxi, the suicide terrorist carried out an explosive device attack in Tel Aviv,
leaving an explosive device, which he could not activate, in a Shawarma place in the city (the device was detected
and detonated by an explosives expert). On the same day, the suicide terrorist placed an additional device, near a
group of young people on the Dolphinarium beach in Tel Aviv. The suicide terrorist attempted to activate the device
but the device did not detonate. In his interrogation he said that he had another non-functioning device which he had
intended to take back to the [Palestinian] Territories and use it. This device was activated by him while the vehicle
in which he was traveling was stopped for inspection. All of the attacks were carried out by the suicide terrorist on
behalf of the Hamas organization, under the direction of Qais Adwan Abu Jabal, a resident of Jenin, head of the
Kutla Islamiya in Najah. At a later stage Zid’s girlfriend was arrested, Angelica Yosifov, a Jew living in central
Israel. Angelica said in her interrogation that she was aware of the stabbing attack carried out by the suicide terrorist.
She also knew that he was in possession of two explosive devices. Angelica was with the suicide terrorist during the
placing of the device at the eatery on Allenby St., went with him to the Dolphinarium beach in the knowledge that
he was carrying an explosive device, was with him during the placing of the device and when he attempted to
activate it using a mobile phone. Angelica also knew that the suicide terrorist was in possession of an explosive
device when he boarded the taxi, where the suicide terrorist eventually caused the explosion of the device.


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                                                                                               Israeli Security Agency [logo]


                                     Suicide Terrorists in the Current Conflict

            January 1, 2001: Car bomb detonation by a suicide terrorist on Herzl St. in Netanya,
                                               35 injured

                      Hamed Abu Hijla – a resident of Nablus, aged 23, single, a structural engineering student at
                      Al-Najah University in Nablus, religious, a “Kutla Islamiya” [Islamic Bloc] operative in [Al-
                      ]Najah [University], detonated a car bomb on Herzl St. in Netanya. Responsibility for the
                      attack was claimed by the Hamas organization in Nablus, headed by Omar Jabrini. Mahmud
                      Madani (killed) was responsible for obtaining and preparing the suicide terrorist for the
                      attack. Faisal Sab'ana, a Hamas military operative from Qabatiya/Jenin was responsible for
the transfer of the suicide terrorist into the “green line” zone. This attack was also based on a network of student
members of “al-Kutla Islamiya” [Islamic Bloc] (the Hamas student cell in Universities), who are traditionally used
to locate military operatives and assistants and make up one of the central pillars of the Hamas network in Samaria.


                                                          ***
             December 22, 2000: Suicide terrorist detonation at Pundak Mehola/Jordan Valley,
                                            3 soldiers injured

                      Hashem Najar – a resident of Hebron, aged 25, single, a journalism student at Al-Najah
                      University in Nablus, head of the “Kutla” [Islamic Bloc] in the Social Sciences faculty,
                      entered a kiosk, after buying [snack] seeds, cola and cigarettes, walked out onto the balcony,
                      approached a group of soldiers and detonated himself a few meters away from them.
                      Responsibility for the attack was claimed by the Hamas organization. The suicide terrorist was
                      recruited into Hamas in 1994 and had been active in the ranks of the organization since. The
attack was apparently carried out by the Hamas network in Nablus. Salim Hija (detained), said in his interrogation
at the Israeli Security Agency that the attack was carried out under the direction of Ayman Halawa (killed) and
Salim himself who located the suicide terrorist. Nader Sawafata (detained), a Hamas operative, also participated in
the implementation of the attack.


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                                                                                                  Israeli Security Agency [logo]


                                      Suicide Terrorists in the Current Conflict

  December 15, 2000: A suicide terrorist attempted to detonate himself next to security forces near Erez
                                       checkpoint, no casualties

                       Nur al-Din Safi – a resident of Shati refugee camp/Gaza, aged 22, single, a Hamas
                       operative, graduate of accountancy studies at the “Islamic University” in Gaza, arrived at
                       Magen 12 after the entrance of Palestinian workers into Erez industrial zone. While passing
                       through the magnometer a beep was heard. The suicide terrorist attempted to activate an
                       explosive belt, and when he was unsuccessful, tried to stab the guard of the place. Following
                       this, the suicide terrorist was shot by the guards and a soldier who were present. There is no
information regarding the organization behind the attack.


                                                           ***
              November 6, 2000: Detonation of a boat near a “Dabur” navy ship next to Rafah,
                                              no casualties

                         Hamdi Miqdad – a resident of Shati refugee camp/Gaza, aged 27, single. Close to
                         midnight, a Palestinian surf boat detonated near a navy vessel which was carrying out a
                         routine reconnaissance of the section of coast by Gaza. The detonation of the boat was
                         around 50 - 60m from the vessel and around 1400m away from the beach. The vessel's
                         soldiers noticed a small surf boat containing 2 covered crates in the prow. The boat had an
                         engine and one person was identified on it who, when identified, crouched and then an
                         explosion was heard. The Hamas movement claimed, in a public receipt of responsibility for
the attack, that this was a suicide attack in which the suicide terrorist was on the boat at the time of its explosion. It
should be noted that this is the first marine attack carried out by the Hamas movement since its
establishment.


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                                                                                                   Israeli Security Agency [logo]


                                       Suicide Terrorists in the Current Conflict

October 26, 2000: Detonation of a suicide terrorist riding a bicycle near an IDF post close to Gush Katif,
                                            1 soldier injured

                        Nabil al-Ara'ir – a resident of Saja'iya Jadida/Gaza, aged 24, single, a student at the “Islamic
                        University” [Islamic Bloc] in Gaza, rode his bicycle on Kisufim road traveling east to west, an
                        IDF soldier who noticed him ordered him to move away and then the explosion occurred. The
                        “Islamic Jihad” organization claimed responsibility for the attack and this is in fact the first
                        attack carried out by the organization in the [Gaza] Strip since April 1997. The attack was
                        carried out on the 5th anniversary of the death of Fathi Shuqaqi, the founder of the
organization. The attack was directed by Mahmud al-Hindi, the Islamic Jihad supervisor in the [Gaza] Strip. The
Islamic Jihad military organization responsible for the attack is from Jabalia refugee camp, headed by Maqlid
Hamid (later killed).


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  1 ............................................................................................................ ʤʮʣʷʤ
  2 ...................................................................ʭʩʩʹʩʠ ʭʩʰʩʩʴʠʮ - ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ
  3 ............................................ ʭʩʩʴʠʸʢ ʭʩʰʥʺʰ - ʺʥʮʩʲ ʺʥʰʹ 7 -ʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ
  5 ....................................................................... ʺʥʮʩʲʤ ʺʬʩʧʺʮ ʺʥʣʡʠʺʤ ʩʲʥʢʩʴ
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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



                                                                          ʤʮʣʷʤ
  ,ʭʩʰʩʨʱʬʴʤ ʭʲ ʪʹʮʺʮʥ ʭʩʬʠ ʺʥʮʩʲʡ ʬʠʸʹʩ ʺʰʩʣʮ ʺʠʶʮʰ 2000 ʸʡʮʨʴʱ ʦʠʮ
  ʭʩʧʸʦʠ ʣʢʰ ʭʩʲʥʢʩʴ ,ʭʩʰʥʹʤ ʥʩʰʥʢʸʠʥ ʥʩʰʥʰʢʰʮ ʬʲ ʩʰʩʨʱʬʴʤ ʣʶʤ ʩʣʩ ʬʲ ʭʩʲʶʥʡʮ ʥʺʸʢʱʮʡ
                                                                    .ʭʩʬʠʸʹʩ ʭʩʡʹʥʺʥ
  -ʮ ʤʬʲʮʬʥ ʭʩʬʠʸʹʩ ʭʩʡʹʥʺʥ ʭʩʧʸʦʠ ʣʢʰʫ ʭʩʲʥʢʩʴ 27,000 -ʮ ʤʬʲʮʬ ʥʮʹʸʰ ʥʦ ʤʴʥʷʺʡ
  155 ʤʬʠ ʭʩʲʥʢʩʴ ʪʥʺʮ .ʤʬʠ ʭʩʲʥʢʩʴʡ ʭʤʩʩʧ ʺʠ ʥʧʴʩʷ ʭʩʬʠʸʹʩ ʭʩʧʸʦʠʥ ʭʩʡʹʥʺ 1000
  ʺʥʣʡʠʺʮʥ ʭʩʣʡʠʺʮ (07 ʨʱʥʢʥʠ) 178 ʥʲʶʩʡ ʭʺʥʠ ʺʥʣʡʠʺʤ ʩʲʥʢʩʴ ʭʰʩʤ ʭʩʲʥʢʩʴ (07 ʩʠʮ)
  ʥʲʶʥʡ 2000 ʸʡʮʨʴʱʡ ʺʥʮʩʲʤ ʺʬʩʧʺ ʣʲʥ 1993 ʺʰʹʮ ʩʫ ʯʩʩʶʬ) .ʺʥʩʬʠʸʹʩ ʺʥʸʨʮ ʣʢʰʫ
                                               .(ʭʩʣʡʠʺʮ 43 ʥʲʶʩʡʹ ʺʥʣʡʠʺʤ ʩʲʥʢʩʴ 38
  ʦʠʮ ʬʠʸʹʩ ʣʢʰʫ ʥʲʶʥʡʹ ʭʩʲʥʢʩʴʤ ʬʬʫʮ 0.6% ʭʩʥʥʤʮ ʺʥʣʡʠʺʤʤ ʩʲʥʢʩʴ ʩʫ ʤʣʡʥʲʤ ʺʥʸʮʬ
  ,ʭʩʢʥʸʤʤ ʬʬʫʮ ʺʩʶʧʮʫʬ ʲʩʢʮ ʤʬʠ ʭʩʲʥʢʩʴʡ ʭʩʢʥʸʤʤ ʸʴʱʮʹ ʩʸʤ ,ʺʥʮʩʲʤ ʺʬʩʧʺ
  ʥʰʮʰ '07 ʨʱʥʢʥʠ ʣʲʥ ʺʥʮʩʲʤ ʺʬʩʧʺʮ .ʸʺʥʩʡ ʭʩʩʰʬʨʷʬ ʺʥʣʡʠʺʤʤ ʩʲʥʢʩʴ ʺʠ ʪʴʥʤ ʪʫʡʥ
                               .ʺʥʣʡʠʺʤʤ ʩʲʥʢʩʴ 155 – ʮ ʭʩʲʥʶʴ 3717 -ʥ ʭʩʢʥʸʤ 549
  ʠʥʤ ʤʬʩʧʺʡʹʫ ,ʭʩʰʩʨʱʬʴʤ ʬʹ ʬʩʡʥʮʤ ʤʮʩʧʬʤ ʩʲʶʮʠʬ ʭʩʰʹʤ ʭʲ ʪʴʤ ʭʩʣʡʠʺʮʤ ʸʥʸʨ
  ʺʥʮʩʲʤ ʺʴʥʷʺ ʪʬʤʮʡ ,ʺʠʦ ʭʲ .ʹʥʡʩʫʬ ʺʩʮʩʨʩʢʬ ʺʥʣʢʰʺʤʬ ʤʰʲʨʡ ʩʢʥʬʥʠʩʣʩʠ ʩʴʥʠ ʠʹʰ
  ʺʥʣʷʴʮ .ʩʬʫʬʫʤ ʲʩʰʮʤ ʺʥʷʦʧʺʤ ʬʥʮ ʬʠ ʩʢʥʬʥʠʩʣʩʠʤ ʲʩʰʮʤ ʹʬʧʰ ʤʩʴʬ ʤʮʢʮ ʤʰʮʺʱʤ
  ,ʧʨʹʡ ʭʩʬʩʲʴʬ ʭʩʬʥʣʢ ʳʱʫ ʩʮʥʫʱ ʺʸʡʲʤ ʩʣʩ ʬʲ ʸʥʸʨ ʺʥʬʩʲʴʡ ʺʥʨʬʥʹʥ ʺʥʮʦʥʩ ʸʥʸʨʤ
  ʭʩʢʥʬʥʠʩʣʩʠ ʭʩʲʩʰʮ ʪʥʺʮ ʭʩʬʲʥʴ ʠʷʥʥʣ ʥʠʬʥ ,ʸʥʸʨ ʺʥʬʩʲʴ ʬʹ ʤʰʥʥʫʠʮ ʭʩʱʰʸʴʺʮ ʸʹʠ
  ʭʤʬ ʸʹʠ ʭʩʰʩʨʱʬʴ ʭʤ ʺʥʣʡʠʺʤ ʩʲʥʢʩʴ ʲʥʶʩʡʬ ʭʩʱʩʥʢʮʤ ʭʩʲʢʴʮʤ ʺʥʡʸ ʭʩʮʲʴ .ʭʩʸʥʤʨ
  ʯʥʢʸʠ ʩʫ ʤʧʨʡʤʬ ʤʸʥʮʺʡ ʲʥʢʩʴʤ ʺʠ ʲʶʡʬ ʭʩʮʩʫʱʮ ʸʹʠ ,ʺʥʩʺʸʡʧ ʥʠ ʺʥʩʴʱʫ ʺʥʩʲʡ
                       .ʭʺʥʮ ʸʧʠʬ ʭʺʧʴʹʮʬ ʺʩʴʱʫ ʤʰʩʧʡʮ ʢʠʣʩ ,ʥʧʬʹʰ ʥʮʹʡʹ ʸʥʸʨʤ
  ʹʥʮʩʹʤ ʸʡʢ ,ʭʩʲʥʢʩʴ ʺʠʶʥʤʡ ʸʥʸʨʤ ʩʰʥʢʸʠ ʬʲ ʭʩʩʹʷ ʭʩʸʲʮ ʸʹʠ ,ʵʩʧʤ ʡʧʸʮ ʺʮʷʤ ʭʲ
  ʭʩʬʡʥʱʤ ʭʩʹʰʠ ,ʭʩʬʥʧ ,ʭʩʹʰ ,ʭʩʰʩʨʷ :ʥʮʫ "ʺʥʹʬʧ" ʺʥʩʱʥʬʫʥʠʡ ʸʥʸʨʤ ʩʰʥʢʸʠ ʭʩʹʥʲʹ
  ʭʡʶʮ ʬʥʶʩʰ ʪʥʺ ,ʺʥʣʡʠʺʤ ʩʲʥʢʩʴ ʬʹ ʬʲʥʴʬ ʤʠʶʥʤ ʭʹʬ ,ʤʦʡ ʠʶʥʩʫʥ ʩʬʩʬʹ ʩʺʸʡʧ ʩʥʮʩʣʮ
          .ʭʩʰʥʹʤ ʷʥʣʡʤ ʩʫʸʲʮʡ ʯʥʧʨʩʡʤ ʺʥʧʥʫ ʬʲ ʭʩʸʲʤʬ ʯʥʩʱʩʰʡ ,ʤʮʩʮʺʤ ʭʺʥʦʧʥ ʩʹʩʠʤ


  ʺʥʰʹ 7 -ʫ ʪʬʤʮʡ ʺʥʣʡʠʺʤʤ ʩʲʥʢʩʴ ʩʲʶʡʮ ʬʲ ʺʨʸʴʮʤ ʤʸʩʷʱ ʺʠʡʥʮ ʥʦ ʺʸʡʥʧʡ
                 .2007 ʨʱʥʢʥʠ ʹʣʥʧʬ ʣʲʥ 2000 ʸʡʮʨʴʱʮ ʬʧʤ ,ʭʩʰʩʨʱʬʴʤ ʭʲ ʺʥʮʩʲ




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                         ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




                             ʭʩʩʹʩʠ ʭʩʰʩʩʴʠʮ - ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ
  ʭʥʹʮ ʺʠʦ ,ʩʰʩʨʱʬʴ-ʩʬʠʸʹʩʤ ʪʥʱʫʱʡ ʣʡʠʺʮ ʬʡʧʮ ʬʹ ʣʧʠ ʬʩʴʥʸʴ ʨʨʸʹʬ ʯʺʩʰ ʠʬ
                                 .ʭʩʰʹʤ ʪʸʥʠʬ ʣʩʮʺʮ ʩʥʰʩʹ ʥʸʡʲ ʭʩʣʡʠʺʮʤ ʩʰʩʩʴʠʮʹ
               :ʭʩʰʹʤ ʪʬʤʮʡ ʥʬʧʹ ʭʩʩʥʰʩʹʤ ʺʠ ʭʩʮʩʢʣʮʤ ,ʭʩʩʸʷʩʲ ʭʩʰʩʩʴʠʮ ʸʴʱʮ ʯʬʤʬ


                 .17-24 ʩʰʡ ʭʩʸʩʲʶ ʭʰʩʤ ʭʩʣʡʠʺʮʤ ʬʹ ʲʩʸʫʮʤ ʭʡʥʸ – ʭʩʣʡʠʺʮʤ ʬʩʢ
  ʩʰʡ) ʭʩʰʩʨʷʤ ʭʩʣʡʠʺʮʤ ʺʲʴʥʺ ʤʸʡʢ :ʭʩʣʡʠʺʮʤ ʬʩʢʡ ʺʮʩʥʱʮ ʤʣʩʸʩ ʤʬʧ 2004 ʪʬʤʮʡ
  ʤʺʩʩʤʹ ,ʭʩʸʢʥʡʮʤ ʭʩʣʡʠʺʮʤ ʺʲʴʥʺ ʯʩʨʥʬʧʬ ʨʲʮʫ "ʤʮʬʲʰ" ʯʫ ʥʮʫ .(17 -ʮ ʺʥʧʴ
                                              .ʺʥʮʣʥʷʤ ʭʩʰʹʡ ʭʢ ʺʮʶʮʥʶʮ ,ʤʹʲʮʬ


  ʤʣʡʥʲ ,ʭʩʠʥʹʰ ʭʨʥʲʩʮ ʷʸʥ ʭʩʷʥʥʸ ʭʤ ʭʩʣʡʠʺʮʤ ʬʹ ʺʨʬʧʥʮʤ ʭʺʩʡʸʮ – ʩʺʧʴʹʮ ʡʶʮ
                                        .ʭʩʣʡʠʺʮʤ ʬʹ ʸʩʲʶʤ ʭʬʩʢʮ ʠʶʥʩ ʬʲʥʴ ʠʩʤʹ


  ʤʬʫʹʤ ʩʬʲʡ 22% ʥʩʤ 2003 – 2000 ʭʩʰʹʤ ʯʩʡ .ʭʩʬʩʫʹʮ ʭʤ ʭʩʣʡʠʺʮʤ ʡʥʸ - ʤʬʫʹʤ
  ʩʫ ʭʠ) ʲʥʣʩ ʠʬ – ʸʠʹʤʥ ʺʩʣʥʱʩ ʤʬʫʹʤ ʩʬʲʡ 9% ,ʺʩʰʥʫʩʺ ʤʬʫʹʤ ʩʬʲʡ 34% ,ʤʤʥʡʢ
              .(ʤʤʥʡʢ ʤʬʫʹʤ ʩʬʲʡ ʠʬʥ ʺʩʰʥʫʩʺ/ʺʩʣʥʱʩ ʤʬʫʹʤ ʩʬʲʡ ʭʰʩʤ ʤʤʥʡʢ ʺʥʸʩʡʱʡ
   .(8%) ʺʩʰʥʫʩʺʤ ʤʬʫʹʤʤʥ (8%) ʤʤʥʡʢʤ ʤʬʫʹʤʤ ʩʬʲʡ ʸʥʲʩʹʡ ʤʣʩʸʩ ʤʬʧ 2004 ʪʬʤʮʡ


  (64%) ʯʥʸʮʥʹʤʮ ʭʠʶʥʮʡ ʭʩʣʡʠʺʮʤ ʡʥʸ ʥʩʤ 2000-2003 ʭʩʰʹʤ ʯʩʡ - ʭʩʣʡʠʺʮʤ ʠʶʥʮ
  ʤʲʥʶʸʤ ʩʡʹʥʺ ʭʩʣʡʠʺʮ ʬʹ ʩʱʧʩʤ ʭʸʥʲʩʹ ʣʥʠʮ ʬʣʢ 2004 ʪʬʤʮʡ .(17%) ʤʣʥʤʩʮʥ
  ʯʥʸʮʥʹʤʮ ʭʩʣʡʠʺʮʤ ʸʥʲʩʹʡ ʤʣʩʸʩ ʤʬʧ ʬʩʡʷʮʡ ,(ʺʥʮʣʥʷʤ ʭʩʰʹʡ 16% ʺʮʥʲʬ 44%)
                                                             .(17%) ʤʣʥʤʩʥ(44%)




                                        2
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                         ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




                                  ʺʥʮʩʲʤ ʺʬʩʧʺʮ ʺʥʣʡʠʺʤ ʩʲʥʢʩʴ


                 ,ʺʬʩʠʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2007 ʸʠʥʰʩ 29
                              ʣʧʠ ʲʥʶʴ ʭʩʢʥʸʤ 3
                                                                                 .
                                     Á ÁÁ




             ,ʤʩʬʠʡ'ʢʡ ʺʣʡʠʺʮ ʺʬʡʧʮ ʵʥʶʩʴ :2006 ʸʡʮʡʥʰ 23
                                    ʭʩʲʥʶʴ 3

  ʺʩʧʸʦʮ ʬ"ʤʶ ʺʥʧʥʫʬ ʪʥʮʱ ʤʮʶʲ ʤʶʶʥʴ ʸʹʠ ,64 ʺʡ ,ʤʩʬʠʡ'ʢ ʺʡʹʥʺ - ʸʠʢʰ ʤʮʨʠʴ
  ʸʺʥʩʡ ʺʸʢʥʡʮʤ ʺʣʡʠʺʮʤ ʤʰʩʤʥ ʭʩʣʫʰʬ ʠʺʡʱʥ 6-ʬ ʭʠ ʤʺʩʩʤ ʺʣʡʠʺʮʤ .ʤʩʬʠʡ'ʢ ʴ.ʮʬ
                                            .ʲʥʢʩʴʬ ʺʥʩʸʧʠ ʬʨʰ ʱ"ʠʮʧʤ ʯʥʢʸʠ .ʤʫ ʣʲ


                                     Á ÁÁ



              ,ʯʥʰʧ ʺʩʡʡ ʺʣʡʠʺʮ ʺʬʡʧʮ ʵʥʶʩʴ :2006 ʸʡʮʡʥʰ 6
                                   ʣʧʠ ʲʥʶʴ

  ʥʤʹʹ ʬ"ʤʶ ʺʥʧʥʫʬ ʪʥʮʱ ʤʮʶʲ ʤʶʶʥʴ ʸʹʠ ,18 ʺʡ ,ʤʩʬʠʡ'ʢ ʺʡʹʥʺ - ʣʥʲʱʮ ʺʴʸʩʮ
  ʺʩʺʹʺ ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ .ʭʩʮʠʱʷ ʩʸʥʩ ʸʥʢʩʮʬ "ʥʩʺʱ ʩʰʰʲ" ʲʶʡʮ ʺʸʢʱʮʡ ʯʥʰʧ ʺʩʡʡ
                                                    .ʤʲʥʶʸʤ ʯʥʴʶʡ ʩʮʠʬʱʠʤ ʣʠʤ'ʢʤ


                                     Á ÁÁ




                                        5
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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



               ,ʡʩʡʠ ʬʺʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2006 ʬʩʸʴʠ 17
                              ʭʩʲʥʶʴ 64 ʭʩʢʥʸʤ 11

  ʤʰʧʺʡ ʬʴʠʬʴ ʯʫʥʣʬ ʪʥʮʱ ʥʮʶʲ ʵʶʥʴ ,22 ʯʡ ,ʯʩʰ'ʢ ʸʥʦʠʡʹ ʤʷʸʲ ʡʹʥʺ - ʣʠʮʧ ʸʮʠʱ
  ʩʬʩʲʴ ,ʤʸʠʲʢ ʭʶʺʲʮʥ ʸʷʹʠ ʱʠʩʬʠ ʺʰʥʥʫʠʡ ʲʶʥʡ ʲʥʢʩʴʤ .ʡʩʡʠ ʬʺʡ ʤʰʹʩʤ ʺʩʦʫʸʮʤ
  ʸʧʠʬ ʹʣʥʧʫ ʯʥʧʨʩʡʤ ʺʥʧʥʫ ʺʥʬʩʲʴʡ ʥʢʸʤʰʹ     ʭʸʫ ʬʥʨ ʸʥʦʠʮ ʭʩʸʩʫʡ ʩʮʠʬʱʠ ʣʠʤ'ʢ
                                                                             .ʲʥʢʩʴʤ
  ,ʣʡʠʺʮʤ ʺʰʫʤʬ ʩʠʸʧʠ ʤʩʤ ʯʫʥ ʣʡʠʺʮʤ ʺʠ ʹʮʩʹʹ ʵʴʰʤ ʯʲʨʮ ʸʥʶʩʩʬ ʩʠʸʧʠ ʤʩʤ ʸʷʹʠ
                                                  . ʬʠʸʹʩʡ ʲʥʢʩʴʤ ʣʲʩʬ ʥʸʥʢʩʹʥ ʥʮʥʬʩʶ

  ʸʴʩʱʹ ʯʩʷʸʥʡʮ ʩʮʠʬʱʠ ʣʠʤ'ʢ ʬʩʲʴ ,ʩʣʥʮʲ ʣʮʧʮ ʡʩʡʠ ʬʺ ʪʥʺʬ ʬʩʡʥʤ ʣʡʠʺʮʤ ʺʠ
  ʤʸʨʮʡ ʲʥʢʩʴʤ ʭʸʨ ʭʩʧ"ʡʹ ʩʲʩʱʮ ʺʥʲʶʮʠʡ ʡʩʡʠ ʬʺʬ ʺʥʲʩʱʰ ʸʴʱʮ ʲʶʩʡ ʩʫ ʥʺʸʩʷʧʡ
                 .ʡʩʡʠ ʬʺʬ ʤʲʢʤʤ ʩʫʸʣ ʺʠ ʷʥʣʡʬʥ ʲʥʢʩʴʬ ʭʩʮʩʠʺʮ ʭʩʣʲʩ ʬʲ ʲʣʩʮ ʳʥʱʠʬ
  ʬʹ ʥʡʫʸ ʬʲ ʥʬʲ ʭʹ ʤʺʠʰʲʬ ʭʹʮʥ ʤʬʬʠʮʸʬ ʯʩʰ'ʢʮ ʣʡʠʺʮʤ ʭʲ ʩʣʥʮʲ ʠʶʩ ʲʥʢʩʴʤ ʭʥʩʡ
  ʭʸʨ ʭʩʹʣʥʧ 'ʱʮ ʳʨʥʹ ʯʴʥʠʡ ʭʩʧ"ʡʹ ʲʩʱʤʬ ʢʤʰ ʸʹʠ ʤʬʥʧʫ ʦ"ʺ ʬʲʡ ʩʮʬʹʥʸʩ ,ʩʡʢʸ ʦʠʥʴ
  ʳʠ ʬʲ ʩʫ ʯʲʨ ʩʬʬʫ ʯʥʧʨʩʡ ʺʥʸʩʹʡ ʥʺʸʩʷʧʡ ʪʠ ,ʡʩʡʠ ʬʺʬ ʭʩʩʰʹʤ ʲʩʱʤ ʩʡʢʸ .ʥʸʶʲʮ
  ʠʬ ,ʲʶʩʡʹ ʭʩʧ"ʡʹʤ ʺʥʲʱʤ ʺʸʢʱʮʡ ʬʠʸʹʩ ʩʧʨʹʬ ʲʢʴʮ ʺʲʱʤ ʬʹ ʺʥʸʹʴʠʬ ʥʺʥʲʣʥʮ
                                                 .ʲʥʢʩʴʤ ʭʥʩʡ ʣʡʠʺʮ ʲʩʱʮ ʠʥʤʹ ʲʣʩ
  ʷʩʥʣʮ ʲʣʩʮ ʺʥʡʷʲʡ ,ʥʴʩʡ ʩʣʥʮʲ ʸʶʲʰ ʡʩʡʠ ʬʺʡ ʥʮʶʲ ʵʶʥʴ ʣʡʠʺʮʤʹ ʸʧʠʬ ʺʥʸʥʴʱ ʺʥʲʹ
  ʺʠʶʥʤʡ ʺʥʡʸʥʲʮʡ ʭʩʴʱʥʰ ʭʩʣʥʹʧ ʲʥʢʩʴʤ ʭʥʩʡ ʥʸʶʲʰ ʳʱʥʰʡ .ʩʬʬʫ ʯʥʧʨʩʡ ʺʥʸʩʹ ʬʹ
                                                                             .ʲʥʢʩʴʤ
   ʣʠʤʩ'ʢʤ ʬʹ ʺʩʠʡʶʤ ʤʣʷʴʮʤʮ ʺʥʸʩʹʩ ʥʲʩʢʤ ʬ"ʰʤ ʲʥʢʩʴʤ ʺʡʥʨʬ ʭʩʴʱʫʤʥ ʺʥʩʧʰʤʤ
                                                                   .ʤʩʸʥʱʡ ʩʮʠʬʱʠʤ
                                      Á ÁÁ




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                         ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



           ,ʭʩʮʥʣʷ ʸʥʦʠʡ ʡʫʸʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2006 ʵʸʮ 30
                                    ʭʩʢʥʸʤ 4


  ʸʥʦʠʡ ʴʮʸʨ ʬʲ ʤʬʲ ʸʹʠ ,24 ʯʡʫ ,ʯʥʸʡʧ ʸʥʦʠʡʹ 'ʢʸʥʡ ʬʠ ʡʹʥʺ - ʤʷʸʠʹʮ ʣʮʧʠ
  .ʵʥʶʩʴʤʮ ʤʠʶʥʺʫ ʥʢʸʤʰʹ ʡʫʸʤ ʩʡʹʥʩ ʺʲʡʸʠ ʬʲ ʤʲʩʱʰʤ ʪʬʤʮʡ ʥʮʶʲ ʵʶʥʴʥ ʭʩʮʥʣʷ
  ʥʢʸʤʰ ʸʹʠ ,ʭʫʹʮ ʭʩʦʰʺ ʩʬʩʲʴ ,ʹʠʹʧ ʩʰʠʤʥ ʩʰʥʨʠʷ ʣʥʠʣ ʬʹ ʭʺʰʥʥʫʠʡ ʲʶʥʡ ʲʥʢʩʴʤ
                                       .ʯʫʮ ʸʧʠʬ ʭʩʹʣʥʧ 'ʱʮ ʯʥʧʨʩʡʤ ʺʥʧʥʫ ʺʥʬʩʲʴʡ
  ʺʸʥʢʧ ʬʡʩʷ ʩʫ ʥʺʸʩʷʧʡ ʤʣʥʤ ʸʹʠ ,ʤʩʬʩʷʬʷʮ ʭʩʦʰʺ ʬʩʲʴ ,ʯʠʬʲ ʱʰʠ ʬʩʡʥʤ ʣʡʠʺʮʤ ʺʠ
  ʭʩʩʰʹʤ ʺʹʷʡʬ .ʥʡʫʸ ʬʹ ʩʸʥʧʠʤ ʡʹʥʮʬ ʺʧʺʮ ʸʩʺʱʤ ʤʺʥʠ ,ʭʫʹʡ ʹʠʹʧʥ ʩʰʥʨʠʷʮ ʵʴʰ
  ʺʠ ʯʠʬʲ ʲʩʱʤ ʯʫʮ ʸʧʠʬ .ʤʸʥʢʧʤ ʺʠ ʥʬ ʸʱʮ ʭʹ ,ʤʩʬʩʷʬʷ ʸʥʦʠʡ ʣʡʠʺʮʡ ʹʥʢʴʬ ʲʱʰ
                                            .ʯʥʸʮʥʹ ʩʰʸʷ ʬʹ ʤʲʱʤʤ ʺʰʧʺʬ ʣʡʠʺʮʤ
  ʯʮʱʬ ʬʧʤ ʭʹ ,ʵʴʰʤ ʺʸʥʢʧʡ ʹʥʡʬ ʠʥʤʹʫ ʺʥʰʩʢ ʩʰʸʷ ʺʮʥʶʬ ʺʩʬʢʸ ʺʫʬʬ ʬʧʤ ʣʡʠʺʮʤ
  .ʡʫʸʬ ʥʺʥʠ ʤʬʲʤʥ ʣʡʠʺʮʬ ʸʶʲ ʭʩʬʠʸʹʩ 4 ʥʡʥ ʩʬʠʸʹʩ ʡʫʸ .ʥʬ ʸʥʶʲʬ ʭʩʬʠʸʹʩ ʭʩʡʫʸʬ
   .ʭʩʬʠʸʹʩʤ ʺʲʡʸʠ ʬʹ ʭʺʥʮʬ ʭʸʢʥ ʡʫʸʤ ʪʥʺʡ ʥʮʶʲ ʣʡʠʺʮʤ ʵʶʥʴ ʭʩʮʥʣʷ ʺʮʥʶʬ ʪʥʮʱʡ


                                     Á ÁÁ


         ʭʩʲʥʶʴ 26 ,ʡʩʡʠ ʬʺʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2006 ʸʠʥʰʩ 19


  ʤʥʥʯʰ ʡʥʧʸʡ "ʸʩʲʤ ʹʠʸ" ʺʮʸʠʥʥʹʬ ʪʥʮʱ ʵʶʥʴʺʤ ʸʹʠ ,ʭʫʹ ʡʹʥʺ 19 ʯʡ - ʸʺʰʲ ʩʮʠʱ
                                 .ʭʩʬʠʸʹʩ 26 ʥʲʶʴʰ ʵʥʶʩʴʤʮ ʤʠʶʥʺʫ .ʡʩʡʠ ʬʺʡ ʯʰʠʹ
  ʸʹʠ ,ʭʫʹʡ ʩʮʠʬʱʠ ʣʠʤ'ʢ ʩʬʩʲʴ ,ʩʹʩʠʸʲ ʣʮʧʠʥ ʣʮʧʮ ʤʦʮʧ ʺʰʥʥʫʠʡ ʲʶʥʡ ʲʥʢʩʴʤ
  ʳʱʫ ʥʬ ʯʺʰʥ ʣʡʠʺʮʤ ʬʲ ʤʺʥʠ ʹʩʡʬʤ ,ʵʴʰʤ ʺʸʥʢʧ ʺʠ ʢʩʹʤ ʩʹʩʠʸʲ .ʲʥʢʩʴʤ ʸʧʠʬ ʥʸʶʲʰ
                                                .ʬʠʸʹʩʬ ʲʩʢʤʬ ʬʫʥʩʹ ʺʰʮ ʬʲ ʺʩʰʥʮʬ


                                     Á ÁÁ




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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



   ,ʫ"ʥʨ ʸʥʦʠʡ ʬ"ʤʶ ʧʫʬ ʪʥʮʱ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ 2 ʵʥʶʩʴ :'05 ʸʡʮʶʣ 29
                               ʭʩʲʥʶʴ 3 -ʥ ʣʧʠ ʢʥʸʤ

  ,ʩʣʲʱ ʠʠʬʲ ʭʲ ʣʧʩ 29/12-ʤ ʸʷʥʡʡ ʠʶʩ 18 ʯʡ ,ʫ"ʥʨ ʸʥʦʠʡʹ ʬʩʺʲ ʡʹʥʺ ,ʩʮʢʲ ʡʩʤʥʶ
  ʹʠʸʬ ʤʱʩʰʫʡʹ ʩʸʧʱʮʤ ʸʥʦʠʡ ʬʥʴʫ ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʶʡʬ ʤʸʨʮʡ 21 ʯʡ ,ʯʩʰʢ ʴʮ ʡʹʥʺ
                                                                               .ʯʩʲʤ
  ʥʡʠ ʬʠʣʰ ʬʹ ʥʺʰʥʥʫʠʡ ʯʩʰ'ʢʡʥ ʫ"ʥʨʡ ʩʮʠʬʱʠʤ ʣʠʤ'ʢʤ ʺʩʺʹʺ ʩʣʩ ʬʲ ʲʥʢʩʴʬ ʥʧʬʥʹ ʭʩʩʰʹʤ
               .ʯʫʮ ʸʧʠʬ ʹʣʥʧʫ ʬ"ʤʶ ʺʥʧʥʫ ʩʣʩ ʬʲ ʢʸʤʰʹ ʸʩʫʡ ʩʮʠʬʱʠ ʣʠʤʢ ʬʩʲʴ ,ʤʣʲʱ
  ,ʤʩʣʰʬʷʬ ʲʩʢʤʬ ʤʸʨʮʡ ʺʩʰʥʮ ʬʲ ʥʬʲʥ ʵʴʰ ʺʥʸʥʢʧ ʩʺʹ ʭʺʥʹʸʡʹʫ ʭʸʫ ʬʥʨʮ ʥʠʶʩ ʭʩʩʰʹʤ
  ʺʥʡʷʲʡ ʭʷʥʤʹ ʯʥʲʸʴʬ 'ʴʶ ʬ"ʤʶ ʭʥʱʧʮ ʩʣʩ ʬʲ ʥʸʶʲʰ ʭʫʸʣʡ .ʯʩʲʤ ʹʠʸʬ ʲʩʢʤʬ ʥʰʰʫʺ ʭʹʮ
  ʭʥʱʧʮʡ ʷʥʣʩʡʤ ʪʬʤʮʡ .ʬʠʸʹʩ ʳʸʥʲʡ ʲʥʢʩʴ ʲʶʡʬ ʺʥʰʥʥʫ ʬʲ ʫ"ʡʹ ʬʹ ʩʰʩʲʩʣʥʮ ʲʣʩʮ
      .ʥʲʶʴʰ ʭʩʴʱʥʰ ʭʩʬʩʩʧ ʤʹʥʬʹʥ ʬ"ʤʶ ʯʩʶʷ ʢʸʤʰ ʵʥʶʩʴʤʮ .ʭʩʣʡʠʺʮʤ ʭʩʬʡʧʮʤ ʥʶʶʥʴʺʤ


                                       Á ÁÁ


           ,ʤʩʰʺʰʡ ʯʥʸʹʤ ʯʥʩʰʷʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :'05 ʸʡʮʶʣ 5
                              ʭʩʲʥʶʴ 61 -ʥ ʭʩʢʥʸʤ 5


  ʬʹ ʥʣʥʣ ʯʡ ʺʰʥʥʫʠʡ ʲʶʥʡ ʲʥʢʩʴʤ .21 ʯʡ ,ʭʸʫ ʬʥʨ ʸʥʦʠʡʹ ʸʠʬʩʲ ʡʹʥʺ - ʤʣʲʱ ʥʡʠ ʩʴʨʥʬ
  ʯʥʧʨʩʡʤ ʺʥʧʥʫ ʺʥʬʩʲʴʡ ʢʸʤʰʹ ʸʩʫʡ ʩʮʠʬʱʠ ʣʠʤ'ʢ ʬʩʲʴ ,ʤʣʲʱ ʥʡʠ ʬʠʣʰ -ʣʡʠʺʮʤ
  ʭʩʧʸʦʠ 5 ʥʢʸʤʰ ʥʡ ʲʥʢʩʴʬ ʺʥʩʸʧʠ ʬʨʰ ʩʮʠʬʱʠʤ ʣʠʤ'ʢʤ ʯʥʢʸʠ.ʯʫʮ ʸʧʠʬ ʭʩʩʹʣʥʧʫ
                                                          .ʥʲʶʴʰ ʭʩʴʱʥʰ 61-ʥ ʭʩʬʠʸʹʩ


                                       Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



             ,ʤʸʣʧʡ ʷʥʹʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :'05 ʸʡʥʨʷʥʠ 26
                              ʭʩʲʥʶʴ 27 -ʥ ʭʩʢʥʸʤ 6

  ʲʥʢʩʴʤ .'05 ʸʡʥʨʷʥʠʡ 26 -ʡ ʤʸʣʧʡ ʷʥʹʡ ʥʮʶʲ ʵʶʥʴ 19, ʯʡ ,ʤʩʨʠʡʷ ʡʹʥʺ - ʣʩʦ ʥʡʠ ʯʱʧ
  ʣʮʧʮ ʬʩʡʥʤ ʣʡʠʺʮʤ ʺʠ .ʫ"ʥʨʮ ʸʩʫʡ ʩʮʠʬʱʠ ʣʠʤ'ʢ ʬʩʲʴ ,ʤʣʲʱ ʥʡʠ ʬʠʣʰ ʺʰʥʥʫʠʡ ʲʶʥʡ
  ʥʲʱʰʥ ʫ"ʥʨʮ ʣʡʠʺʮʤʥ ʲʥʹʷ ʥʠʶʩ ʲʥʢʩʴʤ ʭʥʩʡ .ʸʠʬʩʲ ʡʹʥʺ ,ʩʮʠʬʱʠ ʣʠʤ'ʢ ʬʩʲʴ ,ʲʥʹʷ
  ʣʲ ʬʠʸʹʩ ʤʶʥʧ ʹʩʡʫʡ ʭʹʮʥ ʭʩʬʹʥʸʩʬ ʺʴʷʥʲ ʪʸʣʡ ʤʲʱʰʹ ʺʩʰʥʮ ʬʲ ʥʬʲ ʭʹ ,ʤʩʣʰʬʷʬ
                                                                              .ʺ'ʢʬ
  ʺʠ ʲʩʱʤ ʸʹʠ ,ʺʥʧʴʹʮ ʣʥʧʩʠ ʲʷʸ ʬʲ ʺ'ʢʡ ʸʸʥʢʺʮʤ ,ʸʥʶʰʮ ʩʸʫʴʬ ʭʩʩʰʹʤ ʥʸʡʧ ʺ'ʢʡ
  ,ʬʠʸʹʩ ʩʧʨʹʬ ʹ"ʥʩʠʮ (ʭʩʧ"ʡʹ) ʭʩʩʷʥʧ ʩʺʬʡ ʭʩʤʥʹ ʲʩʱʤʬ ʢʤʰ ʸʥʶʰʮ .ʤʸʣʧʬ ʭʩʩʰʹʤ
  ,ʣʡʠʺʮ ʬʡʧʮ ʲʩʱʮ ʥʰʩʤ ʩʫ ʤʲʩʱʰʤ ʺʬʩʧʺʡ ʸʡʫ ʯʩʡʤ ʸʥʶʰʮ ʩʫ ʤʬʲ ʲʥʹʷ ʬʹ ʥʺʸʩʷʧʡʥ
                                                  .ʤʸʣʧʬ ʣʲ ʥʺʲʩʱʰʡ ʪʩʹʮʤ ʺʠʦ ʭʲʥ


                                       Á ÁÁ



       ,ʲʡʹ ʸʠʡʡ ʺʩʦʫʸʮʤ ʤʰʧʺ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :'05 ʨʱʥʢʥʠ 28
                                    ʭʩʲʥʶʴ 49


  ʣʡʠʺʮʤ ʸʡʲ ʲʥʢʩʴʤ ʭʥʩʡ .ʡʢʰʡ ʯʩʩʰʡʡ ʣʡʲ ʸʹʠ ,19 ʯʡ ,ʤʩʸʤʣ ʡʹʥʺ - ʤʩʩʱʩʷ ʯʠʮʧʸ ʠʲ
  ʩʰʹ ʩʣʩ ʬʲ ʤʤʥʦ ʭʹ ʲʡʹ ʸʠʡʡ ʺʩʦʫʸʮʤ ʤʰʧʺʬ ʲʩʢʤ ,ʸʣʢ ʸʣʲʤʡ ʸʴʺʤ ʥʷ ʺʠ ʺʥʬʷʡ
  ʳʱʥʰʡ ,ʤʹʷ ʧʸʥʠʡ ʥʲʶʴʰ ʵʥʶʩʴʤʮ ʤʠʶʥʺʫʥ ,ʬʤʷʤ ʣʡʬʡ ʣʡʠʺʤʬ ʥʰʮʮ ʥʲʰʮʹ ʭʩʧʨʡʠʮ
                                                .ʲʥʢʩʴʡ ʥʲʶʴʰʹ ʭʩʴʱʥʰ ʭʩʬʠʸʹʩ 47 -ʬ
  ʭʠʱʥʧ :ʤʩʸʤʣʮ ʱ"ʠʮʧ ʩʬʩʲʴ 3 ʥʣʮʲ ʤʹʠʸʡ ʸʹʠ ʺʩʺʹʺʤ ʬʲʥʴʬ ʤʠʩʶʥʤ ʲʥʢʩʴʤ ʺʠ
  ʬʧʤ ʩʸʩ ʲʥʢʩʴ ʺʸʥʹʬ ʺʩʠʸʧʠ ʤʺʩʩʤ ʭʢ ʺʩʺʹʺʤ .ʨʠʨʡ ʭʺʩʩʤʥ ʤʩʩʱʩʷ ʳʱʥʩ ,ʤʩʩʱʩʷ
  ʥʰʮʮ ,'05 ʸʠʥʸʡʴʡ ʯʥʸʡʧ ʸʤ ʭʥʸʣʡ ʩʬ"ʤʶ ʡʫʸ ʸʡʲʬ ʲʶʥʡʹ ʩʸʩ ʲʥʢʩʴ ʭʤʡ ,'01 ʸʡʮʡʥʰʮ
  ʺʰʫʤʬ ʭʬʢ ʩʸʮʥʧʥ ʭʩʰʲʨʮ ʥʸʢʱʥʤ ʤʩʩʱʩʷ ʭʠʱʧ ʲʶʩʡʹ ʧʬʮʠ ʺʸʢʱʤʡ .ʭʩʬʩʩʧ 4 ʥʲʶʴʰ
                                                                           .ʭʩʰʲʨʮ


                                       Á ÁÁ




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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



            ,ʤʩʰʺʰʡ ʯʥʩʰʷʬ ʪʥʮʱ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2005 ʩʬʥʩ 12
                              ʭʩʲʥʶʴ 88 -ʥ ʭʩʢʥʸʤ 5


  ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ .ʤʩʰʺʰʡ ʯʥʩʰʷʬ ʪʥʮʱ ʥʮʶʲ ʵʶʥʴ ,18 ʯʡ ,ʬʩʺʲ ʡʹʥʺ - ʩʥʠʢ ʣʮʧʠ
  ʷ"ʴʩʧ ʩʮʠʬʱʠʤ ʣʠʤ'ʢʡ ʩʠʡʶ ʬʩʲʴ ,ʤʣʲʱ ʥʡʠ ʬʠʣʰ .ʭʸʫ ʬʥʨʡ ʩʮʠʬʱʠʤ ʣʠʤ'ʢʤ ʺʩʺʹʺ
  ʤʸʥʠʫʬ ʸʥʶʲ ʥʺʥʩʤ ʳʠ ʬʲ ,ʭʸʫ ʬʥʨʡ ʭʩʣʧʥʩʮʤ ʺʥʧʥʫʤ ʤʨʮ ʯʩʩʰʡ ʪʥʺʮ ʲʥʢʩʴʤ ʺʠʶʥʤ ʺʠ
                                                                        .ʯʥʰʢʰʮʤ ʩʣʩ ʬʲ
  ʬʠʸʹʩ ʩʧʨʹʬ ʥʱʰʫʰ ,ʸʠʬʩʲ ʡʹʥʺ ,ʯʠʸʤʦ ʳʱʠʲ ,ʥʬʩʡʥʮʥ ʲʢʴʮʤ ʩʫ ʤʬʲ ʲʥʢʩʴʤ ʺʸʩʷʧʡ
  ʺʥʸʩʹʡ ʤʸʩʷʧʡ ʭʤʩʺʥʠʣʥʤ ʩʴ ʬʲʹ ,ʭʩʧ"ʡʹ ʩʲʩʱʮ ,ʭʩʬʠʸʹʩ ʭʩʧʸʦʠ ʩʰʹ ʺʥʲʶʮʠʡ
  ,ʭʦʠʲ ʳʩʱʥ ,ʯʢ ʺʮʸ ʡʹʥʺ ,ʩʥʬ ʸʩʴʫ ,ʭʩʩʰʹʤ .ʭʩʹʣʥʧ ʸʴʱʮ ʸʡʫ ʪʫʡ ʭʩʷʱʥʲ ,ʩʬʬʫ ʯʥʧʨʩʡ
  ʪʸʣ ʬʠʸʹʩʡʹ ʤʡʩʩʨʬ ʲ"ʮʣʢ ʩʡʹʥʺ ʩʰʹ ʥʲʩʱʤ ʲʥʢʩʴʤ ʭʥʩʡ ʩʫ ʭʺʸʩʷʧʡ ʥʣʥʤ ,ʤʡʩʩʨ ʡʹʥʺ
           .ʭʩʮʥʱʧʮʡ ʷʣʡʰ ʠʬʹ ʩʣʥʤʩ ʥʺʥʩʤ ʺʣʡʥʲ ʺʠ ʬʶʩʰ ʩʥʬʹ ʸʧʠʬ ,'ʯʩʴʥʶ' ʬ"ʤʶ ʭʥʱʧʮ
  ʺʠ ʳʱʠ ʩʫ ʥʺʸʩʷʧʡ ʤʣʥʤʹ ,ʤʩʡʸʢ ʬʠ ʤʷʠʡ ʡʹʥʺ ,ʧʥʮ ʥʡʠ ʯʠʮʧʸ ʠʲ ʸʶʲʰ ʳʱʥʰʡ
                                 .ʲʥʢʩʴʤ ʭʥʷʮʬ ,ʤʩʰʺʰʬ ʭʲʩʱʤʥ ʤʡʩʩʨʡ ʥʤʥʥʬʮʥ ʣʡʠʺʮʤ
  ,ʺʠʦ ʭʲ .ʲ"ʧʴ ʩʬʩʲʴ ʭʰʩʤ ʭʩʩʰʹʤʹ ʪʫʬ ʭʩʲʣʥʮ ʥʩʤ ʠʬ ʩʫ ʭʺʸʩʷʧʡ ʭʩʰʲʥʨ ʤʹʥʬʹʤ ʬʫ
  ʥʡʹʧ ʠʬʠ ,ʭʩʮʩʮʺ ʭʩʰʩʨʱʬʴ ʭʩʬʲʥʴʡ ʸʡʥʣʮʤ ʯʩʠ ʩʫ ʥʲʣʩ ʭʦʠʲʥ ʩʥʬ ,ʭʺʸʩʷʧʡ ʤʬʥʲʤ ʩʴʬ
             .ʩʬʩʬʴ ʲʷʸ ʬʲ ʥʮʲ ʥʺʥʸʫʩʤʮ ʯʠʸʤʦʬ ʲʩʩʱ ʧʥʮ ʥʡʠ ʭʢ .ʭʩʶʸʥʴ/ʭʩʡʰʢʡ ʸʡʥʣʮ ʩʫ


                                        Á ÁÁ



      ,"ʢʩʩʨʱʤ" ʯʥʣʲʥʮʬ ʤʱʩʰʫʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2005 ʸʠʥʸʡʴ 25
                         ʭʩʲʥʶʴ 52 -ʥ ʭʩʢʥʸʤ 5 ʡʩʡʠ ʬʺʡ

  ʤʱʩʰʫʬ ʪʥʮʱʡ ʥʮʶʲ ʵʶʥʴ ,23 ʯʡ ,ʭʸʫ ʬʥʨ/ʯʥʶʥʢ ʬʠ ʸʩʣ ʡʹʥʺ - ʯʠʸʣʡ ʣʩʲʱ ʤʬʬʠʣʡʲ
  ʺʥʩʸʧʠ ʺʬʩʨʰ .ʭʩʹʰʠ ʺʥʸʹʲ ʤʮʫ ʥʰʩʺʮʤ ʭʹ ,ʡʩʡʠ-ʬʺʡ ʺʬʩʩʨʡ "ʢʩʩʨʱʤ" ʯʥʣʲʥʮʬ
  ʲʥʢʩʴʤ ʩʸʥʧʠʮ .ʤʹʧʫʤ ʤʮʱʸʥʴ ʯʫʮ ʸʧʠʬʥ ʩʮʠʬʱʩʠʤ ʣʠʤʩ'ʢʤ ʯʥʢʸʠ ʩʣʩ ʬʲ ʤʮʱʸʥʴ
  ʣʠʤʩ'ʢʤ ʺʣʷʴʮ ʩʣʩ ʬʲ ʤʰʥʥʫʥʠ ʸʹʠ , ʭʸʫ ʬʥʨʡ ʩʮʠʬʱʩʠʤ ʣʠʤʩ'ʢʤ ʺʩʺʹʺ ʺʥʣʮʥʲ
                                      .ʯʩʰ'ʢʡ ʩʮʬʱʩʠʤ ʣʠʤʩ'ʢʤ ʺʩʺʹʺʥ ʤʩʸʥʱʡ ʩʮʠʬʱʠʤ


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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




     ʯʠʧʸʥʠ ʡʶʥʮʡ ʷʥʣʩʡʤ ʺʣʮʲʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2005 ʸʠʥʰʩ 18
                       ʭʩʲʥʶʴ 8 -ʥ (ʫ"ʡʹ ʣʡʥʲ) ʣʧʠ ʢʥʸʤ

  ʺʥʧʥʫ ʬʲ ʥʮʶʲ ʵʶʥʴ ,ʱ"ʠʮʧ ʬʩʲʴ ,21 ʯʡ ,ʱʰʥʩ ʯʧ ʡʹʥʺ - ʹʡʨ ʸʮʥʲ
  ʣʡʠʺʮʤ .ʯʠʧʸʥʠʤ ʡʶʥʮʡ ʷʥʣʩʡʤ ʺʡʧʸʡ ʸʶʲʮ ʯʥʩʱʩʰ ʪʬʤʮʡ ʯʥʧʨʩʡʤ
  ʸʧʠʬ ʭʩʩʺʲʹ ʨʲʮʫ ,16:40 ʤʲʹʬ ʪʥʮʱ ʺʩʰʥʫʮʡ ʳʩʨʷ ʹʥʢ ʺʮʥʶʬ ʲʩʢʤ
  ʧʷʬʰʥ ʸʶʲʰ ʩʰʩʲʩʣʥʮ ʲʣʩʮ ʺʥʡʷʲʡʥ ʩʰʩʨʱʬʴ ʡʫʸ ʸʡʲʮʬ ʺʮʥʶʤ ʺʸʩʢʱ
  ʺʠ ʠʹʰ ʣʡʠʺʮʤ ʩʫ ʤʬʲ ʵʥʶʩʴʤ ʸʧʠʬʹ ʤʬʡʧ ʺʥʷʩʣʡʮ .ʷʥʣʩʡʤ ʯʷʺʮʬ
  ʬʫʫ ,ʤʫʩʹʮ ʯʥʰʢʰʮ ʺʥʲʶʮʠʡ ʤʬʲʴʥʤʥ ʱʱʸ ʠʬʬ ʤʺʩʩʤ ʵʴʰʤ ʺʸʥʢʧ .ʥʩʫʸʩ ʬʲ ʵʴʰʤ ʺʸʥʢʧ
  ʯʫʥ ʲʥʢʩʴʬ ʺʩʡʮʥʴ ʺʥʩʸʧʠ ʤʬʨʰ ʱ"ʠʮʧʤ ʺʲʥʰʺ .ʷʥʣʩʡʤ ʩʲʶʮʠ ʬʲ ʭʩʸʲʤʬ ʩʣʫʡ ʤʠʸʰʤ
                                                      .ʣʡʠʺʮʤ ʬʹ ʥʺʠʥʥʶ ʺʠ ʤʮʱʸʴ


                                       Á ÁÁ


             ,ʠ"ʺʡ ʬʮʸʫʤ ʷʥʹʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2004 'ʡʥʰ 1
                              ʭʩʲʥʶʴ 32 -ʥ ʭʩʢʥʸʤ 3


  ʥʰʥʶʸ ʲʩʡʤ .ʸʢʰʫ ʣʡʲ ,16 ʯʡ ,ʯʩʨʷ ,ʸʫʱʲ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʸʠʴʬʠ/ʩʬʲ ʸʮʠʲ
  ʭʱʠʡ ʩʣʩ ʬʲ ʲʥʢʩʴʬ ʬʡʥʤ ʣʡʠʺʮʤ .ʤʣʠʴʩʺʰʩʠʤ ʺʬʩʧʺʡ ʥʣʥʣ ʺʥʮ ʬʲ ʤʮʷʰʫ ʣʡʠʺʤʬ
  ʹʮʺʹʤ ʸʹʠ ,ʭʫʹ ʡʹʥʺ , ʧʠ'ʢʰ-ʠ ʺʨʩʱʸʡʩʰʥʠʡ ʺʸʥʹʷʺ ʩʣʥʮʩʬʬ ʨʰʣʥʨʱ ,ʩ'ʢʷʣʰʥʧ
  .ʲʩʸʴʮ ʯʩʠʡ ʭʩʩʠʡʶ ʭʩʮʥʱʧʮ ʸʥʡʲʬ ʺʰʮ ʬʲ ,ʥʩʣʥʮʩʬ ʺʸʢʱʮʡ ʥʬ ʤʷʴʰʥʤʹ ʩʠʰʥʺʩʲ ʺʣʥʲʺʡ
  ʧʸʦʮ ,ʩʡʸʲ ʺʩʰʥʮ ʢʤʰ ,ʩʱʠʡʲ ʸʥʠʣ ʣʮʧʮ ʸʠʹʡʡ ʩ'ʢʷʣʰʥʧ ʸʦʲʰ ʠ"ʺʬ ʲʢʴʮʤ ʺʲʱʤʡ
  ʤʩʩʤʹʬ ʭʩʰʩʨʱʬʴ ʺʲʱʤ ʲʷʸ ʬʲ ʯʫ ʩʰʴʬ ʤʸʶʷ ʤʴʥʷʺ ʸʱʠʮ ʹʰʥʲ ʤʶʩʸ ʸʹʠ ,ʩʮʬʹʥʸʩ
  ʵʶʥʴʥ ʷʥʹʤ ʡʬ ʬʠ ʤʮʩʰʴ ʱʰʫʰ ,ʷʥʹʤ ʧʺʴʡ ʺʩʰʥʮʤʮ ʣʸʩ ʣʡʠʺʮʤ .ʬʠʸʹʩʡ ʺʩʷʥʧ ʩʺʬʡ
                                                                              .ʥʮʶʲ
  ʩʬʩʲʴ ʬʹ ʲʩʰʮʤ ʥʤʦʥ ʯʫʺʩʥ ʸʺʥʩʡ ʤʹʷ ʣʡʠʺʮʤ ʺʧʴʹʮ ʬʹ ʩʬʫʬʫʤ ʤʡʶʮ ʩʫ ʯʩʩʶʬ ʹʩ
            .ʭʺʷʥʶʮ ʬʥʶʩʰ ʪʥʺ ʥʦ ʤʧʴʹʮ ʬʠ ʤʩʩʰʴʬ ,ʲʥʢʩʴʤ ʩʰʥʥʫʠʮ ,ʭʫʹʡ ʲ"ʦʧʤ ʺʩʺʹʺ


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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



        ,ʤʩʬʡ'ʢʡ ʬ"ʤʶ ʺʩʩʬʥʧʬ ʪʥʮʱ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2004 'ʷʥʠ 5
                                   ʭʩʲʢʴʰ ʠʬʬ


  ʵʶʥʴʺʤ ,50 ʯʡʫ ʤʠʸʰʤ ʬʫʫ ,ʤʲʥʣʩ ʠʬ ʥʺʥʤʦʹ ,ʱ"ʠʮʧʤ ʭʲʨʮ ʣʡʠʺʮ ʬʡʧʮ - ʲʥʣʩ ʠʬ
  ʥʠʶʮʰ ʬʡʧʮʤ ʬʹ ʥʺʴʥʢ ʩʷʬʧ .ʤʦʲ ʺʲʥʶʸʡ ,ʤʩʬʡ'ʢʡ ʬ"ʤʶ ʧʥʫ ʤʤʹ ʥʡ ʤʰʡʮʬ ʪʥʮʱʡ
                                                     .ʥʰʩʺʥʧʥʫʬ ʭʩʲʢʴʰ ʥʩʤ ʠʬ .ʧʨʹʡ


                                      Á ÁÁ



  ,ʭʩʬʹʥʸʩʡ ʺʩʺʴʸʶʤ ʤʲʡʢʡ ʤʣʠʩʴʮʸʨʡ ʺʥʣʡʠʺʤ ʲʥʢʩʴ :2004 'ʨʴʱ 22
                       ʭʩʲʥʶʴ 17 -ʥ (ʡ"ʢʮ ʩʬʩʩʧ) ʭʩʢʥʸʤ 2


  ʤʩʣʥʮʩʬ ʺʠ ʤʮʩʩʱ ,18 ʺʡʫ ,ʭʫʹ/ʸʫʱʲ ʭʩʨʩʬʴʤ ʤʰʧʮ ʺʡʹʥʺ - ʭʬʠʱ-ʥʡʠ ʡʰʩʦ
  ʺʠ ʤʠʶʩ .ʤʩʣʥʮʩʬ ʭʩʬʹʤʬ ʺʰʮ ʬʲ ʧʠ'ʢʰ ʺʨʩʱʸʡʩʰʥʠʬ ʤʮʹʸʰʥ ʤʸʡʲʹ ʤʰʹʡ ʭʩʩʰʥʫʩʺʤ
  ʪʸʥʶʬ ʤʨʩʱʸʡʩʰʥʠʬ ʺʠʶʬ ʤʺʰʥʥʫʡ ʩʫ ʤʺʧʴʹʮ ʩʰʡʬ ʤʸʱʮʹ ʸʧʠʬ ʲʥʢʩʴʤ ʸʷʥʡʡ ʤʺʩʡ
  ʤʮʶʲ ʤʶʶʥʴ ,ʭʫʹʡ ʧ"ʺʴʤ ʺʥʰʢʸʠʺʤ ʭʲʨʮ ʤʧʬʹʰ ʸʹʠ ,ʺʣʡʠʺʮʤ .ʭʩʫʮʱʮ ʺʸʣʱʤ
                                                    .ʤʷʣʡʰʹ ʯʮʦʡ ,ʡ"ʢʮ ʩʬʩʩʧʬ ʪʥʮʱ
                                      ÁÁÁ



  ʬ"ʤʶ ʧʥʫʬ ʪʥʮʱ ʭʩʩʰʴʥʠ ʬʲ ʡʥʫʸ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2004 ʸʡʮʨʴʱ 14
                           ʭʩʲʥʶʴ ʭʩʬʩʩʧ 2 ,ʤʩʬʩʷʬʷʡ


  ,ʺʥʸʢʰ) ʺʥʰʮʣʦʮ ʺʥʣʥʡʲʡ ʣʡʲ ,24 ʯʡ ʷʥʥʸ ,ʤʩʬʩʷʬʷ ʡʹʥʺ - ʩʸʠʡʢʠ ʳʱʥʩ ʡʬʠʨ ʳʱʥʩ
  ʩʠʬʷʧʤ ʸʲʹʬ ʤʩʬʩʷʬʷ ʯʥʥʩʫʮ ʸʥʧʹ ʲʡʶʡ ʭʩʩʰʴʥʠ ʬʲ ʡʥʫʸ ʲʩʢʤ ʲʥʢʩʴʤ ʭʥʩʡ .(ʺʥʬʡʱ
  .ʤʮʣʠ ʩʧʥʴʺ ʷʹ ʥʫʥʺʡʥ ʦʢʸʠ ʧʰʥʮ ʤʩʤ ʭʩʩʰʴʥʠʤ ʬʹ ʩʸʥʧʠʤ ʬʡʱʤ ʬʲ .ʤʬʡʧ ʯʥʥʫʬ ʤʰʥʴʤ
  ,ʸʡʲʮ ʸʥʹʩʠ ʥʺʥʹʸʡ ʹʩ ʭʠ ʥʺʥʠ ʥʬʠʹʥ ʦ"ʺ ʢʩʶʤʬ ʥʰʮʮ ʥʹʷʩʡ ʭʥʱʧʮʡ ʥʣʮʲʹ ʭʩʬʩʩʧʤ
  ʵʶʥʴʥ ʤʩʬʩʷʬʷ ʯʥʥʩʫʬ ʡʡʥʺʱʤ ʣʡʠʺʮʤ .ʤʩʬʩʷʬʷʬ ʸʥʦʧʬ ʥʬ ʸʮʠʰʥ ʤʬʩʬʹʡ ʡʩʹʤ ʣʡʠʺʮʤ
                                                               .ʭʩʬʩʩʧʬ ʪʥʮʱʡ ʥʮʶʲ
  ʬʩʲʴ) ,ʠʱʩʲ ʭʩʤʸʡʠ ʩʣʩ ʬʲ ʤʢʤʰʥʤʥ ʭʩʦʰʺʥ ʱ"ʠʮʧ ʺʡʬʥʹʮ ʤʰʩʤ ʲʥʢʩʴʤ ʩʸʥʧʠʮ ʺʩʺʹʺʤ
  ʲʶʡʬ ʯʥʣʰʤ ʧʬʹ ʸʹʠ ʠʥʤ ʠʱʩʲ .ʩʠʡʶʤ ʩʠʸʧʠʫ (ʭʩʰʲʨʮ ʸʥʶʩʩʡ ʲʣʩ ʬʲʡʥ ʥʸʡʲʡ ʱ"ʠʮʧ
                                                                            .ʲʥʢʩʴʤ




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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



      ʭʩʫʥʮʱ ʭʩʱʥʡʥʨʥʠ 2 -ʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ 2 ʵʥʶʩʴ :2004 ʨʱʥʢʥʠ 31
                      ʭʩʲʥʶʴ 100 -ʥ ʭʩʢʥʸʤ 16 ,ʲʡʹ ʸʠʡʡ


                               ʭʩʣʡʠʺʮʤ ʭʩʬʡʧʮʤ
                 ʤʮʱʠʥʷ ʣʮʧʠ                            ʩʸʡʲ'ʢ ʭʩʱʩʰ




  ʥʡ ʨʲʮʫ ʭʮʶʲ ʥʶʶʥʴ 29 ʯʡ ,ʯʥʸʡʧ ʡʹʥʺ ,ʤʮʱʠʥʷ ʣʮʧʠʥ 22 ʯʡ ,ʯʥʸʡʧ ʡʹʥʺ ,ʩʸʡʲ'ʢ ʭʩʱʰ
                       .ʲʡʹ ʸʠʡʡ ʤʷʥʸʥʱ ʭʩʬʥʧ ʺʩʡʬ ʡʥʸʷ ʭʩʫʥʮʱ ʭʩʱʥʡʥʨʥʠ 2 -ʡ ʺʩʰʮʦ
  ʺʥʲʩʶʷʡ ʠʥʬʫ ʤʩʤ ʸʹʠ ,ʯʥʸʡʧ ʯʥʴʶʡ ʱʠʮʧʤ ʺʩʬʥʧ 'ʸ ,ʯʥʮʬʹʤ ʡʲʶʮ ʩʣʩ ʬʲ ʥʱʩʩʥʢ ʭʩʩʰʹʤ
  -   - ʱ"ʠʮʧʤ ʬʹ ʺʩʠʡʶʤ ʲʥʸʦʤ ʣʷʴʮ) ʤʮʱʠʥʷ ʣʠʸʥʮ ʬʹ ʥʩʧʠ ʤʮʱʠʥʷ ʣʥʮʧʮ ʭʲ ʣʧʩ
  ʣʮʧʠ .ʱ"ʠʮʧ ʺʩʩʬʥʧ ʥʮʩʷʤ ʭʩʸʩʱʠ ʸʥʸʧʹ ʺʸʢʱʮʡ ʭʩʩʰʹʤ ʬʹ ʭʸʥʸʧʹ ʭʲ .(ʢʥʸʤ
  ʭʺʰʥʥʫʡ ʤʩʤʹ ʸʧʠʬ ʺʠʦ ,ʲʥʢʩʴʤ ʲʥʶʩʡ ʪʸʥʶʬ ʲʡʹ ʸʠʡʡ ʲʣʩʮ ʳʥʱʠʬ ʧʬʹʰ ʤʮʱʠʥʷ
  ʭʹʬ ʸʥʣʧʬ ʩʹʥʷ ʤʩʤʩ ʩʫ ʤʰʷʱʮʬ ʥʲʩʢʤ ʪʠ ʲʡʸʠ ʺʩʩʸʷʬ ʲʩʢʮʤ ʱʥʡʥʨʥʠ ʬʲ ʲʥʢʩʴʤ ʲʶʡʬ
  ʤʣʥʡʲʬ ʭʩʮʲʴ ʸʴʱʮ ʠʶʩ ʣʮʧʠ .ʲʥʢʩʴʤ ʺʡʥʨʬ ʩʺʥʲʮʹʮ ʠʬ ʸʥʦʠʡ ʤʩʩʱʥʬʫʥʠʤ ʦʥʫʩʸ ʩʫʥ
  ʺʥʸʥʢʧ ʺʰʫʤ .ʭʩʠʺʮʤ ʣʲʩʤ ʺʠ ʸʥʧʡʬʥ ʸʥʦʠʤ ʺʠ ʸʩʫʤʬ ʣʮʬ ʪʫʥ ʥʩʧʠ ʭʲ ʲʡʹ ʸʠʡʡ
  ʺʸʥʠʴʺ ʭʲ ʭʩʲʢʴʮʤ ʥʮʬʨʶʤ ʲʥʢʩʴʬ ʭʣʷʹ ʭʥʩʡ .ʲʥʢʩʴʤ ʩʰʴʬ ʭʩʩʮʥʩ ʤʮʩʩʺʱʤ ʵʴʰʤ
  ʺʥʰʥʦ ʺʹʮʹʮʤ ʤʸʩʣʡ ʥʰʬ ʭʩʩʰʹʤ .ʹʠʸʮ ʺʥʰʫʥʮ ʺʥʠʥʥʶ ʭʩʠʩʸʷʮ ʭʤʹʫ ʧ"ʬʮʠʥ ʱ"ʠʮʧ
  ʭʩʲʢʴʮʤ ʺʲʩʱʰ ʪʬʤʮʡ ʥʴʹʧʩ ʠʬʹ ʺʰʮ ʬʲ ʺʥʰʥʮʺʬ ʱʡʢ ʺʥʸʢʱʮʡ ʥʥʱʥʤ ʺʥʸʥʢʧʤ .ʯʥʸʡʧʡ
  ʧ"ʹ 300 ʥʬʡʩʷ ,ʺʥʸʥʢʧʤ ʬʲʴʺʬ ʣʶʩʫ ,ʭʩʹʷʥʡʮ ʺʩʬʥʧ ʩ"ʲ ʥʧʰʥʤʹ ,ʭʩʲʢʴʮʤ .ʲʡʹ ʸʠʡʬ
                                          .ʲʡʹ ʸʠʡʬ ʭʩʧ"ʡʹ ʺʲʱʤ ʬʲ ʥʬʲʥ ʤʲʩʱʰ ʩʮʣ


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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




     ,ʧʩʴʸʡ ʳʥʱʮ ʣʩʬ ʺʴʥʺ ʺʩʰʥʫʮʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2004 ʩʠʮ 28
                                     ʭʩʲʥʶʴ 2


  ʴʩ'ʢʡ ʸʷʥʡʤ ʺʥʲʹʡ ʲʩʢʤ ,22 ʯʡ ,ʧʩʴʸ/ʤʰʩʰʢ ʩʧ ʡʹʥʺ -ʱʥʮʠ'ʢ ʥʡʠ ʣʮʧʠ
  ʺʬʬʥʱʡ ʭʬʡʰ ʴʩ'ʢʤ .ʳʥʱʮʬ ʲʱʰʹ ʩʬʠʸʹʩ ʱʥʡʥʨʥʠ ʸʡʲʬ ʲʱʰʥ ʤʩʰʤʣ ʯʥʥʩʫʮ
  ʺʥʩʰʹ ʸʴʱʮ ,ʱʥʡʥʨʥʠʤ ʸʡʲʬ ʩʸʩ ʲʶʡʬ ʬʧʤʥ ʡʫʸʤʮ ʣʸʩ ʣʡʠʺʮʤ ,ʸʴʲ
  ʡʫʸʬ ʭʸʢʹ ʸʡʣ ʡʫʸʤ ʺʠ ʸʶʲ ʱʥʡʥʨʥʠʤ ʢʤʰ .ʴʩ'ʢʤ ʵʶʥʴʺʤ ʯʫʮ ʸʧʠʬ
  ʲʶʥʡ ʲʥʢʩʴʤ .ʬ"ʤʶ ʩʬʩʩʧ 2 ʬʷ ʥʲʶʴʰ ʺʥʹʢʰʺʤʤʮ ʤʠʶʥʺʫ .ʸʥʧʠʮ ʥʡ ʹʢʰʺʤʬ ʩʥʥʩʬʤ
  ʲʶʩʡ ,ʭʠʹʤ ,ʣʡʠʺʮʤ ʬʹ ʥʩʧʠ .ʧ"ʺʴʤʥ ʩʮʠʬʱʠ ʣʠʤ’ʢʤ ,ʺʥʣʢʰʺʤʤ ʺʥʣʲʥʥ ʬʹ ʴ"ʺʹʡ
                       .ʭʩʬʩʩʧ 3 ʥʢʸʤʰ ʥʡ ,2001 'ʢʥʠʡ "ʺʩʰʢʸʮ" ʡʶʥʮʬ ʤʸʩʣʧ ʲʥʢʩʴ ʸʡʲʡ


                                       Á ÁÁ



   ʸʶʲʮ ʬʤʥʰ ʺʲʡ ʺʥʲʷʡ ʭʥʱʧʮʬ ʪʥʮʱ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2004 ʩʠʮ 22
                     ʭʩʲʥʶʴ ʭʩʰʩʨʱʬʴ 4 -ʥ ʲʥʶʴ ʬʩʩʧ ,ʣʥʹʧ


       ʳʺʺʹʤʬ ʸʥʮʠ ʤʩʤʹ ʩʠʡʶ ʩʮʠʬʱʠ ʣʠʤ’ʢ ʱʩʩʥʢʮ ,19 ʯʡ ,ʭʫʹ ʡʹʥʺ - ʤʮʠʬʱ ʩʮʠʱ
     ʭʫʹʮ ʣʡʠʺʮʤ ʲʩʢʤ ʲʥʢʩʴʤ ʭʥʩʡ .ʭʫʹʡ ʩʸʩ ʩʲʥʢʩʴʡ ʡʸʥʲʮ ʤʩʤ ,ʺʩʮʶʲ ʤʡʸʷʤ ʲʥʢʩʴʡ
  ʬʤʥʰ ʥʸʡʲʬ ʲʶʥʡ ,ʭʥʱʧʮʡ ʭʩʬʩʩʧʤ ʩ"ʲ ʣʹʧʥʤ ʣʡʠʺʮʤ .ʸʥʧʹ ʬʩʲʮ ʹʥʡʬ ,ʺʥʲʷʡ ʭʥʱʧʮʬ
    ,ʺʩʮʮʲʤ ʺʩʦʧʤ ʩ"ʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʥʴʥʢ ʬʲ ʠʹʰʹ ʯʲʨʮ ʵʶʥʴ ʥʫʬʤʮʡ ʣʥʹʧ ʸʶʲʮ
                                        .ʩʮʠʬʱʠ ʣʠʤʩʢ ʱʩʩʥʢʮ ʣʡʠʺʮʤ ʬʹ ʥʺʥʩʤ ʳʠ ʬʲ


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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




    ,ʭʥʸʣ ʸʴʫ ʸʥʦʠʡ ʺʴʥʺ ʺʩʰʥʫʮʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2004 ʬʩʸʴʠ 28
                                  ʭʩʲʥʶʴ ʭʩʬʩʩʧ 4


  ʱ"ʠʮʧ ʬʩʲʴ ,ʷʥʥʸ ,24 ʯʡ ,ʺʠʸʩʶʰ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʣʩʮʧ ʷʸʠʨ
  ,ʬʥʧʫ ʩʠʣʰʥʩ ʴʩ'ʢʡ ʠʶʩ 06:45 ʤʲʹʬ ʪʥʮʱ ,ʲʥʢʩʴʤ ʭʥʩ ʸʷʥʡʡ .ʸʫʥʮ ʩʠʡʶ
  ʠʥʤʹ ʪʥʺ (ʭʥʸʣ ʸʴʫʬ ʺʩʮʥʸʣ) "ʤʣʬʹʤ-ʺʩʡ" ʯʥʥʩʫʮ ,ʬʠʸʹʩ ʬʢʣ ʠʹʥʰ
  ʸʧʠʬ .ʸ'ʶʰʨ ʸʩʶ ʯʥʥʩʫʬ ʤʡʸʲʮ ʤʶʥʧʥ ʭʥʷʮʡʹ ʺʩʬʺʬʺʤ ʸʣʢ ʺʠ ʸʸʥʢ
  ʸʥʦʠʡ ʥʩʤʹ ʬʤʶ ʺʥʧʥʫ .(ʯʠʧʸʥʠʤ ʸʥʦʠ) ,ʭʥʸʣ ʯʥʥʩʫʬ ʲʥʱʰʬ ʬʧʤ ʠʥʤ ʸʩʶʤ ʬʲ ʤʬʲ ʴʩ'ʢʤʹ
  ʲʥʢʩʴʤ ʬʲ .ʵʶʥʴʺʤʥ ʬ"ʤʶ ʧʥʫʮ 'ʮ 50 ʷʧʸʮʬ ʲʩʢʤ ʴʩ'ʢʤ .ʹʠʡ ʥʸʡʲʬ ʥʧʺʴʥ ʡʫʸʤ ʺʠ ʥʤʩʦ
                                                   .ʱ"ʠʮʧʤ ʬʹ ʺʥʩʸʧʠ ʺʬʩʨʰ ʤʮʱʸʥʴ


                                       ÁÁÁ



        ,ʦʸʠ .ʺ.ʠʡ ʬ"ʤʶ ʺʣʮʲʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2004 ʬʩʸʴʠ 17
                              ʭʩʲʥʶʴ 3 -ʥ ʢʥʸʤ ʬʩʩʧ


  "ʥʨʠʨ" ʬʲʴʮʡ ʣʡʲ ,ʷʥʥʸ ,22 ʯʡ ,ʤʩʬʠʡʢ .ʴ.ʮ ʡʹʥʺ - ʩʣʥʮʠʲʬʠ ʩʣʠʴ
  ʪʸʣ ʥʱʰʫʰʹ ,ʭʩʬʲʥʴ 30 -ʫ ʭʲ ʲʩʢʤ ʲʥʢʩʴʤ ʭʥʩʡ .ʦʸʠ ʤʩʩʹʲʺʤ ʸʥʦʠʡ
  ʤʶʬʥʧʤ ʭʩʸʤʬ ʥʹʷʡʺʰ ʭʩʬʲʥʴʤʥ ʣʡʠʺʮʤ .ʦʸʠ .ʺ.ʠʬ 12 ʯʢʮ ʬʰʩʮʸʨ
  ʸʧʠʬ .ʥʲʩʸʺʤ ʠʬʥ ʥʴʶʴʶ ʠʬ ʸʹʠ ,ʷʥʣʩʡʤ ʩʸʲʹ ʺʠ ʥʸʡʲ ʣʧʩʥ ʱʰʫʮʤʥ
  ʠʶʩ ʭʩʬʲʥʴʤ ʸʡʲʮ ʺʠ ʸʡʲ ʸʹʠʫʥ ʯʥʸʧʠ ʣʡʠʺʮʤ ʸʠʹʰ ʭʩʬʲʥʴʤ ʺʱʩʰʫ
  ʤʩʤ ʣʡʠʺʮʤ ʩʫ ʤʬʲ ʧʨʹʡ ʥʲʶʥʡʹ ʺʥʷʩʣʡʮ .ʥʮʶʲ ʵʶʥʴʥ ʬʰʩʮʸʨʤ ʬʹ ʺʩʰʥʶʩʧʤ ʤʡʧʸʬ
  ʯʲʨʮʡ ʸʡʥʣʮ ʩʫ ʤʬʲ ʯʫ ʥʮʫ ,ʤʲʹʴʮʤ ʸʥʦʠʡ ʤʠʸʰʫ ʤʷʬʱʥʤ ʸʹʠ ʵʴʰ ʺʸʥʢʧʡ ʹʥʡʬ
  ʬʫʫ ,ʤʬʠ ʺʥʡʩʱʮʥ ʤʬʬʥʱʥ ʤʬʲʴʤ ʺʫʸʲʮ ʤʠʶʮʰ ʠʬ .ʱʱʸ ʬʩʫʤ ʠʬ ʸʹʠ ,ʢ"ʷ 2-3 ʬʷʹʮʡ
                                                         .ʸʨʮʥʰʢʮʤ ʳʶʴʩʶ ʠʬ ,ʤʠʸʰʤ


                                       Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



           ,ʣʥʣʹʠ ʬʮʰʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ 2 ʵʥʶʩʴ :2004 ʱʸʮ 14
                             ʭʩʲʥʶʴ 12 -ʥ ʭʩʢʥʸʤ 10


                              ʭʩʣʡʠʺʮʤ ʭʩʬʡʧʮʤ
         ʭʬʠʱ ʣʥʮʧʮ                                       ʣʥʲʱʮ ʬʩʡʰ




  ʯʡ ,ʤʩʤʬ ʺʩʡ ʡʹʥʺ ,ʭʬʠʱ ʣʥʮʧʮʥ ʧ"ʺʴʤ ʭʲʨʮ ʲʢʴʮ ,17 ʯʡ ,ʠʩʬʠʡ'ʢ ʡʹʥʺ ,ʣʥʲʱʮ ʬʩʡʰ
  ʤʬʥʫʮ ʺʥʲʶʮʠʡ 15:50 ʤʲʹʡ ʲʥʢʩʴʤ ʭʥʩʡ ʣʥʣʹʠ ʬʮʰʬ ʥʲʩʢʤ ,ʱ"ʠʮʧʤ ʭʲʨʮ ʲʢʴʮ ,18
  ʥʷʬʱʥʤ ʭʩʣʡʠʺʮʤ. ʩʰʸʷ ʸʡʲʮ ʪʸʣ ʣʥʣʹʠ ʬʮʰʬ ʤʲʥʶʸʤʮ ʤʷʩʸ ʸʥʦʧʬ ʤʸʥʮʠ ʤʺʩʩʤ ʸʹʠ
  ʺʥʩʥʸʹʴʠ ʭʲ ʤʬʥʫʮʡ ʤʰʫʥʤʹ ʤʬʥʴʫ ʯʴʥʣʡ ʩʹʩʠ ʣʥʩʶʥ ʭʩʰʥʮʩʸ ,ʤʬʡʧʤ ʩʰʲʨʮ ʭʲ ʣʧʩ
  :ʺʥʫʥʮʱ ʺʥʸʩʦ 2 -ʡ ʺʥʷʣ ʸʴʱʮ ʬʹ ʹʸʴʤʡ ʥʶʶʥʴʺʤ ʭʩʩʰʹʤ .ʭʩʰʴʡʮ ʺʥʺʬʣ ʺʧʩʺʴʬ
                                 .ʤʱʩʰʫʤ ʸʲʹʬ ʪʥʮʱʡ ʤʩʩʰʹʤʥ ʬʮʰʤ ʧʨʹ ʪʥʺʡ ʺʧʠʤ


                                      Á ÁÁ




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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




             ,ʦʸʠ ʭʥʱʧʮʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ 4 ʵʥʶʩʴ :2004 ʱʸʮ 6
                             ʭʩʰʩʨʱʬʴ ʭʩʸʨʥʹ 2 ʥʢʸʤʰ


                               ʭʩʣʡʠʺʮʤ ʭʩʬʡʧʮʤ




      ʣʩʩʲʱ ʥʸʮʲ             ʤʩʣ ʥʡʠ ʣʮʧʮ             ʹʴʠʨ ʭʺʠʧ            ʣʩʡʮ ʩʣʺʤʮ
    ʯʠʥʣʸ ʧʩʩʹ ,19 ʯʡ        ʬʠʮʩʸ ,19 ʯʡ              ʩʨʠʹ ,18 ʯʡ          ʩʨʠʹ ,30 ʯʡ


  ,ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ ʬʹ ʡʬʥʹʮʥ ʹʬʥʹʮ ʺʴʥʺ ʲʥʢʩʴ ʹʧʸʺʤ 10:20 ʤʲʹʤ ʺʥʡʩʡʱʡ
  ʭʩʡʫʸ ʸʴʱʮ ʩʡʢ ʬʲ ʥʲʩʢʤʹ ʭʩʲʢʴʮ 4 ʬʬʫʹ ,ʦʸʠ ʤʩʩʹʲʺʤ ʸʥʦʠʡ ʩʠʡʶʤ ʧ"ʺʴʤʥ ʱ"ʠʮʧʤ
  ʢʸʤʰ ʥʡ ,ʬ"ʤʶ ʺʥʧʥʫ ʺʣʮʲʬ ʪʥʮʱ ʺʩʰʩʨʱʬʴ ʺʴʥʺ ʺʩʰʥʮ ʵʥʶʩʴ :ʬʬʫ ʲʥʢʩʴʤ .ʲʥʢʩʴʤ ʸʥʦʠʬ
  ʬʲ ʺʥʸʩʬ ʬʧʤʹ ʭʩʸʮʥʰʮ ʭʩʣʮ ʹʥʡʬ ʬʡʧʮ ʣʸʩ ʥʰʮʮ ʴʩ'ʢ ʲʩʢʤ ,ʬʩʡʷʮʡ .ʡʫʸʡʹ ʬʡʧʮʤ
  ʬʡʧʮ ʣʩʸʥʤ ʭʹ ʬʤʶ ʺʥʧʥʫ ʺʣʮʲ ʸʡʲʬ ʤʲʩʱʰʡ ʪʩʹʮʤʥ ʴʩ'ʢʬ ʸʦʧ ʬʡʧʮʤ .ʬ"ʤʶ ʺʥʧʥʫ
  ʤʣʮʲʬ ʳʱʥʰ ʴʩ'ʢ ʲʩʢʤ ,ʳʱʥʰʡ .ʬ"ʤʶ ʺʥʧʥʫ ʩʣʩ ʬʲ ʥʢʸʤʰʥ ʥʸʥʰ ʭʩʬʡʧʮʤ ʩʰʹ .ʴʩ'ʢʤʮ ʳʱʥʰ
  ʺʰʫʤ ʺʠ ʥʬʬʫʥ ʭʩʹʣʥʧ ʸʴʱʮ ʥʫʹʮʰ ʲʥʢʩʴʬ ʺʥʰʫʤʤ .ʥʫʥʺʡ ʬʡʧʮʥ ʵʶʥʴʺʤ ʭʹ ʺʩʰʩʨʱʬʴʤ
  ʥʥʱʥʤ ʲʥʢʩʴʡ ʷʬʧ ʥʬʨʰʹ ʭʩʴʩ'ʢʤ 2 .ʩʸʩʥ ʤʬʩʧʦʡ ʭʩʲʢʴʮʤ ʯʥʮʩʠʥ ʤʩʬʠʡ'ʢʬ ʭʲʥʰʩʹ ,ʭʩʡʫʸʤ
  ʥʲʶʥʡ ʭʩʡʫʸʤ ʺʰʫʤ ʺʸʢʱʮʡ .ʺʥʩʬʠʸʹʩ ʩʥʤʩʦ ʺʥʧʥʬ ʥʠʹʰʥ ʬ"ʤʶ ʬʹ ʤʴʥʱ ʢʥʱʮ ʭʩʴʩ'ʢʫ
  ʺʡʤʡʤʮ ʤʸʥʰ ,ʩʬ"ʤʶ ʸʴʱʮ ʭʥʹʩʸ ,ʭʥʧ ʲʡʶʡ ʤʲʩʡʶ :ʸʺʩʤ ʯʩʡ ʥʬʬʫ ʸʹʠ ʭʩʩʥʰʩʹ ʭʤʡ
  ʺʥʩʸʥʧʠ ʺʥʺʬʣ ,ʭʩʰʡʠ ʩʥʣʩʩ ʣʢʰ ʺʥʺʹʸ ,ʸʹʷ ʺʰʨʰʠ ,ʡʫʸʤ ʢʢʡ ʹʥʴʩʧ ʸʥʷʸʦʥ ʭʥʺʫ ʲʡʶʡ
                                                 .ʤʴʥʱʤ ʴʩ'ʢʡ ʺʥʮʩʩʷʤ ʯʥʢʩʮʤ ʺʥʺʬʣʬ ʺʥʤʦʤ


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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



      ,ʭʩʬʹʥʸʩʡ 14 ʥʷ ʱʥʡʥʨʥʠʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2004 ʸʠʥʸʡʴ 22
                              ʭʩʲʥʶʴ 60 -ʥ ʭʩʢʥʸʤ 8


  ʸʥʦʠʡ ʣʡʲ ,ʯʩʩʰʡ ʬʲʥʴ ,ʯʨʷ ʣʬʩ + ʩʥʹʰ ,23 ʯʡ ,ʯʠʱʥʧ ʡʹʥʺ - ʬʥʲʦ ʣʮʧʮ
  ʯʢ ʣʩʬ,14 ʥʷ ʱʥʡʥʨʥʠʡ ʷʩʺ ʪʥʺʡ ʠʹʩʰ ʸʹʠ ʯʲʨʮ ʵʶʥʴ ʣʡʠʺʮʤ .ʭʩʬʹʥʸʩ
  .ʺʩʸʥʧʠʤ ʺʬʣʤ ʬʥʮ ,ʱʥʡʥʨʥʠʤ ʦʫʸʮʡ ʸʺʥʠ ʵʥʶʩʴʤ ʣʷʥʮ .ʭʩʬʹʥʸʩʡ ʯʥʮʲʴʤ
  ʬʹ ʠʶʷʠʬʠ ʩʬʬʧ ʩʣʥʣʢ .ʡʹʥʮʤ ʬʲ ʵʥʶʩʴʤ ʺʲʡ ʣʡʠʺʮʤ ʡʹʩ ʤʠʸʰʤ ʬʫʫ
  ʺʩʨʩʬʥʴ ʺʥʬʩʲʴʡ ʡʸʥʲʮ ʥʠ ʬʩʲʴʫ ʸʫʥʮ ʤʩʤ ʠʬ ʣʡʠʺʮʤ .ʲʥʢʩʴʬ ʺʥʩʸʧʠ ʥʬʨʰ ʧ"ʺʴʤ
  ʪʠ "ʤʥʲʣ" ʩʮʸʥʢʬ ʡʸʷʺʤʥ ʺʩʺʣ ʺʥʬʩʲʴʡ ʡʸʥʲʮ ʤʩʤ ʭʩʰʹ ʸʴʱʮ ʩʰʴʬ ʩʫ ʤʣʡʥʲʤ ʨʲʮʬ)
  ʺʬʩʧʺʡ .(ʥʬʠ ʭʩʮʸʥʢʮ ʷʧʸʺʤʥ ʥʺʥʬʩʲʴ ʺʠ ʷʩʱʴʤ ʥʺʧʴʹʮ ʩʰʡ ʣʶʮ ʵʧʬ ʺʥʡʷʲʡ
  ʤʱʩʸʣ ʤʸʷʮ ʺʥʡʷʲʡ ʥʸʴʫʡ ʥʬʬʥʧʺʤʹ ʸʣʱ ʺʥʸʴʤ ʪʬʤʮʡ ʭʩʬʩʩʧ ʬʹ ʩʸʩʮ ʲʶʴʰ ʭʩʲʥʸʩʠʤ
                                                   .ʩʬʠʸʹʩ ʡʫʸ ʩʬʫ ʩ"ʲ ʩʮʥʷʮ ʡʹʥʺ ʬʹ


                                       Á ÁÁ



        ,ʭʩʬʹʥʸʩʡ 19 ʥʷ ʱʥʡʥʨʥʠʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2004 ʸʠʥʰʩ 29
                              ʭʩʲʥʶʴ 44 -ʥ ʭʩʢʥʸʤ 11


  ,25 ʯʡ ,ʭʧʬ ʺʩʡ/ʤʣʩʠʲʬʠ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʤʸʠʲ'ʢ ʩʬʲ
  (19 ʥʷ) "ʣʢʠ" ʱʥʡʥʨʥʠʡ ʥʮʶʲ ʵʶʥʴ ,ʭʧʬ ʺʩʡ ʺʸʨʹʮʡ ʸʨʥʹ
  .ʱʥʡʥʨʥʠʤ ʬʹ ʩʸʥʧʠʤ ʥʷʬʧʡ ʤʩʤ ʵʥʶʩʴʤ ʣʷʥʮ .ʭʩʬʹʥʸʩ ʦʫʸʮʡ
  ʩʬʬʧ ʩʣʥʣʢ" .ʷʩʺ ʪʥʺʡ ʢ"ʷ 6-8 ʬʷʹʮʡ ʯʲʨʮʤ ʥʮʩʲ ʠʹʰ ʣʡʠʺʮʤ
            .ʲʥʢʩʴʤ ʬʲ ʺʩʡʮʥʴ ʺʥʩʸʧʠ ʥʬʡʩʷ ʭʧʬ ʺʩʡʡ "ʠʶʷʠʬʠ
  ʬʲ ʤʮʷʰʫ ʤʬʥʲʴʤ ʺʠ ʲʶʩʡ ʠʥʤ ʩʫ ʸʮʠʰ ʤʡ ʥʣʩ ʡʺʫʡ ʤʠʥʥʶ ʥʩʸʧʠ ʸʩʺʥʤ ʣʡʠʺʮʤ
  ʠʩʤ ʥʦʤ ʤʬʥʲʴʤ ʩʫ ʤʠʥʥʶʡ ʸʮʠʰ ʯʫ ʥʮʫ .ʯʥʺʩʦʬʠ ʺʰʥʫʹʡ ʲʶʥʡʹ ʧʡʨʡ ʥʢʸʤʰʹ ʭʩʬʬʧʤ
  ʬʫʥ ʯʥʺʩʦʬʠ ʺʰʥʫʹ ʩʬʬʧ ʬʹ ʭʺʥʮ ʬʲ ʤʮʷʰʫ ʲʶʡʺʤʬ ʺʥʣʩʺʲʹ ʺʥʬʥʲʴ ʬʹ ʤʸʣʱʮ ʷʬʧ
  ʤʰʲʰ ʠʥʤ ʯʫʹ ʺʥʲʮʣ ʥʩʬʲ ʬʩʦʺ ʠʬʥ ʥʬ ʧʬʱʺ ʩʫ ʥʮʩʠʮ ʣʡʠʺʮʤ ʹʷʩʡ ʥʺʠʥʥʶʡ .ʯʩʨʱʬʴ ʩʬʬʧ
                                                                     .ʤʬʬʠ ʬʹ ʥʰʥʶʸʬ


                                       Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



                  ,ʦʸʠ ʭʥʱʧʮʡ ʺʥʣʡʠʺʤ ʲʥʢʩʴ :2004 'ʥʰʩ 14
                       ʥʲʶʴʰ 10 ,ʭʩʧʸʦʠʥ ʭʩʬʩʩʧ 4 ʥʢʸʤʰ


  ʭʩʰʹ 5 ʤʦʮ ʤʠʥʹʰ ,23 ʺʡʫ ,ʤʣʩʮʠ ʤʧʴʹʮʬ ʺʡ ,ʤʦʲ ʺʡʹʥʺ - ʣʠʥʲ ʭʩʸ
  ʱ"ʠʮʧʤ ʩ"ʲ ʤʱʩʥʢ .(ʩʶʧʥ ʤʰʹ ʯʡ ʣʬʩʥ 3 ʺʡ ʤʣʬʩ) ʭʩʰʨʷ ʭʩʣʬʩ ʩʰʹʬ ʭʠʥ
  ʬʩʲʴ ʤʬʲʡ .ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʥʶʩʡʬ ʤʰʥʹʠʸʤ ʺʩʰʩʨʱʬʴʤ ʭʠʤ ʤʰʩʤʥ
  ʲʥʢʩʴ ʲʶʡʬ ʤʨʥʤʬʹ ʩʮʫ ʤʲʮʹʰ ,ʺʥʩʰʣʡʥʠ ʺʥʰʥʥʫ ʤʲʩʡʤ ʸʡʲʡ .ʱ"ʠʮʧ
  ʩʠʡʶ ʱ"ʠʮʧ ʬʩʲʴ ʭʲ ʩʨʰʮʥʸ ʸʹʷ ʤʮʩʩʷ .ʭʩʧʬʹʮ ʤʹʴʩʧ ʳʠʥ ʺʥʣʡʠʺʤ
                                          .ʤʮʹ ʺʠ ʺʥʷʰʬ ʭʢ ʣʲʥʰ ʲʥʢʩʴʤ ʩʫ ʯʫʺʩʥ ʸʩʫʡ


                                      Á ÁÁ



      ,ʤʩʬʩʷʬʷ ʣʩʬ ʬ"ʤʶ ʧʥʫʬ ʪʥʮʱ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2004 ʸʠʥʰʩ 11
                                   ʭʩʲʢʴʰ ʠʬʬ


  "ʤʣʥʡʲ ʺʰʥʠʺ" ʡʷʲ ʨʥʴʱʰ'ʢ ʸʴʫʤ ʺʮʥʶʡ ʵʶʥʴʺʤ ,17 ʯʡ ,ʭʫʹ ʡʹʥʺ - ʩʸʶʮ ʣʠʩʠ
                                                                         .ʥʬ ʤʲʸʩʠʹ
  ʸʥʦʩʠʬ ʲʩʢʤʬ ʭʺʸʨʮʹʫ ʧʥʴʺ ʺʮʥʶ ʯʥʥʩʫʬ ʭʫʹʮ ʥʠʶʩ ,ʥʬʩʡʥʮ ʤʩʤʹ ,ʳʱʥʰ ʸʥʧʡʥ ʣʡʠʺʮʤ
  ʣʡʠʺʮʤ ʺʠ ʤʧʰʤ ʬʩʡʥʮʤʹ ʸʧʠʬ ʸʶʷ ʯʮʦ .ʥʲʷʺʰ ʭʹʥ ʨʥʴʱʰ'ʢ ʸʥʦʠʬ ʥʲʩʢʤ ʭʤ .ʤʬʬʠʮʸ
  ʡʷʲ ʨʥʴʱʰ'ʢ ʸʴʫʤ ʸʥʦʠʡ ʣʡʠʺʮʤ ʵʶʥʴʺʤ ,ʹ'ʶʥʧ/ʯʩʲʠʮʢ ʸʴʫʤ ʪʸʣ ʤʸʠʥʧʬ ʥʩʬʠ ʲʩʢʤʬ
  ʣʶ ʷʩʺ ʪʥʺʡ ʧʰʥʤʹ ʯʲʨʮʤ. (ʥʬʩʡʥʮ ʺʶʬʮʤʬ ʣʥʢʩʰʡ ʯʲʨʮʤ ʹʮʩʧʥ ʯʫʺʩ) ʤʣʥʡʲ ʺʰʥʠʺ
  ʲʡʶʡ ʭʩʸʥʰʺ ʷʱʴʮʥ ʨʬʥʥ 1.5 ʺʥʬʬʥʱ ,ʬʦʸʡ ʺʥʩʸʥʣʫʥ ʭʩʰʨʷ ʭʩʮʥʠ ʬʬʫ 'ʶʥʠʴ ʭʲ ʸʥʧʹ
                 .ʣʡʠʺʮʤ ʥʮʲ ʠʹʰ ʥʺʥʠ ʯʥʴʠʬʴ ʩʣʩʸʹ ʥʠʶʮʰ ʯʫ ʥʮʫ .'ʶʥʠʴʬ ʱʰʫʥʤʹ ʭʥʣʠ


                                      Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



     ,ʤʤʢ ʺʮʥʶʡ ʱʥʡʥʨʥʠ ʺʰʧʺʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʸʡʮʶʣ 25
                              ʭʩʲʥʶʴ 20 -ʥ ʭʩʢʥʸʤ 4


  ʵʶʥʴ ,ʥʲʥʶʷʮʡ ʯʩʰʡ ʬʲʥʴ ,"ʺʩʮʮʲʤ ʺʩʦʧʤ" ʹʩʠ ,18 ʯʡ ,ʷʩʸʥʴ ʺʩʡ ʡʹʥʺ - ʩʰʰʧ ʸʠʠ'ʺ
  ʺʩʦʧʤ ʺʩʺʹʺ ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ .ʤʥʥʷʺ ʧʺʴʡ ʤʤʢ ʺʮʥʶʡ ʱʥʡʥʨʥʠ ʺʰʧʺʡ ʥʮʶʲ
  ʸʦʰʥʮ ʸʶʲʰ ʲʥʢʩʴʤ ʸʧʠʬ .ʩʰʰʧ ʩʣʠʴʥ ʣʠʥʲ ʬʩʸʡ'ʢ ʬʹ ʭʬʥʱʩʧ ʬʲ ʤʮʷʰʫ ,ʭʫʹʡ ʺʩʮʮʲʤ
  ʺʠ ʤʥʥʩʬ ʩʫ ʸʴʩʱ ʥʺʸʩʷʧʡ .ʲʥʢʩʴʤ ʣʲʩʬ ʣʡʠʺʮʤ ʺʠ ʤʥʥʩʬ ʸʹʠ ,ʭʩʧʨʹ ʡʹʥʺ ,ʸʡʥʰʶ
  ʸʴʥʲʫ ʤʸʩʷʧʡ ʤʤʥʦʹ ʩʬʠʸʹʩ ʢʤʰ ʬʹ ʥʺʩʰʥʮʡ ʥʲʱʰ ʭʩʩʰʹʤ ʩʫʥ ʤʤʢ ʺʮʥʶʬ ʣʡʠʺʮʤ
  ʥʷʥʱʩʲ ʺʸʢʱʮʡ ʩʫ ʸʴʥʲ ʸʴʩʱ ʥʺʸʩʷʧʡ .ʤʲʡʸʠʬ ʡʠ ,ʺʩʰʸʥʠ ʡʹʥʺ ,'65 ʣʩʬʩ ,ʭʩʩʥʡʶʸʥʥʹ
  ʩʸʥʹʩʠ ʭʺʥʹʸʡ ʯʩʠ ʩʫ ʲʣʩʹ ʤʬʠʫ ʭʢ ʭʫʥʺʮ ,ʭʩʡʸ ʭʩʧʨʹ ʩʡʹʥʺ ʲʩʱʤʬ ʢʤʰ ʺʩʰʥʮ ʢʤʰʫ
                                                                     .ʬʠʸʹʩʡ ʤʩʩʤʹ


                                       Á ÁÁ



        ,ʯʥʦʲ ʣʩʬ ʬ"ʤʶ ʧʥʫʬ ʪʥʮʱ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʸʡʮʡʥʰ 3
                                 ʭʩʲʥʶʴ ʭʩʬʩʩʧ 2


  ʬʠʸʹʩ ʪʥʺʡ ʺʴʥʺ ʲʥʢʩʴ ʲʥʶʩʡʬ ʠʶʩ ,ʯʥʫʩʺ ʣʩʮʬʺ ,16 ʯʡ ,ʭʫʹ/ʤʩʣʩʴʸ ʡʹʥʺ - ʣʥʲʱ ʧʩʡʶ
  ʤʮʩʰʴ ʸʥʣʧʬ ʮ"ʲ ʤʩʬʩʷʬʷ ʸʥʦʠʬ ʸʡʲʥʤ ʣʡʠʺʮʤ .ʭʫʹʡ ʺʩʠʡʶʤ ʭʩʦʰʺʤ ʺʩʺʹʺ ʩʣʩ ʬʲ
  ʥʫʸʲʰ ʩʰʩʲʩʣʥʮ ʲʣʩʮ ʺʥʡʷʲʡ .ʤʣʸʴʤ ʸʣʢ ʯʩʠ ʥʡ ʸʥʦʠʡ ʵʸʠʤ ʦʫʸʮʬ ʭʱʠʷ ʸʴʫ ʸʥʦʠʡ
  ʬ"ʤʶ ʺʥʬʩʲʴ ʺʸʢʱʮʡ .ʥʺʸʩʣʧ ʺʠ ʬʫʱʬ ʩʣʫʡ ʺʡʧʸʰ ʤʱʩʸʴʡ ʬʠʸʹʩ ʺʸʨʹʮʥ ʬ"ʤʶ ʺʥʧʥʫ
  ʵʶʥʴ ʤʦ ʡʬʹʡ ,ʸʥʶʲʬ ʭʤʬ ʯʮʩʱʥ ʭʩʩʮʥʷʮ ʸʴʱʮ ʬ"ʤʶ ʧʥʫ ʣʩʹʧʤ ʤʩʬʩʷʬʷ ʸʥʦʠʡ ʯʥʦʲ ʸʴʫʡ
                 .ʵʸʠʤ ʦʫʸʮʡ ʣʡʫ ʯʥʱʠ ʲʰʮʰ ʲʥʢʩʴʤ ʬʥʫʩʱʡ .ʣ"ʢʮʤ ʴʩ'ʢ ʬʲ ʣʡʠʺʮʤ ʥʮʶʲ


                                       Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



            ,ʭʸʫ ʬʥʨ ʷ"ʺʮʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʸʡʥʨʷʥʠ 9
                                 ʭʩʲʥʶʴ ʭʩʬʩʩʧ 2


  ʲʩʢʤ ,ʭʫʹʡ (ʡʫʸ ʺʥʠʰʥʫʮ) ʩʲʥʶʷʮ ʯʥʫʩʺ ʣʩʮʬʺ ,18 ʯʡ ,ʭʫʹ/ʳʩʸʥʲ ʡʹʥʺ - ʩʣʠʴʶ ʣʮʧʠ
  ʭʩʰʩʨʱʬʴ ʭʲ ʤʰʺʮʤʤ ʺʫʫʱʡ ʯʩʺʮʤ ,ʸʥʧʹ ʡʢ ʷʩʺ ʭʲ ʭʸʫ ʬʥʨʡ ʸʥʹʩʷʤʥ ʭʥʠʩʺʤ ʣʸʹʮʬ
  ,ʥʩʬʲʹ ʷʩʺʤʥ ʥʡʢʹʫ ʥʮʶʲ ʵʶʥʴʥ ʯʷʺʮʡ ʬʤʷʤ ʺʬʡʷ ʯʥʬʧʬ ʹʢʩʰ ,ʭʷ ʭʩʩʥʱʮ ʡʬʹʡʥ ʭʩʴʱʥʰ
                                                                       .ʯʥʬʧʬ ʭʩʰʴʥʮ
  ʩʮʣʡ ʡʺʥʫ ʩʰʠ" :ʡʺʫʰ ʤʡ 8/10/04 -ʤʮ ʥʣʩ ʡʺʫʡ ʤʡʥʺʫʤ ʤʠʥʥʶ ʥʩʸʧʠ ʸʩʠʹʤ ʣʡʠʺʮʤ
  ʤʮʥʠʤ ʬʹ ʤʰʸʷ ʺʠ ʺʥʬʲʬ ʩʣʫʡ ,ʭʠʬʱʠʤ ʯʲʮʬ ʸʹʩʤ ʪʸʣʡ ʤʫʩʬʤʤʥ ʺʥʸʩʧʤ ʪʸʣ ʺʠ
  ʣʧʴʤ ʪʸʣ ʺʠ ʹʥʨʰʬ ʭʩʲʥʰʫʤ ʭʩʩʡʸʲʤ ʭʩʸʨʹʮʬ ʥʺʠʥʥʶʡ ʠʸʷ ʯʫ ʥʮʫ ."ʺʩʮʠʬʱʠʤ
  ʩ"ʲ ʤʬʨʩʰ ʲʥʢʩʴʤ ʬʲ ʺʥʩʸʧʠ .ʺʥʣʢʰʺʤʤ ʪʸʣʡ ʪʩʹʮʤʬ ʩʰʩʨʱʬʴʤ ʭʲʬ ʠʸʷʥ ʺʥʰʣʢʥʡʤʥ
                                                                            .ʧ"ʺʴʤ


                                       Á ÁÁ



         ,ʤʴʩʧʡ "ʭʩʱʷʮ" ʺʣʲʱʮʡ ʺʥʣʡʠʺʤ ʲʥʢʩʴ :2003 ʸʡʥʨʷʥʠ 4
                             ʭʩʲʥʶʴ 48 -ʥ ʭʩʢʥʸʤ 21


  ʱʣʥʷʬʠ ʺʨʩʱʸʡʩʰʥʠʡ ʭʩʨʴʹʮ ʩʣʥʮʩʬ ʺʸʢʥʡ ,29 ʺʡ ʤʷʥʥʸ ,ʯʩʰ'ʢ ʺʡʹʥʺ - ʺʠʣʸ'ʢ ʩʣʠʰʤ
  ʹʠʸ ʤʩʤʹ ʩʮ ,ʺʠʣʸ'ʢ ʧʬʠʶ ,ʤʡʥʤʠ ʬʹ ʥʨʥʸʩʩ ʲʶʡʮ ʺʲʡ ʤʩʰʩʲ ʣʢʰʬ ʢʸʤʰ ʤʩʧʠ .ʤʧʥʺʴʤ
                    .ʭʩʩʰʹʤ ʢʸʤ ʬʲ ʤʮʷʰʫ ʲʥʢʩʴʤ ʤʲʶʩʡ .ʯʩʰ'ʢʡ ʩʮʬʱʩʠʤ ʣʠʤʩ'ʢʤ ʺʩʺʹʺ
  ʭʩʰʩʩʰʲ ʸʩʣʱʤʬ ʤʸʨʮʡ ,ʬʥʫʩʡʫ ,ʤʰ'ʢʠʧʮ ʠʱʥʮ ʬʠʮʢ ʩ"ʲ ʤʴʩʧʬ ʤʲʨʸʡʮ ʤʲʱʥʤ ʺʬʡʧʮʤ
  ʭʹ ,ʤʣʲʱʮʡ ʬʥʫʠʬ ʸʥʶʲʬ ʤʹʷʩʡ ʪʸʣʡ .ʤʬʥʧʤ ʤʩʡʠ ʸʥʡʲ ʤʴʩʧʡ ʭ"ʡʮʸ ʭʩʬʥʧʤ ʺʩʡʡ
   .ʺʹʥʧʰ ʣʩʣʸʥ ʪʥʺʧ ʯʩʰʡ ʬʦʸʡ ,ʡʱʩʮ ʺʥʩʸʥʣʫ ʬʬʫʥ ʢ"ʷ 4 ʬʹ ʬʷʹʮʡ ʤʩʤ ʯʲʨʮʤ .ʤʶʶʥʴʺʤ


                                                                                    .


                                       Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




       ,"ʬʬʤ" ʤʴʷ ʺʩʡʬ ʤʱʩʰʫʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʸʡʮʨʴʱ 9
                              ʭʩʲʥʶʴ 70 -ʥ ʭʩʢʥʸʤ 7


  ʤʬʺʥʫ"ʡ ʬʩʲʴʥ ʨʰʣʥʨʱ ,ʱ"ʠʮʧ ʬʩʲʴ ,22 ʯʡ ,ʱʩʨʰʸ ʡʹʥʺ - ʭʩʬʱ ʥʡʠ ʦʮʠʸ
  ʸʸʧʥʹʥ ʺʩʬʤʰʩʮ ʸʥʶʲ ʤʩʤ .ʤʸʩʡ-ʬʠʡ ʤʧʥʺʴʤ ʤʨʩʱʸʡʩʰʥʠʡ "ʤʩʮʠʬʱʠ
  ʷʮʲ 'ʧʸʡ "ʬʬʤ" ʤʴʷʤ ʺʩʡ ʧʺʴʡ ʥʮʶʲ ʵʶʥʴ 23:20 ʤʲʹʡ .03 ʸʠʥʸʡʴʡ
  ʺʩʺʹʺ ʬʹ ʺʩʮʣʷ ʤʩʬʥʧ ʩʣʩ ʬʲ ʲʥʢʩʴʬ ʧʬʹʰ ʣʡʠʺʮʤ .ʭʩʬʹʥʸʩʡ ʭʩʠʴʸ
  ʤʬʲʴʥʤ ʸʹʠ ʭʩʮʬʹʥʸʩ ʧʸʦʮ ʱ"ʠʮʧ ʩʱʩʥʢʮʮ ʺʡʫʸʥʮʤ ʤʩʬʥʧ ,ʠʩʷʬ ʺʩʡ ʸʴʫʮ ʱ"ʠʮʧʤ
  ʤʩʥʠʱʩʲ ʸʴʫʤ ʩʡʹʥʺ 'ʱʮ ʥʸʶʲʰ 04 'ʷʥʠ ʹʣʥʧ ʪʬʤʮʡ .ʤʬʬʠʮʸʡ ʱ"ʠʮʧʤ ʺʣʷʴʮ ʩʣʩ ʬʲ
  ʩʫ ʭʤʮ ʭʩʩʰʹ ʥʣʥʤ ʫ"ʡʹʡ ʭʺʸʩʷʧʡ .ʭʩʬʹʥʸʩ ʺʸʨʹʮʥ ʩʬʬʫʤ ʯʥʧʨʩʡʤ ʺʥʸʹ ʩʣʩʡ ʭʩʬʹʥʸʩʡ
  ʭʩʩʰʹʬ ʥʲʩʩʱ ʩʫ ʥʣʥʤ ʭʩʴʱʥʰ ʭʩʸʷʧʰ .ʲʥʢʩʴʤ ʣʲʩʬ ʥʺʥʠ ʥʬʩʡʥʤʥ ʣʡʠʺʮʤ ʺʠ ʥʨʬʷʹ ʭʤ
                     .ʬʲʥʴʬ ʲʥʢʩʴʤ ʺʠʶʥʤʡʥ ʤʬʬʠʮʸʡ ʱ"ʠʮʧʤ ʺʣʷʴʮ ʭʲ ʸʹʷʤ ʺʸʩʶʩʡ


                                      Á ÁÁ



       ,ʯʩʴʩʸʶʡ ʱʥʡʥʨʥʠ ʺʰʧʺʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʸʡʮʨʴʱ 9
                             ʭʩʲʥʶʴ 14 -ʥ ʭʩʢʥʸʤ 9


  ʤʬʬʠʮʸ ʺʨʩʱʸʡʩʰʥʠʡ ʨʰʣʥʨʱ ,19 ʯʡ ,ʱʩʨʰʸ ʡʹʥʺ - ʭʩʬʱ ʡʠʤʠ
  ʬʩʲʴ ʬʹ ʥʺʥʮ ʲʷʸ ʬʲ ʤʮʷʰʬ ʺʩʱʤʹ ʩʮʫʥ ʱ"ʠʮʧ ʬʩʲʴʫ ʸʫʥʮ ,ʤʧʥʺʴʤ
  21 -ʡ ʣʡʠʺʮʤ ʸʶʲʰ ʱ"ʠʮʧʬ ʥʩʸʹʷ ʸʥʠʬ .ʬ"ʤʶ ʩʬʩʩʧ ʬʹ ʩʸʩʮ ʱ"ʠʮʧ
  ʤʠʩʬʫʤ ʯʷʺʮʡ ʭʩʹʣʥʧ ʤʹʥʬʹ ʪʹʮʬ ʩʬʤʰʮ ʸʶʲʮʬ ʸʡʲʥʤ ,2002 'ʮʶʣ
  ʩʣʩ ʬʲ ʣʡʠʺʮʫ ʱʩʩʥʢ ʣʡʠʺʮʤ . 2003 ʵʸʮ ʺʬʩʧʺʡ ʸʸʧʥʹʥ ʺʥʲʩʶʷʡ
  ʤʴʷ ʺʩʡʡ ʲʥʢʩʴʤ ʥʮʫ ,ʤʦ ʲʥʢʩʴ .ʬʬʤ ʤʴʷʤ ʺʩʡʡ ʣʡʠʺʮʤ ʬʡʧʮʤ ,ʦʠʮʸ
  ʱ"ʠʮʧʤ ʺʩʺʹʺ ʩʣʩ ʬʲ ʯʥʥʫʥʤ ,ʸʺʥʩ ʸʧʥʠʮ ʺʥʲʹ ʸʴʱʮ ʲʶʥʡʹ ʬʬʤ
                                     .ʣʮʠʧ ʭʩʤʸʡʠ ʺʥʹʠʸʡ ʤʬʬʠʮʸʡ


                                      Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




          ,ʭʩʬʹʥʸʩʡ ʱʥʡʥʨʥʠʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʨʱʥʢʥʠ 19
                            ʭʩʲʥʶʴ 115 -ʥ ʭʩʢʥʸʤ 23

  ʸʢʥʡ ,ʣʢʱʮʡ ʭʠʮʩʠ ,2 + ʩʥʹʰ ,29 ʯʡ ,ʯʥʸʡʧ ʡʹʥʺ - ʷʱʮ ʣʠʠʸ
  ʺʩʡʡ ʤʸʥʮʫ ʣʡʲ .ʩʰʹ ʸʠʥʺ ʩʣʥʮʩʬ ʬʧʤ ,ʺʣ ʩʣʥʮʩʬʬ ʧʠ'ʢʰ ʺʨʩʱʸʡʩʰʥʠ
  ʥʮʶʲ ʵʶʥʴ ʣʡʠʺʮʤ .ʯʥʸʡʧ ʺʨʩʱʸʡʩʰʥʠʡ ʯʠʸʥʷ ʣʮʩʬ ,ʯʥʸʡʧʡ ʸʴʱ
  ʬʠʥʮʹ 'ʧʸ ʯʥʥʩʫʬ ʭʫʹ ʸʲʹ ʪʸʣ ʬʺʥʫʤʮ ʥʫʸʣʡ ʲʱʰʹ 2 'ʱʮ ʱʥʡʥʨʥʠʡ
  ʺʠ .ʲʥʢʩʴʤ ʬʲ ʩʮʹʸ ʯʴʥʠʡ ʺʥʩʸʧʠ ʬʨʰ ʱ"ʠʮʧʤ ʯʥʢʸʠ .ʭʩʬʹʥʸʩʡ ʠʩʡʰʤ
  ʸʹʠʥ ʯʥʸʡʧʡ ʩʠʡʶʤ ʱ"ʠʮʧʤ ʺʩʺʹʺ ʩʣʩ ʬʲ ʤʰʥʥʫʥʤ ʸʹʠ ʺʩʮʬʹʥʸʩ ʤʩʬʥʧ ʤʠʩʶʥʤ ʲʥʢʩʴʤ
  ʩʣ'ʢʮ ,ʤʩʬʥʧʤ ʹʠʸ ,ʩʸʺʲʦ ʭʩʱʰ :ʭʩʩʦʫʸʮʤ ʤʩʬʩʲʴ ʯʩʡ .ʺʴʱʥʰ ʺʴʥʺ ʩʲʥʢʩʴ ʲʶʡʬ ʤʰʰʫʺ
  ʥʡʠʬ ʣʡʠʺʮʤ ʲʩʢʤ ʲʥʢʩʴʤ ʸʷʥʡʡ .ʸʰʥʩʬʩʬʴ ,ʩʺʠʡʸʹ ʤʬʬʠʣʡʲ ,ʭʩʱʰ ʬʹ ʥʱʩʢ ,ʩʸʺʲʦ
  ʺʸʥʢʧ ʤʧʬʹʰ ʬʩʡʷʮʡ .ʦʥʢ ʩʣʠʥʡ ʯʩʣʠʡʲ ʣʢʱʮʬ ʸʡʲʥʤʥ ʤʬʬʠʣʡʲʥ ʩʣ'ʢʮ ʩ"ʲ ʳʱʠʰ ʭʹ ,ʱʩʣ
  ʳʱʠʰʥ ʱʡʢ ʺʸʥʷʡ ʷʬʱʥʤ ʯʲʨʮʤ .ʺʩʨʸʴ ʺʥʩʥʧʩʬʹ ʺʸʡʧ ʺʥʲʶʮʠʡ ʭʩʬʹʥʸʩʬ ʯʥʸʡʧʮ ʵʴʰʤ
  ʺʥʲʹʡ .ʦʥʢ ʩʣʠʥʡ ʥʩʸʥʤ ʺʩʡʡ ʤʸʥʢʧʤ ʺʠ ʠʩʡʧʤ ʭʩʱʰ .ʭʩʬʹʥʸʩʡ ʤʸʡʧʤ ʳʩʰʱʮ ʭʩʱʰ ʩ"ʲ
  ʣʶʩʫ ʥʺʥʠ ʥʧʰʤʥ ʣʡʠʺʮʤ ʺʠ ʥʹʩʡʬʤ ʤʬʬʠʣʡʲʥ ʩʣʢʮ ,ʣʢʱʮʬ ʤʸʥʢʧʤ ʤʠʡʥʤ ʡʸʲʤ
            .ʣʢʱʮʤ ʯʮ ʤʲʩʱʰ ʺʥʷʣ 2 ʷʧʸʮ ,ʱʥʡʥʨʥʠʤ ʺʰʧʺʬ ʥʤʥʲʩʱʤ ʭʹʮ .ʤʺʥʠ ʬʩʲʴʤʬ


                                       Á ÁÁ



    ,ʬʠʩʸʠʡ ʱʥʡʥʨʥʠ ʺʰʧʺʬ ʪʥʮʱ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʨʱʥʢʥʠ 12
                               ʭʩʲʥʶʴ 2 -ʥ ʭʩʢʥʸʤ 2


  .ʬʠʩʸʠ ʡʥʹʩʬ ʤʱʩʰʫʤ ʺʮʥʶʡ ʥʮʶʲ ʵʶʥʴ ,18 ʯʡ ,ʭʫʹ/ʯʩʲʬʠ ʱʠʸ ʡʹʥʺ - ʺʠʹʩʨʷ ʭʠʬʱʠ
  ʯʥʢʸʠ .ʵʴʰʤ ʺʸʥʢʧ ʺʠ ʬʩʲʴʤʥ ,ʬʤʡʰ ,ʯʥʧʨʩʡʤ ʺʥʧʥʫʡ ʣʡʠʺʮʤ ʯʩʧʡʤ ʤʠʸʰʤ ʬʫʫ
  ʸʧʠʬ ʳʱʠʰʹ ʯʩʲʩʣʥʮʤ ʬʬʫʮ .ʥʺʠʥʥʶ ʺʠ ʭʱʸʴ ʳʠʥ ʲʥʢʩʴʤ ʬʲ ʺʩʮʹʸ ʺʥʩʸʧʠ ʬʨʰ ʱ"ʠʮʧʤ
  ʺʠ ʤʲʶʩʡʹ ʠʩʤ ,ʩʬʡʰʧ ʣʮʧʮ ʺʥʹʠʸʡ ,ʭʫʹʡ ʩʠʡʶʤ ʱ"ʠʮʧʤ ʺʩʺʹʺ ʩʫ ʤʬʲ ʲʥʢʩʴʤ
  ʯʥʸʧʠʤ ʲʥʡʹʤ ʳʥʱʡ ,ʺʩʺʹʺʤ ʩʸʩʫʡ ,ʭʬʠʱ ʥʡʠ ʱʩʮʧʥ ʸʣʶ ʦʠʠʴ ʨʥʸʩʩ ʬʲ ʤʮʷʰʫ ,ʲʥʢʩʴʤ
                                                                      .ʲʥʢʩʴʬ ʭʣʷʹ


                                       Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




        ,ʯʩʲʤ ʹʠʸʡ ʨʷʸʮʸʴʥʱʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʨʱʥʢʥʠ 12
                              ʭʩʲʥʶʴ 9 -ʥ ʣʧʠ ʢʥʸʤ


  ʥʮʶʲ ʵʶʥʴ ,ʯʥʫʩʺ ʣʩʮʬʺ ,17 ʯʡ ,ʭʫʹ/ʸʫʱʲ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʯʠʥʸ'ʢ ʱʩʮʧ
  ʬʲ ʠʹʰʹ ʷʩʺ ʪʥʺʡ ʤʩʤ ʠʹʰʹ ʯʲʨʮʤ .ʯʩʲʤ ʹʠʸʡ ʷʴʠ ʷʸʠʴʡ "ʤʴʥʷ ʩʶʧ" ʨʷʸʮʷʸʴʥʱʡ
  ʬʹ ʥʺʲʱʤ ʺʠ .ʱʰʥʩ ʯʠʮ'ʺʥʲ ʺʰʥʥʫʠʡ ʭʫʹ ʭʩʦʰʺ ʺʩʺʹʺ ʩ"ʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʥʡʢ
  ʲʩʱʮʹ ʩʮʫ ʸʫʥʮʤ , ʤʩʬʥʢʬʢ ʡʹʥʺ ʩʬʠʸʹʩ ʩʡʸʲ - ʩʬʠʮʹ ʳʱʥʩ ʲʶʡ ʯʩʲʤ ʹʠʸʬ ʣʡʠʺʮʤ
                                                                             .ʭʩʧ"ʡʹ


                                       Á ÁÁ



           ,ʵʡʲʩ ʸʴʫʡ ʩʨʸʴ ʺʩʡʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʩʬʥʩ 7
                             ʭʩʲʥʶʴ 4 -ʥ ʺʧʠ ʤʢʥʸʤ


  ʸʫʥʮ ʯʩʰ'ʢʡ ʤʧʥʺʴʤ ʭʩʬʹʥʸʩ ʺʨʩʱʸʡʩʰʥʠʡ ʨʰʣʥʨʱ ,21 ʯʡ ,ʩʲʠʸ ʸʴʫ ʡʹʥʺ - ʠʩʧʩ ʣʮʧʠ
  .ʣʰʥʮ ʬʺ ʹʥʢʡ ʸʹʠ ,ʵʡʲʩ ʸʴʫʡ ʩʨʸʴ ʺʩʡ ʣʶʬ ʥʮʶʲ ʵʶʥʴ .,ʤʩʮʠʬʱʩʠ ʤʲʠʮ'ʢʡ ʬʩʲʴʫ
  ʩʮʠʬʱʩʠ ʣʠʤʩ'ʢ ʩʬʩʲʴ ʬʹ ʺʡʬʥʹʮ ʺʩʺʹʺ ʤʰʩʤ ʺʧʬʹʮʤ ʺʩʺʹʺʤ ʩʫ ʤʬʲ ʲʣʩʮʤ ʬʬʫʮ
  ʲʥʢʩʴʤ ʩʰʴʬʹ ʤʴʥʷʺʡʥ 2003 ʬʩʸʴʠʡ ʩʮʠʬʱʩʠʤ ʣʠʤʩ'ʢʬ ʱʩʥʥʢ ʣʡʠʺʮʤ .ʭʸʫ ʬʥʨʮʥ ʯʩʰ'ʢʮ
  ʫ"ʡʹʤ ʬʹ ʳʺʥʹʮ ʲʶʡʮʡ .ʸʡʲʡ ʥʺʥʠ ʤʰʩʩʴʠ ʠʬʹ ʤʸʥʶʡ ,ʢʩʸʧʥ ʸʦʥʮ ʯʴʥʠʡ ʢʤʰʺʤʬ ʬʧʤ
  ,ʬʩʬʧ ʩʰʢ ʠʲ ʣʮʧʠ ʣʮʧʮ ʭʱʠʷ ʸʴʫʡ ʸʶʲʰ ,04 'ʷʥʠ 11 ʡ ,"ʸʡʶ" 'ʧʩ /ʬʠʸʹʩ ʺʸʨʹʮ ʭʲ
  ʴ"ʲ .ʺʥʣʡʠʺʤʤ ʲʥʢʩʴʡ ʡʸʥʲʮ ʤʩʤʹ ,ʩʮʠʬʱʩʠ ʣʠʤʩʢ ʬʩʲʴ ,ʱʮʹ ʠʸʥʰ ʡʹʥʺ ,19 ʯʡʫ
  ʭʹ ,ʵʡʲʩ ʸʴʫ ʪʸʣ ,ʬʠʸʹʩ ʧʨʹ ʪʥʺʬ ,ʣʡʠʺʮʤ ʺʠ ʬʩʡʥʤ ʬʩʬʧ ʣʮʧʮ ʭʩʩʷʤ ʯʩʲʩʣʥʮʤ
          .ʥʢʸʤʰ ʥʠ ʥʸʶʲʰ ʲʥʢʩʴʤ ʩʰʥʥʫʠʮ ʬʫ ʩʫ ʯʩʩʶʬ ʹʩ .ʥʮʶʲ ʵʶʥʴʬ ʣʡʠʺʮʤ ʨʩʬʧʤ ʸʥʮʠʫ


                                        ÁÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




    ,ʺʥʮʥʸʺ ʩʣʹ ʡʹʥʮʡ ʺʬʥʫʮ ʺʥʰʧʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʩʰʥʩ 19
                                    ʣʧʠ ʢʥʸʤ


  ʣʠʤʩ'ʢʤ ʺʩʺʹʺ ʩʣʩ ʬʲ ʲʥʢʩʴʬ ʱʩʥʢ 19 ʯʡ ,ʯʩʰ'ʢ/ʯʥʮʠʩ ʸʴʫʤ ʡʹʥʺ - ʤʸʤʠʡʲ ʣʮʧʠ
  ʤʣʹʡ ʺʬʥʫʮʤ ʸʡʲʬ ʣʡʠʺʮʤ ʲʩʢʤ ʸʷʥʡʡ 06:00 ʤʲʹʤ ʸʧʠʬ ʺʶʷ .ʯʩʰ'ʢʡ ʩʮʠʬʱʩʠʤ
  ʬʧʤ ʣʡʠʺʮʤ .ʡʬʶʥʮ ʷʩʺ ʥʴʺʫ ʬʲ ʠʹʥʰʥ ʤʸʥʧʹ ʥʷʩʸʨ ,ʱʰʩ'ʢʡ ʹʥʡʬ ʠʥʤʹʫ ,ʺʥʮʥʸʺ
  ʺʰʮ ʬʲ ʤʮʩʰʴ ʥʬ ʠʸʷʥ ʥʩʹʲʮʬ ʥʺʥʠ ʬʠʹ ʺʬʥʫʮʤ ʬʲʡ ,ʺʬʥʫʮʬ ʵʥʧʮʹ ʭʩʶʴʧʡ ʨʨʧʬ
                                          .ʦʲ ʵʥʶʩʴ ʲʸʠ ʺʬʥʫʮʬ ʥʱʰʫʩʤ ʭʲ ,ʥʮʲ ʧʧʥʹʬ


                                      Á ÁÁ



         ,ʭʩʬʹʥʸʩʡ 14 ʥʷ ʱʥʡʥʨʥʠʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʩʰʥʩ 11
                            ʭʩʲʥʶʴ 104 -ʥ ʭʩʢʥʸʤ 17


  ,ʯʥʸʡʧʡ ʩʲʥʶʷʮ ʯʥʫʩʺ ʸʴʱ ʺʩʡʡ ʣʩʮʬʺ ,18 ʯʡ ,ʯʥʸʡʧ ʡʹʥʺ - ʤʰʠʡʹ ʩʨʲʮʬʠ ʣʡʲ
  ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʩʣʸʧʫ ʹʥʡʬ ʠʥʤʹʫ ʭʩʬʹʥʸʩʡ ʥʴʩ 'ʧʸʡ 14 ʥʷ ʱʥʡʥʨʥʠʡ ʵʶʥʴʺʤ
  ʤʴʹʧʰ ʯʫʥ ʣʡʠʺʮʤ ʬʲʴ ʤʮʲ ʤʩʬʥʧ ʤʴʹʧʰ ʲʥʢʩʴʤ ʸʧʠʬ ʺʥʸʩʷʧ ʺʥʡʷʲʡ .ʱ"ʠʮʧʤ ʩʣʩ
  ʥʺʠʶ ʭʸʨ ʭʩʬʹʥʸʩʡ ʣʡʠʺʮʤ ʺʠ ʨʬʷ ʳʠ ʭʤʮ ʣʧʠ ʸʹʠ ʭʩʮʬʹʥʸʩ ʭʩʬʩʲʴ ʬʹ ʺʩʺʹʺ
                    .ʯʥʸʡʧʡ ʩʠʡʶʤ ʱ"ʠʮʧʤ ʺʣʷʴʮʬ ʺʸʡʥʧʮ ʤʺʩʩʤ ʥʦ ʺʥʰʢʸʠʺʤ .ʲʥʢʩʴʬ


                                      Á ÁÁ



        ,ʤʬʥʴʲʡ ʭʩʷʮʲʤ ʯʥʩʰʷʡ ʺʣʡʠʺʮ ʺʬʡʧʮ ʵʥʶʩʴ :2003 ʩʠʮ 19
                              ʭʩʲʥʶʴ 50 -ʥ ʭʩʢʥʸʤ 3


  ʺʨʩʱʸʡʩʰʥʠʡ ʺʩʬʢʰʠʬ ʺʩʨʰʣʥʨʱ ,ʤʷʥʥʸ ,19 ʺʡ ,ʱʠʡʥʨ ʸʴʫʤ ʺʡʹʥʺ - ʤʮʢʠʸʣ ʠʡʤ
  ʩʮʬʱʩʠ ʣʠʤʩ'ʢ/ʧ"ʺʴ ʬʩʲʴ ,ʤʮʢʠʸʣ ʸʫʡ ʬʹ ʥʺʥʧʠ ʤʰʩʤ ʺʣʡʠʺʮʤ .ʤʧʥʺʴʤ "ʱʣʷʬʠ"
  .ʬʠʸʹʩʡ ʠʥʬʫ ʠʥʤ ʭʥʩʫʥ ʯʫ ʩʰʴʬ ʸʶʲʰ ʪʠ 2002 ʩʰʥʩʡ ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʥʶʩʡʬ ʱʩʥʢ ʸʹʠ
  ,ʤʣʥʮʶ ʤʶʬʥʧ ,ʱʰʩ'ʢ ʩʱʰʫʮ ʤʹʡʬʹ ʩʮʫ ʤʸʠʥʺ ʺʲʢʴʮʤ .ʧʠʤ ʬʹ ʥʸʶʲʮ ʬʲ ʤʮʷʰʫ ʲʥʢʩʴʤ
  ʠʬʬ ʬʠʸʹʩʬ ʤʠʶʩ ʺʲʢʴʮʤ ʤʠʸʰʤ ʬʫʫ .ʣʡʫ ʤʠʸʰʹ ʸʥʧʹ ʩʹʰ ʷʩʺ ʤʠʹʰʥ ʡʷʲ ʩʬʲʰ ʤʬʲʰ
                                                   .ʤʮʶʲ ʺʥʧʥʫʡ ʤʬʥʴʲʬ ʤʲʩʢʤʥ ʩʥʥʩʬ




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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ


                                       Á ÁÁ



     ,ʭʥʸʣ ʸʴʫ ʣʩʬ ʬ"ʤʶ ʴʩ'ʢʬ ʪʥʮʱ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʩʠʮ 19
                                  ʭʩʲʥʶʴ ʭʩʬʩʩʧ 3


  ,20 ʯʡ ,ʤʦʲ/ʧʬʡ ʬʠ ʸʩʣ/'ʢʩʸʡ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʯʩʤʠʡʰ ʩʣʠʹ
  ʵʶʥʴʺʤʥ ʭʩʩʰʴʥʠ ʬʲ ʡʥʫʸ ʠʥʤʹʫ ʭʥʸʣ ʸʴʫʬ ʲʩʢʤ ,ʱ"ʠʮʧ ʬʩʲʴ ,ʷʥʥʸ
  ,ʡʢ ʷʩʺ ʥʡʢ ʬʲ ʠʹʰ ʣʡʠʺʮʤ .ʸʥʦʠʡ ʸʥʩʱʡ ʤʩʤʹ ʩʬ"ʤʶ ʴʩ'ʢʬ ʪʥʮʱʡ
  .ʯʲʨʮʤ ʬʹ ʤʬʲʴʤʤ ʯʥʰʢʰʮ ʠʶʮʰ ʭʩʩʰʴʥʠʤ ʯʥʣʩʫʡ ,ʯʲʨʮʤ ʤʩʤ ʥʫʥʺʡ
  ʸʹʠ ,ʧʬʡ ʬʠ ʸʩʣʡ ʱ"ʠʮʧʤ ʺʥʰʢʸʠʺʤ ʬʹ ʺʥʬʩʲʴʮ ʷʬʧ ʤʩʤ ʤʦ ʲʥʢʩʴ
     .ʭʩʹʣʥʧ ʸʴʱʮ ʬʫ "ʺʥʫʩʠ ʩʲʥʢʩʴ" ʤʬʢʬʩʢʥ ʭʥʸʣ ʸʴʫ ʸʡʲʬ ʨ"ʰ/ʭʩʸʮʶʴ ʩʸʩ ʤʸʢʹʡ ʤʲʶʩʡ


                                       ÁÁÁ



        ,ʭʩʬʹʥʸʩ/ʭʠʸ-ʠ ʭʥʱʧʮ ʣʩʬ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʩʠʮ 18
                                    ʭʩʲʢʴʰ ʠʬʬ


  ,ʭʥʷʩʰʫʨʩʬʥʴʡ ʤʱʣʰʤʬ ʨʰʣʥʨʱ ,19 ʯʡ ,ʯʥʸʡʧ ʡʹʥʺ - ʩʸʡʲ'ʢ ʣʤʠ'ʢʮ
  ʧʬʥʢʮ ,ʹʣʧ ʱʰʩ'ʢʥ ʤʬʥʧʫ ʤʶʬʥʧ ʹʥʡʬ ʠʥʤʹʫ ʭʠʸ-ʠ ʭʥʱʧʮ ʣʩʬ ʵʶʥʴʺʤ
  ʤʩʬʥʧ" ʩʣʩ ʬʲ ʲʥʢʩʴʬ ʧʬʹʰ ʣʡʠʺʮʤ .ʹʠʸʤ ʩʣʩʶʡ ʤʸʶʷ ʺʸʥʴʱʺ ʭʲʥ
  ʺʩʺʹʺʤ ʭʲʨʮ ʤʬʲʴ ʸʹʠ ,ʭʩʬʹʥʸʩ ʸʥʦʠ ʩʡʹʥʺ ,ʱ"ʠʮʧʤ ʬʹ "ʺʩʮʣʷ
  ʺʩʰʥʮ ʺʥʲʶʮʠʡ ʭʥʱʧʮʬ ʲʩʢʤ ʣʡʠʺʮʤ .ʯʥʸʡʧʡ ʱ"ʠʮʧ ʬʹ ʺʩʠʡʶʤ
  .ʭʥʱʧʮʬ ʬʢʸʡ ʸʡʲʥʤ ʭʹʮʥ ,ʭʩʮʬʹʥʸʩʤ ʭʩʬʩʲʴʤ ʩʣʩʡ ʨʬʷʰ ʭʹ ,ʱʩʣ ʥʡʠʬ ʯʥʸʡʧʮ ʺʥʸʩʹ
                            .ʭʩʬʩʩʧ ʩʣʩʡ ʥʺʣʹʧʤ ʡʷʲ ʣʲʩʬ ʥʺʲʢʤ ʭʸʨ ʵʶʥʴʺʤ ʣʡʠʺʮʤ


                                       Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




     ,ʭ-ʩʡ ʺʩʺʴʸʶʤ ʤʲʡʢʡ ʱʥʡʥʨʥʠʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʩʠʮ 18
                             ʭʩʲʥʶʴ 20 -ʥ ʭʩʢʥʸʤ 7


  ʭʩʡʹʧʮʬ ʭʥʷʩʰʫʨʩʬʥʴʡ ʨʰʣʥʨʱ ,19 ʯʡ ,ʯʥʸʡʧ ʡʹʥʺ - ʩʸʥʸʫʺ ʭʱʠʡ
  ʠʥʤʹʫ ,ʺʩʺʴʸʶʤ ʤʲʡʢʬ ʪʥʮʱ ,6 'ʱʮ ʣʢʠ ʱʥʡʥʨʥʠʡ ʥʮʶʲ ʵʶʥʴ ,'ʠ ʤʰʹ
  ʣʡʠʺʮʤ .ʺʩʶʩʶʥ ʤʴʩʫ ,ʤʰʡʬ ʤʶʬʥʧ ,ʭʩʸʥʧʹ ʭʩʩʱʰʫʮ :ʩʣʸʧʫ ʹʥʡʬ
  ʩʣʩʡ ʬʲʴʥʤʹ ʭʩʱʩʩʥʢʮʤ ʣʧʠ ʺʩʡʡ ʤʤʹʹ ʺʲʡ ʲʥʢʩʴʤ ʸʷʥʡʡ ʹʡʬʥʤ
  ʹʸʨʠ ʸʮʠʱ ʤʣʥʤ ʥʺʸʩʷʧʡ .ʹʸʨʠ ʸʮʠʱ ,ʯʥʸʡʧʡ ʱ"ʠʮʧʤ ʺʩʺʹʺ
  ,ʭʩʬʹʥʸʩʬ ʥʺʸʣʧʤʥ ʱʩʣ ʥʡʠ ʸʥʦʠʮ ʣʡʠʺʮʤ ʳʥʱʩʠʡ ,ʲʥʢʩʴʤ ʺʠʸʷʬ ʯʩʲʩʣʥʮʤ ʳʥʱʩʠʡ
                                      .ʲʥʢʩʴʤ ʭʥʷʮʬ ʥʺʬʡʥʤʥ ʥʺʰʫʤʡ ʯʫʥ ʥʺʩʡʡ ʥʺʰʬʤʡ


                                      Á ÁÁ



         ,ʯʥʸʡʧʡ ʱʥʸʢ ʸʫʩʫʬ ʪʥʮʱ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʩʠʮ 17
                                     ʭʩʢʥʸʤ 2


  ʸʫʩʫ ʸʥʦʠʬ ʲʩʢʤ ,ʱ"ʠʮʧ ʬʩʲʴ ,22 ʯʡ ,ʯʥʸʡʧ ʡʹʥʺ - ʤʮʱʠʥʷ ʣʠʥʴ
  ʥʬ ʥʠʸʷ ʸʹʠ ʭʩʬʩʩʧ ʩ"ʲ ʣʹʧʰ ,ʩʺʣ ʩʣʥʤʩʬ ʹʴʥʧʮ ʠʥʤʹʫ ʯʥʸʡʧʡ ʱʥʸʢ
  ʸʧʠʬ ʩʬʤʰʮ ʸʥʶʲ ʤʩʤ ʣʡʠʺʮʤ .ʭʩʬʠʸʹʩ 'ʱʮ ʣʩʬ ʥʮʶʲ ʵʶʥʴ ʦʠʥ ʸʥʶʲʬ
  ʤʩʤ ʣʡʠʺʮʤ ."ʯʢʮ ʺʮʥʧ" ʲʶʡʮʡ ʯʥʸʡʧ ʸʩʲʬ ʤʱʩʰʫʤ ʺʸʢʱʮʡ ʸʶʲʰʹ
  ʩʲʥʢʩʴ 2 ʲʥʶʩʡ ʭʤʮ 4 ʸʹʠ "ʣʠʤʢ" ʣʢʱʮʮ ʱ"ʠʮʧ ʩʬʩʲʴ ʺʶʥʡʷʬ ʸʡʥʧʮ
  ʤʬʲ ʺʥʸʩʷʧ ʸʮʥʧʮ .ʺʥʤʥʢʰ ʺʥʦʧʠʩʤʡ ʩʰʹʤʥ ʲʡʸʠ ʺʩʩʸʷʡ ʣʧʠʤ ,03 ʱʸʮ 7 -ʡ ʺʥʣʡʠʺʤ
  ʭʩʰʩʰʥʲʮ ʥʩʤ ʤʲʡʸʠʤ ʬʫ .ʭʩʲʢʴʮ 3 ʣʥʲ ʺʩʠʡʶ ʱ"ʠʮʧ ʺʥʬʩʲʴʬ ʥʱʩʩʥʢ ʣʡʠʺʮʤ ʭʲ ʣʧʩ ʩʫ
  ʩʸʩʫʡʮ ,ʤʮʱʠʥʷ ʬʱʠʡ ʩʣʩ ʬʲ ,ʲʥʢʩʴʤ ʲʶʡʬ ʸʧʡʰ ʤʦ ʣʡʠʺʮ ʭʬʥʠ ,ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʶʡʬ
                                        . ʲʥʢʩʴʤ ʺʠ ʤʰʩʥʥʫʤʹ ,ʯʥʸʡʧʡ ʱ"ʠʮʧʤ ʺʩʺʹʺ


                                      Á ÁÁ




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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



    ,ʲ"ʶʸʡ ʷʰʨʬ ʣʥʮʶʡ ʺʴʥʺ ʺʩʰʥʫʮʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʩʠʮ 8
                                    ʭʩʲʢʴʰ ʠʬʬ


  ʯʡ ,ʤʦʲ/ʧʬʡ ʬʠ ʸʩʣʡ ʺʠʸʩʶʰ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʩʰʠʰʲ ʣʥʮʧʮ
  ,ʷʰʨʬ ʪʥʮʱʡ ʺʴʥʺ ʡʫʸʡ ʥʮʶʲ ʵʶʥʴ ,ʧ"ʺʴ ʬʩʲʴʥ ʸʨʥʹ ,ʷʥʥʸ ,22
  ʸʡʲʬ ʤʧʱʤ ʩʸʩ ʲʶʥʡ ʲʥʢʩʴʤ ʭʸʨ ʺʥʷʣ ʸʴʱʮ .ʭʥʸʣ ʸʴʫ ʣʩʬ
  ʬʩʫʤ ʸʣʰʨʤ ʩʫ ʤʬʢʺʤ ʲʥʢʩʴʤ ʸʧʠʬ ʺʥʷʩʸʱʡ .ʸ'ʶʰʨ ʸʩʶ ʬʲ ʥʰʩʺʥʧʥʫ
  ʪʬʤʮʡ ʵʶʥʴʺʤ ʤʬʷʺ ʺʥʡʷʲʡ ʭʬʥʠ ,ʥʩʺʥʺʬʣʡ ʭʩʰʲʨʮʥ ʦʢ ʩʰʥʬʡ 2
                .ʲʥʢʩʴʬ ʺʩʡʮʥʴ ʺʥʩʸʧʠ ʥʬʨʰ "ʠʶʷʠʬʠ ʩʬʬʧ ʩʣʥʣʢ" .ʣʧʠ ʦʢ ʯʥʬʡ ʷʸ ʲʥʢʩʴʤ


                                        Á ÁÁ



    ʠ"ʺʡ ʱʩʩʬʴ ʱʷʩʩʮ ʡʠʴʬ ʤʱʩʰʫʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʬʩʸʴʠ 30
           ʭʩʲʥʶʴ 62 -ʥ ʭʩʢʥʸʤ 3 ,ʪʥʮʱʡ ʯʲʨʮ ʪʩʬʹʤ ʳʱʥʰ ʣʡʠʺʮ


                               ʭʩʣʡʠʺʮʤ ʭʩʬʡʧʮʤ




                       ʳʩʸʹ ʸʮʲ                              ʳʩʱʠ ʳʩʰʠʤ


  .ʡʩʡʠ ʬʺʡ ʺʬʩʩʨʡ "ʱʩʩʬʴ ʱʷʩʩʮ" ʡʠʴʬ ʤʱʩʰʫʡ ʵʶʥʴʺʤ ʩʨʩʸʡ ʧʸʦʠ ,22 ʯʡ ,ʳʩʱʠ ʳʩʰʠʤ
  ʤʬʷʺ ʬʹʡ ʭʬʥʠ ʳʩʰʠʤ ʭʲ ʣʧʩ ʣʡʠʺʤʬ ʤʱʩʰ ,ʠʥʤ ʳʠ ʩʨʩʸʡ ʧʸʦʠ ,27 ʯʡ ,ʳʩʸʹ ʸʮʲ
  .ʥʺʥʹʸʡ ʤʩʤʹ ʯʲʨʮʤʮ ʸʨʴʰ ʠʥʤʹ ʪʥʺ ,ʭʥʷʮʤʮ ʨʬʮʰʥ ʥʮʮʦ ʺʠ ʲʶʡʬ ʧʩʬʶʤ ʠʬ ʯʲʨʮʡ
  ʺʫʩʸʫʡ ʯʮʨʥʤʥ ʱʱʸ ʠʬʬ ,ʢ"ʷ 5 -ʫ ʬʹ ʬʷʹʮʡ ʩʰʷʺ ʵʴʰ ʸʮʥʧʮ ʡʫʸʥʤ ʸʮʲ ʠʹʰʹ ʯʲʨʮʤ
  ʺʥʩʸʧʠ ʬʨʰ ʱ"ʠʮʧʤ ʯʥʢʸʠ .ʲʥʢʩʴʤ ʸʧʠʬ ʭʩʩʲʥʡʹʫ ʭʩʤʮ ʤʨʬʴʰ ʸʮʲ ʬʹ ʥʺʴʥʢ .ʸʴʱ
  ʩʠʶʮʮ ʧʥʺʩʰʮ .ʲʥʢʩʴʬ ʭʺʠʩʶʩ ʭʸʨ ʭʩʨʩʸʡʤ ʩʰʹ ʭʩʮʠʥʰ ʤʡ ʥʠʣʩʥ ʺʨʬʷ ʭʱʸʴ ʳʠʥ ʲʥʢʩʴʬ
  -ʡ ʯʣʸʩʬ ʭʹʮ ʤʩʸʥʱʡ ʬʩʸʴʠʬ 8 -ʡ ʬʧʤʹ ʬʥʬʱʮʡ ʧʨʹʬ ʥʲʩʢʤ ʭʩʩʰʹʤ ʩʫ ʤʬʥʲ ʭʩʰʥʫʸʣʤ
  ʲʩʩʺʱʤ ʭʩʲʢʴʮʤ ʣʮʶ ʩʫ ʤʬʲ ʺʥʸʩʷʧʤ ʬʬʫʮ .ʬʩʸʴʠʬ 12 -ʡ ʧʨʹʬ ʤʱʩʰʫʥ ʬʩʸʴʠʬ 11
               .ʲ'ʮʣʢʡʥ ʤʲʥʶʸʡ ,ʬʠʸʹʩʡ ʺʥʲʥʰʺʬ ʧʨʹʡ ʭʩʤʥʹʤ ʭʩʸʦ ʬʠʮʹ ʩʬʩʲʴ ʸʴʱʮʡ




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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



   ,ʠʡʱ ʸʴʫʡ ʺʡʫʸʤ ʺʰʧʺʬ ʤʱʩʰʫʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʬʩʸʴʠ 24
                               ʭʩʲʥʶʴ 15 -ʥ ʢʥʸʤ 1

  ʸʷʥʡʡ ʲʩʢʤ ,ʭʩʹʥʸʢ ʭʩʸʥʤʬ ʯʡ ,ʯʥʫʩʺ ʣʩʮʬʺ ,18 ʯʡ ,ʭʫʹ/ʤʨʠʬʡ ʸʴʫ ʡʹʥʺ - ʡʩʨʧ ʣʮʧʠ
  ʭʲ ʪʥʸʠ ʸʥʧʹ ʬʩʲʮʡʥ ʱʰʩ'ʢʡ ʹʥʡʬ ʠʥʤʹʫ ,ʠʡʱ ʸʴʫʡ ʺʡʫʸʤ ʺʰʧʺ ʸʥʦʠʬ ʲʥʢʩʴʤ ʭʥʩ
  ʭʩʸʨʥʹ ʩʰʹ ʸʡʲ ʣʡʠʺʮʤ .ʵʴʰʤ ʺʸʥʢʧ ʤʸʡʥʧ ʤʠʸʰʤ ʬʫʫ ʥʩʬʠ ,ʸʥʧʠʮ ʺʩʬʢʰʠʡ ʡʥʺʩʫ
  ʥʰʮʮ ʹʷʩʡʥ ʥʮʲ ʧʧʥʹ ,ʭʩʧʨʡʠʮʤ ʣʧʠ ʥʩʬʠ ʹʢʩʰ ,ʤʮʶʲ ʤʰʧʺʤ ʩʧʨʡʠʮʬ ʪʥʮʱʡ ʲʩʢʤʹʫʥ
  ʥʡʠ ʩʣʥʣʢʥ 'ʧʺʴ' ʬʹ ʠʶʷʠʬʠ ʩʬʬʧ ʩʣʥʣʢ .ʥʮʶʲ ʵʶʥʴʥ ʥʩʱʰʫʮʬ ʣʩ ʱʩʰʫʤ ʣʡʠʺʮʤ .ʺʥʤʣʦʤʬ
                            .ʲʥʢʩʴʬ ʺʴʺʥʹʮ ʺʥʩʸʧʠ ʥʬʨʰ ʺʩʮʮʲʤ ʺʩʦʧʤ ʬʹ ʠʴʨʶʮ ʩʬʲ


                                       ÁÁÁ



     ʵʴʰ ʺʸʥʢʧʥ ʯʥʮʩʸ ʬ"ʷʰʡ ʹʥʮʧ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʬʩʸʴʠ 15
                        ʭʩʲʥʶʴ 3 -ʥ ʭʩʢʥʸʤ 2 ,ʩʰʸʷ ʸʡʲʮʡ


  ,ʯʥʫʩʺ ʣʩʮʬʺ ,18 ʯʡ ,ʤʦʲ/ʤʩʬʠʡ'ʢ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʱʰʥʩ ʣʮʧʮ
  ʱ"ʠʮʧ ʬʩʲʴ ,ʤʬʩʧʱ ʥʡʠ ʩʮʠʸ ʥʩʬʠ ʲʩʢʤ ʲʥʢʩʴʤ ʸʷʥʡʡ .ʱ"ʠʮʧ ʬʩʲʴ
  ʸʷʥʡʤ ʪʹʮʤʡ .ʲʥʢʩʴʬ ʤʠʩʶʩʤ ʺʠʸʷʬ ʥʰʩʫʤʥ ʤʩʬʠʡ'ʢ .ʴ.ʮʮ ʩʠʡʶ
  ʺʠ ʥʱʩʰʫʤ ʸʹʠ ,ʥʰʡʥ ʳʥʱʮʤ ʸʥʦʠʬ ʤʱʩʰʫ ʸʺʩʤ ʬʲʡ ʸʧʥʱ ʥʲʩʢʤ
  ʠʬ ʳʥʱʮʡ ʤʷʩʣʡʡ .ʤʸʥʧʱʤ ʪʥʺʡ ʥʤʥʠʩʡʧʤʥ ʭʺʩʰʥʫʮ ʦʢʸʠʬ ʣʡʠʺʮʤ
  ʵʴʰ ʺʸʥʢʧʥ ʭʩʰʥʮʩʸ ,ʬ"ʷʰʡ ʹʥʮʧ ʠʥʤʹʫ ,ʳʥʱʮʡ ʺʩʰʥʫʮʤʮ ʣʸʥʤ ʣʡʠʺʮʤʥ ʦʢʸʠʤ ʷʣʡʰ
  ʩʬʩʩʧʥ ʭʩʧʨʡʠʮʤ ʩʣʩ ʬʲ ʢʸʤʰʥ ʤʸʥʰ ʣʡʠʺʮʤ .ʳʥʱʮʤ ʸʡʲʬ ʭʩʰʥʮʩʸ ʪʩʬʹʤʬʥ ʺʥʸʩʬ ʬʧʤʥ
                                                                    .ʭʥʷʮʡ ʭʩʠʥʬʩʮʤ
                                       Á ÁÁ



    ,ʤʩʰʺʰʡ "ʯʥʣʰʥʬ" ʤʴʷ ʺʩʡ ʧʺʴʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʱʸʮ 30
                                    ʭʩʲʥʶʴ 54

  ʬʤʰʮ/ʺʥʠʰʥʡʹʧʬ ʨʰʣʥʨʱ ,ʷʥʥʸ ,20 ʯʡ ,ʭʸʫ ʬʥʨʡ ʯʥʶʥʢ ʬʠ ʸʩʣ ʸʴʫʤ ʡʹʥʺ - ʭʰʠ'ʲ ʩʮʠʸ
  ʤʬʥʲʴ ʳʥʺʩʹʡ ʣʥʹʧ ʥʺʥʩʤ ʬʹʡ .ʺʩʮʮʲ ʺʩʦʧ ʬʩʲʴʫ ʸʫʥʮ ,ʭʸʫ ʬʥʨʡ ʩʸʥʣʫ ʺʬʬʫʮʡ ʭʩʷʱʲ
  .ʲʥʢʩʴʤ ʩʰʴʬ ʭʩʮʩ ʸʴʱʮ ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ ʺʥʸʥʹʬ ʳʸʨʶʤʥ ʺʩʮʮʲʤ ʺʩʦʧʤ ʺʠ ʡʦʲ
  ʬʣʥʢ ʸʣʱʡ ʧʴ ʺʱʴʥʷʮ ʡʫʸʥʤʹ ʯʲʨʮʤʹʫ ʤʩʰʺʰʡ ʤʴʷʤ ʺʩʡʬ ʤʱʩʰʫʡ ʥʮʶʲ ʵʶʥʴ ʣʡʠʺʮʤ




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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



  ʤʧʷʬʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʭʩʰʡʬ ʭʩʨʥʨʸʮʱʥ ʸʥʲ ʺʸʥʢʧ ʺʥʲʶʮʠʡ ʥʰʨʡʬ ʷʣʥʤ ,ʢ"ʷ 1.5-1 ʬʹ
                                                               .ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ ʩ"ʲ
                                       Á ÁÁ



     ,ʤʴʩʧʡ ʤʩʸʥʮ ʺʥʸʣʹʡ ʱʥʡʥʨʥʠʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2003 ʱʸʮ 5
                              ʭʩʲʥʶʴ 42 -ʥ ʭʩʢʥʸʤ 15

  ,ʯʥʸʡʧʡ ʭʥʷʩʰʫʨʩʬʥʴʡ ʭʩʡʹʧʮʬ ʨʰʣʥʨʱ ,20 ʯʡ ,ʯʥʸʡʧ ʡʹʥʺ - ʤʮʱʠʥʷ ʯʠʸʮʲ ʣʥʮʧʮ
  ʲʥʢʩʴʤ ʺʠʶʥʤ ʩʸʥʧʠʮ .ʤʴʩʧʡ ʤʩʬʮʸʫ ʺʰʥʫʹʬ ʤʱʩʰʫʡ ,37 'ʱʮ      ʱʥʡʥʨʥʠ ʪʥʺʡ ʵʶʥʴʺʤ
  ʺʩʺʹʺʤ ʬʲ ʩʠʸʧʠʹ ʩʮʫ ʩʡ'ʢʸ ʩʬʲ ʬʲʴ ʤʦʫʸʮʡʥ ,ʯʥʸʡʧʡ ʩʠʡʶʤ ʱ"ʠʮʧʤ ʺʣʷʴʮ ʤʣʮʲ
  ʥʬʩʡʥʮʫ ʹʮʩʹʹ ʩʮ .ʵʴʰʤ ʺʸʥʢʧ ʺʰʫʤ ʬʲ ʩʠʸʧʠʤ ,ʯʠʬʲ ʩʬʲ ʹʷʥʡʮʤ       ʥʣʶʬʥ ʺʩʨʱʩʢʥʬʤ
  ʤʸʹʴʠ ʸʹʠ ʺʩʮʬʹʥʸʩ ʧʸʦʮ .ʦ.ʺ ʬʲʡ ,ʯʥʸʡʧ ʡʹʥʺ ,ʩʡ'ʢʸ ʦʴʠʧ ʤʩʤ ʤʴʩʧʬ ʣʡʠʺʮʤ ʬʹ
                                                                   .ʬʠʸʹʩʬ ʺʥʹʩʢʰ ʥʬ


                                       Á ÁÁ



         ,ʯʠʧʸʥʠʡ ʭʩʬʡʧʮ 3 ʤʡʥ ʺʴʥʺ ʺʩʰʥʫʮ ʵʥʶʩʴ :2003 ʸʠʥʸʡʴ 9
                                  ʭʩʲʥʶʴ ʭʩʬʩʩʧ 4

                               ʭʩʣʡʠʺʮʤ ʭʩʬʡʧʮʤ




             ʭʥʮʠ ʣʮʧʮ                ʣʠʣʷʮ ʯʠʮʩʬʱ             ʭʬʠʱ ʠ"ʲ ʩʮʠʱ


  ʯʡ ,ʤʦʲ/ʺʠʸʩʶʰ ʡʹʥʺ ,ʣʠʣʷʮ ʯʠʮʩʬʱ ,17 ʯʡ ,ʧʬʡ ʬʠ ʸʩʣ/'ʢʩʸʡ ʡʹʥʺ ,ʭʬʠʱ ʠ"ʲ ʩʮʠʱ
  ʥʷʬʧʮ ʥʲʩʢʤʥ ,ʯʡʬ ʲʡʶʡ ʷʠʩʨʰʥʴ ʢʥʱʮ ʺʩʰʥʫʮʡ ʥʲʱʰ ,18 ʯʡ ,'ʢʩʸʡ ʡʹʥʺ ,ʭʥʮʠ ʣʮʧʮʥ 22
  ʥʺʥʹʸʡ ʷʩʦʧʮ ʠʥʤʹʫ ,ʸʥʧʠʮ ʣʧʠʥ ʡʫʸʤ ʺʮʣʷʡ ʥʡʹʩ ʭʤʮ ʭʩʩʰʹ .ʯʠʧʸʥʠʤ ʬʹ ʩʰʥʴʶʤ
  ʡʫʸʤ ,ʥʰʩʺʥʧʥʫ ʸʡʲʬ ʩʸʩ ʸʥʧʠʮʹ ʲʢʴʮʤ ʲʶʩʡ ,ʭʥʱʧʮʬ ʭʺʥʡʸʷʺʤ ʪʬʤʮʡ .ʡʥʷʩʰ'ʶʠʬʷ
  ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʵʶʥʴʺʤʥ ʯʠʧʸʥʠʤ ʡʶʥʮ ʬʹ ʺʥʣʠʰʥʨʡʡ ʹʢʰʺʤ ,ʤʰʩʮʩ ʤʨʱ
  ʣʲ) ʣʮʲ ʤʹʠʸʡ ,ʤʲʥʶʸʤ ʦʫʸʮʡ ʭʩʨʩʬʴʤ ʺʥʰʧʮ ʸʥʦʠʡ ʩʮʠʬʱʩʠʤ ʣʠʤʩ'ʢʤ ʺʩʺʹʺ
                                                   .ʯʩʴʠʲʱ ʣʮʧʮ (ʱʸʮ 17 -ʡ ʥʺʢʩʸʤʬ


                                          30
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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




        ,ʺʩʢʥʣʬ ʺʩʡʸʲʮ ʺʴʥʺ ʺʣʥʱʴʸʡ ʣʡʠʺʮ ʵʥʶʩʴ :2003 ʸʠʥʰʩ 17
                                    ʭʩʲʢʴʰ ʠʬʬ


  .ʱ"ʠʮʧ ʬʩʲʴʫ ʸʫʥʮ ,ʷʥʥʸ ,21 ʯʡ ,ʤʦʲ/ʬʠʮʸ ʡʹʥʺ - ʩʱʠʮ'ʢ ʣʥʮʧʮ
  ʤʡʥ ʺʩʡʧ ʩʶʧ ʥʮʲ ʡʧʥʱ ʠʥʤʹʫ ,ʩʨʠʹ ʸʥʦʠʮ ,ʤʠʸʰʤ ʬʫʫ ,ʠʶʩ ʣʡʠʺʮʤ
  ʣʸʥʤʥ ʢʩʣ ʺʸʩʱ ʩʡʢ ʬʲ ʲʥʢʩʴʤ ʸʥʦʠʬ ʲʩʢʤ ʣʡʠʺʮʤ .ʢ"ʷ 40 ʬʷʹʮʡ ʧ'ʬʮʠ
  .ʭʩʮʡ ʲʥʷʹ ʥʴʥʢ ʡʥʸʹʫ ʭʩʮʤ ʭʲ ʳʧʱʩʤʬ ʤʸʨʮʡ ʭʩʴʥʶʮ ʥʩʬʲʹʫ ʤʰʮʮ
  ,ʥʡ ʥʰʩʧʡʤ ʸʹʠ ʭʩʢʩʩʣ .ʥʬ ʪʥʮʱʡ ʵʶʥʴʺʤʬʥ ʸʥʡʣʬ ʡʸʷʺʤʬ ʤʺʩʩʤ ʥʺʸʨʮ
  ʺʲʢʤʬ ʬʩʡʷʮʡ) ʤʣʥʱʴʸʤ ʥʩʬʠ ʤʲʩʢʤ ʸʹʠʫ ,ʤʣʥʱʴʸ ʥʩʬʠ ʥʧʬʹʥ ʤʷʥʶʮʡ ʯʥʺʰ ʠʥʤ ʩʫ ʥʡʹʧ
  ʸʧʠʬʥ ,ʸʠʶʰ ʬʠʥʥ ,ʨʬʥʡʤ ʩʠʡʶʤ ʱ"ʠʮʧʤ ʬʩʲʴ ʩ"ʲ ʯʥʥʫʥʠ ʲʥʢʩʴʤ .ʭʩʮʡ ʥʮʶʲ ʵʶʥʴ (ʸʥʡʣʤ
           .ʭʩʸʩʹʫʮ ʠʬʬ ʤʬʩʬʶʥ ʤʩʩʧʹʡ ʩʨʠʹ ʸʥʦʠʡ ʤʰʹʫ ʯʮʠʺʤ ʣʡʠʺʮʤ ʩʫ ʤʬʲ ʲʥʢʩʴʤ


                                       Á ÁÁ



   ,ʠ"ʺʡ ʤʰʹʩʤ ʺʩʦʫʸʮʤ ʤʰʧʺʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ 2 ʵʥʶʩʴ :2003 ʸʠʥʰʩ 5
                             ʭʩʲʥʶʴ 106 -ʥ ʭʩʢʥʸʤ 23

  ,ʭʫʹ ʩʡʹʥʺ ʭʤʩʰʹ ,19 ʯʡ ,ʩʸʥʰ ʸʮʠʱʥ 20 ʯʡ ,ʤʴʩʬʧ ʷʠʸʡ - ʩʸʥʰ ʸʮʠʱʥ ʤʴʩʬʧ ʷʠʸʡ
  ʭʩʸʡʧ ʥʩʤʹ ,ʭʩʣʡʠʺʮʤ ʣʮʶ .ʠ"ʺʡ ʤʰʹʩʤ ʺʩʦʫʸʮʤ ʤʰʧʺʡ ʬʥʴʫ ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʥʲʶʩʡ
  50 ʬʹ ʹʸʴʤʡʥ ('ʮ 200 ʷʧʸʮʡ) ʭʩʰʥʹ ʭʩʣʷʥʮ ʩʰʹʡ ʭʮʶʲ ʥʶʶʥʴ ,ʭʺʥʣʬʩ ʺʴʥʷʺʮ ʣʥʲ
  ʩʣʩ ʬʲ ʤʧʷʬʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʩʬʠʸʹʩ ʩʡʸʲ ʩʣʩ ʬʲ ʲʥʢʩʴʤ ʭʥʷʮʬ ʥʲʱʥʤ ʭʩʩʰʹʤ .ʺʥʩʰʹ
  ʬʲ ʯʥʥʫʥʠ ʧʸʹ ʥʡʠ .(ʢʥʸʤ) ʧʸʹ ʥʡʠ ʳʠʠʰ ʬʹ ʥʺʥʹʠʸʡ ,ʭʫʹʡ ʧ"ʺʴʤ ʬʹ ʺʩʠʡʶʤ ʲʥʸʦʤ
  ʺʥʩʥʰʢʸʠʺʤʬ ʭʩʸʹʴʠʮʥ ʭʩʲʥʢʩʴʤ ʭʩʰʮʮʮ ʸʹʠ ,ʯʥʰʡʬʡ ʭʩʰʠʸʩʠʤ ʤʫʴʤʮʤ ʺʥʸʮʹʮ ʩʣʩ
  ʸʺʥʩʡ ʭʩʩʰʬʨʷʤ ʭʩʲʥʢʩʴʤ ʣʧʠ ʥʰʤ ʤʦ ʲʥʢʩʴ .ʬʠʸʹʩ ʩʮʥʧʺʡ ʭʩʲʥʢʩʴ ʲʶʡʬʥ ʪʩʹʮʤʬ ʧ"ʺʴʤ
  ʥʬʩʫʤʹ ʭʩʰʲʨʮʤ ʺʥʫʩʠʡʥ ʭʩʲʢʴʰʤ ʬʹ ʤʡʸʤ ʺʥʮʫʡ ʩʥʨʩʡ ʩʣʩʬ ʠʡʹ ʩʴʫ ,ʺʥʮʩʲʤ ʺʬʩʧʺʮ
  ʨʷʴʠ ʺʠ ʬʩʣʢʤʬ ʤʸʨʮʡ ʡʸ ʩʺʫʺʮ ʱʱʸʥ ʯʲʨʮʬ ʢ"ʷ 10 ʬʲʮʡ ʪʸʲʥʮʤ ʬʷʹʮʡ ʮ"ʰʧ
                                                                            .ʤʲʩʢʴʤ


                                       Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




      ʹʸʢʮ ʣʩʬ ʣʡʠʺʮ ʩʣʩʡ ʤʢʥʤʰ ʺʴʥʺ ʺʩʰʥʫʮ ʵʥʶʩʴ :2002 ʸʡʮʶʣ 28
                              ʭʩʲʢʴʰ ʠʬʬ ,ʭʩʱʥʸʤ

  ʺʬʬʫʮʡ 'ʠ ʤʰʹ ʬʤʰʮʬ ʨʰʣʥʨʱ ,ʷʥʥʸ ,20 ʯʡ ,ʭʩʬʹʥʸʩ/ʤʹʣʧʤ ʤʺʠʰʲ ʡʹʥʺ - ʩʫʸʫ ʠʠʬʲ
  ʸʥʦʠʬ ʺʥʫʩʮʱʡ ,ʭʩʬʹʥʸʩʡ ʦʡʰʥʮ 'ʧʸʡ ʤʰʧʹ ʺʴʥʺ ʡʫʸʡ ʥʮʶʲ ʵʶʥʴʬ ʤʱʩʰ ,ʤʩʮʤʸʠʡʠ
  ʤʸʨʮʡ ʲʥʢʩʴʤ ʲʶʩʡ ʩʫ ʣʡʠʺʮʤ ʤʣʥʤ ʩʬʬʫ ʯʥʧʨʩʡ ʺʥʸʩʹʡ ʥʺʸʩʷʧʡ .ʭʩʩʧ ʷʷʥʹ ʭʩʩʥʬʩʡ
  ,ʬʬʴʺʤʬ ʬʧʤʥ ʭʩʹʣʥʧ ʤʹʩʹʫ ʩʰʴʬ ʤʡʥʹʺʡ ʸʦʧ ʩʫ ʸʴʩʱ ʯʫ ʥʮʫ .ʢʸʤʩʤʬʥ ʭʩʣʥʤʩ ʢʥʸʤʬ
  ʣʡʠʺʮʤ .ʭʩʰʹʤ ʪʸʥʠʬ ʺʸʴʥʫʤ ʥʺʥʢʤʰʺʤ ʬʲ ʸʴʫʬ ʤʸʨʮʡ ʤʠʡ ʲʥʢʩʴ ʲʶʡʬ ʥʺʨʬʧʤ
                                 .ʥʣʡʬ ʲʥʢʩʴʤ ʯʥʩʱʩʰ ʺʠ ʲʶʩʡʥ ʤʢʤ ʭʦʩʹ ʤʦ ʠʥʤ ʩʫ ʤʣʥʤ


                                      Á ÁÁ


     -ʤ ʭʧʺʮʡ ʣʡʠʺʮ ʩʣʩʡ ʤʢʥʤʰ ʺʴʥʺ ʺʩʰʥʫʮ ʵʥʶʩʴ :2002 ʸʡʮʡʥʰ 27
                ʭʩʲʢʴʰ ʠʬʬ ,ʤʦʲ ʺʲʥʶʸʡ ʦʸʠ ʭʥʱʧʮ ʣʩʬ ,DCO


  ʺʩʰʥʫʮʡ ʲʱʰ ,ʣʬʩʬ ʡʠʥ ʩʥʹʰ ,25 ʯʡ ,ʤʦʲ/ʯʠʥʣʸ 'ʧʩʹ ʡʹʥʺ - ʩʣʤʮ ʣʰʤʮ
    .ʤʲʩʱʰʤ ʪʬʤʮʡ ʵʶʥʴʺʤʥ ʩʰʩʨʱʬʴʤ ʸʥʹʩʷʤ ʺʣʮʲʬ ʵʸʴʺʤ ,ʸ'ʶʰʨ ʸʩʶ ʬʲ
  ʯʲʨʮ ʬʹ ʤʩʤ ʵʥʶʩʴʤ .ʺʩʮʮʲʤ ʺʩʦʧʤ ʺʩʺʹʺ ʺʣʮʥʲ ʲʥʢʩʴʤ ʯʥʩʱʩʰ ʩʸʥʧʠʮ
                                               .ʸʺʬʥʠʮ ʮ"ʮ 82 ʸ"ʮʶʴʥ


                                      Á ÁÁ



  ʺʰʩʴʱʬ ʪʥʮʱ ʭʩʣʡʠʺʮ 2 ʩʣʩʡ ʤʢʥʤʰ ʺʴʥʺ ʺʸʩʱ ʵʥʶʩʴ :2002 ʸʡʮʡʥʰ 22
                    ʭʩʲʥʶʴ ʭʩʬʩʩʧ 4 ,ʺʩʢʥʣ ʩʴʥʧ ʬʥʮ ʭʩʤ ʬʩʧ


  ʨʰʣʥʨʱ ,19 ʯʡ ,ʯʥʰʧ ʺʩʡ ʡʹʥʺ ,ʩʸʶʮ ʣʮʧʮʥ 22 ʯʡ ,ʤʦʲ/'ʢʩʸʡ ʡʹʥʺ ,ʬʩʲʠʮʱʲ ʬʠʮ'ʢ
  ʥʨʩʩʹʥ ʵʴʰ ʩʸʮʥʧ ʤʩʬʲ ʥʱʩʮʲʤ ,ʭʩʢʩʩʣ ʬʹ ʤʷʱʧ ʥʡʰʢ ,ʺʩʮʠʬʱʩʠʤ ʤʨʩʱʸʡʩʰʥʠʡ 'ʠ ʤʰʹ
  ʠʬʹʮʥ ʭʸʡʲʬ ʠʸʷ ʸʥʡʣʤ ʺʥʥʶ ,ʭʩʤ ʬʩʧ ʸʥʡʣ ʤʣʥʷʰʬ ʵʴʷʥʤ ʪʫ ʡʷʲ .ʢʩʩʣʬ ʸʥʱʠʤ ʸʥʦʠʡ
  .ʤʸʩʱʤ ʪʥʺʡ ʭʩʣʡʠʺʮʤ ʩʰʹ ʭʮʶʲ ʥʶʶʥʴ ʤʦ ʡʬʹʡ .ʢʩʩʣʤ ʺʸʩʱʬ ʸʥʡʣʤ ʡʸʷʺʤ ʤʰʲʰ
  ʲʥʢʩʴʤ ʤʲʶʩʡʹ ʺʥʰʢʸʠʺʤʤ ʩʸʡʧ .ʲʥʢʩʴʬ ʺʩʡʮʥʴ ʺʥʩʸʧʠ ʬʨʰ ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ ʯʥʢʸʠ
  ʺʠ ʺʥʮʣʬ ʺʰʮ ʬʲ ʭʩʲʢʴʮ 2 ʲʥʢʩʴʡ ʥʴʺʩʹ ,ʥʰʩʺʥʧʥʫ ʬʹ ʺʩʮʩʤ ʺʥʬʩʲʴʤ ʺʸʢʩʹ ʺʠ ʥʸʩʫʤ
                .ʤʸʩʱʤ ʸʡʲʬ ʸʥʡʣʤ ʺʫʩʹʮʡ ʲʩʩʱʬ ʪʫʡʥ "ʤʬʩʢʸ" ʢʩʩʣ ʺʸʩʱʬ ʺʴʥʺʤ ʺʸʩʱ


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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




      ,ʭʩʬʹʥʸʩʡ 20 ʥʷ ʱʥʡʥʨʥʠʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʸʡʮʡʥʰ 21
                             ʭʩʲʥʶʴ 50 -ʥ ʭʩʢʥʸʤ 11

  ʲʥʢʩʴʤ ʩʰʴʬ ʭʩʹʣʥʧ 'ʱʮ ʸʡʲ ʸʹʠ ,ʠʸʥʣ ʡʹʥʺ - ʬʩʬʤ ʥʡʠ ʬʠʠʰ
  ʺʨʱʡʡ ʥʩʡʠ ʭʲ ʣʥʡʲʬ ʢʤʰ ,ʩʺʣ ,ʷʥʥʸ ,22 ʯʡ ,ʭʧʬ ʺʩʡʡ ʸʸʥʢʺʤʬ
  20 ʥʷ ʣʢʠ ʱʥʡʥʨʥʠʡ ʥʮʶʲ ʵʶʥʴ ʣʡʠʺʮʤ .ʭʧʬ ʺʩʡʡ ʯʹʩʤ ʷʥʹʡ ʺʥʷʸʩ
  ʺʥʸʩʹ .ʱ"ʠʮʧʤ ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʭʩʬʹʥʸʩʡ ʥʷʩʱʫʮ 'ʧʸʡ
  ʸʹʠ ,ʭʧʬ ʺʩʡʮ ʤʩʬʥʧʤ ʺʠ ,ʬ"ʤʶ ʭʲ ʡʬʥʹʮ ʲʶʡʮʡ ,ʳʹʧ ʩʬʬʫ ʯʥʧʨʡ
  ʭʩʴʱʥʰ ʭʩʸʩʫʡ ʭʩʬʩʲʴ 5 ,ʭʩʰʲʨʮʤ ʩʰʸʶʩ 2 ʥʸʶʲʰ ʲʶʡʮʤ ʺʸʢʱʮʡ .ʲʥʢʩʴʬ ʺʩʠʸʧʠ ʤʺʩʩʤ
  .ʺʥʣʡʠʺʤ ʩʲʥʢʩʴ ʲʶʡʬ ʥʱʩʥʢ ʸʹʠ ʭʩʸʩʲʶ 6 -ʥ ʭʩʣʡʠʺʮ ʱʥʩʢʡʥ ʭʩʰʲʨʮʤ ʺʰʫʤʡ ʥʷʱʲʹ
  ʩʬʲ ʬʹ ʥʣʥʣ ʯʡʥ ʯʲʨʮʤ ʩʰʸʶʩʮ ʣʧʠ) ʠʬʲʮ ʯʠʬʲ ʸʫʠʹ ʣʮʧʮ ʤʰʴ 20/11/02 ʪʩʸʠʺʡ
  ʹʷʡʥ ,ʭʧʬ ʺʩʡʡ ʱ"ʠʮʧ ʬʩʲʴ ,ʤʩʣʰʥʢ ʭʩʤʸʡʩʠʬ (ʭʧʬ ʺʩʡʡ ʱ"ʠʮʧʤ ʩʹʷʥʡʮ ʸʩʫʡ ,ʯʠʬʲ
  ʪʥʮʱ ʠʶʮʰʤ 'ʣʮʧʠ ʩʣʠʥʡ ʥʣʲʶ ʭʩʩʰʹʤ .ʭʩʬʹʥʸʩʬ ʲʢʴʮ ʺʸʡʲʤ ʺʡʥʨʬ ʥʩʬʠ ʳʸʨʶʤʬ ʥʰʮʮ
  ʤʸʥʧʹ ʺʥʬʮʲʺʤ ʺʴʩʬʧ ʤʫʥʺʡʥ ʤʸʥʧʹ ʺʩʷʹ ʥʣʩʡ ʠʹʥʰ ʣʮʧʮ ʸʹʠʫ ,ʭʧʬ ʺʩʡʬ
  30 ʳʥʬʧʡ .ʤʬʠ'ʢ ʺʩʡ ʯʥʥʩʫʬ ʺʫʬʬ ʥʬʧʤʥ ʣʡʠʺʮ ʭʩʩʰʹʤ ʥʹʢʴ ʤʸʶʷ ʤʫʩʬʤ ʸʧʠʬ .ʺʥʸʡʧʮʥ
  ʤʰʨʡʤ ʺʠ ʲʸʷʥ ʥʮʲ ʠʩʡʤʹ ʯʥʬʩʩʰʤ ʺʩʷʹʮ ʺʥʬʮʲʺʤʤ ʺʴʩʬʧ ʺʠ ʣʮʧʮ ʠʩʶʥʤ ,ʺʥʷʣ
  ʸʴʫʬ ʪʥʮʱ .ʵʴʰʤ ʺʸʥʢʧ ʺʠ ʬʩʲʴʤʬ ʣʡʠʺʮʬ ʲʩʸʴʺ ʠʬ ʩʫ ʤʸʨʮʡ ʤʴʩʬʧʤ ʬʹ ʺʩʮʩʰʴʤ
  ʪʹʮʡ ʣʡʠʺʮʤ ʯʬ ʤʡ ʤʸʲʮʡ ʣʮʧʮ ʯʩʧʡʤ ,ʤʬʩʢ ʺʰʥʫʹ ʺʥʬʢʸʮʬ ʠʶʮʰʤ ,ʺʠʴʸʠʹ
  ʭʩʬʹʥʸʩʡ ʭʧʰʮ ʺʩʩʸʷ ʯʥʥʩʫʬ ʲʱʥʰʤ ʱʥʡʥʨʥʠ ʬʲ ʣʡʠʺʮʤ ʤʬʲ ʸʷʥʡʡ ʺʸʧʮʬ .ʤʬʩʬʤ
                                                                           .ʵʶʥʴʺʤʥ


                                      Á ÁÁ



   ʺʸʥʢʧ ʩʣʩʸʹ ʤʩʬʲʥ ʲʥʢʩʴʬ ʠʶʩʹ ʣʡʠʺʮ ʬʡʧʮ ʺʴʥʢ ʩʥʬʩʢ :2002 'ʡʥʰ 11
                    ʭʩʲʢʴʰ ʠʬʬ ,ʦʸʠ ʸʡʲʮʬ ʪʥʮʱ ʵʴʰ

  ʸʡʲʮʡ ʺʩʬ"ʤʶ ʤʣʮʲ ʣʢʰʫ ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʶʡʬ ʠʶʩ ,23 ʯʡ ,ʭʩʸʶʮ ʡʹʥʺ - ʯʩʰʱʧ ʣʩʩʱ
  ʤʱʩʰ ʺʥʫʸʲʤ ʩʴ ʬʲ .ʤʲʥʶʸʡ ʩʮʠʬʱʠ ʣʠʤ’ʢʤ ʯʥʢʸʠ ʺʰʥʥʫʠʡ ,ʤʲʥʶʸʤ ʯʥʴʶʡ ʭʩʬʲʥʴ
  ʤʬʷʺʮ ʤʠʶʥʺʫʥ ʯʥʰʧ ʬʧʰʬ ʤʣʩʸʩʡʹ ʬʩʺʡ ʪʡʺʱʤ ,ʺʩʸʥʧʠʤ ʤʣʮʲʤ ʯʥʥʩʫʬ ʲʩʢʤʬ ʣʡʠʺʮʤ
  'ʮ 350 -ʫ ʬʹ ʷʧʸʮʡ ʤʠʶʮʰ ʥʺʴʥʢ .ʭʥʷʮʡ ʥʢʸʤʥ ʯʲʨʮʤ ʬʲʴʥʤ ʣʩʩʱ ʬʹ ʥʺʬʩʴʰ ʥʠ ʯʲʨʮʡ
  ʨʸʱ ʤʩʤ ʥʹʠʸ ʬʲ .ʯʥʮʩʸʥ ʵʴʰ ʺʸʥʢʧ ʩʣʩʸʹ ʤʩʬʲʹʫ ʦʸʠ ʬʰʩʮʸʨʡ ʺʩʸʥʧʠ ʤʣʮʲʬ ʺʩʮʥʸʣ
                                                   ."ʭʩʬʹʥʸʩ ʺʥʢʥʬʴ" ʡʥʺʩʫ ʥʩʬʲ ʸʥʧʹ



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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




                                        Á ÁÁ



          ,ʠʡʱ ʸʴʫʡ "ʭʩʸʲ" ʯʥʩʰʷʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 'ʡʥʰ 4
                               ʭʩʲʥʶʴ 37 -ʥ ʭʩʢʥʸʤ 2


  ʤʮʥʷʡ ʥʮʶʲ ʵʶʥʴ ,ʷʥʥʸ ,18 ʯʡ ,ʭʫʹ/ʤʨʠʬʡ ʸʴʫ ʡʹʥʺ - ʤʧʬʠʥʶ ʣʬʠ'ʧ
  ʺʱʩʰʫʡ ʥʺʧʴʹʮ ʡʥʸʷ ʺʥʮ ʬʲ ʤʮʷʰʫ ,ʱ"ʴʫʡ "ʭʩʸʲ" ʯʥʩʰʷ ʬʹ ʤʰʥʹʠʸʤ
  ʺʥʩʸʧʠ .ʭʫʹʮ ʧ"ʺʴ ʺʥʰʢʸʠʺʤ ʩʣʩʡ ʲʶʥʡ ʲʥʢʩʴʤ .ʤʨʠʬʡ .ʴ.ʮʬ ʠʡʶʤ
  ,ʧʬʠʶ .ʩʰʩʷ ʧʬʠʶ ʬʹ ʥʺʰʥʥʫʠʡ "ʺʥʸʥʧʹʤ ʺʥʲʥʸʦʤ" ʯʥʢʸʠ ʩʣʩ ʬʲ ʤʬʨʩʰ
  ʥʧʥʬʩʹʥ ʥʸʥʺʩʠʡ ʥʺʸʩʷʧʡ ʤʣʥʤʥ ʸʶʲʰ ,ʩʠʡʶ ʭʩʦʰʺ ʬʩʲʴ ,ʬʩʬʷ ʸʴʫ ʡʹʥʺ
                                               .ʲʥʢʩʴʬ ʤʧʬʠʥʶ ʣʬʠ'ʧ ʬʹ


                                        Á ÁÁ



         ,ʬʠʩʸʠʬ ʤʱʩʰʫʡ ʷʬʣ ʺʰʧʺʡ ʬʡʧʮ ʵʥʶʩʴ :2002 ʸʡʥʨʷʥʠ 27
                              ʭʩʲʥʶʴ 17 -ʥ ʭʩʢʥʸʤ 3


  ,ʧʠ'ʢʰʬʠ ʺʨʩʱʸʡʩʰʥʠʡ ʭʩʡʹʧʮ ʺʥʰʫʺʬ ʨʰʣʥʨʱ ,19 ʯʡ ,ʭʫʹ ʡʹʥʺ - ʩʮʠʨʱʥʡ ʣʮʧʮ
  ʤʰʧʺʡ ʥʩʤʹ ʭʩʬʩʩʧʥ ʭʩʧʸʦʠ ,ʵʴʰ ʺʸʥʢʧ ʥʴʥʢ ʬʲ ʠʹʥʰ ʠʥʤʹʫ ʬʠʩʸʠʡ ʷʬʣʤ ʺʰʧʺʬ ʲʩʢʤ
                                                                   .ʬʡʧʮʫ ʥʺʥʠ ʥʣʩʹʧʤ
  ʤʠʸʰʤ ʬʫʫ ,ʵʶʥʴʺʤ ʤʬʤʥ ʣʡʠʺʮʡ ʭʤʮ ʣʧʠ ʤʸʩ ʥʩʬʲ ʨʬʺʹʤʬ ʭʤʩʺʥʰʥʩʱʩʰ ʪʬʤʮʡ
  ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʥʡʢ ʬʲ ʠʹʰʹ ʵʴʰʤ ʺʸʥʢʧ ʺʠ ʬʩʲʴʤʬ ʣʡʠʺʮʤ ʷʩʴʱʤ
                                   . ʭʫʹʡ ʱ"ʠʮʧʤ ʺʩʺʹʺ ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ ,ʱ"ʠʮʧʤ


                                        Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




      ʣʥʮʶ ʺʴʥʺ ʺʩʰʥʫʮʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ 2 ʵʥʶʩʴ :2002 ʸʡʥʨʷʥʠ 21
          ʭʩʲʥʶʴ 48 -ʥ ʭʩʢʥʸʤ 14 ,ʸʥʫʸʫ ʺʮʥʶ ʣʩʬ 841 ʥʷ ʱʥʡʥʨʥʠʬ


  ,ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ ʩʬʩʲʴʥ ʯʩʰ'ʢ ʩʡʹʥʺ ʭʤʩʰʹ ,18 ʯʡ ,ʸʮʱʠ ʳʸʹʠʥ 19 ʯʡ , ʯʩʰʱʧ ʣʮʧʮ
  .ʭʮʶʲ ʥʶʶʥʴʥ 841 'ʱʮ ʣʢʠ ʱʥʡʥʨʥʠʬ ʥʣʮʶʰ ,ʤʸʣʧʬ ʥʣʩʢʮ ʺʮʥʶ ʯʥʥʩʫʮ ʺʴʥʺ ʡʫʸʡ ʥʲʱʰ
  ʣʠʤʩ'ʩʢʤ ʺʩʺʹʺ ʤʲʶʩʡ ʲʥʢʩʴʤ ʺʠ .ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ
                      .ʩʱʠʡʥʨ ʣʩʲʱʥ ʤʧʬʠʥʶ ʣʠʩʠ ʬʹ ʭʰʥʰʫʺʥ ʭʺʰʥʥʫʠʡ ʯʩʰ'ʢʡ ʩʮʠʬʱʠʤ
  ʯʢʸʠʬ ʩʱʠʡʥʨʮ ʹʷʩʡ ʤʧʬʠʥʶ .ʤʧʬʠʥʶʬ ʭʸʩʡʲʤ ʸʹʠ ,ʩʱʠʡʥʨʬ ʥʸʡʲʥʤ ʭʩʣʡʠʺʮʤ ʺʥʮʹ
  ʭʲ ʡʫʸʤ ʸʡʲʥʤ ʯʫʮ ʸʧʠʬ .ʵʴʰ ʩʸʮʥʧʡ ʥʺʥʠ ʱʩʮʲʤ ʸʹʠ ,ʺʠʣʸʠ'ʢ ʱʰʠʬ ʥʸʩʡʲʤʬʥ ʡʫʸ
  ʸʹʠ ,ʤʧʬʠʥʶ ʬʹ ʥʺʩʡʬ ʭʧʷʬʥ ʭʩʣʡʠʺʮʤ ʩʰʹ ʭʲ ʹʢʴʰ ʩʱʠʡʥʨ .ʯʩʰ'ʢʡ ʯʱʧʮʬ ʵʴʰʤ ʩʸʮʥʧ
  ʩʱʠʡʥʨʮ ʹʷʩʡʥ ʯʰʫʥʺʮʤ ʲʥʢʩʴʤ ʺʠʸʷʬ ʭʩʣʢʡ ʥʰʷʩʩʹ ʺʰʮ ʬʲ ʳʱʫ ʭʩʣʡʠʺʮʤ ʩʰʹʬ ʯʺʰ
  ʩʮʠʬʱʠ ʣʠʤ’ʢʤʥ ʤʬʬʠ ʸʡʣʡ ʺʥʡʥʺʫ ,ʺʥʠʮʱʩʱ ,ʷʹʰ ,ʷʩʸ ʷʩʺ ʺʸʧʮʤ ʭʥʩ ʩʸʤʥʶʡ ʠʩʡʤʬ
  ʤʧʬʠʥʶ ʺʠ ʩʱʠʡʥʨ ʲʩʱʤ ʺʸʧʮʤ ʭʥʩ ʩʸʤʥʶʡ .ʺʥʠʮʱʩʱʤʥ ʭʩʦʥʸʫʤ ʺʷʡʣʤʬ ʴʩʩʨʥʬʱ ʯʫʥ
  ,ʤʩʩʸʩʲʤ ʸʥʦʠʬ ʭʩʤʫ ʺʥʰʥʬʧ ʭʲ ʷʥʸʩ ʡʫʸʡ ,ʭʩʹʣʧʤ ʭʤʩʣʢʡʡ ʭʩʹʥʡʬʤ ,ʭʩʣʡʠʺʮʤ ʩʰʹʥ
  ʩʮʠʬʱʠ ʣʠʤʩʢ ʬʩʲʴ ,ʺʠʣʠʸʢ ʣʮʧʮ ʸʹʠʫ ʥʫʸʣʬ ʠʶʩ ʲʥʢʩʴʤ .ʵʴʰʤ ʸʮʥʧ ʺʠ ʥʬʡʩʷ ʭʹ
                        .ʪʸʣʤ ʺʧʩʺʴʡ ʲʩʩʱʮʥ ʭʩʣʡʠʺʮʤ ʺʠ ʬʩʡʥʮ ,ʤʩʺʸʠʧ ʬʠ ʺʬʩʱʮ


                                      Á ÁÁ



    ʵʴʰ ʺʸʥʢʧ ʵʶʥʴʬ ʤʱʩʰʹ ʺʲʡ ʣʡʠʺʮ ʬʡʧʮ ʺʣʩʫʬ :2002 ʸʡʥʨʷʥʠ 11
                ʭʩʲʢʴʰ ʠʬʬ ,ʡʩʡʠ ʬʺ ʳʥʧʡ ʺʬʩʩʨʡ ʤʴʷ ʺʩʡʡ


  ʤʴʷʬ ʡʸʲʤ ʺʥʲʹʡ ʲʩʢʤ ,23 ʯʡ ,ʤʩʬʩʷʬʷ/ʤʩʥʠʦ ʡʹʥʺ - ʩʣʷʥʮ ʺʴʠʠʸ
  ʤʸʺʥʠ ʤʱʩʰʫʡ ʧʨʡʠʮʤ ʩ"ʲ ʤʫʸʲʰʹ ʤʷʩʣʡ ʺʲʡ .ʡʩʡʠ-ʬʺʡ "ʺʬʩʩʨʤ"
  ʧʨʡʠʮʤ ʺʥʷʲʶ ʸʥʠʬ .ʧʥʸʡʬ ʬʧʤ ʸʹʠ ,ʣʡʠʺʮʤ ʬʹ ʥʴʥʢ ʬʲ ʵʴʰʤ ʺʸʥʢʧ
  ʯʥʩʱʩʰ .ʥʺʥʠ ʥʸʶʲʥ ʣʡʠʺʮʤ ʩʸʧʠ ʺʩʠʷʩʸʮʠʤ ʺʥʸʩʸʢʹʤ ʩʧʨʡʠʮ ʥʴʣʸ
  ʺʠ ʥʸʢʩʹʥ ʥʨʬʷʹ ,ʤʬʬʠʮʸʡ ʱ"ʠʮʧʤ ʺʩʺʹʺ ʩʣʩ ʬʲ ʯʥʥʫʥʠ ʲʥʢʩʴʤ
                                                                         .ʣʡʠʺʮʤ
  ʸʴʫ ʡʹʥʺ ,ʸʩʩʲʦ ʳʸʹʠ ,ʩʬʠʸʹʩ ʩʡʸʲ ʢʤʰ ʺʸʦʲʡ ʤʺʹʲʰ ʡʩʡʠ ʬʺʬ ʣʡʠʺʮʤ ʬʹ ʥʺʬʡʥʤ
                                                              .ʤʬʥʧʫ .ʦ.ʺ ʬʲʡ ,ʡʷʲ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ


                                       Á ÁÁ




   ʤʷʥʷ ʺʮʥʶʡ ʱʥʡʥʨʥʠ ʺʰʧʺ ʣʩʬ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʸʡʥʨʷʥʠ 10
                         ʭʩʲʥʶʴ 20 -ʥ ʺʧʠ ʤʢʥʸʤ ,ʤʬʥʷ


  ʺʥʬʲʬ ʤʱʩʰ ,4 -ʬ ʡʠʥ ʩʥʹʰ ,31 ʯʡ ,ʤʩʬʩʷʬʷ ʡʹʥʺ - ʣʠʮʧ ʷʩʴʸ
  ʤʩʩʬʲʤ ʯʥʩʱʩʰ ʪʬʤʮʡ ʲʶʴʰ ,ʯʬʩʠ-ʸʡ ʳʬʧʮʬ ʡʥʸʷ "ʯʣ" ʱʥʡʥʨʥʠʬ
  ʠʥʤ ʩʫ ʥʰʩʧʡʤ ʸʹʠʫ . ʠʴʥʸʥ ʱʥʡʥʨʥʠʤ ʢʤʰ ʩ"ʲ ʭʥʷʮʡ ʬʴʥʨʥ ʱʥʡʥʨʥʠʬ
  ʵʶʥʴʥ ʷʬʣʤ ʺʰʧʺ ʯʥʥʩʫʬ ʵʸ ,ʧʥʸʡʬ ʣʡʠʺʮʤ ʤʱʩʰ ,ʵʴʰ ʺʸʥʢʧ ʠʹʥʰ
  ʣʢʰʥ ʥʣʢʰ ʴ"ʺʹʡ ʺʥʣʹʧ ʲʷʸ ʬʲ ʲʥʢʩʴʤ ʲʥʶʩʡʬ ʱʩʥʢ ʣʡʠʺʮʤ .ʥʮʶʲ
  ʱ"ʠʮʧʤ ʹʠʸ ʬʹ ʤʧʴʹʮ ʡʥʸʷ ʤʩʤ ʣʡʠʺʮʤ .ʤʧʴʹʮʤ ʭʹ ʺʠ ʺʥʷʰʬ ʺʰʮ ʬʲʥ ʥʺʧʴʹʮ
  ʦʲ ʩʣʥʣʢ ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .(ʢʥʸʤ) ʣʠʮʧ ʯʠʮʧʸ-ʠʲ ,ʤʩʬʩʷʬʷʡ ʸʡʲʹʬ ʩʠʡʶʤ
                          .ʤʩʬʩʷʬʷʡ ʱ"ʠʮʧʤ ʺʩʺʹʺ ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ .ʭʠʱʷ ʬʠ ʯʩʣʬʠ


                                       Á ÁÁ



   -ʬʺʡ ʩʡʰʬʠ 'ʧʸʡ 4 ʥʷ ʱʥʡʥʨʥʠʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʸʡʮʨʴʱ 19
                          ʭʩʲʥʶʴ 71 -ʥ ʭʩʢʥʸʤ 6 ,ʡʩʡʠ


  ʩ"ʲ ʱʩʥʢ ,2000 ʩʬʥʩʡ ʬʠʸʹʩʬ ʲʩʢʤ ,23 ʯʡ ,ʥʠʶʥʮʡ ʩʰʣʸʩ ,ʤʬʬʠʮʸ ʡʹʥʺ - ʣʠʣʸ ʣʠʩʠ
  ʩʠʸʧʠʤʥ ʤʩʬʥʧʤ ʩʠʸʧʠ .ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʥʶʩʡ ʪʸʥʶʬ ʤʬʬʠʮʸʡ ʺʩʠʡʶʤ ʱ"ʠʮʧʤ ʺʩʺʹʺ
  ,25 ʯʡ ,ʧʺʩʸʹ ʣʥʮʧʮ ʣʠʮʧ ʣʥʮʧʮ ʤʩʤ ʬʲʥʴʬ ʭʩʲʥʢʩʴʤ ʺʠʶʥʤʥ ʭʩʣʡʠʺʮʤ ʱʥʩʢ ʬʲ
  ʭʲʨʮ ʭʩʨʰʣʥʨʱʤ ʺʲʥʰʺʡ ʩʦʫʸʮ ʬʩʲʴʥ ʺʩʦ ʸʩʡ ʺʨʩʱʸʡʩʰʥʠʡ ʨʰʣʥʨʱ ,ʤʨʠʩ ʡʹʥʺ
  ,ʤʬʬʠʮʸʡ ʱ"ʠʮʧʤ ʺʣʷʴʮ ʤʣʮʲ ʺʩʺʹʺʤ ʹʠʸʡ .ʤʩʮʠʬʱʠ ʤʬʺʥʫʤ - 'ʰʥʠʡ ʱ"ʠʮʧʤ
  ʩ"ʴʲ ʤʬʬʠʮʸʡ ʣʡʠʺʮʤ ʭʲ ʹʢʴʰ ʧʺʩʸʹ .ʭʩʴʱʥʰ ʺʥʣʡʠʺʤ ʩʲʥʢʩʴ ʲʥʶʩʡ ʬʲ ʺʩʠʸʧʠʹ
  ʺʩʲʶʡʮ ʤʸʩʣʬ ʣʡʠʺʮʤ ʸʡʲʥʤ ʲʥʢʩʴʤ ʭʸʨ ʭʩʩʮʥʩ .ʺʩʺʹʺʬ ʥʱʩʩʢʥ ʬʡʩʷʹ ʺʥʩʧʰʤ
  ʭʩʣʢʡ ʸʧʥʱ ,ʸʩʩʲʦ ʳʸʹʠ ʥʲʩʱʤ ʤʸʩʣʤʮ .ʵʴʰʤ ʺʸʥʢʧʡ ʹʮʥʧʥ ʭʬʥʶ ,ʧʺʩʸʹ ʩ"ʲ ʭʩʬʹʥʸʩʡ
  ʲʥʢʩʴʤ ʤʥʥʺʮ ʩʡʢʬ ʥʺʥʠ ʤʧʰʮ ʠʥʤʹ ʪʥʺ ʩʡʰʬʠ 'ʧʸʡ ʲʥʢʩʴʤ ʭʥʷʮ ʬʠ ,ʺʩʮʬʹʥʸʩ ʦ"ʺ ʬʲʡ
                                                    .(ʱʥʡʥʨʥʠʤ ʪʥʺʡ ʵʥʶʩʴ) ʸʧʡ ʥʺʥʠ


                                       Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




   ʬʠ ʭʥʠʬ ʪʥʮʱ ʤʸʨʹʮ ʺʣʩʩʰ ʣʩʬ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʸʡʮʨʴʱ 18
                         ʭʩʲʥʶʴ 2 -ʥ ʢʥʸʤ ʸʨʥʹ ,ʭʧʴ


  ʥʮʶʲ ʵʶʥʴ ,ʷʥʥʸ ,21 ʯʡ ,ʯʩʰ'ʢ/ʤʹʡ ʬʠ ʸʩʡ ʡʹʥʺ - ʤʸʣʠʥ'ʢ ʷʥʦʸʮ
  ʣʢʰʫ ʬʲʴʥʤʥ ʷʩʺʡ ʧʰʥʤ ʯʲʨʮʤ .ʭʧʴ ʬʠ ʭʥʠ ʺʮʥʶʡ ʱʥʡʥʨʥʠ ʺʰʧʺʡ
  ʬʲ ʭʤʬ ʸʱʮʰ ʤʡ ʯʥʴʬʨ ʺʧʩʹ ʥʬʡʩʷʹ ʸʧʠʬ ʭʥʷʮʬ ʥʲʩʢʤ ʸʹʠ ʭʩʸʨʥʹ
  ʣʠʤ’ʢ ʺʥʰʢʸʠʺʤ ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ .ʺʮʥʶʡ ʣʮʥʲʤ ʣʡʠʺʮʫ ʣʥʹʧ
                                             .ʤʩʨʠʡʷ ʸʥʦʠʡ ʩʮʠʬʱʠ



                                      Á ÁÁ



    ʥʲʩʱʤʹ ʩʬʠʸʹʩ ʩʡʸʲ ʬʹ ʺʩʰʥʫʮʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʨʱʥʢʥʠ 6
                          ʣʧʠ ʲʥʶʴ ,ʭʧʴ ʬʠ ʭʥʠ ʣʩʬ


  ,ʸʹʡ ʺʥʰʧʡ ʣʡʲ ,ʷʥʥʸ ,19 ʯʡ ,ʭʫʹ/ʸʫʱʲ ʸʴʫ ʡʹʥʺ - ʸʴʶʠ ʣʮʧʮ
  .ʭʧʴ ʬʠ ʭʥʠ ʣʩʬ ,ʺʸʶʰ ʡʹʥʺ ,ʩʬʠʸʹʩ ʩʡʸʲ ʬʹ ʥʡʫʸ ʪʥʺʡ ,ʵʶʥʴʺʤ
  ʭʩʦʰʺ ʬʹ ʤʹʣʧ ʤʩʬʥʧ) ʸʩ'ʨʰʬʠ ʩʣʥʣʢ ʩʣʩ ʬʲ ʤʧʷʬʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ
  ʥʺʧʴʹʮ ʩʣʩ ʬʲ ʬʲʴʥʤʹ ʣʡʫ ʵʧʬ ʸʧʠʬ ʺʠʦ ʤʲʣʥʤʡ ʥʠʶʩ ʸʹʠ ,(ʧ"ʺʴ
  ʸʴʱʮ ʤʦʮ ʥʺʩʡʮ ʸʣʲʰ ʤʬʤʹ ʸʧʠʬ ,ʥʬʸʥʢʡ ʤʬʲ ʤʮ ʺʲʣʬ ,ʣʡʠʺʮʤ ʬʹ
     .ʭʫʹʡ ʧ"ʺʴʤ ʺʩʺʹʺ ʩʹʠʸʮ ,ʪʥʹʸʮ ʣʠʸʮʥ ʩʸʥʢʲ ʩʬʲ ʥʩʤ ʣʡʠʺʮʤ ʬʹ ʥʩʧʬʹʮ .ʭʩʮʩ


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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



       ,ʯʥʸʩʮ ʸʤ ʺʮʥʶʡ ʱʥʡʥʨʥʠʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʨʱʥʢʥʠ 4
                             ʭʩʲʥʶʴ 52 -ʥ ʭʩʢʥʸʤ 9

  ʥʣʥʣ ʬʶʠ ʸʺʩʤ ʠʬʬ ʣʡʲ ,ʥʠʶʥʮʡ ʩʰʣʸʩ ,20 ʯʡ ,ʭʫʹ/ʯʩʷʸʥʡ ʡʹʥʺ - ʤʣʠʮʧ ʣʤʠʢʮ/ʣʠʤ'ʢ
  ʩʬʠʸʹʩ ʧʸʦʠ ,ʩʸʫʡ ʭʩʤʠʸʡʠ ʣʮʧʮ ʭʩʤʠʸʡʠ ʺʠ ʸʩʫʤ ʥʺʣʥʡʲ ʺʸʢʱʮʡ .ʬʮʹʧ ʺʥʣʥʡʲʡ
  ʬʠ ʲʥʢʩʴʤ ʺʠʶʥʤʬ ʭʩʴʺʥʹ ʥʩʤ ʩʸʫʡ ʯʩʱʠʩ ʡʥʨʤ ʥʸʡʧ ʭʲ ʣʧʩ ʸʹʠ ʤʰʲʡ ʸʴʫʤ ʡʹʥʺ
  ʩʮʥʧʺʬ ʤʸʦʧ ʹʸʥʢ ,ʬʠʸʹʩʡ ʺʩʷʥʧ ʩʺʬʡ ʤʩʤʹ ʲʷʸ ʬʲ ʸʡʲʡ ʸʥʶʲ ʤʩʤ ʣʡʠʺʮʤ .ʬʲʥʴʤ
  ʣʡʠʺʮʤ ʸʴʩʱ ʤʬʠ ʭʩʸʹʷ ʺʸʢʱʮʡ ,ʭʩʤʠʸʡʠ ʭʲ ʩʰʥʴʬʨ ʸʹʷʡ ʣʥʮʲʬ ʪʩʹʮʤ ʪʠ ʴ"ʹʸʤ
  ʬʹ ʥʲʥʩʱ ʺʠ ʹʷʩʡ ʣʡʠʺʮʤ .ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʶʡʬ ʥʰʥʶʸʡ ʩʫʥ ʱ"ʠʮʧʬ ʱʩʥʢ ʩʫ ʭʩʤʠʸʡʠʬ
  ʯʥʥʩʫʬ ʣʡʠʺʮʤʥ ʯʩʱʠʩ ,ʭʩʤʠʸʡʠ ʥʠʶʩ ʲʥʢʩʴʤ ʸʷʥʡʡ .ʭʥʷʮʬ ʭʥʷʮʮ ʥʺʸʡʲʤʡ ʭʩʤʠʸʡʠ
  "ʸʩʶ ʧʺʥʴ"ʫ ʩʮʣʷ ʡʫʸʡ ʭʩʤʠʸʡʠʹʫ ,ʭʩʡʸ ʭʩʬʩʩʧ ʭʩʲʱʥʰ ʥʡ ʱʥʡʥʨʥʠ ʥʷ ʸʥʧʡʬ ,ʬʠʩʮʸʫ
  ʭʩʣʢʡ ʹʡʬʥ ʭʩʣʢʡ ʣʡʠʺʮʤ ʳʩʬʧʤ ʤʲʩʱʰʤ ʪʬʤʮʡ .ʥʩʸʥʧʠʮ ʡʫʸʡ ʣʡʠʺʮʤʥ ʯʩʱʠʩʥ
  ʤʹʥʬʹʤ ʥʲʱʰ ʬʠʩʮʸʫʡ ʯʥʧʨʡ ʺʥʧʥʫ ʺʥʠʶʮʤ ʬʹʡ .ʩʬʠʸʹʩ ʬʹ ʤʠʸʮ ʥʬ ʺʥʥʹʬ ʭʩʸʥʮʠʤ
  ʣʢʠ ʱʥʡʥʨʥʠ ʬʲ ʤʬʲ ,ʸʥʦʹ ʺʮʥʶʡ ʣʸʥʤ ʣʡʠʺʮʤ .ʱʥʡʥʨʥʠʤ ʬʹ ʳʥʱʩʠʤ ʺʥʰʧʺʮ ʺʧʠ ʯʥʥʫʬ
  ʥʩʬʲ ʤʩʤʹ ʵʴʰʤ ʯʲʨʮ ʺʠ ʬʩʲʴʤ      ʯʥʸʩʮ ʺʮʥʶʬ ʱʥʡʥʨʥʠʤ ʲʩʢʤʹʮʥ ,ʺʴʶʬ 361 'ʱʮ
                                                                         .ʵʶʥʴʺʤʥ


                                      Á ÁÁ



          ,ʭʩʬʹʥʸʩʡ ʭʩʠʩʡʰʤ 'ʧʸʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʩʬʥʩ 30
                                 ʭʩʲʥʶʴ 5

  ʪʥʺʡ ʯʲʨʮ ʵʶʥʴ ,ʯʥʫʩʺ ʣʩʮʬʺ ,17 ʯʡ ,ʤʬʠ'ʢ ʺʩʡ ʡʹʥʺ - ʳʱʥʩ ʭʦʠʧ
  ʺʥʩʸʧʠ .ʭ-ʩʡ ʭʩʠʩʡʰʤ 'ʧʸʡ "ʬʴʠʬʴʤ ʦʫʸʮ"ʬ ʪʥʮʱ ,ʥʴʥʢ ʬʲ ʠʹʰʹ ʷʩʺ
  ʣʥʮʧʮʥ ʭʩʸʫ ʠʲ ʠʠʬʲ .ʠʶʷʠ ʬʠ ʩʬʬʧ ʩʣʥʣʢ ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ
  ʭʩʠʸʧʠʤ ʤʬʠ ʭʤ ʩʫ ʩʬʬʫ ʯʥʧʨʩʡ ʺʥʸʩʹʡ ʭʤʩʺʥʸʩʷʧʡ ʥʣʥʤ ʹʠʮʤ
  ʤʰʴ ʯʥʸʧʠʤʹ ʸʧʠʬ ,ʲʥʢʩʴʬ    ʣʡʠʺʮʤ ʬʹ ʥʺʧʩʬʹʬʥ ʯʲʨʮʤ ʺʰʫʤʬ
                                 .ʺʥʣʡʠʺʤ ʲʥʢʩʴʬ ʥʧʬʹʩ ʩʫ ʥʰʮʮ ʹʷʩʡʥ ʭʩʸʫ ʠʲ ʠʠʬʲʬ


                                      Á ÁÁ




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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



   ,ʡʩʡʠ-ʬʺʡ ʯʰʠʹ ʤʥʥʰ ʡʥʧʸʣʮʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ 2 ʵʥʶʩʴ :2002 ʩʬʥʩ 17
                             ʭʩʲʥʶʴ 33 – ʥ ʭʩʢʥʸʤ 5


  19 ʯʡ ,ʸʫʱʲ ʸʴʫ ʡʹʥʺ ,ʤʬʬʠʨʲ ʣʮʧʮʥ 18 ʯʡ ,ʭʫʹ/ʤʨʠʬʡ ʸʴʫ ʡʹʥʺ ,ʩʢʠʰ ʭʩʤʸʡʠ
  ,ʯʰʠʹ ʤʥʥʰ ʬʹ ʡʥʧʸʣʮʤ ʺʬʩʧʺʡ ,ʩʰʹʤʮ ʣʧʠ ʤʷʣ ʩʶʧʫ ʬʹ ʬʣʡʤʡ ʢʸʥʣʮʡ ʥʶʶʥʴʺʤ
  ʭʫʹʮ ʧ"ʺʴ ʺʥʰʢʸʠʺʤ ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ .ʩʰʹʤʮ ʣʧʠʤ 'ʮ 30 ʷʧʸʮʡ ʭʩʣʮʥʲ ʭʤʹʫ
  ʥʸʣʧʥʤʥ ʥʱʩʥʢ ʭʩʲʢʴʮʤ ."ʸʩʦʰ ʬʠ ʩʣʥʣʢ" ʭʹʡ ʲʥʢʩʴʬ ʺʥʩʸʧʠ ʬʨʰ ʸʹʠ ʩʸʥ'ʢʲ ʩʬʲ ʺʬʡʥʤʡ
  ʥʲʰ ʭʩʲʢʴʮʤ .ʭʩʰʲʨʮʤ ʺʠ ʥʷʴʩʱ ʩʮʠʬʱʠ ʣʠʤ’ʢʤ ʩʬʩʲʴ .ʧ"ʺʴʤ ʩʬʩʲʴ ʩʣʩ ʬʲ ʬʠʸʹʩʬ
  ʬʺʬ ʭʺʲʱʤ .ʠ"ʺ ʯʥʥʩʫʬ ʥʠʶʩʩ ʭʸʨ ʺʥʲʹ 5 -ʫ ʭʧʴ ʬʠ ʭʥʠ ʸʥʦʠʡ ʥʤʹʥ ʯʩʰ'ʢ ʸʥʦʠʬ ʭʫʹʮ
  ʺʥʸʩʹʡ ʥʺʸʩʷʧʡ ʸʴʩʱ ʸʹʠ ,ʥʴʩ ʡʹʥʺ ,ʭʩʧ"ʡʹ ʲʩʱʮ ,ʸʥʹʠʲ ʣʬʠʧ ʩʣʩ ʬʲ ʤʲʶʥʡ ʡʩʡʠ
  ʥʩʩʧʬ ʹʹʧ ʬʹʡ ʭʬʥʠ ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʶʡʬ ʭʺʰʥʥʫʡ ʩʫ ʥʬ ʥʸʮʠ ʭʩʩʰʹʤ ʩʫ ʩʬʬʫ ʯʥʧʨʩʡ
                                               .ʹʩʠʬ ʪʫ ʬʲ ʸʴʩʱ ʠʬʥ ʲʥʢʩʴʤ ʭʥʷʮʬ ʭʲʩʱʤ


                                       Á ÁÁ



        ,ʭʩʬʹʥʸʩʡ ʺʩʺʴʸʶʤ ʤʲʡʢʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʩʰʥʩ 19
                              ʭʩʲʥʶʴ 39 – ʥ ʭʩʢʥʸʤ 7


  ʤʲʡʢʤ ʺʮʥʶʡ ʤʲʱʤ ʺʰʧʺʡ ʥʮʶʲ ʵʶʥʴ ,ʭʩʦʰʺ ʬʩʲʴ ,17 ʯʡ ,ʭʫʹ ʡʹʥʺ - ʤʣʠʥʲ ʣʠʠʱ
                     .ʭʫʹʡ ʧ"ʺʴʤ ʬʹ ʸʥʸʨʤ ʺʩʺʹʺ ʩʣʩ ʬʲ ʯʥʥʫʥʠ ʲʥʢʩʴʤ .ʭ-ʩʡ ʺʩʺʴʸʶʤ


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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



     ,ʭʩʬʹʥʸʩʡ ʤʬʩʢ ʺʰʥʫʹʡ ʱʥʡʥʨʥʠʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʩʰʥʩ 18
                            ʭʩʲʥʶʴ 50 – ʥ ʭʩʢʥʸʤ 19


  ʤʫʬʤ ʩʣʥʮʩʬʡ ʩʰʹ ʸʠʥʺʬ ʨʰʣʥʨʱ ,22 ʯʡ ,ʭʫʹ ʡʹʥʺ - ʬʥ'ʲʬʠ ʣʮʧʮ
  ʳʱʥʩ ʡʥʣ ʡʥʧʸʡ 32 'ʱʮ ʣʢʠ ʱʥʡʥʨʥʠʡ ʥʮʶʲ ʵʶʥʴ ,ʧʠ'ʢʰʬʠ ʺʨʩʱʸʡʩʰʥʠʡ
  ʺʩʺʹʺ ʩʣʩ ʬʲ ʸʹʫʥʤʥ ʱʩʥʢ ,ʸʺʠʰ ʣʡʠʺʮʤ .ʭʩʬʹʥʸʩʡ ʤʬʩʢ ʺʰʥʫʹʡ
  ʺʠ ʠʩʶʥʤʬ ʭʩʬʹʥʫ ʺʥʰʥʩʱʩʰ ʩʰʹ ʸʧʠʬ .ʯʥʸʮʥʹʡ ʺʩʠʡʶʤ ʱ"ʠʮʧʤ
  ʱʠ"ʮʧʤ ʺʩʺʹʺ ʩʹʠʸʮ) ʯʠʥʣʲ ʱʩʩʷ ʬʹ ʥʨʥʸʩʩ ʸʧʠʬʥ ʲʥʢʩʴʬ ʣʡʠʺʮʤ
  ʺʲʤ ʤʺʥʠʡ ʣʮʲ ʸʹʠ ,ʸʤʠʨ ʣʰʤʮʬ ʠʤʷʥʴ ʯʦʠʮ ʩʣʩ ʬʲ ʣʡʠʺʮʤ ʤʰʴʥʤ , (ʯʥʸʮʥʹʡ
  ʯʠʥʸʮ ʬʩʬʧʬ ʣʡʠʺʮʤ ʺʠ ʠʩʡʤ ʸʤʠʨ ʣʰʤʮ .(ʢʥʸʤ) ʯʥʸʮʥʹʡ ʱ"ʠʮʧʤ ʺʩʺʹʺ ʹʠʸʡ
  ʸʥʮʠ ʭʹ ʭʩʬʹʥʸʩ ʧʸʦʮʡʹ ʤʩʸʦʲʬ ʥʲʩʱʤ ʸʹʠ ,(ʸʥʶʲ) ʯʥʸʮʥʹʡ ʺʥʰʢʸʠʺʤʤ ʸʡʧ ,ʬʩʬʧ
  ʸʦʲʰ ʩʬʲ .ʭʧʬ ʺʩʡʮ ʩʠʡʶ ʱ"ʠʮʧ ʬʩʲʴ ,ʯʠʬʲ ʩʬʲ ʬʹ ʹʠʸʮ ʭʥʠʺ ʩʴ ʬʲ ʳʱʠʩʤʬ ʤʩʤ
  .ʦ.ʺ ʩʬʲʡ ʭʩʬʹʥʸʩ ʧʸʦʮ ʩʡʹʥʺ ʭʤʩʰʹ ,ʤʸʤʠʹʮ ʩʮʤʴ ,ʥʩʧʠʡʥ ,ʤʸʤʠʹʮ ʯʠʣʮʸ ʥʸʡʧʡ
  ʣʲʩʤ ʸʧʡʰ ʩʮʤʴ ʤʹʲʹ ʯʩʲʩʣʥʮ ʳʥʱʩʠ ʸʧʠʬ .ʥʰʥʰʫʺʡʥ ʲʥʢʩʴʤ ʲʥʶʩʡʡ ,(ʭʩʸʥʶʲ) ʤʬʥʧʫ
  ʩʡʩʨʷʸʨʠʫ ʸʧʡʰ ʣʲʩʤ .ʭʩʬʹʥʸʩ ʦʫʸʮʬ ʤʬʩʢ ʺʰʥʫʹ ʯʥʥʩʫʮ ʲʰʤ ʣʢʠ ʬʹ 32 ʥʷ – ʲʥʢʩʴʬ
  ʤʩʩʱʥʬʫʥʠʡ ʤʡʥʸʮʤ ʸʥʦʠ ,ʠʴʠʴʶ ʺʩʡ ʺʰʧʺʡ ʸʶʥʲ ʠʥʤ ʩʫ ʤʣʡʥʲʤ ʧʫʥʰ ʲʥʢʩʴ ʲʥʶʩʡʬ
  ʲʱʰ ,ʲʥʢʩʴʤ ʺʠʸʷʬ ʺʥʰʫʤʤʮ ʷʬʧʫ .ʣʥʹʧʫ ʺʩʡʸʲ ʺʥʦʧ ʬʲʡ ʭʣʠ ʱʴʺʩʩ ʠʬ ʤʡ ,ʺʩʡʸʲ
  ʬʫʥʺʹ ʺʰʮ ʬʲ ʤʺʥʠ ʡʷʩʰ ʳʠʥ ʤʩʱʩʨʸʫ ʹʫʸ ,ʸʴʱʮ ʭʩʮʲʴ ʸʥʮʠʤ ʱʥʡʥʨʥʠʤ ʥʷʡ ʩʮʤʴ
  ʸʷʥʡʡʥ ʸʩʲʡ ʯʬʥʤ ,ʭʧʬ ʺʩʡʬ ʸʡʲʥʤ ʣʡʠʺʮʤ .ʣʹʧ ʸʸʥʲʺʹ ʩʬʡʮ ʣʡʠʺʮʤ ʺʠ ʹʮʹʬ
  ʤʲʩʱʰʤ ʸʩʶʡ ʥʫʩʹʮʤ ʭʩʩʰʹʤʥ ʩʮʤʴ ʥʺʥʠ ʳʱʠ ʭʹ ,ʭʩʬʹʥʸʩʡ ʱʩʣ ʥʡʠ ʸʥʦʠʬ ʲʱʥʤ ʺʸʧʮʤ
  ʭʩʮʥʱʧʮ ʩʰʴʮ ʲʩʸʺʮʥ ʭʩʰʴʬʮ ʲʱʥʰ      ,ʤʸʤʠʹʮ ʯʠʣʮʸ ʸʹʠʫ ʭʩʬʹʥʸʩ ʡʸʲʮ ʸʡʲʬ
  ʬʲ ʤʬʲ ,ʣʡʠʺʮʤ ʣʸʥʤ ʠʴʠʴʶ ʺʩʡʬ ʤʫʥʮʱʤ ʱʥʡʥʨʥʠʤ ʤʰʧʺʬ ʭʺʲʢʤ ʭʲ .ʭʩʩʬʠʸʹʩ
                                                                 .ʵʶʥʴʺʤʥ ʱʥʡʥʨʥʠʤ


                                       Á ÁÁ



   ,ʯʥʷʸʩ/ʤ'ʢʸʮ ʣʩʬ ʡ"ʢʮ ʧʫ ʩ"ʲ ʣʹʧʰʹ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʩʰʥʩ 17
                                    ʭʩʲʢʴʰ ʠʬʬ

  ʥʮʶʲ ʵʶʥʴ ,ʬʮʹʧ ʩʸʶʥʮʬ ʬʲʴʮʡ ʣʡʥʲ ,20 ʯʡ ,ʭʫʹ/ʤʨʠʬʡ .ʴ.ʮ ʡʹʥʺ - ʣʥʹʸʮ ʠʬʲ
  ʩʣʩ ʬʲ ʤʬʨʩʰ ʺʥʩʸʧʠ .ʨʹʴʺʤʬʥ ʸʥʶʲʬ ʥʬ ʠʸʷ ʸʹʠ ʡ"ʢʮ ʧʥʫ ʩ"ʲ ʣʹʧʥʤʹ ʸʧʠʬ ,ʤ'ʢʸʮʡ
  ʭʩʦʰʺ ʬʩʲʴ ,ʹʠʹʧ ʸʮʠʱ ʬʹ ʩʬʬʫ ʯʥʧʨʩʡ ʺʥʸʩʹʡ ʥʺʸʩʷʧʡ .ʧ"ʺʴʤ ʬʹ ʸʩʦʰ-ʬʠ ʩʣʥʣʢ




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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



  ʯʲʨʮʤ ʺʠ ʥʬ ʷʴʩʱ ʭʢ ʸʹʠ , ʩʸʥʢʲ ʩʬʲ ʩʣʩ ʬʲ ʲʥʢʩʴʬ ʧʬʹʰ ʣʡʠʺʮʤ ʩʫ ʤʬʲ ,ʭʫʹʮ ʩʠʡʶ
                                                .ʣʠʸʥʮ ʥʩʧʠ ʥʰʩʤ ʣʡʠʺʮʤ ʬʹ ʥʱʩʩʢʮ ʩʫʥ
                                        Á ÁÁ



          ,ʤʩʬʶʸʤʡ ʤʣʲʱʮ ʧʺʴʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʩʰʥʩ 11
                               ʭʩʲʥʶʴ 12 -ʥ ʤʢʥʸʤ 1


  ʺʣʲʱʮʡ ʥʮʶʲ ʵʶʥʴ ʺʷʥʰʩʺʬ ʡʠʥ ʩʥʹʰ ,29 ʯʡ ,ʭʫʹ ʡʹʥʺ - ʤʣʠʩʦ ʸʮʲ
  ʩʬʬʧ ʩʣʥʣʢ ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʤʩʬʶʸʤʡ ʬʩʮ'ʢ ʯʥʸʹʤ ʹʢʴʮ
  ʷʥʧʮʬ ʹʷʩʡ ʥʺʠʥʥʶʡ .ʡʥʨ ʤʩʤ ʩʴʱʫʤ ʥʡʶʮʥ ʸʧʥʱʫ ʣʡʲ ʣʡʠʺʮʤ .ʠʶʷʠʬʠ
  .ʩʺʣ ʤʹʲʰ ʲʥʢʩʴʤ ʩʰʴʬ ʸʶʷ ʯʮʦʥ ʧ"ʺʴʬ ʪʩʩʺʹʤ ʸʡʲʡ .ʭʩʸʧʠʬ ʥʩʺʥʡʥʧ ʺʠ


                                        Á ÁÁ



       ,ʥʣʩʢʮ ʺʮʥʶ ʣʩʬ ʱʥʡʥʨʥʠʬ ʪʥʮʱ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʩʰʥʩ 5
                              ʭʩʲʥʶʴ 42 -ʥ ʭʩʢʥʸʤ 17


  ʥʷ ,ʣʢʠ ʱʥʡʥʨʥʠ ʬʹ ʩʸʥʧʠʤ ʷʬʧʬ ʣʮʶʰ ,ʺʴʥʺ ʡʫʸʡ ʲʱʰ ,18 ʯʡ ,ʯʩʰ'ʢ ʡʹʥʺ - ʩʣʥʮʱ ʤʦʮʧ
  ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ ʺʩʺʹʺ .ʥʣʩʢʮ ʺʮʥʶ ʩʰʴʬ ʸʨʮ 500 -ʫ ,ʥʬ ʪʥʮʱʡ ʵʶʥʴʺʤʥ ʤʩʸʡʨʬ 830
  ʺʸʩʷʧʮ .ʲʥʢʩʴʤ ʲʥʶʩʡʬ ʺʩʠʸʧʠʤ ʺʩʺʹʺʤ ʠʩʤ (ʢʥʸʤ) ʤʧʬʠʥʶ ʣʠʩʠ ʺʥʹʠʸʡ ʯʩʰ'ʢ ʸʥʦʠʮ
  ʤʧʬʠʥʶ ʣʠʩʠ ʩʫ ʤʬʲ ,ʫ"ʡʹʡ( (ʸʥʶʲ-) ʣʠʩʠ ʬʹ ʸʩʫʡʤ ʥʸʦʥʲʥ ʺʩʺʹʺʤ ʸʡʧ) ,ʩʱʠʡʥʨ ʣʩʲʱ
  ʥʺʸʦʲ ʺʠ ʹʷʩʡʥ ʭʩʫʱʤ ʣʩʲʱ .ʺʴʥʺ ʺʩʰʥʫʮ ʤʰʮʮ ʯʩʫʤʬ ʺʰʮ ʬʲ ʺʩʰʥʫʮ ʯʢʸʠʬ ʥʰʮʮ ʹʷʩʡ
  ʤʸʥʮʺʡ (ʥʢʰʷ ʥʰʸ) ,ʸʣʰʨʬ ʤʮʥʣ ,ʯʡʬ ʲʡʶʡ ʡʫʸ ʯʢʸʠ ʩʣʠʹ .ʯʩʩʰʲʤ ʯʥʢʸʠʡ ʩʸʥʮʲ ʩʣʠʹ ʬʹ
  ʺʥʡʥʤʶ ʩʥʹʩʸ ʺʥʩʧʥʬ ʥʰʮʮ ʥʹʷʩʡʥ ʩʱʸʥʰ ʩʣʹʥʸʬ ʥʰʴ ʩʣʠʹʥ ʣʩʲʱ .ʧ"ʹ 8000 ʣʩʲʱ ʥʬ ʸʩʡʲʤ
  ʥʬ ʥʮʬʩʹʥ (ʡʥʰʢ ʥʸʠʡʥʱ ʡʫʸ ʬʹ) ʺʥʩʧʥʬʤ ʺʠ ʥʬʡʩʷ ʭʩʩʰʹʤ .ʭʺʹʷʡ ʣʥʲʩʩ ʺʠ ʥʸʩʡʱʤʹ ʠʬʬ
  ʥʬ ʥʲʩʩʱʥ ʺʥʡʥʤʶʤ ʺʥʩʧʥʬʤ ʺʠ ʥʡʩʫʸʤʹ ʸʧʠʬ ʣʠʩʠ ʬʹ ʥʺʩʡʬ ʥʲʱʰ ʩʣʠʹʥ ʣʩʲʱ .ʧ"ʹ 200
  ʬʫ ʬʷʹʮ ʣʩʲʱ ʺʫʸʲʤʬ .ʵʴʰ ʸʮʥʧʡ ʸʡʥʣʮ ʩʫ ʭʤʬ ʸʩʡʱʤ ʣʠʩʠ .ʺʥʩʡʧ ʩʺʹ ʥʺʩʡʮ ʱʩʮʲʤʬ
  ʯʲʨʮʤ ʸʥʶʩʩʬ ʳʱʥʰʡ ʲʥʢʩʴʤ ʩʰʴʬʹ ʭʩʮʩʡ ʩʱʠʡʥʨ ʣʩʲʱ ʷʱʲ ,ʸʺʩʤ ʯʩʡ .ʢ"ʷ 55 ʫ ʤʩʤ ʺʩʡʧ
                                               .ʲʥʢʩʴʬ ʣʡʠʺʮʤ ʬʹ ʥʺʰʫʤʡʥ ,ʡʫʸʡ ʤʩʤʹ


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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




        ,ʤʥʥʷʺ ʧʺʴʡ ʤʴʷ ʺʩʡ ʣʩʬ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʩʠʮ 27
                             ʭʩʲʥʶʴ 30 -ʥ ʺʥʢʥʸʤ 2


  ʯʥʩʰʷʡ "ʤʡʹʥʮʤ ʤʴʷ" ʤʩʸʥʨʩʣʰʥʷʬ ʤʱʩʰʫʡ ʵʶʥʴʺʤ ,19 ʯʡ ,ʤʨʬʡ ʸʴʫ ʡʹʥʺ - ʩʨʩʨ ʣʠʤ'ʢ
  ʪʠ ʯʥʩʰʷʡʹ ʭʩʣʬʩ ʺʩʩʷʧʹʮʬ ʱʰʫʩʤʬ ʤʱʩʰ ʣʡʠʺʮʤ ,ʤʩʩʠʸ ʩʣʲ ʩʴ ʬʲ .ʺ"ʴʡ ʺʥʡʹʥʮʤ ʭʠ
  .ʭʫʹʡ ʺʩʠʡʶʤ ʭʩʦʰʺʤ ʺʩʺʹʺ ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ .ʤʴʷʤ ʺʩʡʬ ʲʩʢʤ , ʧʩʬʶʤ ʠʬʹ ʸʧʠʬ
  ʺʥʧʥʫʡ ʸʨʥʹʫ ʣʡʥʲ ʸʹʠ ʺʩʺʹʺʤ ʩʸʡʧʮ ʣʧʠ ,ʡʩʨʧ ʬʠʮʫ ʩʣʩ ʬʲ ʧʬʹʰ ʣʡʠʺʮʤ
  ʺʠ ʥʲʩʱʤ ʭʩʴʱʥʰ ʭʩʬʩʲʴ .ʩʧ ʠʲ ʭʩʤʸʡʠʥ ʧʩʡʶ ʣʠʤʰ ʩ"ʲʥ ʭʫʹ ʺʸʨʹʮ ʬʹ ʭʩʣʧʥʩʮʤ
          .ʲʥʢʩʴʤ ʸʥʦʠʬ ʣʲ ʺʩʬʠʸʹʩ ʺʩʰʥʮ ʬʲ ʯʥʸʧʠʤ ʤʬʲ ʭʹʮʥ ʯʩʲʤ ʹʠʸ ʸʥʦʠʬ ʣʡʠʺʮʤ


                                       Á ÁÁ



        ,ʡʩʡʠ ʬʺʡ ʺʴʥʺ ʺʩʰʥʫʮʡ ʣʡʠʺʮ ʬʡʧʮ ʺʢʩʸʤ :2002 ʩʠʮ 24
                                     ʭʩʲʥʶʴ 7


  ʯʥʥʩʫʬ ʺʥʸʩʤʮʡ ʡʫʸʡ ʲʱʰ ,26 ʯʡ ,ʤʬʬʠʮʸ/ʤʸʩʡʬʠ ʡʹʥʺ - ʩʰʠʫʥʫʹ ʸʮʲ
  ʤʱʩʰʫʡ ʧʨʡʠʮʤ ʩʣʩ ʬʲ ʸʶʲʰ ,ʡʩʡʠ ʬʺʡ ʺʥʩʥʬʢ ʵʥʡʩʷ 'ʧʸʡ ʯʥʣʲʥʮ ʧʺʴ
  ʤʶʥʸʫ ʣʡʠʺʮʤ ʤʠʸʰ ,ʯʥʣʲʥʮʤ ʧʺʴ ʬʥʮ ʡʫʸʤ ʵʥʶʩʴ ʸʧʠʬ .ʵʶʥʴʺʤʥ
  4 ʥʧʰʥʤ ʡʫʸʡ .ʧʨʡʠʮʤ ʩʣʩ ʬʲ ʭʩʮʲʴ ʸʴʱʮ ʡʥʹ ʤʸʥʰʥ ʡʫʸʤʮ ʺʠʶʬ
  .ʲʥʢʩʴʬ ʺʥʩʸʧʠ ʥʬʨʰ ʠʶʷʠ ʬʠ ʤʣʤʠʹ ʩʣʥʣʢ .ʩʸʥʧʠʤ ʥʷʬʧʡ ʸʥʰʩʶ ʩʰʲʨʮ
  ʣʡʠʺʮʤ ʬʹ ʥʺʠʶʥʤʡ ʡʸʥʲʮ ʤʩʤ ʸʹʠ ,ʩʠʡʶ ʭʩʦʰʺ ʬʩʲʴ ,ʣʠʩʦ ʯʩʮʠ ʬʹ ʫ"ʡʹʡ ʥʺʸʩʷʧʡ
  ʥʡʠ ʣʮʧʮ ʤʩʤ ʺʴʥʺʤ ʺʩʰʥʫʮ ʺʠ ʡʩʫʸʤʥ ʲʥʢʩʴʤ ʯʰʫʺʹ ʩʮ ʩʫ ʤʬʲ ,ʺʥʣʡʠʺʤʤ ʲʥʢʩʴʬ
         .ʥʺʣʥʣ ʺʡʮ ʠʩʡʤ ʸʹʠ ʤʮʬʶʮʡ ʣʡʠʺʮʤ ʺʠ ʯʩʮʠ ʭʬʩʶ ʲʥʢʩʴʤ ʡʸʲ . (ʸʥʶʲ).ʣʩʮʧ


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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



     ,ʯʥʩʶʬ ʯʥʹʠʸʡ ʣʬʩʹʨʥʸ ʡʥʧʸʣʮʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʩʠʮ 22
                              ʭʩʲʥʶʴ 36 -ʥ ʭʩʢʥʸʤ 2


  ʣʬʩʹʨʥʸ ʡʥʧʸʣʮʡ ʵʶʥʴʺʤ ,17 ʯʡ ,ʭʧʬ ʺʩʡ/ʠʧʥʣ ʡʹʥʺ - ʸʩʣʡ ʠʱʩʲ
  ʬʹ ʭʡʫʸʡ ,ʯʥʩʶʬ ʯʥʹʠʸʬ ʭʧʬ ʺʩʡʮ ,ʬʡʥʤ        ʣʡʠʺʮʤ .ʯʥʩʶʬ ʯʥʹʠʸʡ
                                                     ʤʰʠʧʸʱ ʭʩʤʸʡʠ
  ʤʺʬʲ ʸʹʠ ʺʩʬʠʸʹʩ ʺʩʧʸʦʠʥ ʤʩʣʥʤʩ ,ʩʷʱʰʩʴ ʤʰʩʸʮ ʥʺʹʠʥ ʤʹʩʩʤʣʮ
  ʯʩʸʲ ʺʴʱʥʰ ʺʲʢʴʮ ʩʫ ʤʬʲ ʭʩʬʩʡʥʮʤ ʩʰʹ ʬʹ ʫ"ʡʹʡ ʭʺʸʩʷʧʮ .ʤʰʹ 11 ʩʰʴʬ ʤʩʱʥʸʮ
  ʬʲ ʸʹʠʫ ʺʥʣʡʠʺʤʤ ʲʥʢʩʴʡ ʳʺʺʹʤʬ ʤʸʥʮʠ ʤʺʩʩʤ (ʤʸʥʶʲ) ʸʥʧʠʱ ʺʩʡʮ 20 ʺʡ ,ʣʮʧʠ
  ʩʲʢʴʰʡ ʬʴʨʬ ʤʧʬʶʤʤʥ ʵʥʬʩʧʤ ʺʥʧʥʫ ʥʲʩʢʩ ʥʡ ʡʬʹʡ ʤʮʶʲ ʵʶʥʴʬ ʤʰʥʥʫʺʤ ʺʩʰʫʥʺʤ ʩʴ
  -ʡ .ʭʧʬ ʺʩʡʬ ʤʸʦʧʥʤʥ ʯʩʸʲ ʤʨʸʧʺʤ ,ʲʥʢʩʴʤ ʲʥʶʩʡʬ ʭʫʸʣʡ ʥʩʤ ʸʹʠʫ .ʯʥʹʠʸʤ ʵʥʶʩʴʤ
  ʤʣʮʲ ʸʹʠ ʩʠʡʶʤ ʭʩʦʰʺʤ ʺʩʺʹʺ ʩʬʩʲʴ ʬʫ ʤʹʩʩʤʣ ʭʩʨʩʬʴʤ ʤʰʧʮʡ ʥʸʶʲʰ 27/5/2002
  ʺʩʺʹʺʤ ʹʠʸ ,ʩʡʸ'ʲʮ ʣʮʧʠ ʳʱʥʩ ʣʮʧʠ ʸʶʲʰ ʸʺʩʤ ʯʩʡ .ʲʥʢʩʴʬ ʣʡʠʺʮʤ ʸʥʢʩʹ ʩʸʥʧʠʮ
  ʲʥʶʩʡʡ ʥʬ ʲʩʩʱʬ ʤʰʧʠʸʱ ʭʩʤʸʡʠʬ ʲʩʶʤ ʩʫ ʫ"ʡʹʡ ʥʺʸʩʷʧʡ ʤʣʥʤ ʸʹʠ ʸʩʫʡ ʹʷʥʡʮʥ
  ʥʩʧʠ ʸʶʲʰ ʥʮʲ ʣʧʩ .ʭʩʣʡʠʺʮʬ ʭʩʰʲʨʮʤ ʺʰʫʤʥ ʲʥʢʩʴʤ ʺʰʥʥʫʤʡ ʥʺʥʡʸʥʲʮ ʬʲ ʸʴʩʱʥ ʭʩʲʥʢʩʴ
  ʭʬʹʬ ʣʮʧʠ ʥʩʧʠ ʩʣʩ ʬʲ ʤʧʰʥʤ ʩʫ ʥʺʸʩʷʧʡ ʤʣʥʤʹ ,ʤʹʩʩʤʣ ʡʹʥʺ 16 ʯʡ ,ʩʡʸ'ʲʮ ʩʬʲ
  ʭʩʣʡʠʺʮʤ ʣʮʶ ʺʠ ʥʺʥʸʫʩʤʡ ʩʬʲ ʤʣʥʤ ʯʫ ʥʮʫ .ʲʥʢʩʴʤ ʲʥʶʩʡʬ ʡʥʰʢ ʡʫʸ ʢʩʹʤʬʥ ʣʡʠʺʮʬ
  ʬʩʲʴ ʤʰʧʠʸʱ ʣʥʮʧʮ ʸʶʲʰ ʣʥʲ .ʲʥʢʩʴʤ ʲʥʶʩʡʬ ʭʺʠʩʶʩ ʩʰʴʬ ʭʩʣʡʠʺʮʤ ʺʠ ʭʬʩʶ ʩʫ ʸʴʱʥ
  ʺʠ ʯʩʫʤ ʩʫ ʸʴʩʱ ʣʥʮʧʮ .ʧʨʹʬ ʭʩʣʡʠʺʮʤ ʺʠʶʥʤʡ ʡʸʥʲʮ ʤʩʤ ʸʹʠ ,ʤʹʩʩʤʣʮ ʭʩʦʰʺ
  ʭʩʤʸʡʠ ʩʣʩʬ ʭʩʣʡʠʺʮʤ ʺʠ ʣʥʮʧʮ ʸʱʮ ʯʫʮ ʸʧʠʬ .ʥʩʺʥʸʲʹ ʺʠ ʲʡʶʥ ʲʥʢʩʴʬ ʬʡʧʮʤ
                                                 .ʵʸʠʤ ʦʫʸʮʬ ʭʺʥʠ ʥʬʩʡʥʤ ʥʬʠʥ ʤʰʩʸʮʥ


                                       Á ÁÁ



   ʺʮʥʶʡ ʡ"ʢʮ ʴʩ'ʢ ʣʩʬ ʱʥʡʥʨʥʠ ʺʰʧʺʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʩʠʮ 20
                             ʭʩʲʥʶʴ 3 ,ʪʰʲʺ

  ʱʥʡʥʨʥʠ ʺʰʧʺʡ ʥʮʶʲ ʵʶʥʴ ,ʨʩʩʧ ,20 ʯʡ ,ʯʩʰ'ʢ ʡʹʥʺ - ʤʩʣʮʧ ʣʮʧʮ
  ʣʠʤʩ'ʢʤ ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʡ"ʢʮ ʴʩ'ʢʬ ʪʥʮʱʡ ʭʩʫʰʲʺʤ ʺʮʥʶʡ
  ʥʺʥʹʠʸʡ ,ʯʩʰ'ʢʡ ʩʮʠʬʱʠ ʣʠʤ’ʩʢ ʺʩʺʹʺ ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ ,ʩʮʠʬʱʠʤ
  ʩʠʡʶ ʩʮʠʬʱʠ ʣʠʤ’ʢ ʬʩʲʴ ,ʧʩʡʨ ʥʡʠ ʣʮʧʥʮ .(ʢʥʸʤ).ʤʧʬʠʥʶ ʣʠʩʠ ʬʹ
  ʥʡʠ ʣʮʧʥʮ .ʲʥʢʩʴʬ ʣʡʠʺʮʤ ʺʠ ʱʩʩʢ ʥʮʶʲ ʠʥʤ ʩʫ ʥʺʸʩʷʧʡ ʤʣʥʤ (ʸʥʶʲ)




                                          43
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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



  ʤʧʬʠʥʶ ʣʠʩʠ ʺʠ ʧʩʡʨ ʥʡʠ ʹʢʴ ʲʥʢʩʴʤ ʸʧʠʬ .ʤʧʬʠʥʶ ʣʠʩʠʬ ʣʡʠʺʮʤ ʺʠ ʸʹʩʷ ʧʩʡʨ
                                                  . ʲʥʢʩʴʤ ʯʥʬʹʩʫ ʬʲ ʤʡʦʫʠ ʲʩʡʤ ʸʹʠ


                                       Á ÁÁ



               ,ʤʩʰʺʰʡ ʷʥʹʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʩʠʮ 19
                              ʭʩʲʥʶʴ 60 -ʥ ʭʩʢʥʸʤ 3

  ʤʩʰʺʰʡ ʷʥʹʤ ʸʥʦʠʡ ʡʡʥʺʱʤ ,18 ʯʡ ,ʭʫʹ/ʸʫʱʲ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʸʠʫʹʡ ʤʮʠʱʠ
  ʯʫʮ ʸʧʠʬ ʣʩʮʥ ʣʹʧʥʤ ʺʩʧʸʦʮʤ ʥʺʥʦʧ ʬʹʡ ,ʸʥʧʹ ʷʩʺ ʠʹʥʰʥ ʬ"ʤʶ ʩʣʮ ʹʥʡʬ ʠʥʤʹʫ
  ʺʩʺʹʺ ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ ,"ʺʩʮʮʲʤ ʺʩʦʧʤ" ʯʥʢʸʠ ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʵʶʥʴʺʤ
  ʭʩʠʶʮʰ ʤʦ ʲʥʢʩʴ ʩʸʥʧʠʮ ʭʩʣʮʥʲʤ ʺʩʺʹʺʤ ʩʬʩʲʴ .ʩʡʲʫ ʭʠʬʲ ʤʦʫʸʮʡ ,ʭʫʹʡ "ʲ"ʦʧʤ"
  ʪʬʤʮʡ .ʳʩʶʸ ʩʰʥʴʬʨ ʸʹʷʡ ʯʫʥ ʭʩʧʩʬʹ ʺʥʲʶʮʠʡ ʥʧʩʸʩʡ ʲ"ʦʧʤ ʩʠʥʬʫ ʭʲ ʳʨʥʹ ʸʹʷʡ
  .ʲʥʢʩʴʤ ʲʥʶʩʡʬ ʺʥʰʥʥʫʡ ʭʩʴʱʥʰʤ ʲ"ʦʧʤ ʩʠʥʬʫʥ ʤʮʬʥʲ ʣʤʠʲ ʥʰʫʣʥʲ ʭʩʰʥʸʧʠʤ ʭʩʮʩʤ
  ʺʥʸʩʹʡ ʥʺʸʩʷʧʡ .ʤʡʩʩʨ ʡʹʥʺ ,ʤʲʮʥ'ʢ ʣʥʮʧʮ ʯʠʰʣʲ ʬʣʠʲ ʸʶʲʰ 2002 ʩʠʮʡ 23 ʪʩʸʠʺʡ
  .ʣʡʠʺʮʤ ʺʬʩʡʥʮʫ ʤʹʮʩʹ ʸʹʠ ʤʸʥʧʡ ʭʲ ʣʧʩʡ ʣʡʠʺʮʤ ʺʠ ʲʩʱʤ ʩʫ ʤʣʥʤ ʩʬʬʫ ʯʥʧʨʩʡ
  .ʵʥʶʩʴʤ ʺʠ ʲʮʹʥ ʣʡʠʺʮʤ ʺʠ ʣʩʸʥʤʹ ʸʧʠʬ ʷʸ ʣʡʠʺʮ ʬʡʧʮ ʲʩʱʤʹ ʯʩʡʤ ʩʫ ʯʩʩʶ ʬʣʠʲ
  ʤʸʶʲʰ 2002 ʩʰʥʩ 6 ʪʩʸʠʺ-ʡ .ʤʩʡʸ'ʲ ʬʠ ʤʷʠʡʬ ʣʡʠʺʮʤ ʺʬʩʡʥʮ ʺʠ ʸʩʦʧʤ ʲʥʢʩʴʤ ʸʧʠʬ
  ʤʰʩʩʶ ʠʠʲʣ .ʧʠ'ʢʰ ʺʨʩʱʸʡʩʰʥʠʡ ʺʩʨʰʣʥʨʱ ,ʭʸʫ ʬʥʨ ʺʡʹʥʺ ,ʩʱʥʩʢ ʬʩʮʢ ʣʠʩʦ ʠʠʲʣ
  ʤʩʰʺʰ ʪʥʺʬ ʣʡʠʺʮʤ ʺʠ ʬʩʡʥʤʬ ʭʫʹʮ ʺʩʮʮʲʤ ʺʩʦʧʤ ʩʬʩʲʴ ʩʣʩ ʬʲ ʤʹʷʡʺʤ ʩʫ ʤʺʸʩʷʧʡ
  ʤʩʰʺʰʡ ʷʥʹʡ ʣʡʠʺʮʤ ʺʣʸʥʤ ʭʸʨ ʩʫ ʤʰʩʩʶʥ ʤʴʩʱʥʤ ʠʠʲʣ .ʭʩʮʺ ʤʠʸʮ ʥʬ ʺʥʥʹʬ ʤʸʨʮʡ
                   .ʺʬʩʩʨʤ ʸʥʦʠʡʥ ʤʩʰʺʰʡ ʯʥʩʰʷʡ ʲʥʢʩʴʤ ʺʠ ʲʶʡʬ ʺʥʸʹʴʠ ʭʩʲʢʴʮʤ ʥʷʣʡ


                                       Á ÁÁ



     ,ʥʣʩʢʮ ʺʮʥʶʡ ʤʲʱʤ ʺʰʧʺʡ ʤʹʷ ʲʶʴʰ ʣʡʠʺʮ ʬʡʧʮ :2002 ʩʠʮ 8
                             ʭʩʲʥʶʴ 3

  ʤʲʱʤ ʺʰʧʺʡ ʥʷʩʺʡ ʠʹʰʹ ʤʬʡʧ ʯʲʨʮ ʬʹ ʵʥʶʩʴʡ ʲʶʴʰ ,19 ʯʡ ,ʯʩʰ'ʢ ʡʹʥʺ - ʯʠʣʩʦ ʯʠʣʩʦ
  .ʭʥʷʮʡ ʤʩʤʹ ʯʬʡʧ ʩʣʩ ʬʲ ʣʡʠʺʮʤ ʬʹ ʥʸʡʲʬ ʩʸʩ ʲʶʥʡ ʵʥʶʩʴʤ ʸʧʠʬ .ʥʣʩʢʮ ʺʮʥʶʡ
  .ʩʺʸʨʹʮ ʨʥʡʥʸ ʩʣʩ ʬʲ ʷʩʺʡ ʸʠʹʰʹ ʯʲʨʮʤ ʸʠʹ ʵʶʥʴ ʪʹʮʤʡ .ʥʩʣʩʥ ʥʩʬʢʸʡ ʲʢʴʰ ʣʡʠʺʮʤ
  ʩʹʠʸʮ ,(ʢʥʸʤ) ʤʡʬʠʥʨ ʣʥʮʧʮʮ ʹʷʩʡ ʩʫ ʣʡʠʺʮʤ ʸʱʮ ʩʬʬʫ ʯʥʧʨʩʡ ʺʥʸʩʹʡ ʥʺʸʩʷʧʡ
  ʬʷʹʮʡ ʯʲʨʮ ʣʡʠʺʮʬ ʸʱʮ ʣʥʮʧʮ ʬʹ ʥʮʲʨʮ ʭʣʠ .ʲʥʢʩʴʬ ʺʠʶʬ ,ʯʩʰ'ʢʡ ʩʮʠʬʱʠ ʣʠʤ’ʢʤ



                                         44
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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



  ʴʮʸʨʡ ʪʩʹʮʤʥ ʭʧʴ ʬʠ ʭʥʠʬ ʬʢʸʡ ʸʡʲ ʭʹʮʥ ʯʩʰʲʬ ʺʩʰʥʮʡ ʲʱʰ ʣʡʠʺʮʤ .ʢ"ʷ 18 -ʫ ʬʹ
                               .ʩʮʠʬʱʠʤ ʣʠʤ'ʢʤ ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʤʸʲ ʩʣʠʥʬ


                                       ÁÁÁ

       ,ʯʥʩʶʬ ʯʥʹʠʸʡ ʣʸʠʩʬʩʡ ʯʥʣʲʥʮʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʩʠʮ 7
                             ʭʩʲʥʶʴ 51 -ʥ ʭʩʢʥʸʤ 16

  ,ʱ"ʠʮʧ ʤʤʥʦʮ ,ʯʣʸʩʮ ʥʠʶʥʮʡ ,28 ʯʡ ,ʭʫʹ/ʺʥʩʸʷ ʡʹʥʺ - ʸʮʲʮ ʣʮʧʮ
  ʸʥʦʩʠʡ ʡʥʸʧʱ ʡʥʧʸʡ "ʣʬʩʴʹ" ʯʥʣʲʥʮʬ 22:55 ʤʲʹʤ ʺʥʡʩʡʱʡ ʱʰʫʰ
  ʸʡʲʬ ,ʸʣʧʤ ʦʫʸʮ ʯʥʥʩʫʬ ʣʲʶ ,ʤʣʥʥʦʮ ʥʣʩʡʹʫ ,ʯʥʩʶʬ ʯʥʹʠʸʡ ʤʩʩʹʲʺʤ
  ʤʮʱʸʥʴ ʲʥʢʩʴʬ ʺʥʩʸʧʠ ʺʬʩʨʰ .ʥʮʶʲ ʵʶʥʴʥ ʬʦʮʤ ʺʥʰʥʫʮ ʡʩʡʱʹ ʺʥʬʤʷʺʤ
  ʺʠ .ʭʩʴʱʥʰ ʭʩʲʥʢʩʴ ʲʶʡʬ ʭʩʮʥʩʠ ʭʢ ʤʬʬʫʥ ʭʠʱʷ ʬʠ ʯʩʣ-ʠ ʦʲ ʩʣʥʣʢ ʭʲʨʮ
  ʯʠʸʮʲ ʣʮʧʮʹʫ ,ʺʩʮʬʹʥʸʩ ʤʩʩʬʥʧ ʭʲ ʳʥʺʩʹʡ ʤʬʬʠʮʸʡ ʱ"ʠʮʧʤ ʺʩʺʹʺ ʤʲʶʩʡ ʲʥʢʩʴʤ
  ʭʩʤʸʡʠ ʬʥʮ ,ʣʥʮʲ ʬʠ ʱʠʸʮ ʱ"ʠʮʧ ʬʩʲʴ ,(ʢʥʸʤ) ʭʱʠʷ ʬʠʠʥ ʯʩʡ ʸʹʷʤ ʹʩʠ ʹʮʹʮ
  ʲʥʶʩʡʬ ʺʥʩʧʰʤʤ ʺʠ ʯʠʸʮʲ ʸʩʡʲʤ ʬʲʥʴʡ .ʤʬʬʠʮʸʡ ʱ"ʠʮʧʤ ʺʩʺʹʺ ʹʠʸʡ ʣʮʥʲʤ ,ʣʮʠʧ
                           .ʤʬʡʧʤ ʩʰʲʨʮ ʺʠʥ ʭʩʣʡʠʺʮʤ ʭʩʲʢʴʮʤ ʺʠ ʸʩʡʲʤ ,ʭʩʲʥʢʩʴʤ


                                       Á ÁÁ



          ,ʤʩʬʩʷʬʷʡ ʭʥʱʧʮ ʣʩʬ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʬʩʸʴʠ 20
                                    ʭʩʲʢʴʰ ʠʬʬ


  ʸʶʲʮ ʬʤʥʰ ʪʬʤʮʡ ʤʩʬʩʷʬʷʬ ʺʩʡʸʲʮ ,108 ʭʥʱʧʮʬ ʪʥʮʱ ʵʶʥʴʺʤ ʣʡʠʺʮ ʬʡʧʮ - ʲʥʣʩ ʠʬ
  ʤʬʥʲʴʤ ʲʶʡʮ ʩʫ ʲʩʣʥʤ ʸʹʠ ʭʠʱʷʬʠ ʯʩʣʬʠ ʦʲ ʩʣʥʣʢ ʭʹʡ ʸʡʥʣ ʨʨʩʶ ʱ"ʠʮʧʤ ʸʺʠ .ʣʥʹʧ
  .ʭʫʹʬ ʺʩʰʥʴʶ ,ʤʩʬʠʮʹʬʠ ʤʸʩʶʲ ʤʸʩʩʲʤʮ ʩʬʥʹ ʳʱʥʩ ʣʮʧʮ ʣʥʮʧʮ ʠʥʤ ʤʩʬʩʷʬʷ ʣʩʬ
  ʺʥʡʩʱ ʡʷʲ ʺʩʮʹʸ ʺʥʩʸʧʠ ʺʬʩʨʰ ʤʮʱʸʥʴ ʠʬ ʤʫ ʣʲ ʩʫ ʯʥʴʬʨ ʺʧʩʹʡ ʸʮʠ ʸʡʥʣʤ
  ʯʫʮ ʸʧʠʬʥ ʲʥʢʩʴ ʲʶʡʩ ʠʥʤ ʩʫ ʥʺʧʴʹʮʬ ʲʩʣʥʤ ʸʡʲʡ ,ʬ"ʧʨʡʡ ʣʡʲ ʩʬʥʹ ʣʥʮʧʮ .ʺʥʩʰʥʧʨʩʡ
          .ʤʩʬʩʷʬʷʡʥ ʭʫʹʡ ʩʠʡʶʤ ʱ"ʠʮʧʤ ʺʥʩʺʹʺ ʬʹ ʤʬʥʲʴ ʳʥʺʩʹʡ ʲʶʥʡ ʲʥʢʩʴʤ .ʭʬʲʰ


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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




   ʺʮʥʶʡ ʬ"ʤʶ ʺʣʮʲ ʣʩʬ ʺʴʥʺ ʡʫʸʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʬʩʸʴʠ 19
                               ʭʩʲʥʶʴ 2 ,ʳʩʨʷ ʹʥʢ


  ʢʥʱʮ ,ʺʴʥʺ ʺʩʰʥʫʮʡ ʢʤʰ ,19 ʯʡ ,ʱʰʥʩ ʯʠʧ ʡʹʥʺ - ʤʣʥʲ ʥʡʠ ʤʬʬʠʣʡʲ
  ʭʲ ʲʩʢʤ ʣʡʠʺʮʤ .ʸʥʧʠʮ ʧʥʺʴ ʦʢʸʠ ʭʲ ʯʡʬ ʲʡʶʡ 504 ʥ'ʢʩʴ ʸʣʰʨ
  ʺʥʩʰʥʫʮ 2 ʥʬ ʣʥʮʶʡʥ ʥʩʰʴʬ ʸʹʠʫ ʳʩʨʷ ʹʥʢ ʺʮʥʶʡ 24 ʱʷʥʡʬʩʴʬ ʺʩʰʥʫʮʤ
  ʸʹʠʫ .ʱʷʥʡʬʩʴʡ ʬ"ʤʶ ʺʩʴʶʺ ʩʰʴʮ ʡʫʸʤ ʺʩʦʧ ʺʠ ʺʥʸʩʺʱʮʤ ʺʥʴʱʥʰ
  ʨʠʤ ,ʺʮʥʶʤʮ ʥʷʧʸʺʤʥ 24 ʱʷʥʡʬʩʴ ʺʠ ʺʥʰʥʹʠʸʤ ʺʥʩʰʥʫʮʤ 2 ʥʸʡʲ
  ʤʩʤʹ ʬʩʩʧ .ʱʷʥʡʬʩʴʬ ʪʥʮʱʡ ʭʩʸʥʴʱ ʭʩʸʨʮ ʠʶʮʰ ʠʥʤʹʫ ʡʫʸʤ ʺʥʸʩʤʮ ʺʠ ʣʡʠʺʮʤ
  ,ʤʲʩʱʰʤ ʬʥʬʱʮʮ ʡʫʸʤ ʺʠ ʨʩʱʤ ʣʡʠʺʮʤ .ʩʸʩ ʥʩʬʲ ʲʶʡʬ ʤʸʨʮʡ ʷʹʰ ʥʸʡʲʬ ʯʥʥʫ ʤʣʮʲʡ
  ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʡʫʸʤ ʺʠ ʵʶʥʴʥ ʱʷʥʡʬʩʴʤ ʺʠ ʺʥʴʩʷʮʤ ʯʥʨʡʤ ʺʥʸʩʷʬ ʡʸʷʺʤ
                                                                 .ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ


                                      Á ÁÁ



    ,ʭʩʬʹʥʸʩʡ ʤʣʥʤʩ ʤʰʧʮ ʷʥʹʡ ʺʣʡʠʺʮ ʺʬʡʧʮ ʵʥʶʩʴ :2002 ʬʩʸʴʠ 12
              ʭʩʲʥʶʴ 60 -ʥ (ʯʩʱʮ ʭʩʸʦ ʭʩʣʡʥʲ 2 ʭʫʥʺʮ ) ʭʩʢʥʸʤ 6

  ,ʩʰʥʮʩʤ ʦʺʲʥʮ ʩʣʩ ʬʲ ʯʥʥʫʥʤ ʲʥʢʩʴʤ .ʭʧʬ ʺʩʡʮ 21 ʺʡ ʭʩʦʰʺ ʺʬʩʲʴ - ʤʷʨʠʷʨ ʡʩʬʣʰʲ
  ʯʩʫʤʹ ʩʮ .'ʯʢʮ ʺʮʥʧ' ʲʶʡʮ ʺʸʢʱʮʡ ʸʶʲʰʹ ʯʥʸʡʧʮ (ʴ"ʹʧ) ʯʩʨʱʬʴ ʸʥʸʧʹʬ ʺʩʦʧʤ ʬʩʲʴ
  ʤʮʥʦʩ ʺʥʬʩʲʴʮ ʤʠʶʥʺʫ ʢʸʤʰʹ ,ʯʥʸʡʧʡ ʭʩʨʰʺʤ ʸʩʫʡ ,ʭʥʬʦ ʯʠʥʸʮ ʤʩʤ ʲʥʢʩʴʬ ʯʲʨʮʤ ʺʠ
  ʸʥʧʹ ʭʩʹʰ ʷʩʺʡ ʯʮʨʥʤʥ ʤʬʬʥʱʥ ʷʩʨʱʬʴ ʺʥʸʥʰʩʶ ʤʹʥʬʹʮ ʡʫʸʥʤ ʯʲʨʮʤ .ʯʥʧʨʩʡʤ ʺʥʧʥʫ ʬʹ
  ʸʩʲʤ ʪʥʺʬ ʺʩʰʥʮʡ ʤʲʱʰ ʭʹʮʥ ʱʩʣ-ʥʡʠʬ ʺʣʡʠʺʮʤ ʤʲʱʥʤ ʲʥʢʩʴʤ ʭʥʩʡ .ʥʺʠʥʥʱʤ ʪʸʥʶʬ
  ʩʰʴʬ ʭʩʮʩ ʸʴʱʮ .ʣʢʠ ʱʥʡʥʨʥʠʬ ʪʥʮʱʡ ʤʶʶʥʴʺʤ ʭʹ – ʤʣʥʤʩ ʤʰʧʮ ʷʥʹ ʬʠ ʤʲʩʢʤʥ ʭʩʬʹʥʸʩ
   .ʯʠʸʥʷ ʤʣʩʡ ʺʦʧʥʠʥ ʸʥʧʹʡ ʤʹʥʡʬ ʠʩʤʹʫ ʥʠʣʩʥʥ ʺʮʬʶʮʡ ʺʣʡʠʺʮʤ ʤʮʬʥʶ ʲʥʢʩʴʤ ʲʥʶʩʡ


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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




        ,ʸʥʢʩ ʺʮʥʶ ʣʩʬ ʱʥʡʥʨʥʠʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʬʩʸʴʠ 10
                              ʭʩʲʥʶʴ 17 -ʥ ʭʩʢʥʸʤ 8


  ʪʥʺʡ ʵʶʥʴʺʤ ,18 ʯʡ ,ʯʩʰ'ʢ/ʤʩʺʸʠ'ʧʬʠ ʺʬʩʱ ʡʹʥʺ - ʺʠʣʸ'ʢ ʡ'ʲʠʸ
  .ʭʩʷʮʲʤ ʺʮʥʶʬ ʸʥʢʩ ʺʮʥʶ ʯʩʡ ʭʩʬʹʥʸʩʬ ʤʴʩʧʮ ʥʫʸʣʡ ʤʩʤʹ ʱʥʡʥʨʥʠ
  ʩʸʥʧʠʮ ʺʣʮʥʲʤ ʺʩʺʹʺʤ .ʩʮʠʬʱʩʠʤ ʣʠʤʩ'ʢʤ ʩʬʩʲʴ ʩʣʩ ʬʲ ʺʥʩʸʧʠ ʤʬʨʩʰ
  ʣʠʩʠ . ʤʰʸʠʫʦ ʣʬʠʧʥ (ʢʥʸʤ),ʤʧʬʠʥʶ ʣʠʩʠ ʬʹ ʺʩʺʹʺʤ ʤʰʩʤ ʲʥʢʩʴʤ
                               .ʲʥʢʩʴʬ ʡ'ʲʠʸ ʺʠ ʥʰʩʫʤʹ ʤʬʠ ʭʤ ʣʬʠʧʥ


                                       Á ÁÁ



      ,ʭʩʬʹʥʸʩʡ ʩʺʸʨʹʮ ʭʥʱʧʮ ʣʩʬ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʬʩʸʴʠ 1
                              ʢʥʸʤ ʸʨʥʹ

  ʸʡʧ ʤʩʤ ,23 ʯʡ ,ʭʧʬ ʺʩʡ/ʤʹʩʩʤʣ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʠʱʩʲ ʩʮʠʸ
  ʺʩʡ ʸʥʦʠʡ ʭʩʰʲʨʮʥ ʩʸʩ ʩʲʥʢʩʴ ʺʥʸʹʲ ʤʲʶʩʡ ʸʹʠ ʩʠʡʶ ʭʩʦʰʺ ʺʩʬʥʧʡ
  ʭʲ ʣʧʩ ,ʲʥʢʩʴʤ ʩʰʴʬ ʤʰʹ ʩʶʧʫ .(ʥʸʶʲʰ ʤʩʬʥʧʤ ʩʸʡʧ) .ʭʩʬʹʥʸʩʥ ʭʧʬ
  ʤʮʫ ʸʶʲʮʮ ʥʸʸʧʥʹ ,ʥʸʶʲʰ ʭʩʩʰʹʤ .ʭʩʴʱʫ ʯʴʬʧ ʥʧʶʸʥ ʥʣʣʹ ʳʱʥʰ ʸʩʲʶ
  .ʤʹʩʩʤʣ .ʴ.ʮʡ ʧ"ʺʴʤ ʩʮʸʥʢ ʩʣʩ ʬʲ ʥʱʩʥʢʥ ʸʩʲʬ ʬ"ʤʶ ʺʱʩʰʫ ʩʰʴʬ ʭʩʮʩ
  ʬʠʸʹʩ ʩʨʡʹ ʺʰʩʴ ʭʩʠʩʡʰʤ 'ʧʸʡ ʩʺʸʨʹʮ ʭʥʱʧʮʡ ʥʣʮʲʹ ʭʩʸʨʥʹ ʥʰʩʧʡʤ ʲʥʢʩʴʤ ʭʥʩʡ
  ʭʩʸʨʥʹʤ ʩʰʹ ʥʲʩʢʤ ʸʹʠʫ .1 'ʱʮ ʹʩʡʫ ʬʹ ʤʫʸʣʮʤ ʬʲ ʣʮʲʹ ʣʥʹʧ ʡʫʸʡ ,ʭʩʬʹʥʸʩʡ
  ʤʬʲ ʭʥʷʮʡ ʺʥʩʥʣʲʮ .ʠʶʷʠʬʠ ʩʬʬʧ ʩʣʥʣʢ ʩʣʩ ʬʲ ʤʧʷʬʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʵʥʶʩʴ ʲʸʠ ʥʷʣʥʡʬ
  ʣʡʠʺʮʤ ʬʹ ʥʩʬʩʡʥʮ .ʵʥʶʩʴʤ ʩʰʴʬ ʺʥʸʥʴʱ ʺʥʩʰʹ ʨʬʮʰ ʣʡʠʺʮʤ ʺʠ ʬʩʡʥʤ ʸʹʠ ʢʤʰ ʩʫ
  ,ʤʰʧʠʸʱ ʺʧʴʹʮʮ ʭʩʧʠ ʭʰʩʤ ʭʩʸʥʶʲʤ .ʬ"ʤʶʥ ʩʬʬʫ ʯʥʧʨʡ ʺʥʸʩʹ ʩʣʩ ʬʲ ʥʸʶʲʰ ʲʥʢʩʴʬ
  ʬʹ ʥʺʠʶʥʤʡ ʺʥʴʺʺʹʤʡ ʩʬʬʫ ʯʥʧʨʩʡ ʺʥʸʩʹʡ ʭʺʸʩʷʧʡ ʥʣʥʤ ʸʹʠ ,ʤʹʩʩʤʣ .ʴ.ʮ ʩʡʹʥʺ
  ʬʹ ʥʺʬʡʥʤ ʪʸʥʶʬ ʭʩʬʩʲʴʤ ʣʧʠ ʬʹ ʥʺʡʥ ʥʺʹʠ ʬʹ ʺʥʬʥʧʫ .ʦ.ʺ ʬʥʶʩʰ ʪʥʺ ,ʲʥʢʩʴʬ ʣʡʠʺʮʤ
                                                        .ʭʩʬʹʥʸʩ ʩʮʥʧʺ ʪʥʺʬ ʣʡʠʺʮʤ


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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




            ,ʺʸʴʠʡ ʤʠʴʸʮ ʣʩʬ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʱʸʮ 31
                                      ʭʩʲʥʶʴ 6

  ,ʧ"ʺʴʤ ʩʣʩ ʬʲ ʱʩʥʢ ʸʹʠ ,16 ʯʡ ʯʩʨʷ ,ʭʧʬ ʺʩʡ ʡʹʥʺ - ʣʩʮʧ ʬʩʮ'ʢ
  'ʮ 10 -ʫ ʡʫʸʤʮ ʣʸʩ ,ʺʸʴʠ ʡʥʹʩʩʤ ʸʲʹʬ ʣʲ ʱʩʰ ʩʣʠʥ ʯʥʥʩʫʮ ʡʫʸʡ ʲʩʢʤ
  .ʠ"ʣʮ ʺʰʧʺʬ ʪʥʮʱʡ ʥʮʶʲ ʵʶʥʴʥ ʡʥʹʩʩʤ ʪʥʺʬ ʺʩʬʢʸ ʱʰʫʰ ,ʸʲʹʤ ʩʰʴʬ
  ʥʴʥʢ ʬʲ ʤʩʤʹ ʯʲʨʮʤ ʺʠ .ʠʶʷʠʬʠ ʩʣʥʣʢ ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ
  .ʭʧʬ ʺʩʡʡ ʧ"ʺʴʤ ʺʩʺʹʺ ʩʹʠʸʮ ʩʡʸʢʥʮ ʣʮʧʠʥ ʤʱʠʮʲʣ ʠʩʧʩ ʥʰʩʫʤ
                               .ʲʥʢʩʴʤ ʩʰʥʥʫʠʮʥ ʩʮʦʥʩ ʭʰʩʤ ʺʠʩʡʲ ʭʩʤʸʡʠʥ ʸʥʮʲ ʬʠ ʣʠʩʸ


                                        Á ÁÁ


         ,ʤʴʩʧʡ "ʤʶʮ" ʺʣʲʱʮʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʱʸʮ 31
                             ʭʩʲʥʶʴ 34 -ʥ ʭʩʢʥʸʤ 15

  ʺʩʬʠʸʹʩ ʺʩʧʸʦʠ ʥʮʠ ʺʥʩʤ ʬʹʡ ,ʺʩʬʠʸʹʩ .ʦ.ʺ ʬʲʡ ,24 ʯʡ ,ʯʩʰ'ʢ ʡʹʥʺ - ʩʱʠʡʥʨ ʩʣʠʹ
  ʺʸʥʢʧʡ ʷʬʱʥʮʤ ʯʲʨʮ ʥʴʥʢ ʬʲʹʫ ʤʴʩʧ/ʯʰʠʹ ʤʥʰʡ "ʤʶʮ" ʺʣʲʱʮʬ ʱʰʫʰ ,ʤʬʡʩʷʥʮ ʺʡʹʥʺ
  ʺʥʹʠʸʡ ʯʩʰ'ʢʡ ʱ"ʠʮʧʤ ʺʩʺʹʺ ʺʰʥʥʫʤʡ ʲʶʥʡ ʲʥʢʩʴʤ .ʥʮʶʲ ʵʶʥʴʥ ʩʠʡʶ ʩʷʠʧ ʲʡʶʡ ʵʴʰ
  ʬʠʸʹʩʡ ʭʩʮʲʴ ʸʴʱʮ ʸʶʲʰ ʯʫ ʥʮʫʥ ʸʣʱ ʺʥʸʴʤ ʯʩʢʡ ʸʡʲʡ ʸʥʶʲ ʤʩʤ ʣʡʠʺʮʤ .ʯʠʥʣʲ ʱʩʩʷ
  .ʴ"ʺʹʡ ʭʹʠʥʤʥ ʺʩʰʩʨʱʬʴʤ ʺʥʹʸʡ ʩʣʠʹ ʸʶʲʰ ,ʩʦʥʸ ʬʠʬʡ ʺʸʩʷʧ ʩʴ ʬʲ .ʩʬʩʬʴ ʲʷʸ ʬʲ
  ʲʥʢʩʴ ʺʥʲʶʮʠʡ ʴ"ʺʹʮ ʥʰʩʠ ʩʫ ʧʩʫʥʤʬ ʹʷʩʡʥ ʱ"ʠʮʧʬ ʤʰʴʥ ʥʮʹ ʺʠ ʺʥʷʰʬ ʤʶʸ ʣʡʠʺʮʤ
  ʬʥʶʩʰ ʪʥʺ ,ʩʥʥʩʬ ʠʬʬ ,ʩʠʮʶʲ ʯʴʥʠʡ ʥʹʲʰ ʲʥʢʩʴʬ ʣʲʥʮʤ ʺʸʩʧʡʥ ʲʥʢʩʴʬ ʥʺʲʢʤ .ʺʥʣʡʠʺʤ
                                                 .ʺʩʬʠʸʹʩ ʺʥʤʦ ʺʣʥʲʺ ʠʹʰ ʩʫ ʤʣʡʥʲʤ


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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




   ʪʬʤʮʡ ʳʱʥʰ ʬʡʧʮ ʺʢʩʸʤʥ ʺʩʰʥʫʮʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʱʸʮ 30
                   ʲʥʶʴ ʸʨʥʹʥ ʢʥʸʤ ʸʨʥʹ ,ʭʸʫ ʬʥʨʡ ʭʨʥʸʩʩ


  ,ʸʣʧ ʥʡʠ ʣʥʮʧʮ ʩʬʲ ʣʮʧʠʬ ʤʰʴ ,21 ʯʡ ,ʯʩʰ'ʢ ʡʹʥʺ - ʸʴʰʧ ʩʣ'ʢʮ
  ʣʷʴʮ ʱʩʥʲ ʸʶʠʰ ʬʹ ʥʰʩʮʩ ʣʩʥ ʠʶʷʠ ʬʠ ʠʣʤʥʹ ʡʠʠʺʫ ʬʩʲʴ ,ʭʫʹ ʡʹʥʺ
  ʪʫʡ ʸʶʠʰ ʺʠ ʯʫʣʲ ʸʣʧ ʥʡʠ .ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʶʡʬ ʹʷʩʡʥ ,ʭʫʹʡ ʭʩʦʰʺʤ
  ʺʠ ʧʷʬ ʸʣʧ ʥʡʠ .ʭʥʩʤ ʺʸʧʮʬ ʥʡ ʹʥʢʴʬ ʹʷʩʡ ʸʶʠʰʥ ʣʡʠʺʮ ʥʺʥʹʸʡʹ
  ʬʹ ʥʺʩʡʬ ʣʡʠʺʮʤ ʺʠ ʲʩʱʤ ʪʹʮʤʡʥ ʭʫʹʡ ʥʩʣʥʨʱʡ ʭʬʨʶʤʬ ʣʡʠʺʮʤ
  ʩʥʤʩʦ ʺʥʩʧʥʬ ʺʬʲʡ ʺʩʰʥʫʮ ʹʥʫʸʬ ʸʶʠʰ ʩʣʩ ʬʲ ʹʷʡʺʰ ʯʫ ʥʮʫ .ʭʹ ʥʺʥʠ ʸʩʠʹʤʥ ʸʶʠʰ
  ,ʤʸʩʮʲ ʩʧʺʴ ,ʳʱʥʰ ʲʢʴʮ ʭʲ ʵʴʰ ʺʸʥʢʧ ʥʴʥʢ ʬʲʹʫ ʣʡʠʺʮʤ ʠʶʩ ʲʥʢʩʴʤ ʭʥʩʡ .ʺʥʩʬʠʸʹʩ
  ,ʤʩʩʡʸʢ ʬʠ ʤʷʠʡ ʸʥʦʠʬ ʥʲʩʢʤ ʭʩʩʰʹʤ .ʲʥʢʩʴ ʲʶʡʬ ʺʥʩʰʱʧʮʥ M-16 ʤʡʥʸʡ ʹʥʮʧ ʤʩʤʹ
  ʣʥʲʡ ʥʩʬʲʹ ʵʴʰʤ ʺʸʥʢʧ ʺʠ ʵʶʥʴ ʣʡʠʺʮʤ ʸʹʠʫ ʩʸʩ ʩʴʥʬʩʧ ʥʬʧʤʥ ʡ"ʢʮ ʧʥʫ ʩʣʩ ʬʲ ʥʲʺʴʥʤ
                                         .ʡ"ʢʮ ʧʥʫ ʹʠʮ ʢʸʤʰʹ ʣʲ ,ʧʥʫʤ ʬʲ ʤʸʥʩ ʩʧʺʴ


                                       Á ÁÁ



     ,ʡʩʡʠ ʬʺʡ "ʷʩʬʠʩʡ" ʤʴʷ ʺʩʡʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʱʸʮ 30
                            ʭʩʲʥʶʴ 29 -ʥ ʺʧʠ ʤʢʥʸʤ


  ʹʥʡʬ ʠʥʤʹʫ ʤʴʷʤ ʺʩʡʬ ʱʰʫʰ ,23 ʯʡ ,ʭʫʹ ʡʹʥʺ - ʺʠʧʬʶ ʣʰʤʮ
  ʺʥʩʸʧʠ .ʥʮʶʲ ʵʶʥʴʥ ʺʥʠʷʹʮʤ ʷʴʬʣ ʣʩʬ ʣʮʲʰ ,ʬʥʧʫ ʬʩʲʮʥ ʱʰʩ'ʢʡ
  ʭʩʹʣʥʧ ʤʹʥʬʹʫ ʱʩʥʢ ʣʡʠʺʮʤ .ʠʶʷʠʬʠ ʩʣʥʣʢ ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ
  ʥʸʴʫʮ ʸʷʥʡʡ ʠʶʩ ʲʥʢʩʴʤ ʭʥʩʡ .ʭʫʹʡ ʠʶʷʠ ʬʠ ʩʣʥʣʢʬ ʲʥʢʩʴʤ ʩʰʴʬ
  ʬʲ ʥʺʧʴʹʮʬ ʸʴʩʱ ʯʫ ʥʮʫ .ʣʥʠʮ ʸʶʷ ʸʴʺʱʤʥ ʧʬʢʺʤʹ ʸʧʠʬ ʬʠʸʹʩʬ
                                                                  .ʲʥʢʩʴ ʲʶʡʬ ʥʺʰʥʥʫ


                                       Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




       ,ʤʩʰʺʰʡ "ʷʸʠʴ" ʯʥʬʮ ʺʩʡʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʱʸʮ 27
                            ʭʩʲʥʶʴ 144 -ʥ ʭʩʢʥʸʤ 29

  ʤʩʰʺʰʡ ʷʸʠʴ ʯʥʬʮʬ ʱʰʫʰ ,25 ʯʡ ,ʭʸʫ ʬʥʨ ʡʹʥʺ - ʤʣʥʲ ʨʱʠʡʬʠ ʣʡʲ
  ʲʥʢʩʴʤ .ʥʮʶʲ ʵʶʥʴʥ ʸʣʱʤ ʬʩʬ ʺʣʥʲʱ ʺʠ ʭʩʧʸʦʠ ʺʥʸʹʲ ʥʡ ʥʫʸʲ ʺʲ
  ʱʠʡʲ ʺʥʹʠʸʡ ,ʭʫʹʡʥ ʭʸʫ ʬʥʨʡ ʺʥʩʠʡʶʤ ʱ"ʠʮʧʤ ʺʥʩʺʹʺ ʩʣʩʡ ʯʥʥʫʥʤ
  ,(ʸʥʶʲ) ʭʸʫ ʬʥʨʮ ʲʥʢʩʴʬ ʩʠʸʧʠʤ ,ʣʩʩʱ ʬʠ ʱʠʡʲ .ʸʤʠʨ ʣʰʤʮʥ ʣʩʩʱ ʬʠ
  ʯʰʫʺ ʩʫ ʥʺʸʩʷʧʡ ʤʣʥʤ ʱʠʡʲ .ʸʥʦʠʡ ʩʠʡʶʤ ʱ"ʠʮʧʤ ʹʠʸʫ ʹʮʩʹ
  ʬʩʲʴʬ ʤʸʥʤʹ ʠʥʤ ʱʠʡʲ .ʥʧʣʰ ʥʩʺʥʩʰʫʥʺ ʭʬʥʠ ,ʯʫʬ ʭʣʥʷ ʭʩʡʸ ʭʩʹʣʥʧ ʲʥʢʩʴʤ ʠʩʶʥʤʬ
  ʲʩʶʤʹ ʠʥʤʥ ʭʫʹʡ ʺʩʠʡʶʤ ʺʩʺʹʺʤ ʯʮ ʵʴʰ ʺʥʸʥʢʧ 2 ʢʩʹʤʬ ʩʸʥʸʧʹ ʸʮʲʮ ʺʩʺʹʺʤ
  ʥʰʩʫʤ ʲʥʢʩʴʤ ʭʸʨ .ʲʥʢʩʴʬ ʭʩʠʺʮ ʣʲʩ ʸʺʠʬʥ ʬʠʸʹʩʬ ʣʡʠʺʮʤ ʺʠ ʬʩʡʥʤʬ ʡʩʶʧ ʩʧʺʴʬ
  ʺʠ ʧʬʩʢ ʣʡʠʺʮʤ – ʲʥʢʩʴʤ ʲʥʶʩʡʬ ʨʱʠʡʬʠ ʣʡʲ ʺʠ ʺʩʺʹʺʤ ʯʮ ʭʩʴʱʥʰ ʭʩʬʩʲʴʥ ʱʠʡʲ
  ʸʲʩʹ ʭʲ ʺʩʸʫʥʰ ʤʠʩʴ ʹʡʧ ,ʭʩʹʰ ʩʬʲʰ ʬʲʰ ,ʭʩʩʹʰ ʭʩʬʥʧʫ ʱʰʩ'ʢ ʩʱʰʫʮ ʹʡʬ ,ʸʴʠʺʤ ,ʥʰʷʦ
  ʭʹʬ ʺʠʦ ʬʫ ,ʸʮʥʰʮ ʯʥʸʠʥʥʶ ʭʲ ʭʥʧ ʲʡʶʡ ʸʥʲ ʬʩʲʮ ʤʩʬʲʮʥ ʤʮʥʧ ʤʶʬʥʧ ʹʡʬ ,ʷʬʧ
  ʤʺʠʸʰʹ ,ʵʴʰʤ ʺʸʥʢʧʡ ʣʡʠʺʮʤ ʺʠ ʹʩʡʬʤ ʱʠʡʲ .ʬʠʸʹʩʡ ʭʣʠ ʩʮʥʤ ʭʩʸʥʦʠʡ ʺʥʲʮʨʤ
  ʥʬ ʸʩʡʱʤʥ ʢ"ʷ 10 ʬʷʹʮʡ ʥʩʤʹ ,ʵʴʰʤ ʩʸʮʥʧ ʥʰʮʨʥʤ ʭʤʡ ,ʭʩʱʩʫ ʭʲ ʩʷʠʧ ʲʡʶʡ ʨʱʥʥ ʥʮʫ
  ʺʥʰʥʮʺʥ ʤʲʥʰʺʤ ʬʢʣ ʲʷʸ ʬʲ M-16 ʤʡʥʸ ʭʲ ʣʡʠʺʮʤ ʺʠ ʭʬʩʶʹ ʸʧʠʬ .ʤʬʲʴʺʬ ʣʶʩʫ
  ʩʣʥʣʢ ʭʹʡ ʲʥʢʩʴ ʲʶʡʬ ʠʶʥʩ ʠʥʤ ʩʫ ʸʮʠʰ ʤʡʥ ʣʡʠʺʮʤ ʬʹ ʥʺʠʥʥʶ ʺʠ ʱʠʡʲ ʡʺʫ ,ʭʩʣʩʤʹ
  ʣʰʤʮ .ʤʹʩʠ ʬʹ ʺʥʤʦ ʺʣʥʲʺʡ ʣʡʠʺʮʤ ʺʠ ʱʠʡʲ ʣʩʩʶ ,ʳʱʥʰʡ .ʭʱʠʷʬʠ ʯʩʣʷʬʠ ʦʲ
  ʤʩʤ (ʢʥʸʤ) ʯʥʸʮʥʹʡ ʱ"ʠʮʧʤ ʬʹ ʺʩʠʡʶʤ ʲʥʸʦʤ ʹʠʸʫ ʹʮʩʹ ʸʹʠ ,ʭʫʹ ʡʹʥʺ ,ʸʤʠʨ
  ʡʹʥʺ ,ʡʩʶʧ ʩʧʺʴ .ʭʸʫ ʬʥʨʡ ʺʩʺʹʺʬ ʭʫʹʡ ʺʩʺʹʺʤ ʯʮ ʵʴʰʤ ʺʥʸʥʢʧ ʺʷʴʱʠʬ ʩʠʸʧʠ
  ,ʭʸʫ ʬʥʨʬ ʣʲ ʣʡʠʺʮʤ ʺʠ ʬʩʡʥʤ ʥʡʥ ʬʠʸʹʩʡ ʡʫʸ ʹʫʸ ʩʫ ʥʺʸʩʷʧʡ ʤʣʥʤ (ʸʥʶʲ) ʭʸʫ ʬʥʨ
                                  .ʬʠʸʹʩʬ ʥʱʰʫʰ ʥʲʱʰ ʭʹʮʥ ʸʧʠ ʡʫʸʬ ʭʩʩʰʹʤ ʥʸʡʲ ʭʹ


                                       Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




  ,ʭʩʬʹʥʸʩʡ ʬʡʥʩ ʺʩʸʷʡ ʨʷʸʮʸʴʥʱʡ ʺʣʡʠʺʮ ʺʬʡʧʮ ʵʥʶʩʴ :2002 ʱʸʮ 29
                              ʭʩʲʥʶʴ 22 -ʥ ʭʩʢʥʸʤ 2

     ʺʩʡ ʣʩʬʹ ʤʹʩʩʤʣ ʭʩʨʩʬʴʤ ʤʰʧʮʮ 18 ʺʡ ʤʸʲʰ - ʱʸʧʠʬʠ ʺʠʩʠ
                                                            .ʭʧʬ
  ʺʠ ʤʠʹʰ ʺʣʡʠʺʮʤ .ʲʥʢʩʴʬ ʺʥʩʸʧʠ ʧʷʬ ʧ"ʺʴʤ ʬʹ ʭʩʦʰʺʤ ʯʥʢʸʠ
  ʺʣʡʠʺʮʤ ʺʠ ʥʬʩʡʥʤʹ ʩʮ .ʸʥʧʹ ʭʩʹʰ ʷʩʺʡ ʤʸʥʡʲ ʯʫʥʤʹ ʯʲʨʮʤ
  ,ʭʩʩʰʹʤ .ʤʰʧʠʸʱ ʠʱʥʮ ʥʩʧʠʥ ʤʰʧʠʸʱ ʭʩʤʸʡʠ ʥʩʤ ʲʥʢʩʴʤ ʭʥʷʮʬ
  .ʭʩʬʹʥʸʩʡ ʬʡʥʩ ʺʩʩʸʷ ʺʰʥʫʹʡʹ ʨʷʸʮʸʴʥʱʬ ʪʥʮʱ ʬʠ ʭʥʣʠ ʸʣʰʨʡ ʺʣʡʠʺʮʤ ʺʠ ʥʬʩʡʥʤ
  ʲʥʢʩʴʤ ʩʰʴʮ ʯʺʥʠ ʸʩʤʦʤʥ ʷʸʩ ʥʸʫʮʹ ʺʥʩʡʸʲ ʺʥʹʩʹʷ ʩʺʹ ʬʠ ʠʱʥʮ ʹʢʩʰ ,ʲʥʢʩʴʤ ʲʸʠ ʭʸʨ
  ʤʡʺʫʥ ʥʠʣʩʥʥ ʺʮʬʶʮʡ ʺʣʡʠʺʮʤ ʤʮʬʥʶ ,ʲʥʢʩʴʤ ʺʠ ʲʶʡʬ ʤʺʠʩʶʩ ʭʸʨ .ʹʧʸʺʤʬ ʣʮʥʲʹ
                                                         .ʤʺʧʴʹʮʮ ʤʣʸʴʰ ʤʡ ʤʠʥʥʶ


                                       Á ÁÁ



     ,ʤʩʬʩʷʬʷ/ʱʸʠʧ ʭʥʱʧʮʡ ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʥʶʩʡ ʯʥʩʱʩʰ :2002 ʱʸʮ 26
                                   ʭʩʲʢʴʰ ʠʬʬ


  ʺʡʸʷʡ ʣʮʲʹ ʣʥʹʧ ʭʣʠ ʤʤʩʦ ʩʺʸʨʹʮ ʡʫʸʡ ʡʹʩʹ ,ʬʠʸʹʩ ʺʸʨʹʮ ʬʹ ʧʥʫ - ʲʥʣʩ ʠʬ
  ʡʸʷʺʤ ʦ"ʮʬʡʤ ,ʸʥʷʧʺ ʲʥʶʩʡ ʪʸʥʶʬ ʡʸʷʺʤʬ ʦ"ʮʬʡʬ ʠʸʷ ʩʺʸʨʹʮʤ ʧʥʫʤ .ʱʸʠʧ ʺʮʥʶ
  ʠʹʰ ʤʺʥʠ ʵʴʰ ʺʸʥʢʧ ʬʩʲʴʤʬ ʬʩʡʷʮʡʥ ʺʩʰʥʫʮʤ ʺʬʣ ʧʥʺʴʬ ʤʱʩʰ ,ʩʺʸʨʹʮʤ ʡʫʸʤ ʸʡʲʬ
  ʬʶʩʰ ʦ"ʮʬʡʤ ,ʭʥʷʮʤʮ ʩʺʸʨʹʮʤ ʡʫʸʤ ʷʧʸʺʤ ʤʬʲʴʤʤ ʯʥʩʱʩʰ ʩʥʤʩʦ ʭʲ             .ʥʴʥʢ ʬʲ
  ʩʫ ʤʬʲ ʲʣʩʮʤ ʪʱʮ .ʱʸʠʧ ʸʴʫ ʪʥʺʬ ʨʬʮʰʥ ʥʴʥʢ ʬʲ ʠʹʰʹ ʵʴʰʤ ʺʸʥʢʧ ʸʩʱʤ ,ʺʥʤʺʹʤʤ
                        .ʲʥʢʩʴʤ ʯʥʩʱʩʰ ʩʸʥʧʠʮ ʺʥʣʮʥʲʹ ʯʤ ʯʩʰ'ʢʮʥ ʭʫʹʮ ʲ"ʦʧ ʺʥʩʥʰʢʸʠʺʤ


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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



           ,ʯʩʰ'ʢ/ʭʬʠʱ ʭʥʱʧʮʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʱʸʮ 22
                                     ʲʥʶʴ ʬʩʩʧ


  ʸʹʠ ,25 ʯʡ ,ʭʫʹ/ʠʮʬʠ ʺʩʡ ʯʩʲ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʺʠʸʩʷʹ ʣʠʰʲ
  ʵʶʥʴʥ ʭʥʱʧʮʤ ʣʩʬ ʣʸʩ ,ʺʩʰʩʨʱʬʴ ʺʩʰʥʮʡ ʲʱʰ ,ʵʴʰ ʺʸʥʢʧ ʥʴʥʢ ʬʲ ʠʹʰ
  ʯʩʰ'ʢʡʥ ʭʫʹʡ ʭʩʦʰʺʤ ʺʥʩʺʹʺ ʯʩʡ ʤʬʥʲʴ ʳʥʺʩʹʡ ʲʶʥʡ ʲʥʢʩʴʤ .ʥʮʶʲ
  ʣʡʠʺʮʤ ʺʠ ʸʩʡʲʤ ʯʩʰ'ʢʡ ʭʩʦʰʺʤʮ ,ʱʰʥʩ ʣʠʩʦ .ʩʮʠʬʱʠ ʣʠʤ’ʢʤ ʲʥʩʱʡʥ
  .ʴ.ʮʮ ʭʩʦʰʺ ʬʩʲʴ ,ʩʱʩʸʥʰ ʣʮʧʮ ʩʣʩʬ ʠʮʬʠ ʺʩʡ ʯʩʲ .ʴ.ʮʮ ʳʱʥʰ ʭʣʠʥ
  ʩ"ʲ ʪʸʣʡ ʥʸʶʲʰʥ ʯʩʰ'ʢʬ ʤʸʥʸʡ ʠʬ ʤʡʩʱʮ ʥʸʦʧ ʭʩʩʰʹʤ .ʲʥʢʩʴʬ ʭʠʩʶʥʤʬ ʸʥʮʠ ʤʩʤʹ ʯʩʰ'ʢ
  ʯʫʥʤ ʯʲʨʮʤ ʩʫ ʤʬʲ ʤʹʸʴʡ ʭʩʸʥʶʲ ʺʥʸʩʷʧʮ .ʣʡʠʺʮʤ ʥʮʶʲ ʵʶʥʴ ʸʶʲʮʤ ʪʬʤʮʡ .ʠʡʶʤ
                                              .ʭʫʹʡ ʭʩʦʰʺʤ ʺʩʺʹʺʮ ʩʰʩʷ ʣʢʠʮ ʩʣʩ ʬʲ


                                       Á ÁÁ



  ,ʭʩʬʹʥʸʩʡ 'ʢʸʥ'ʢ ʢʰʩʷ 'ʧʸʡ ʤʴʷ ʺʩʡʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʱʸʮ 21
                              ʭʩʲʥʶʴ 80 -ʥ ʭʩʢʥʸʤ 3


  ʵʶʥʴ ,ʭʫʹ/ʬʺʮ ʺʩʰʩʨʱʬʴʤ ʤʸʨʹʮʤ ʹʩʠ ,21 ʯʡ ,ʺʥʲʷʡ/ʤʦʥʬʨ ʡʹʥʺ - ʤʫʩʠʹʧ ʣʮʧʮ
  ʩʣʥʣʢ ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʭʩʬʹʥʸʩʡ 'ʢʸʥ'ʢ ʢʰʩʷ 'ʧʸʡ ʤʴʷ ʺʩʡ ʧʺʴʡ ʥʮʶʲ
  ʲʣʩʮ ʺʥʡʷʲʡ ,"ʺʥʹʸʤ" ʩʰʥʰʢʰʮ ʩʣʩʡ ʣʡʠʺʮʤ ʸʶʲʰ ʸʡʲʡ .ʧ"ʺʴʤ ʭʲ ʭʩʤʥʦʮʤ ,ʠʶʷʠʬʠ
  ʣʮʧʮ ʤʣʥʤ ,ʦʠ ʥʺʸʩʷʧʡ ."ʷʥʸʩʤ ʥʷʤ" ʩʮʥʧʺʡ ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʶʡʬ ʥʺʰʥʥʫ ʬʹʡ ,ʬʠʸʹʩʮ
  ʭʮʶʲ ʥʶʶʥʴʹ ,ʭʩʣʡʠʺʮʤ 2 ʺʸʣʧʤʡ ʡʸʥʲʮ ʤʩʤ ʳʱʥʰʡ ʩʫʥ ʤʰʰʲʸʡ ʲʥʢʩʴ ʲʶʡʬ ʯʥʥʫʺʤ ʩʫ
  ʸʡʲʥʤ ʸʺʥʩ ʸʧʥʠʮ .(ʸʠʥʸʡʴ 8) ʩʮʲ ʩʮ ʡʥʹʩʩʤ ʣʩʬ ʭʩʩʬʠʸʹʩ ʯʥʧʨʩʡ ʺʥʧʥʫʡ ʥʬʷʺʰʹ ʸʧʠʬ
  ʥʸʶʲʮ ʪʸʥʶʬ ,ʤʬʬʠʮʠʸʬ ʭʸʫ ʬʥʨʮ ,ʩʬʠʸʹʩ ʩʥʥʩʬʡʥ ʸʥʹʩʠʡ ,ʭʩʰʩʨʱʬʴʤ ʺʹʷʡʬ ,ʣʡʠʺʮʤ
  ʸʶʥʰ ʲʥʢʩʴʤ ʩʰʴʬ ʭʩʮʩ ʸʴʱʮ .ʺʥʹʸʤ ʬʹ ʯʩʲ ʺʮʬʲʤ ʪʥʺ ʨʬʮʰʹ ʥʠ ʸʶʲʮʮ ʸʸʧʥʹ ʦʠʥ ,ʭʹ
  ʸʹʷʤ ʹʥʣʩʧ ʭʲʥ ,ʲʥʢʩʴʬ ʥʠʩʶʥʤʬ ʸʡʲʡ ʤʱʩʰ ʸʹʠ ,ʹʩʥʹ ʸʶʠʰʬ ʣʡʠʺʮʤ ʯʩʡ ʸʹʷʤ ʡʥʹ
  ʭʩʸʫ ʠʲ ʥʩʤ ʲʥʢʩʴʬ ʣʮʧʮ ʬʹ ʥʩʧʬʹʮʥ ʥʩʰʥʥʫʠʮ .ʲʥʢʩʴʬ ʣʮʧʮ ʬʹ ʥʺʠʶʥʤʬ ʺʥʰʫʤʤ ʥʮʬʹʥʤ
  2 ʩʣʩʡ ʤʺʹʲʰ ʲʥʢʩʴʤ ʭʥʷʮʬ ʣʮʧʮ ʬʹ ʥʺʬʡʥʤ .ʯʩʰ'ʢʡ ʭʩʦʰʺʤ ʺʩʺʹʺʮ ʹʩʥʥʹ ʸʶʠʰʥ ʱʩʥʥʲ
                                                                     .(ʺʥʸʥʶʲ) ʺʥʸʥʧʡ


                                       Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



   ,ʤʸʲ ʩʣʠʥ/ʱʥʮʱʥʮ ʺʮʥʶʡ ʱʥʡʥʨʥʠʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʱʸʮ 20
                   ʭʩʲʥʶʴ 28 -ʥ (ʭʩʬʩʩʧ 4 ʭʫʥʺʮ) ʭʩʢʥʸʤ 7


  ʭʩʣʢʡ ʺʥʰʧʡ ʣʡʲ ,24 ʯʡ ,ʯʩʰ'ʢ/ʸʠʤʣʬʠ ʺʬʩʱ ʡʹʥʺ - ʫʠʩʣ ʥʡʠ ʺʠʴʸ
  ʠ"ʺʮ 823 ʣʢʠ ʱʥʡʥʨʥʠʬ ʭʧʠʴ ʬʠ ʭʥʠ ʺʮʥʶʡ ʤʬʲ ʣʡʠʺʮʤ .ʯʩʰ'ʢʡ
  ʺʬʣʬ ʪʥʮʱʡ ʱʥʡʥʨʥʠʤ ʦʫʸʮʡ ʱʥʮʱʥʮ ʺʮʥʶʡ ʥʮʶʲ ʵʶʥʴʥ ʺʩʬʩʲ ʺʸʶʰʬ
  ʬʲ ʺʥʩʸʧʠ ʥʧʷʬ ʩʥʠʣʸʮ ʺʡʠʺ ʬʹ ʥʺʥʹʠʸʡ ʩʮʠʬʱʠ ʣʠʤ’ʢʤ .ʺʩʸʥʧʠʤ
  ʩʥʠʣʸʮ ʺʡʠʺ ʬʹ ʥʺʸʩʷʧʡ .ʤʩʸʥʱʡ ʩʮʠʬʱʠ ʣʠʤ’ʢʤ ʺʣʷʴʮ ʩʰʴʡ ʲʥʢʩʴʤ
  ʩʱʸʥʰ ʣʥʮʧʮʬ ʫʠʩʣ ʥʡʠ ʣʡʠʺʮʤ ʤʰʴ ʲʥʢʩʴʤ ʭʸʨ ʲʥʡʹʫ ʩʫ ʯʥʸʧʠʤ ʸʱʮ
  ʣʡʠʺʮʤ ʯʩʡ ʤʧʩʹʡ ʧʫʥʰ ʤʩʤ ʩʫ ʸʮʠ ʺʡʠʺ .ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʶʡʬ ʥʺʰʥʥʫʡ ʩʫ ʸʮʠʥ
  ʥʬ ʥʷʴʱʩ ʭʤ ,ʬʠʸʹʩʬ ʥʣʡʬ ʱʰʫʩʤʬ ʬʫʥʩ ʣʡʠʺʮʤ ʭʠ ʩʫ ʺʡʠʺ ʸʮʠ ʯʫ ʥʮʫ .ʩʱʸʥʰ ʣʥʮʧʮʥ
  ʺʸʥʢʧ ʩʱʸʥʰ ʣʥʮʧʮ ʥʬ ʸʱʮ ʲʥʢʩʴʤ ʲʥʶʩʡʬ ʺʴʠʸ ʬʹ ʥʺʠʩʶʩ ʭʸʨ ʡʸʲʡ .ʵʴʰʤ ʺʸʥʢʧ ʺʠ
                                                    . ʣʥʮʧʮʥ ʺʡʠʺ ʥʰʩʫʤ ʤʺʥʠ ,ʵʴʰ


                                      Á ÁÁ



   ,ʭʩʬʹʥʸʩʡ ʺʩʺʴʸʶʤ ʤʲʡʢʤ ʺʮʥʶʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʱʸʮ 17
                            ʭʩʲʥʶʴ 25

  ʣʡʲ ,ʩʮʠʬʱʠ ʣʠʤʩʢ ʬʩʲʴ ,24 ʯʡ ,ʤʣʩʠʲ .ʴ.ʮ ʡʹʥʺ - ʩʺʩʺʡʰ ʭʸʫʠ
  ,ʭʩʬʹʥʸʩʡ ʺʩʺʴʸʶʤ ʤʲʡʢʤ ʺʮʥʶʡ ʱʥʡʥʨʥʠʬ ʱʰʫʩʤʬ ʤʱʩʰ ,ʨʩʩʧʫ
  ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ .ʥʣʩʬ ʵʶʥʴʺʤ ʱʥʡʥʨʥʠʤ ʬʲ ʺʥʬʲʬ ʧʩʬʶʤ ʠʬʹʮ
  ʭʧʬ ʺʩʡʡ ʩʮʠʬʱʩʠʤ ʣʠʤʩ'ʢʤ ʬʹ ʤʬʩʡʥʮʤ ʺʩʠʡʶʤ ʺʩʺʹʺʤ
  ʬʲʥʴʬ ʲʥʢʩʴʤ ʺʠʶʥʤʡ ʥʴʺʺʹʤ ,ʳʱʥʰʡ .ʩʸʮʲʺ ʣʮʧʮ ʬʹ ʥʺʥʹʠʸʡ
               .ʣʡʠʺʮʤ ʬʹ ʥʺʠʥʥʶ ʺʡʩʺʫʬ ʢʠʣ ʳʠ ʭʠʱʡ ,ʬʥʡʬʡ ʣʮʧʠʥ ʸʷʲ ʥʡʠ ʭʠʱʡ


                                      Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



      ,ʭʩʬʹʥʸʩʡ "ʨʰʮʥʮ" ʤʴʷʤ ʺʩʡʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʱʸʮ 9
                             ʭʩʲʥʶʴ 58 -ʥ ʭʩʢʥʸʤ 11


  ,22 ʯʡ ,(ʭʧʬ ʺʩʡ ʣʩʬʩ) ʡʥʸʲʬʠ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʩʰʠʸʥʧ ʣʠʥʴ
  .ʴ"ʹʸʡ ʯʩʶʷ ʥʩʡʠ ,ʩʺʣ ʱ"ʠʮʧ ʬʩʲʴ ,ʤʬʬʠʮʸʡ ʭʩʸʥʮʬ ʤʬʬʫʮʡ ʨʰʣʥʨʱ
  ʸʥʮʠ ʩʫ ʩʰʩʨʱʬʴʤ ʬʫʱʮʤ ʯʩʲʩʣʥʮʤ ʩʣʩ ʬʲ ʣʹʧʥʤ ʲʥʢʩʴʤ ʩʰʴʬ ʭʩʩʺʰʹʫ
  ʠʩʤ ʤʬʬʠʮʸʡ ʱ"ʠʮʧʤ ʺʣʷʴʮ .ʱ"ʠʮʧʤ ʺʸʢʱʮʡ ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʶʡʬ
  .ʺʩʮʬʹʥʸʩ ʧʸʦʮ ʤʩʬʥʧʡ ʺʥʲʩʩʺʱʤ ʪʥʺ ʤʦ ʲʥʢʩʴ ʲʥʶʩʡʬ ʺʩʠʸʧʠʤ
  ʹʠʸ ,ʣʮʠʧ ʭʩʤʸʡʠ ʩʫ ʤʬʲ      ʩʬʬʫ ʯʥʧʨʩʡ ʺʥʸʩʹʡ ,ʺʥʩʬʥʧʤ ʩʸʡʧ ,ʭʩʸʥʶʲʤ ʺʥʸʩʷʧʮ
  ʬʠʠʥʬ ʥʸʩʡʲʤʬ ʥʬ ʤʸʥʤʥ ʲʢʴʮ ʥʺʥʹʸʡ ʩʫ ʯʠʮʸʲ ʣʮʧʮʬ ʸʮʠ ʤʬʬʠʮʸʡ ʩʠʡʶʤ ʱʠʮʧʤ
  ʺʩʡ ʣʢʱʮʡ ʤʲʡʷʰ ʲʥʢʩʴʬ ʤʠʩʶʩʬ ʳʥʱʩʠʤ ʺʣʥʷʰ .ʺʩʮʬʹʥʸʩ ʧʸʦʮʤ ʤʩʬʥʧʤ ʣʷʴʮ ,ʭʱʠʷ
  ʥʹʮʩʧ ,ʣʡʠʺʮʤ ʺʠ ʣʮʠʧ ʧʷʬ ʣʢʱʮʤʮ .ʤʸʩʡ ʬʠ ʣʢʱʮʡ ʥʹʢʴʰ ʣʡʠʺʮʤʥ ʯʠʮʸʲ .ʠʰʩʰʧ
  ʬʠʠʥ .ʹʣʧʤ ʠʰʩʰʧ ʺʩʡ ʣʢʱʮʬ ʣʡʠʺʮʤ ʲʱʰ ʭʹʮ ʺʥʩʰʥʮ ʺʰʧʺʬ ʥʺʥʠ ʤʥʥʩʬʥ ʲʥʢʩʴʬ
  ʣʢʱʮ ʣʩʬ ʥʬ ʯʩʺʮʤ ʣʡʠʺʮʤ ʩʫ ʸʱʮ ʥʺʸʩʷʧʡ .ʲʥʢʩʴʤ ʭʥʷʮʬ ʣʡʠʺʮʤ ʺʠ ʬʩʡʥʤ ,ʭʱʠʷ
  ʣʡʠʺʮʬ ʤʠʸʤ ʠʥʤ ,ʤʴʷʤ ʺʩʡ ʩʰʴʬʹ ʺʮʥʶʡ ʥʣʩʸʥʤʥ ʥʺʥʠ ʳʱʠ ʭʹʮ ,ʹʣʧʤ ʠʰʩʰʧ ʺʩʡ
  ʳʥʱʩʠʡ ʭʱʠʷ ʬʠʠʥ ʷʱʲ ʭʩʴʱʥʰ ʤʩʬʥʧ ʩʸʡʧ ʭʲ ʣʧʩ ,ʯʫ ʥʮʫ .ʭʥʷʮʤʮ ʲʱʰʥ ʲʥʢʩʴʬ ʣʲʩʤ ʺʠ
                                                      .ʭʩʲʥʢʩʴʬ ʭʩʴʱʥʰ ʭʩʣʲʩ ʬʲ ʲʣʩʮ


                                       Á ÁÁ



   ,ʸʥʫʸʫʡ ʭʩʸʥʴʩʶ ʡʥʬʫʡ ʷʬʱʥʮ ʯʲʨʮ ʭʲ ʣʡʠʺʮ ʬʡʧʮ ʩʥʬʩʢ :2002 ʱʸʮ 7
                                   ʭʩʲʢʴʰ ʠʬʬ

  ʭʩʸʥʴʩʶ ʡʥʬʫ ʭʲ ʡʡʥʺʱʤ ,18 ʯʡ ,ʯʩʰ'ʢ/ʸʥʰʠʱ ʡʹʥʺ - ʩʬʲ ʣʩʬʥ ʬʠʬʡ
  ʸʥʶʲʬ ʺʩʸʡʲʡ ʥʬ ʠʸʷ ʥʡ ʣʹʧ ʸʹʠ ʩʬʠʸʹʩ ʧʸʦʠ .ʸʥʫʸʫ ʡʥʹʩʤ ʸʥʦʠʡ
  ʬʲ ʭʩʸʥʴʩʶʤ ʡʥʬʫ ʺʠ ʧʩʰʤ ʣʡʠʺʮʤ .ʺʩʡʸʲʡ ʥʩʬʠ ʤʰʴ ʤʰʲʰ ʠʬʹʮʥ
  ʸʡʥʣʮ ʩʫ ʧʩʰʤʥ ʣʡʠʺʮʤ ʬʹ ʥʴʥʢ ʬʲ ʺʥʸʥʰʩʶʡ ʧʸʦʠʤ ʯʩʧʡʤ ʦʠʥ ʲʷʸʷʤ
  ʡʥʬʫ .ʭʥʷʮʤʮ ʨʬʮʰ ʣʡʠʺʮʤʥ ʸʥʧʠʬ ʢʥʱʰ ʧʸʦʠʤ .ʵʴʰ ʺʸʥʢʧʡ
  ʱʴʺʰ ʺʸʧʮʬ .ʷʱʴʮʡʥ ʸʺʬʥʠʮ ʤʬʡʧ ʯʲʨʮʡ ʣʫʬʥʮʮʫ ʤʬʢʺʤ ʥʣʩ ʬʲ ʧʰʥʤʹ ʭʩʸʥʴʩʶʤ
  ʸʧʠʬ ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʶʡʬ ʭʩʫʱʤ ʩʫ ʩʬʬʫ ʯʥʧʨʩʡ ʺʥʸʩʹʡ ʥʺʸʩʷʧʡ ʤʣʥʤʥ ʣʡʠʺʮʤ
  ʹʡʬʥʤ ,ʧʣʷʠʥ ʤʡʥʸʡ ʦʧʥʠ ʥʩʧʬʹʮ ʩʣʩ ʬʲ ʭʬʥʶ ʥʩʸʡʣʬ .ʥʩʩʧʡ ʱʠʮʥ ʥʩʡʠ ʭʲ ʪʱʫʺʱʤʹ
  ʭʩʰʲʨʮʤ ʬʩʲʴʤʬ ʣʶʩʫ ʺʥʠʸʥʤ ʬʡʩʷʹ ʸʧʠʬ .ʣʫʬʥʮʮʤ ʭʩʸʥʴʩʶʤ ʡʥʬʫʡ ʣʩʥʶʥ ʵʴʰ ʺʸʥʢʧʡ




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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



  ʺʸʥʢʧ ʺʠ ʣʡʠʺʮʤ ʸʩʢʱʤ ʯʫ ʥʮʫ .ʲʥʢʩʴʤ ʲʥʶʩʡ ʪʸʥʶʬ ʬʠʸʹʩ ʧʨʹʬ ʭʩʬʩʲʴʤ ʩʣʩ ʬʲ ʧʸʡʥʤ
                  .ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ ʯʥʢʸʠ ʩʣʩ ʬʲ ʯʥʥʫʥʠ ʲʥʢʩʴʤ .ʯʬʡʧ ʩʣʩ ʬʲ ʤʶʶʥʴʹ ,ʵʴʰʤ
                                        ÁÁÁ



        ,ʬʠʩʸʠʡ ʯʥʸʮʥʹʤ ʬʹʠ ʯʥʬʮʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʱʸʮ 7
                                ʭʩʲʥʶʴ 9

  ʬʩʲʮ ʹʥʡʬ ,ʺʩʬʢʸ ʲʩʢʤ ,24 ʯʡ ,ʺʥʲʷʡ/ʠʮʣʠʮ ʡʹʥʺ - ʸʶʠʰ ʩʣʠʹ
  ʠʥʤʹʫ ʬʠʩʸʠʬ ʤʱʩʰʫʡ ʷʬʣʤ ʺʰʧʺ ʸʡʲʬ ʺʸʠʧ ʬʴʫ ʸʴʫʤ ʯʥʥʩʫʮ ,ʪʥʸʠ
  ʺʰʧʺ ʸʡʲʬ ʥʺʲʢʤ ʭʲ .ʡʥʤʶ ʲʡʶʡ ʷʬʣ ʩʥʬʩʮʬ ʷʩʸ ʷʩʨʱʬʴ ʯʷʩʸ'ʢ ʠʹʥʰ
  ʧʺʴʡ ,ʤʰʧʺʤ ʺʡʸʷʡ ʭʷʥʮʮʹ 'ʯʥʸʮʥʹʤ ʬʹʠ' ʯʥʬʮ ʸʡʲʬ ʤʰʴ ʷʬʣʤ
  ʺʠ ʣʡʠʺʮʤ ʸʸʥʲ ʤʦ ʡʬʹʡ .ʷʩʸʤ ʯʷʩʸ'ʢʤ ʺʠ ʤʰʩʴʡ ʧʩʰʤ ʯʥʬʮʤ
  ʺʰʮ ʬʲ ʬ"ʤʶ ʩʰʩʶʷ ʩʰʹ ʥʷʩʲʦʤ ʤʬʠʥ ,ʭʥʷʮʡ ʥʤʹʹ ʭʩʧʸʦʠ ʬʹ ʭʣʹʧ
  ʬʷʺʰ ʭʹ ,ʺʩʰʹʡ ʩʡʥʬʬ ʣʸʩ ,ʤʰʥʩʬʲʤ ʤʮʥʷʬ ʤʬʲ ,ʯʥʬʮʬ ʲʩʢʤʬ ʷʩʴʱʤ ʣʡʠʺʮʤ .ʥʺʥʠ ʸʥʶʲʬ
  ʺʩʮʮʲʤ ʺʩʦʧʤ ʺʩʺʹʺ ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ .ʥʴʥʢ ʬʲ ʠʹʰʹ ʯʲʨʮʤ ʬʩʲʴʤʥ ʭʩʰʩʶʷʤ ʩʰʹʡ
  ʲ"ʦʧʤ ʩʹʠʸʮ ,ʠʱʩʲ ʣʥʮʧʮ ʬʹ ʥʺʸʩʷʧʡ .(ʸʥʶʲ) ʹʩʰʧ ʥʡʠ ʬʩʮʫ ʺʥʹʠʸʡ ,ʭʫʹʡ ʺʩʠʡʶʤ
  ʸʥʧʡ ʥʰʹʩ ʩʫ ʥʬ ʸʴʩʱʥ ʥʩʬʠ ʤʰʴ ʹʩʰʧ ʥʡʠ ʬʩʮʫ ʩʫ ʯʥʸʧʠʤ ʸʴʩʱ ,ʭʫʹʡ ʩʠʡʶʤ
  .ʬʠʩʸʠʡ ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʶʡʬ ʸʥʮʠ ʸʹʠ ,(ʢʥʸʤ) 'ʢʸʴ ʯʮʠʩ ʬʹ ʱʩʥʢʮ ,ʺʥʲʷʡ/ʠʮʣʠʮʮ
  ʸʦʰʥʮ ʭʹʡ ʬʩʲʴ .ʯʲʨʮ ʥʬ ʥʡʩʫʸʩʹ ʺʰʮ ʬʲ ʧ"ʺʴ ʩʬʩʲʴʬ ʤʰʴʩ ʠʱʩʲ ʩʫ ʬʩʮʫ ʹʷʩʡ ʯʫ ʥʮʫ
  ,'ʢʸʴ ʯʮʠʩʡ ʥʹʢʴ ʭʹ ʤʩʣʩʴʸʡ ʺʥʩʰʥʮʤ ʺʰʧʺ ʣʲ ʺʥʲʱʤ ʡʫʸʡ ʣʡʠʺʮʤ ʺʠ ʲʩʱʤ ʳʬʧ
               .ʬʠʩʸʠʬ ʣʡʠʺʮʤ ʲʩʢʤ ʭʹʮ ,ʬʺ ʭʥʱʧʮ ʯʥʥʩʫʡ ʣʡʠʺʮʤʥ ʯʮʠʩ ʥʫʩʹʮʤ ʭʹʮ


                                        Á ÁÁ



       ,ʭʩʬʹʥʸʩʡ "ʺʩʴʷ" ʤʴʷ ʺʩʡʡ ʣʡʠʺʮ ʬʡʧʮ ʺʣʩʫʬ :2002 ʱʸʮ 7
                                     ʭʩʲʢʴʰ ʠʬʬ

  ʷʩʺ ʭʲ ʱʰʫʰ ,ʱ"ʠʮʧ ʬʩʲʴ ,21 ʯʡ ,ʭʩʬʹʥʸʩ/ʸʡʫʮ ʡʹʥʺ - ʬʲʹʮ ʬʠʣʰ
  ʤʩʰʰʧ ʡʥʧʸ ʺʰʩʴ ʭʩʠʴʸ ʷʮʲ ʡʥʧʸʡ "ʺʩʴʷ" ʤʴʷ ʺʩʡʬ ʤʬʡʧ ʯʲʨʮ ʥʡʥ
  ʬʹ ʥʣʹʧ ʺʠ ʸʸʥʲʹ ʤʮ ,ʣʲʸ ʣʡʠʺʮʤʥ ,ʭʩʨʥʧ ʥʨʬʡ ʷʩʺʤʮ .ʭʩʬʹʥʸʩʡ
  ʱ"ʠʮʧʤ ʺʩʺʹʺ .ʭʩʴʱʥʰ ʭʩʧʸʦʠ ʲʥʩʱʡ ,ʥʩʬʲ ʨʬʺʹʤʹ ʭʩʣʡʥʲʤ ʣʧʠ
  ʩʫ ʤʬʲ ʤʺʴʩʹʧ ʺʸʢʱʮʡʥ ʲʥʢʩʴʤ ʯʥʩʱʩʰ ʩʸʥʧʠʮ ʤʣʮʲʹ ʠʩʤ ʭʧʬ ʺʩʡʮ
  ʺʥʰʫʤʡ ʩʦʫʸʮ ʡʩʫʸʮ ʥʥʩʤʹ ,(ʭʩʸʥʶʲ) ʱʩʣ ʥʡʠ ʺʬʬʫʮʮ ʭʩʨʰʣʥʨʱ 6 ʬʲ ʤʱʱʡʺʤ ʠʩʤ
  ʺʠʸʩʷʹ ʬʩʬʧ ʣʮʧʮ ʩʫ ʣʡʠʺʮʤ ʸʴʩʱ ʥʺʸʩʷʧʡ .ʭʩʬʹʥʸʩʬ ʥʧʥʬʩʹʥ ʣʡʠʺʮʤ ʱʥʩʢ ,ʲʥʢʩʴʬ


                                          55
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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



  ʬʠʣʰ ʬʹ ʥʺʥʣʡʠʺʤ ʯʥʩʲʸ ʬʲ ʭʩʩʰʹʤ ʥʧʧʥʹ ʪʹʮʤʡʥ "ʭʱʠʷʬʠ ʯʩʣʬʠ ʦʲ ʩʣʥʣʢ"ʬ ʥʱʩʩʢ
  ʺʠ ʭʥʷʰʬ ʳʠʹ ʳʱʥʰʡ , "ʣʩʤʹ"ʫ ʺʥʮʩ ʩʫ ʤʰʥʮʠ ʪʥʺʮ ʲʥʢʩʴʡ ʺʥʮʬ ʤʶʸ ʣʡʠʺʮʤ .ʲʥʢʩʴʡ
                                             .ʤʣʠʴʩʺʰʩʠʡ ʥʢʸʤʰʹ ʭʩʣʩʤʹʤ ʬʹ ʭʺʥʮ
                                      Á ÁÁ



             ,ʤʬʥʴʲʡ ʱʥʡʥʨʥʠʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʱʸʮ 5
                              ʭʩʲʥʶʴ 20 -ʥ ʢʥʸʤ 1


  ʥʮʶʲ ʵʶʥʴ ,23 ʯʡ ,ʯʩʰ'ʢ/ʤʩʺʸʠ'ʧʬʠ ʺʬʩʱ ʡʹʥʺ - ʤʰʩʠʧʨ ʭʩʸʫʬʠ ʣʡʲ
  ʺʩʬʩʲ ʺʸʶʰʮ ʥʫʸʣ ʤʹʲ ʸʹʠ 823 ʥʷ ʱʥʡʥʨʥʠʡ ʤʬʥʴʲʡ ʺʩʦʫʸʮʤ ʤʰʧʺʡ
  ʤʰʧʺʡ ʱʥʡʥʨʥʠʬ ʤʬʲ ʣʡʠʺʮʤ ʩʫ ʤʬʲ ʱʥʡʥʨʥʠʤ ʢʤʰ ʬʹ ʥʺʥʣʲʮ .ʠ"ʺʬ
  ʭʸʷ-ʯʡʬ ʲʡʶʡ ʳʬʥʢ ʺʶʬʥʧ ,ʱʰʩʢʡ ʹʥʡʬ ʠʥʤʹʫ ,ʺʩʬʲ ʺʸʶʰʡ ʺʩʦʫʸʮʤ
  ʥʷʬʧ ʸʡʲʬ ʭʣʷʺʤʥ ʧ"ʹ 50 ʬʹ ʸʨʹ ʢʤʰʬ ʯʺʰ ʠʥʤ ,ʩʬ"ʤʶ ʯʥʡʥʣ ʬʩʲʮʥ
  ʸʦʧʥ ʳʣʥʲʤ ʧʷʬ ,ʢʤʰʤ ʬʠ ʲʩʢʤ ,ʳʣʥʲ ʺʧʷʬ ʢʤʰʤ ʩʣʩ ʬʲ ʠʸʷʰʹʮ ,ʱʥʡʥʨʥʠʤ ʬʹ ʩʸʥʧʠʤ
  ʺʸʥʢʧ ʺʠ ʬʩʲʴʤ ʤʬʥʴʲʡ ʺʩʦʫʸʮʤ ʤʰʧʺʬ ʤʱʩʰʫʡ .ʱʥʡʥʨʥʠʤ ʬʹ ʩʸʥʧʠʤ ʷʬʧʡ ʡʹʩʩʺʤʬ
                      .ʩʮʠʬʱʠʤ ʣʤʠʩʢʤ ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʥʩʬʲ ʤʺʩʩʤʹ ʵʴʰʤ


                                      Á ÁÁ



         ,ʭʩʬʹʥʸʩʡ ʸʦʥʲ ʭʩʩʧ 'ʧʸʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʱʸʮ 2
                            ʭʩʲʥʶʴ 46 -ʥ ʭʩʢʥʸʤ 10


  ʵʶʥʴ ,18 ʯʡ ,ʭʧʬ ʺʩʡ/ʤʹʩʩʤʣ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʤʮ'ʲʠʸʣ ʣʮʧʮ
  ʣʩʬ ,ʺʡʹ ʩʠʶʥʮʡ ,ʭʩʬʹʥʸʩʡ ʬʠʸʹʩ ʺʩʡ ʺʰʥʫʹʡ ʸʦʥʲ ʭʩʩʧ 'ʧʸʡ ʥʮʶʲ
  ʤʦʧʺʤ ʤʩʩʠʸ ʺʥʣʲ ʩʴ ʬʲ .ʺʱʰʫʤ ʺʩʡʮ ʤʠʶʩʹ ʭʩʹʰʠ ʬʹ ʤʶʥʡʷ
  ."ʠʶʷʬʠ-ʬʠ ʩʬʬʧ ʩʣʥʣʢ" ʩʣʩ ʬʲ ʲʥʢʩʴʬ ʺʥʩʸʧʠ ʤʬʨʩʰ .ʩʣʸʧʬ ʣʡʠʺʮʤ
  ʸʰʥʩʬʩʬʴ ,20 ʯʡ ,ʤʸ'ʢʠ'ʢʧ ʳʸʹʠ ʩʣʩ ʬʲ ʲʥʢʩʴʤ ʭʥʷʮʬ ʬʡʥʤ ʣʡʠʺʮʤ
  ʤʣʥʤ ʩʬʬʫ ʯʥʧʨʩʡ ʺʥʸʩʹʡ ʥʺʸʩʷʧʡ .ʲʥʢʩʴʤ ʺʸʩʦʬ ʪʥʮʱʡ ʸʶʲʰ ʸʹʠ ʤʹʩʩʤʣ .ʴ.ʮ ʡʹʥʺ
  ʤʲʶʩʡ ʸʹʠ ʭʧʬ ʺʩʡ/ʤʹʩʩʤʣ .ʴ.ʮʡ ʩʠʡʶʤ ʭʩʦʰʺʤ ʺʩʺʹʺ ʩʡʢʬʥ ʥʬ ʱʧʥʩʮʤ ʩʡʢʬ ʳʸʹʠ
  ʥʣʥʤ ʸʹʠ ,ʤʰʧʠʸʱ ʣʥʮʧʮʥ ʩʡʸ'ʲʮ ʣʮʧʠ ʺʩʺʹʺʤ ʩʸʩʫʡ ʥʸʶʲʰ 27/5/02 -ʡ .ʲʥʢʩʴʤ
                        .ʥʺʠʸʷʬ ʺʩʺʹʺʤ ʺʰʫʤʥ ʲʥʶʩʡʤ ʺʰʥʥʫʠʬ ʭʺʥʩʸʧʠʡ ʭʤʩʺʥʸʩʷʧʡ


                                      Á ÁÁ


                                        56
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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




          ,ʭʩʡʫʮ ʭʥʱʧʮʡ ʺʣʡʠʺʮ ʺʬʡʧʮ ʵʥʶʩʴ :2002 ʸʠʥʸʡʴ 27
                               (ʭʩʸʨʥʹ) ʭʩʲʥʶʴ 2


  ʭʩʡʫʮ ʭʥʱʧʮʬ ʤʲʩʢʤ ʺʣʡʠʺʮʤ .ʯʥʸʮʥʹʡʹ ʯʦʥ ʺʩʡ ʺʡʹʥʺ ,22 ʺʡ - ʤʹʩʲ-ʥʡʠ ʯʩʸʠʣ
  ʭʩʩʰʹʤ .ʤʰʥʱʧ ʠʱʥʮʥ ʬʡʷʮ ʦʴʠʧ ,ʭʩʦʰʺʤ ʩʬʩʲʴ     ʩʰʹ ʭʲ ʡʫʸʡ ʡʸʲʮʬ ʧʸʦʮ ʯʥʥʩʫʮ
  ʺʣʡʠʺʮʤ .ʵʥʶʩʴʤ ʲʸʠ ʺʥʤʣʦʤʬ ʤʹʷʡʺʰ ʺʣʡʠʺʮʤʹʫ ,ʺʥʤʦ ʺʥʣʥʲʺ ʢʩʶʤʬ ʥʹʷʡʺʤ
  .ʬʷ ʧʸʥʠʡ ʥʲʶʴʰ ʭʩʬʠʸʹʩ ʭʩʸʨʥʹ ʩʰʹʥ ʤʹʷ ʥʲʶʴʰʥ ʥʸʥʰ ʡʫʸʡ ʥʡʹʩʹ ʭʩʸʡʢʤ ʩʰʹ ,ʤʢʸʤʰ
  ʩʠʰʥʺʩʲ ,ʩ'ʶʠʲ ʣʮʧʠ ʩʣʩ ʬʲ ʺʣʡʠʺʮʤ ʤʮʬʥʶ ʺʥʣʡʠʺʤʤ ʲʥʢʩʴ ʲʥʶʩʡʬ ʤʺʠʶ ʩʰʴʬ
         .ʲʥʢʩʴʬ ʺʥʩʸʧʠ ʬʨʰ ʧ"ʺʴʤ ʬʹ ʭʩʦʰʺʤ ʯʥʢʸʠ .ʤʣʧ ʯʩʫʱʡ ʺʦʧʥʠ ʠʩʤʹʫ ʤʬʬʠʮʸʮ


                                      Á ÁÁ


         ,ʺʸʴʠʡ ʨʷʸʮʸʴʥʱʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʸʠʥʸʡʴ 22
                                    ʭʩʲʥʶʴ 3

  ,ʺʸʴʠʡ ʯʩʰʡ ʬʲʥʴʫ ʣʡʲ ,26 ʯʡ ,ʭʧʬ ʺʩʡ/ʠʧʥʣ ʡʹʥʺ - ʯʩʱʠʩ ʸʠʣ ʣʮʧʮ
  ʦʫʸʮʡ ʠʶʮʰʤ ,ʨʷʸʮʸʴʥʱʡ ʵʴʰ ʺʸʥʢʧ ʺʥʲʶʮʠʡ ʥʮʶʲ ʺʠ ʵʶʥʴʬ ʤʱʩʰ
  ʸʹʠ ,ʵʴʰʤ ʺʸʥʢʧ ʺʠ ʵʶʥʴʬ ʧʩʬʶʤ ʠʬʥ ʸʧʠʮ .ʡʥʹʩʩʡ ʩʮʥʸʣʤ ʩʸʧʱʮʤ
  ʡʹʥʺ ʩ"ʲ ʺʥʥʮʬ ʤʸʥʰ ʬʡʧʮʫ ʤʤʥʦʹ ʸʧʠʬʥ ʵʧʬ ʬʫʩʮʥ ʸʥʰʩʶ ʩʰʲʨʮ ʤʬʩʫʤ
  ʠʩʧʩ ʬʹ ʥʺʥʹʠʸʡ ʭʧʬ ʺʩʡʡ ʭʩʦʰʺʤ ʺʩʺʹʺ ʩʣʩ ʬʲ ʯʥʥʫʥʠ ʲʥʢʩʴʤ .ʺʸʴʠ
                                  .ʠʧʥʣʡ ʭʩʦʰʺʤ 'ʸ ,ʤʸʡʠʥ'ʢ ʺʠʴʠʸ ʳʥʺʩʹʡ ,ʤʱʮʲʣ


                                      Á ÁÁ



      ,ʤʬʥʧʮ ʺʮʥʶʡ ʱʥʡʥʨʥʠ ʣʩʬ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʸʠʥʸʡʴ 19
                              ʭʩʲʢʴʰ ʠʬʬ

  ʬʲ ʺʥʬʲʬ ʤʱʩʰ ʤʬʥʧʮ ʺʮʥʶʡ ,20 ʯʡ ,ʭʫʹ/ʣʩʰʢ ʡʹʥʺ - ʯʩʱʠʩ ʸʮʲ
  ʬʹʡ ʣʡʠʺʮʡ ʣʹʧ ʸʹʠ ,ʢʤʰʤ .ʤʩʸʡʨʬ ʭʩʬʹʥʸʩʮ ʲʱʰʹ ʣʢʠ ʱʥʡʥʨʥʠ
  .ʤʷʩʣʡ ʪʸʥʶʬ ʱʥʡʥʨʥʠʤʮ ʺʣʸʬ ʥʬ ʤʸʥʤ ,ʥʤʠʸʮʥ (ʧʴʥʰʮ ʬʩʲʮ) ʥʹʥʡʬ
  ʵʶʥʴʺʤ ʭʩʸʨʮ ʸʴʱʮ ʸʧʠʬʥ ʣʡʠʺʮʤ ʧʸʡ ʤʷʩʣʡʡ ʢʤʰʤ ʬʧʤʹʮ




                                         57
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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



  ʬʹ ʥʧʥʬʩʹ ʬʲ .ʠʶʷʠ ʬʠ ʩʬʬʧ ʩʣʥʣʢ/ʺʥʸʥʧʹʤ ʺʥʲʥʸʦʤ ʭʲʨʮ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʢʸʤʰʥ
  ʺʠ ʯʩʫʤ ʸʹʠ ,ʩʰʩʷ ʣʢʠʮ ʺʥʹʸʡ ʬʩʬʷ ʸʴʫʡ ʭʩʦʰʺʤ ʺʩʺʹʺ ʺʩʠʸʧʠ ʲʥʢʩʴʬ ʣʡʠʺʮʤ
  ʥʬʩʡʥʤʹ ʸʧʠ ʬʩʲʴ ʩʣʩ ʬʲ ʳʱʠʰ ʭʹʮ ,ʯʠʣʩʡ ʩʣʠʥʬ ʣʲ ,ʪʸʣʤʮ ʷʬʧʡ ʥʬʩʡʥʤʥ ʲʥʢʩʴʬ ʸʮʲ
                                                                      .ʲʥʢʩʴʤ ʸʥʦʠʬ
                                       Á ÁÁ



  ,ʭʩʲʦ-ʠ ʭʥʱʧʮ ʣʩʬ ʺʴʥʺ ʺʩʰʥʫʮʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʸʠʥʸʡʴ 18
                              ʭʩʲʥʶʴ 2 -ʥ ʢʥʸʤ ʸʨʥʹ

  ,ʧ"ʺʴ ʬʩʲʴ ,ʤʹʥʬʹʬ ʡʠʥ ʩʥʹʰ ,34 ʯʡ ,ʸʥʧʠʶ ʺʩʡ ʡʹʥʺ - ʤʣʥʲ ʸʱʠʩ
  ʺʥʩʤ ʬʹʡ ,ʺʥʧʴʹʮ ʣʥʧʩʠ ʩʣʩ ʬʲ ʺʥʤʦ ʺʣʥʲʺ ʬʡʩʷ ʸʹʠ ʥʠʶʥʮʡ ʩʰʣʸʩ
  ʣʶʡ ,ʸʥʴʠ 205 ʥ'ʢʩʴ ʡʫʸʡ ʤʰʧ ʣʡʠʺʮʤ .ʸʥʧʠʶ ʺʩʡ ʺʡʹʥʺ ʥʺʹʠ
  ʸʹʠ ʭʩʸʨʥʹ ʩʰʹ ʭʲ ʺʣʩʩʰ .ʭʩʬʹʥʸʩʬ ʭʩʮʥʣʠ ʤʬʲʮʮ ʪʸʣʡ ʹʩʡʫʤ
  ʡʫʸʤʮ ʷʧʸʺʮʤ ʣʡʠʺʮʡ ʤʰʩʧʡʤʹʮʥ, ʥʺʥʠ ʤʣʩʹʧʤ ,ʡʫʸʡ ʤʰʩʧʡʤ
  ʠʥʤʥ ʷʬʣ ʠʬʬ ʲʷʺʰ ʩʫʥ 3 + ʩʥʹʰ ,ʱʩʣ ʥʡʠ ʡʹʥʺ ʠʥʤ ʩʫ ʯʲʨ ʣʡʠʺʮʤ .ʸʥʷʧʺʬ ʥʺʥʠ ʤʡʫʩʲ
  ʪʥʺʬ ʣʡʠʺʮʤ ʷʰʩʦ ,ʥʸʷʧʺʬ ʺʣʩʩʰʤʮ ʠʶʩ ʭʩʸʨʥʹʤ ʣʧʠʹ ʺʲʡ .ʷʬʣ ʠʩʡʤʬ ʸʥʨ-ʠʬ ʥʫʸʣʡ
  ʬʹ ʥʺʰʥʥʫʠʡ ,ʭʧʬ ʺʩʡʡ ʭʩʦʺʤ ʺʩʺʹʺ ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ .ʯʲʨʮʤ ʺʠ ʬʩʲʴʤʥ ʡʫʸʤ
  ʵʶʥʴʺʤʬ ʣʡʠʺʮʤ ʺʠ ʧʬʹ ʩʫ ʩʬʬʫ ʯʥʧʨʩʡ ʺʥʸʩʹʡ ʥʺʸʩʷʧʡ ʤʣʥʤ ʸʹʠ ,ʩʡʸʲʮ ʣʮʧʠ
  ʠʶʮ ʠʬ ʩʫ ,ʵʶʥʴʺʤ ʠʬ ʤʦ ʪʠ ʭʥʱʧʮʡ ʲʥʢʩʴʤ ʺʠ ʲʶʩʡʹ ʩʰʴʬ ʲʥʡʹʫ ʺʴʥʺʤ ʺʩʰʥʫʮʡ
                                                                      .ʭʩʠʺʮ ʭʥʷʮ


                                       Á ÁÁ



   ʣʩʬ ʲʥʢʩʴ ʲʥʶʩʡʬ ʭʫʸʣʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ 2 ʺʢʩʸʤ :2002 ʸʠʥʸʡʴ 17
                           ʭʩʲʥʶʴ ʭʩʸʨʥʹ 2 ,80 ʤʰʧʮ


  ʥʲʱʰ 22 ʯʡ ,ʤʩʬʩʷʬʷ/ʱʥʩ'ʢ ʡʹʥʺ ,ʣʬʠʧ ʸʡʠ'ʢʬʠ ʣʡʲʥ 18 ʯʡ ,ʭʫʹ ʡʹʥʺ ,ʤʣʥʮʧ ʣʮʧʮ
  ʸʥʶʲʬ ʨʩʬʧʤʥ ʭʺʥʠ ʣʩʹʧʤ ʹʩʡʫʤ ʬʲ ʤʩʤʹ ʩʺʸʨʹʮ ʡʫʸ .ʤʸʣʧ ʯʥʥʫʬ 323 ʤʣʦʮ ʡʫʸʡ
  ʤʰʧʮ ʸʥʦʠʡ ʸʶʲ ʡʫʸʤ .ʤʸʨʹʮʤ ʺʣʩʩʰ ʸʡʲʬ ʡʫʸʤʮ ʩʸʩ ʲʶʥʡ ʤʲʩʱʰ ʩʣʫ ʪʥʺ .ʡʫʸʤ ʺʠ
  ʸʡʲʬ ʩʸʩ ʲʶʡʬ ʤʱʩʰʥ ʯʥʮʩʸ ʥʠ ʯʲʨʮ ʪʩʬʹʤ ʤʠʸʰʤ ʬʫʫ ʸʹʠ ʣʧʠ ʲʢʴʮ ʣʸʩ ʥʰʮʮʥ 80
  ʩʮʬʺ ʯʥʥʩʫʬ ʤʲʩʱʰʡ ʪʩʹʮʤ ʩʰʹʤ ʲʢʴʮʤ .ʲʢʴʮʤ ʥʢʸʤʥ ʹʠ ʥʡʩʹʤ ʭʩʸʨʥʹʤ .ʭʩʸʨʥʹʤ
  ʯʥʩʱʩʰ ʩʣʫ ʪʥʺ ,ʸʶʮ ʸʥʦʠʡ .ʩʸʩ ʩʣʫ ʪʥʺ ʳʣʸʮʡ ʥʩʸʧʠ ʪʩʹʮʮ ʩʺʸʨʹʮʤ ʡʫʸʤʹʫ ʸʦʲʬʠ
  ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʹʠʡ ʺʥʬʲʬ ʬʧʤ ʡʫʸʤʥ ʲʢʴʮʤ ʡʫʸʡ ʵʥʶʩʴ ʲʸʠ ʡʫʸʤ ʺʠ ʳʥʷʲʬ ʭʩʸʨʥʹʤ



                                         58
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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



  ,ʭʸʫ ʬʥʨʡ ʩʠʡʶ ʧ"ʺʴ ʬʩʲʴ ,ʸʶʠʰ ʧʬʠʶ ʣʥʮʧʮ ʣʠʩʠ .ʠʶʷʠʬʠ ʩʬʬʧ ʩʣʥʣʢ ʩʣʩ ʬʲ ʤʬʨʩʰ
  'ʸ ,ʩʥʠʺʩʦ ʣʮʧʮ ʬʹ ʥʺʥʡʸʥʲʮʥ ʲʥʢʩʴʡ ʥʺʥʡʸʥʲʮ ʺʥʣʥʠ ʩʬʬʫ ʯʥʧʨʩʡ ʺʥʸʩʹʡ ʥʺʸʩʷʧʡ ʸʴʩʱ
                                                    .ʲʥʢʩʴʤ ʺʠʶʥʤʡ ʭʸʫ ʬʥʨʡ ʭʩʦʰʺʤ


                                       Á ÁÁ



    ,ʯʥʸʮʥʹ ʩʰʸʷʡ ʩʸʧʱʮʤ ʦʫʸʮʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʸʠʥʸʡʴ 16
                              ʭʩʲʥʶʴ 22 -ʥ ʭʩʢʥʸʤ 3

  ʵʶʥʴ ,ʤʩʣʰʬʷʡ ʺʩʲʥʶʷʮʤ ʤʬʬʫʮʡ ʣʩʮʬʺ ,19 ʯʡ ,ʤʩʬʩʷʬʷ ʡʹʥʺ -'ʨʴʠʧʬʠ ʣʡʲ ʷʣʠʶ
  .ʲʥʢʩʴʤ ʬʲ ʺʥʩʸʧʠ ʤʬʨʰ "ʺʩʮʮʲʤ ʺʩʦʧ"ʤ .ʯʥʸʮʥʹ ʩʰʸʷʡ ʩʸʧʱʮʤ ʦʫʸʮʡ ʤʩʸʶʩʴʡ ʥʮʶʲ
  ʣʠʠʸ ʬʹ ʥʺʰʥʥʫʠʡ ,ʤʩʬʩʷʬʷʡ ʺʩʠʡʶʤ ʲ"ʦʧʤ ʺʩʺʹʺ ʬʲʥʴʬ ʤʠʩʶʥʤʥ ʤʰʰʫʺ ʲʥʢʩʴʤ ʺʠ
                 .ʤʮʬʥʲ ʣʤʠʲ ʺʥʹʠʸʡ ,ʭʫʹʡ ʺʩʠʡʶʤ ʲ"ʦʧʤ ʺʩʺʹʺ ʭʲ ʳʥʺʩʹʡ ,ʩʣʠʮ


                                       Á ÁÁ



   ʤʬʲʮʬ ʭʩʬʹʥʸʩʮ ʲʱʰʹ ʱʥʡʥʨʥʠʡ ʣʡʠʺʮ ʬʡʧʮ ʺʣʩʫʬ :2002 ʸʠʥʸʡʴ 6
                               ʭʩʲʢʴʰ ʠʬʬ ,ʭʩʮʥʣʠ


  ʺʮʥʶʡ 176 ʥʷ ʣʢʠ ʱʥʡʥʨʥʠʬ ʤʬʲ ,23 ʯʡ ,ʭʫʹ ʡʹʥʺ - ʩ'ʢʷʠʸʥʱ ʬʠʣʰ
  ʪʥʺʡ ʥʩʣʩ ʺʠ ʦʩʦʮ ʥʡ ʯʩʧʡʤ ʢʤʰʤ .ʢʤʰʤ ʣʩʬ ʡʹʩʩʺʤʥ ʺʩʺʴʸʶʤ ʤʲʡʢʤ
  ʺʮʥʶʡ .ʥʬʩʲʮʮ ʭʩʶʡʶʡʮ ʬʮʹʧ ʩʨʥʧ ʤʠʸʹʫ ʥʡ ʣʹʧʥ ʹʡʬʹ ʬʩʲʮʤ ʱʩʫ
  ʥʣʩʸʥʤʥ ʣʡʠʺʮʤ ʬʹ ʥʩʣʩ ʺʠ ʥʷʺʩʸʹ ʡ"ʢʮ ʩʸʨʥʹ ʢʤʰʤ ʤʬʲʤ ʭʩʩʲʦ-ʠ
  ʸʱʮ ʥʺʸʩʷʧʡ .ʵʴʰʤ ʺʸʥʢʧ ʬʹ ʤʬʲʴʤʤ ʺʫʸʲʮ ʺʠ ʥʬʸʨʰ ʭʩʰʬʡʧ .ʱʥʡʥʨʥʠʤʮ ʥʺʥʠ
  ʸʩʫʡ) ,ʩ'ʢʫʸʥʱ ʳʱʥʩ ,ʥʡʥʸʷ ʬʹ ʥʺʥʮʮ ʺʥʹʷ ʲʴʹʥʤʥ ʸʧʠʮ ʣʩʤʹ ʺʥʩʤʬ ʭʩʫʱʤ ʩʫ ʣʡʠʺʮʤ
  ʸʩʫʤ ʥʺʥʠ ,ʸʩʹʧʹ ʯʮʩʠ ʩʣʩ ʬʲ ʲʶʥʡ ʯʥʣʰʤ ʬʹ ʥʱʥʩʢ .ʥʺʥʮ ʸʧʠʬ ʤʥʥʧʹ ʺʥʠʸʮʤʮʥ (ʱ"ʠʮʧ
  ʺʥʩʧʰʤ ʣʡʠʺʮʬ ʸʩʡʲʤ ʸʤʠʨ ʣʰʤʮ ."ʤʸʮʲ"ʤ ʱʷʨʬ ʥʺʠʩʶʩ ʺʲʡ ʯʫʬ ʭʣʥʷ ʭʩʰʹ ʸʴʱʮ
  ʺʥʩʧʰʤ ,ʭʩʬʹʥʸʩ ʯʥʥʩʫʬ ʤʲʩʱʰʬ ʺʥʩʧʰʤ ,ʺʥʲʮʨʩʤ ʪʸʥʶʬ ʺʥʩʧʰʤ :ʲʥʢʩʴʤ ʲʥʶʩʡʬ ʺʥʩʨʷʨ
  ʭʩʹʣʧ ʭʩʣʢʡ ʹʫʸʥ ʣʡʠʺʮʤ ʧʬʢʺʤ ʲʥʢʩʴʤ ʭʥʩʡ .ʣʲʩʤ ʩʡʢʬ ʪʥʸʣʺʥ ʵʴʰʤ ʺʸʥʢʧ ʺʬʲʴʤ
  ʤʸʥʢʧʤ ʺʠ ʹʡʬ ʭʹ ʯʮʩʠ ʬʹ ʥʺʩʡʬ ʲʩʢʤ ʸʷʥʡʤ ʪʹʮʤʡ ,(ʩʬʠʸʹʩ ʤʠʸʮ ʥʬ ʺʥʥʹʬ ʺʰʮ ʬʲ)
  ʲʩʢʤ ʸʹʠʫ .ʣʲʩʤ ʸʥʦʠʬ ʥʺʥʠ ʤʥʥʩʬʹ ʭʣʠ ʥʩʬʠ ʸʡʧ ʠʺʰʲ ʭʥʱʧʮ ʸʥʦʠʡ .ʬʩʲʮ ʤʩʬʲʮʥ
  ʢʤʰʬ ʭʬʩʹ ʠʥʤ .ʤʬʲʴʤʤ ʢʺʮ ʠʶʮʰ ʥʡ ʱʩʫʡ ʺʧʰʥʮ ʥʬʹ ʺʧʠ ʣʩʹʫ ʱʥʡʥʨʥʠʬ ʤʬʲ ʤʰʧʺʬ
                       .ʱʴʺʰ ʳʥʱʡʬʥ ʣʧʴʡ ʳʷʺʰ ʠʥʤ ,ʯʲʨʮʤ ʺʠ ʬʩʲʴʤʬ ʧʩʬʶʤ ʠʬ ʭʬʥʠ



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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




                                      Á ÁÁ



    ʣʩʬ ʫ"ʡʹ ʦʫʸ ʭʲ ʤʹʩʢʴʬ ʥʫʸʣʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʸʠʥʰʩ 30
                                ʭʩʲʥʶʴ 2 ,ʤʡʩʩʨ

  ʡʫʸʬ ʱʰʫʰ ,23 ʯʡ ,ʭʸʫ ʬʥʨ/ʤʺʡʠʰʲ ʡʹʥʺ - ʬʱʲ ʥʡʠ ʣʠʸʮ ʣʡʠʺʮʤ
  ʯʥʰʫʺʡ ʲʶʥʡ ʲʥʢʩʴʤ .ʥʮʶʲ ʵʶʥʴʥ ʫ"ʡʹ ʦʫʸ ʭʲ ʤʹʩʢʴʬ ʪʸʣʡ ʳʥʱʩʠ
  ʯʩʣʬʠ ʦʲ ʷʸʠʨʥ ʤʧʬʠʥʶ ʣʠʩʠ ʩʮʠʬʱʠ ʣʠʤ’ʢʤ ʩʬʩʲʴ ʬʹ ʤʰʥʥʫʠʥ
  ʩʣʠʴʥ ʸʠʣʸ ʸʱʠʢ ,ʳʥʬʧʮ ʭʺʶʲʮ :ʭʸʫ ʬʥʨ ʸʥʦʠʮ ʭʩʬʩʲʴ ʺʸʦʲʡʥ
  ʹʮʩʧ ʸʹʠ ,ʭʶʺʲʮ ʭʲ ʣʧʩ ʲʥʢʩʴʤ ʩʰʴʬʹ ʤʬʩʬʤ ʺʠ ʯʬ ʣʡʠʺʮʤ .ʩʺʤʡ
  ʥʺʥʠ ʧʬʹ ʯʫʮ ʸʧʠʬʥ ʤʧʬʠʥʶ ʣʠʩʠʮ ʬʡʩʷʹ ʺʥʷʩʥʣʮ ʺʥʠʸʥʤ ʩʴ ʬʲ ʲʥʢʩʴʤ ʸʷʥʡʡ ʥʺʥʠ
                                                                          .ʲʥʢʩʴʬ


                                      Á ÁÁ



         ,ʭʩʬʹʥʸʩʡ ʥʴʩ ʡʥʧʸʡ ʺʣʡʠʺʮ ʺʬʡʧʮ ʵʥʶʩʴ :2002 ʸʠʥʰʩ 27
                              ʭʩʲʥʶʴ 90 ,ʣʧʠ ʢʥʸʤ

  ,ʤʬʬʠʮʸʡ ʩʸʲʮʠʬʠ ʭʩʨʩʬʴʤ ʤʰʧʮ ʺʡʹʥʺ ,31 ʺʡ - ʱʩʸʣʩʠ 'ʠʠʴʥ
  .'ʭʥʣʠʤ ʸʤʱ'-ʤ ʯʥʢʸʠʡ ʤʣʡʲ ,ʺʥʸʷʲ ʺʠʴʮ ʭʩʣʬʩ ʠʬʬ ,ʤʹʥʸʢ
  ʺʣʡʠʺʮʤ ʬʹ ʤʩʧʠʮ ʤʹʥʬʹ .ʤʲʥʶʷʮʡ ʺʥʧʠʥ ʺʩʠʮʣʷʠ ,ʺʣʡʠʺʮʤ
  ʬʠʸʹʩ ʩʣʩʡ ʸʥʶʲ ʤʩʤ ʳʠ ʭʤʩʰʩʡʹ ʸʢʥʡʤʥ ʧ"ʺʴʤ ʯʥʢʸʠ ʬʲ ʭʩʰʮʰ
  ʭʩʦʰʺ ʬʩʲʴ ʬʹ ʥʺʰʥʥʫʤʡ ʲʶʥʡ ʲʥʢʩʴʤ .ʤʰʥʹʠʸʤ ʤʣʠʴʩʺʰʩʠʡ
  ʺʲʡ ʩʮʥʢ ʩʸʥʣʫ ʩʸʩʮ ʤʠʶʥʺʫ ʭʩʩʮʲʴ ʤʲʶʴʰ ʺʣʡʠʺʮʤʥ .ʤʬʬʠʮʸʮ
  .ʲʥʢʩʴʤ ʲʥʶʩʡʬ ʲʩʰʮ ʤʹʮʩʹʥ ʯʫʺʩʩ ʸʹʠ ʤʣʡʥʲ ,ʭʩʰʩʨʱʬʴ ʭʩʲʥʶʴʬ ʺʩʠʥʴʸ ʤʸʦʲ ʤʹʩʢʤʹ
                      .ʤʦ ʺʥʮʩʲ ʪʬʤʮʡ ʤʹʩʠ ʩʣʩ-ʬʲ ʲʶʥʡʹ ʯʥʹʠʸʤ ʺʥʣʡʠʺʤʤ ʲʥʢʩʴ ʥʤʦ


                                      Á ÁÁ



       ,ʡʩʡʠ-ʬʺʡ ʯʰʠʹ ʤʥʥʰ 'ʧʸʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2002 ʸʠʥʰʩ 25
                                   ʭʩʲʥʶʴ 23



                                        60
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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



  ʺʩʦʫʸʮʤ ʤʰʧʺʬ ʪʥʮʱ ʯʰʠʹ ʤʥʥʰ 'ʧʸʡ ʥʮʶʲ ʵʶʥʴ ,18 ʯʡ ,ʭʫʹ/ʯʦʥ ʺʩʡ ʡʹʥʺ - ʬʩʬʧ ʺʠʥʴʶ
  ʯʥʥʫʥʠ ʲʥʢʩʴʤ .ʩʸʩ ʲʶʡʬ ʸʥʮʠ ʤʩʤ ʸʹʠ ʳʱʥʰ ʬʡʧʮ ʣʫʬʰ ʲʥʢʩʴʤ ʺʸʩʦʡ .ʡʩʡʠ ʬʺʡ ʤʰʹʩʤ
  ʲʶʡʬ ʸʥʮʠ ʤʩʤʹ ,ʧ"ʺʴ ʬʩʲʴ ʭʲ ʤʬʥʲʴ ʳʥʺʩʹʡʥ ,ʯʩʰ'ʢʡ ʩʮʠʬʱʩʠʤ ʣʠʤʩ'ʢʤ ʺʩʺʹʺ ʩʣʩ ʬʲ
  ʬʠʸʹʩʬ ʭʩʲʢʴʮʤ ʩʰʹ ʺʠ ʥʸʩʣʧʤʹ ʭʤ ʯʩʰ'ʢʡ ʺʩʺʹʺʤʮ ʡʥʸ ʥʡʠ ʲʩʡʸʥ ʹʩʥʠʹ ʸʶʠʰ .ʩʸʩʤ
                                 .ʬʠʸʹʩ ʩʩʡʸʲ ʡʸʷʮ ʭʩʰʲʩʩʱ ʳʥʺʩʹʡ ,ʭʸʫ ʬʥʨ ʪʸʣ ʸʷʥʡʡ


                                        Á ÁÁ



     ,ʭʸʫ ʬʥʨʬ ʺʩʮʥʸʣ ʭʥʱʧʮ ʣʩʬ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2001 ʸʡʮʶʣ 15
                                     ʭʩʲʢʴʰ ʠʬʬ


  ʬʩʲʴ ,ʷʥʥʸ ,28 ʯʡ ,ʭʸʫ ʬʥʨ/ʱʮʹ ʸʥʰ ʡʹʥʺ - 'ʢʸʴ ʣʮʧʮ ʣʡʠʺʮʤ
  ,105 ʭʥʱʧʮʬ ʺʩʧʸʦʮ ʺʩʰʥʴʶ 'ʮ 30 -ʫ ʥʮʶʲ ʺʠ ʵʶʥʴ ,ʩʮʠʬʱʠ ʣʠʤʩ'ʢ
  ʭʩʦʰʺʤ ʩʰʥʢʸʠ ʬʹ   ʤʬʥʲʴ ʳʥʺʩʹʡ ʲʶʥʡ ʲʥʢʩʴʤ .ʭʸʫ ʬʥʨʬ ʺʩʮʥʸʣ
  ʣʠʩʸ ʩʣʩ ʬʲ ʤʬʥʲʴʬ ʯʫʥʤʥ ʱʩʥʢ ʣʡʠʺʮʤ .ʭʸʫ ʬʥʨʡ ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤʥ
  ʬʩʲʴ ,ʯʠʩʬʲ ʸʠʥʰʠ ʭʲ ʭʥʠʺʡ ʭʸʫ ʬʥʨʮ ʩʠʡʶ ʩʮʠʬʱʠ ʣʠʤ’ʢ ʬʩʲʴ ,ʸʩʣʡ
                       .(ʸʥʶʲ) ʭʸʫ ʬʥʨ ʸʥʦʠʡ ʺʩʠʡʶ ʤʩʬʥʧʡ ʸʡʧʥ ʱʮʹʬʠ ʸʥʰʮ ʩʠʡʶ "'ʠʢ


                                        Á ÁÁ



      ,ʳʩʨʷ ʹʥʢ/ʬʨ ʩʰʢ ʣʩʬ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ 2 ʵʥʶʩʴ :2001 ʸʡʮʶʣ 12
                                      ʭʩʲʥʶʴ 3


                              ʭʩʣʡʠʺʮʤ ʭʩʬʡʧʮʤ




                     ʸʥʹʠʲ ʩʬʲ                              ʣʠʩʴ ʥʡʠ ʣ'ʢʮʠ




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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



  ʩʰʡ ʭʩʨʰʣʥʨʱ ʭʤʩʰʹ ,ʱʰʥʩ ʯʠʧ ʡʹʥʺ ,ʸʥʹʠʲ ʩʬʲʥ ,ʤʦʲ/ʤʣʥʮʧ 'ʧʩʹ ʡʹʥʺ ,ʣʠʩʴ ʥʡʠ ʣ'ʢʮʠ
  ʺʥʣʡʠʺʤ ʭʸʨ ,ʬʨ ʩʰʢ ʣʩʬ ʭʩʲʱʥʰ ʭʩʡʫʸ 2 ʣʢʰ ʭʩʷʩʺʡ ʥʠʹʰʹ ʭʩʰʲʨʮ ʥʶʶʥʴ ,ʭʩʷʥʥʸ ,22
  ʥʺʰʥʥʫʠʡ ,ʱʰʥʩ ʯʧʮ ʱ"ʠʮʧ ʺʥʰʢʸʠʺʤ ʩ"ʲ ʲʶʥʡ ʲʥʢʩʴʤ .ʩʲʷʸʷ ʯʲʨʮ ʲʢʴʮʤ ʵʶʥʴ ,ʭʤʮ ʣʧʠ
  ʬʩʲʴʤ .ʯʠʣʮʧ ʬʩʲʮʱʩʠ ʹʮʩʹ ʭʩʬʩʲʴʤ ʸʠʹʬ ʳʩʣ ʣʮʧʮ ʬʹ ʸʹʷʤ ʹʩʠʫ . ʳʩʣ ʣʮʧʮ ʬʹ
  ʣʮʲʹ ʠʥʤʥ ,ʠʸʴʬʠ ʤʬʬʠʣʡʲ ʤʩʤ ʱʰʥʩ ʯʧ ʸʥʦʩʠʡ ʳʩʣ ʣʮʧʮ ʬʹ ʥʺʩʺʹʺʡ ʸʺʥʩʡ ʸʩʫʡʤ
                                                            .ʲʥʢʩʴʤ ʩʸʥʧʠʮ ʤʠʸʰʤ ʬʫʫ


                                        Á ÁÁ



        ,ʤʴʩʧʡ ʨʱʥʴ ʷ'ʶʤ ʺʮʥʶʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2001 ʸʡʮʶʣ 9
                                     ʭʩʲʥʶʴ 30


  ʺʶʥʡʷ ʪʥʺʡ ʥʮʶʲ ʵʶʥʴʥ ʵʴʰ ʺʸʥʢʧ ʥʴʥʢ ʬʲ ʠʹʰ ,18 ʯʡ ,ʯʩʰ'ʢ/ʯʥʮʠʩ ʡʹʥʺ - ʯʩʴʩʱ ʥʡʠ ʸʮʰ
  ʲʶʴʰ ʵʥʶʩʴʤʮ ʤʠʶʥʺʫ ,ʤʠʬʮ ʤʸʥʶʡ ʵʶʥʴʺʤ ʠʬ ʯʲʨʮʤ .ʤʴʩʧʡ ʨʱʥʴ ʷ'ʶʤ ʺʮʥʶʡ ʭʩʬʩʩʧ
  ʸʹʠ ʨʥʨʸʹ/ʤʴʮ ʤʠʶʮʰ ʥʺʴʥʢ ʬʲ .ʭʥʷʮʡ ʥʩʤʹ ʭʩʸʨʥʹ ʩʣʩ ʬʲ ʺʥʥʮʬ ʤʸʥʰʥ ʤʹʷ ʣʡʠʺʮʤ
  ʺʥʩʸʧʠʤ ʺʬʩʨʰ .ʺʩʡʸʲʡ ʪʸʣʤ ʺʬʩʴʺʥ ʯʠʸʥʷ ʸʴʱ ʥʠʶʮʰ ʯʫ ʥʮʫ ,ʤʴʩʧʬ ʲʩʢʤʬ ʣʶʩʫ ʸʩʡʱʤ
  ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ ʺʩʺʹʺ ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ .ʩʮʠʬʱʠʤ ʣʠʤ'ʢʤ ʯʥʢʸʠ ʩʣʩ ʬʲ ʤʮʱʸʥʴ
                                                            .ʭʩʦʰʺ ʩʬʩʲʴ ʲʥʩʱʡ ʯʥʸʮʥʹʡ


                                        Á ÁÁ



   5 ,ʭʩʬʹʥʸʩʡ ʠʬʩʮʮ ʯʥʨʬʩʤ ʯʥʬʮ ʣʩʬ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2001 ʸʡʮʶʣ 4
                                        ʭʩʲʥʶʴ

  ʵʶʥʴʺʤ ,8 -ʬ ʡʠʥ ʩʥʹʰ ,46 ʯʡ ,ʭʧʬ ʺʩʡ/ʱʠʨʸʠ ʡʹʥʺ - ʣʩʲʱ ʣʥʠʣ
  ʯʥʬʮʮ ʭʩʸʥʴʱ ʭʩʸʨʮ ʭʩʬʹʥʸʩʡ ʤʩʲʮʹ ʥʤʩʬʠ - ʪʬʮʤ ʣʥʣ 'ʧʸʤ ʺʰʩʴʡ
  .ʷʩʴʱʤ ʠʬ ʪʠ ʱʥʡʥʨʥʠʬ ʺʥʬʲʬ ʣʡʠʺʮʤ ʤʱʩʰ ʤʠʸʰʤ ʬʫʫ .ʠʬʩʮʮ ʯʥʨʬʩʤ
  ʩʮʠʬʱʠ ʣʠʤ’ʢʤ ʯʥʢʸʠ ʬʹ ʺʩʠʡʶʤ ʲʥʸʦʤ ʺʥʩʸʧʠ ʤʧʷʬ ʲʥʢʩʴʤ ʬʲ
  ʺʩʡʡ ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ ʺʩʺʹʺ ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ ."ʭʩʬʹʥʸʩ ʺʥʢʥʬʴ"
  ʺʩʺʹʺʤ ʣʷʴʮ .ʷʹʮʣʡ ʩʮʠʬʱʠ ʣʠʤ’ʢʤ ʺʣʷʴʮ ʭʲ ʸʩʹʩʥ ʳʩʶʸ ʸʹʷʡ ʺʣʮʥʲ ʸʹʠ ʭʧʬ
  ʬʩʲʮʱʠ ʣʮʧʮ ʠʱʩʲ ʠʥʤ ʺʥʣʡʠʺʤʤ ʲʥʢʩʴʬ ʣʡʠʺʮʤ ʬʹ ʥʧʥʬʩʹ ʩʸʥʧʠʮ ʣʮʥʲ ʸʹʠ
                                                              .(ʸʥʶʲ) ʭʧʬ ʺʩʡʮ ʨʠʨʡ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ


                                       Á ÁÁ




  15 ,ʤʴʩʧʡ ʭʩʰʡʬ ʣʩ 'ʧʸʡ ʱʥʡʥʨʥʠʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2001 ʸʡʮʶʣ 24
                               ʭʩʲʥʶʴ 35 - ʥ ʭʩʢʥʸʤ

  "ʣʢʠ" ʱʥʡʥʨʥʠ ʪʥʺʡ ʥʮʶʲ ʵʶʥʴ ,ʷʥʥʸ ,20 ʯʡ ,ʭʫʹ ʡʹʥʺ - ʩʹʩʡʧ ʸʤʠʮ
  ʢʤʰ ʸʥʷʧʺʮ .ʤʴʩʧʡ ʺʩʺʧʺʤ ʸʩʲʡ ,"ʭʩʰʡʬ ʣʩ" ʡʥʧʸʡ 16 ʥʷʡ
  ,ʵʥʶʩʴʤ ʩʰʴʬ ʺʧʠ ʤʰʧʺ ʱʥʡʥʨʥʠʬ ʤʬʲ ʣʡʠʺʮʤ ʩʫ ʤʬʲ ʱʥʡʥʨʥʠʤ
  ʥʬ ʸʩʦʧʤʬ ʺʰʮ ʬʲ ʥʬ ʠʸʷ ʢʤʰʤʹʫ .ʱʥʡʥʨʥʠʤ ʪʥʺʬ ʱʰʫʩʤʬ ʬʧʤʥ ʭʬʩʹ
  ʵʴʰ ʺʸʥʢʧ ʺʥʲʶʮʠʡ ʤʠʸʰʤ ʬʫʫ ,ʥʮʶʲ ʵʶʥʴʥ ʣʡʠʺʮʤ ʡʡʥʺʱʤ ,ʳʣʥʲ
  ʠʥʤ ʲʥʢʩʴʤ ʯʥʥʫʠʮ .ʲʥʢʩʴʬ ʺʥʩʸʧʠ ʤʬʨʰ ʱ"ʠʮʧʤ ʺʲʥʰʺ .ʷʩʺ ʥʮʲ ʠʹʰ ʠʬ ʯʫʹ ,ʹʡʬʹ
  ʥʩʣʩʬ ʬʡʩʷ ʠʥʤ ʩʫ ʸʴʩʱ ʥʺʸʩʷʧʡ .ʯʥʸʮʥʹʡ ʺʩʠʡʶʤ ʱ"ʠʮʧʤ ʺʩʺʹʺ ʩʸʩʫʡʮ ,ʤ'ʢʧ ʭʩʬʱ
  ʥʬ ʸʮʠʥ ʠʬ ʥʠ ʺʥʮʬ ʯʥʥʫʺʮ ʣʡʠʺʮʤ ʭʠʡ ʷʣʥʡ ʠʥʤʹ ʪʥʺ ,ʲʥʢʩʴʬ ʥʺʥʠ ʯʩʫʤʥ ʣʡʠʺʮʤ ʺʠ
  ʸʧʠʬ ,ʣʲʩʤ ʭʥʷʮ ʩʡʢʬ ʣʡʠʺʮʬ ʪʥʸʣʺ ʸʩʡʲʤ ʤ'ʢʧ .ʲʥʢʩʴʬ ʠʶʩ ʠʬʹ ʳʩʣʲ ʯʫʥʮ ʥʰʩʠ ʭʠ ʩʫ
                     .ʱʥʡʥʨʥʠʤ ʢʤʰ ʭʲ ʸʥʡʩʣʡ ʺʥʡʸʤʬ ʠʬʹ ʥʺʥʠ ʤʧʰʤʥ ʠʹʥʰʤ ʺʠ ʣʮʬʹ


                                       Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




   ,ʭʩʬʹʥʸʩʡ ʤʣʥʤʩ ʯʡ ʡʥʧʸʣʮʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ 2 ʵʥʶʩʴ :2001 ʸʡʮʶʣ 1
                            ʭʩʲʥʶʴ 170 - ʥ ʭʩʢʥʸʤ 11

                              ʭʩʣʡʠʺʮʤ ʭʩʬʡʧʮʤ




                ʤʩʡʬʧ ʥʡʠ ʬʩʡʰ                              ʸʧʡ ʤʮʠʱʠ


  ʭʩʣʥʹʧ ʸʷʥʧʥ ʠʬʫʡ ʯʥʧʨʩʡʤ ʺʣʲʥ ʸʡʧ ,ʩʺʣ ,ʱʩʣ ʥʡʠʡ ʱ"ʠʮʧʤ ʸʡʧ ,25 ʯʡ ,ʸʧʡ ʤʮʠʱʠ
  ʲʣʩ ʬʲʡ ,ʥʲʥʶʷʮʡ ʧʩʩʨ ,ʬ"ʫʣʥʮ ʬʩʲʴʫ ʸʫʥʮ ,24 ʯʡ ,ʤʩʡʬʧ ʥʡʠ ʬʩʡʰʥ ʤʬʥʲʴ ʳʥʺʩʹʡ
  ʲʡʸʫ ʸʧʠʬ .ʭʩʬʹʥʸʩʡ ʤʣʥʤʩ ʯʡ ʡʥʧʸʣʮʡ ʭʮʶʲ ʥʶʶʥʴ ,ʱʩʣ ʥʡʠ ʡʹʥʺ ,ʤʮʩʧʬ ʺʥʩʥʰʮʥʩʮʡ
  ʺʥʩʸʧʠ ʬʨʰ ʱ"ʠʮʧʤ ʯʥʢʸʠ .ʡʥʧʸʣʮʬ ʪʥʮʱʤ ʷʥʷ ʡʥʧʸʡ ʺʴʥʺ ʺʩʰʥʫʮ ʤʶʶʥʴʺʤ ʤʲʹ
  ʯʩʡ ʸʹʷ ʸʥʰʩʶ ʤʥʥʩʤ ʸʹʠ ʱʩʣ ʥʡʠ ʡʹʥʺ) ʹʸʨʠ ʣʩʸʴʬ ʤʰʴ ʤʮʠʱʠ .ʲʥʢʩʴʤ ʬʲ ʺʩʮʹʸ
  ʬʩʲʴ ,ʬʩʥʠʨ ʬʠʮʢ ʭʲ ʥʹʩʢʴʤʬ ʥʰʮʮ ʹʷʩʡʥ (ʭʩʬʹʥʸʩʬ ʤʬʬʠʮʸʡ ʩʠʡʶʤ ʱ"ʠʮʧʤ ʺʥʬʩʲʴ
  ʤʮʠʱʠ ʬʲ ʩʫ ʣʩʸʴʬ ʸʱʮ ʬʩʥʠʨ .ʩʠʡʶʤ ʱ"ʠʮʧʬ ʥʱʩʩʢʩʹ ʺʰʮ ʬʲ ,ʤʬʬʠʮʸʮ ʸʩʫʡ ʱ"ʠʮʧ
  ʯʫʮ ʸʧʠʬ ."ʯʥʺʩʲ ʥʣʩʡʥ ʸʥʧʹ ʨʷ'ʢ ʹʥʡʬ 'ʠ ʭʥʩʠʡ ʭʩʩʲʥʡʹ ʣʥʲʡ ʤʸʠʰʮʤ ʸʫʩʫʬ ʲʩʢʤʬ"
  ,ʤʬʬʠʮʸʡ ʱ"ʠʮʧʤ ʺʣʷʴʮ ʩʹʠʸʮ ,ʣʮʠʧ ʭʩʤʠʸʡʠʬ ʤʮʱʠ ʺʹʷʡ ʺʠ ʬʩʥʠʨ ʸʩʡʲʤ
  ʱ"ʠʮʧ ʺʩʺʹʺʡ ʸʩʫʡ ,ʬʠʮʢ ʤʬʬʠʣʡʲ ʬʹ ʥʺʸʩʷʧʡ .ʲʥʢʩʴʬ ʥʱʩʩʢ ,ʤʠʸʰʤ ʬʫʫ ,ʸʹʠ
  ,ʭʱʠʷ 'ʧʩʹ ʣʩʩʱ ʪʸʣ ʲʥʢʩʴʬ ʭʩʰʲʨʮʤʥ ʺʥʸʥʢʧʤ ʺʠ ʸʩʡʲʤʥ ʯʩʫʤ ʩʫ ʸʱʮ ,ʤʬʬʠʮʸ
  ʩʴʫʥ ʤʮʠʱʠ ʬʹ ʡʥʸʷʤʥ ʡʥʨʤ ʥʸʡʧ ʤʩʤ ʤʩʡʬʧ ʥʡʠ ʬʩʡʰ .ʣʮʠʧ ʭʩʤʸʡʠ ʬʹ ʶ"ʡʮʷʤ
  ʺʫʩʩʹ ʤʺʩʩʤ ʤʶʶʥʴʺʤʹ ʺʴʥʺʤ ʺʩʰʥʫʮ ."ʸʡʧ ʠʩʡʮ ʸʡʧ" ʺʨʩʹʡ ʲʥʢʩʴʬ ʱʩʥʢ ʤʠʸʰʤ
  ʢʥʱʮ ,ʡʫʸʤ ʩʫ ʥʺʸʩʷʧʡ ʤʣʥʤ ʸʹʠ ,ʩʮʠʬʱʠ ʣʠʤ’ʢ ʬʩʲʴ ,ʱʩʣ ʥʡʠ ʡʹʥʺ ,ʯʠʩʬʲ ʸʣʠʰʬ
  ʠʹʰ ʡʫʸʤʥ ʭʩʧʨʹʡ ʸʸʥʢʺʮ ʠʥʤʥ ʸʧʠʮ ʭʬʥʠ ʥʬ ʪʩʩʹ ʤʩʤ ,87 ʬʣʥʮ ʤʬʥʧʫ ʨʣʷ ʬʴʥʠ
  ʭʹ ʬʲ ʡʫʸʤ ʭʹʸ ʸʹʠ ʤʬʩʮʸ ʥʡʠ ʣʠʸʥʮ ,ʥʸʡʧ ʺʸʦʲʬ ʸʣʠʰ ʷʷʦʰ ʺʥʩʬʠʸʹʩ ʩʥʤʩʦ ʺʥʩʧʥʬ
                    .ʲʥʢʩʴʤ ʩʰʴʬ ʭʥʩ ʭʤʩʣʩʬ ʸʱʮʰʥ ʤʮʠʱʠʥ ʬʩʡʰʬ ʡʫʸʤ ʸʫʮ ʸʣʠʰ .ʥʣʥʣ ʯʡ



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                       ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



      ,80 ʤʰʧʮ ʣʩʬ ʱʥʡʥʨʥʠ ʪʥʺʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2001 ʸʡʮʡʥʰ 29
                               ʭʩʲʥʶʴ 8 - ʥ ʭʩʢʥʸʤ 3

  ʥʮʶʲ ʵʶʥʴ ,ʩʺʣ ,ʷʥʥʸ ,20 ʯʡ ,ʯʩʰ'ʢ/ʤʩʺʸʠ'ʧʬʠ ʺʬʩʱ ʡʹʥʺ - ʤʰʠʥʤʹ ʣʲʱʠ ʸʮʠʱ
  ʵʥʶʩʴʤ ʩʰʴʬ ʩʫ ʤʬʲ ʲʥʸʩʠʤ ʸʥʷʧʺʮ .80 ʤʰʧʮʬ ʪʥʮʱ ʲʸʩʠ ʵʥʶʩʴʤ .823 ʥʷ ʣʢʠ ʱʥʡʥʨʥʠʡ
  ʭʴʹ ,ʺʸʣʥʱʮ ʤʲʴʥʤ ʬʲʡ 25 ʯʡʫ ʣʧʠ ʲʱʥʰ ʭʧʴ ʬʠ ʭʥʠ ʺʮʥʶʡ ʤʰʧʺʤʮ ʱʥʡʥʨʥʠʤ ʳʱʠ
  ʢʤʰʤ ."ʤʸʣʧ" ʸʮʠʥ ʧ"ʹ 100 ʬʹ ʺʥʸʨʹ ʩʰʹ ʢʤʰʬ ʸʱʮ ʲʱʥʰʤ .ʧʬʥʢʮ ʸʥʧʹ ʸʲʩʹʥ ʯʨʷ
  .ʱʥʡʥʨʥʠʬ ʤʬʲʹ ʲʱʥʰʤ ʭʫʹ ʬʲ ʧʴʨ ʭʤʮ ʣʧʠ ,ʤʰʧʺʡ ʥʩʤʹ ʭʩʴʱʥʰ ʭʩʹʰʠ ʩʰʹʡ ʯʩʧʡʤ
  ʲʮʹ 80 ʤʰʧʮ ʺʮʥʶʬ ʲʩʢʤ ʢʤʰʤ .ʡʹʩʩʺʤʥ ʱʥʡʥʨʥʠʤ ʬʹ ʩʸʥʧʠʤ ʷʬʧʤ ʯʥʥʩʫʬ ʪʬʤ ʲʱʥʰʤ
  ʣʠʤʩ'ʢʤ ʺʲʥʰʺ ʺʥʩʸʧʠ ʤʬʨʰ ʲʥʢʩʴʤ ʬʲ .ʸʩʣʠ ʵʥʶʩʴ ʲʸʠ ʦʠʥ ʸʶʲʰ ,ʯʨʷ ʵʥʶʩʴ ʯʩʲʮ
  ʩʮʠʬʱʠ ʣʠʤ’ʢ ʬʩʲʴ ,ʩʥʥʠʣʸʮ ʺʡʠʺ ʸʶʲʰ (02 ʬʩʸʴʠ) 'ʯʢʮ ʺʮʥʧ' ʲʶʡʮ ʪʬʤʮʡ .ʩʮʠʬʱʠʤ
  (ʢʥʸʤ) ʤʡʬʠʥʨ ʣʥʮʧʮ, ʥʩʴʬ ,ʲʥʢʩʴʤ ʺʥʣʥʠ ʲʣʩʮ ʥʺʸʩʷʧʡ ʸʱʮ ʸʹʠ ,ʯʩʰ'ʢʮ ʸʩʫʡ ʩʠʡʶ
  ʩʫ ʸʴʩʱ ʯʫ ʥʮʫ .ʤʬʲʴʤʬ ʤʰʫʥʮ ʵʴʰ ʺʸʥʢʧ ʩʥʥʠʣʸʮ ʥʰʮʮ ʬʡʷ ʥʸʶʲʮ ʭʸʨ .ʴ"ʹʸʤ ʩ"ʲ ʸʶʲʰ
  ʵʴʰʤ ʺʸʥʢʧ ʺʠ ʣʮʧʮʬ ʸʱʮ ʩʥʥʠʣʸʮ .ʣʡʠʺʮʤ ʺʠ ʱʩʩʢ (ʢʥʸʤ) ʩʰʩʰʠʲʬʠ ʯʩʱʠʩ ʣʮʧʮ
  ʣʡʠʺʮʤ ʺʠ ʺʥʰʥʮʺʡ ʭʬʩʶʹ ʤʦ ʠʥʤ ʣʮʧʮ .ʲʶʡʺʤ ʲʥʢʩʴʤʹ ʩʰʴʬ ʭʩʩʮʥʩ ʥʺʥʹʸʡ ʤʺʩʩʤʹ
  ʸʩʲ ʬʹ ʸʥʦʠʬ ʲʩʢʤʬ ʣʡʠʺʮʤ ʤʩʤ ʸʥʮʠ ʭʹʮ ,ʭʧʴ ʬʠ ʭʥʠ ʸʥʦʠʬ ʥʺʥʠ ʲʩʱʤʹ ʠʥʤʥ
  ʺʧʩʷʬʡ ʥʸʧʩʠ ʯʫʬʥ 80 ʤʰʧʮ ʸʥʦʠʡ ʵʶʥʴʺʤʬ ʣʡʠʺʮʤ ʸʥʮʠ ʤʩʤ ʠʬ ʯʥʰʫʺʤ ʩʴ ʬʲ .ʤʬʥʣʢ
                                                                 .ʲʥʢʩʴʤ ʬʲ ʺʥʩʸʧʠʤ


                                       Á ÁÁ



             ,ʦʸʠ ʭʥʱʧʮʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2001 ʸʡʮʡʥʰ 26
                               ʭʩʲʥʶʴ ʡ"ʢʮ ʩʸʨʥʹ 2

  -ʬ ʡʠʥ ʩʥʹʰ ,25 ʯʡ ,ʤʦʲ/ʤʩʬʠʡ'ʢ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʩʮʸ'ʢʲʬʠ ʸʩʱʩʺ
  ʲʣʩʮ ʳʱʠ ʤʠʸʰʤ ʬʫʫʥ ,ʦʸʠʡ ʤʩʩʹʲʺʤ ʸʥʦʠʡ ʤʸʴʺʮʡ ʹʣʥʧʫ ʣʡʲ ,3
  ʭʥʱʧʮʬ ʭʩʬʲʥʴ ʺʱʰʫʤ ʪʬʤʮʡ ʺʥʮʣʷʥʮʤ ʸʷʥʡʤ ʺʥʲʹʡ .ʲʥʢʩʴʤ ʺʠʸʷʬ
  ʺʱʩʰʫ ʺʠ ʺʺʱʥʥʮʤ "ʤʬʱʥʸʷ"ʬ ʤʱʩʰʫʤ ʸʥʺʡ ʣʮʲʥ ʣʡʠʺʮʤ ʲʩʢʤ
  ʣʩʬ ʣʮʥʲ ʠʥʤʹʫ ʥʩʣʩʡ ʠʹʰʹ ʯʲʨʮ ʬʩʲʴʤ ʺʥʷʣ ʸʴʱʮ ʸʥʡʲʫ .ʭʩʬʲʥʴʤ
  ʬʹ ʭʠʱʷ ʬʠ ʯʩʣʠ ʦʲ ʩʣʥʣʢ ʩʣʩ ʬʲ ʤʲʶʥʡ ʺʥʩʸʧʠ ʺʬʩʨʰ .ʭʩʱʰʫʰʤ ʬʲ ʤʴʥʶʤ ʤʣʮʲʤ ʯʥʬʧ
                                                                          .ʱ"ʠʮʧʤ


                                       Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



    ʤʩʷʸʹ ʬʠ ʤʷʠʡʡ ʥʨʥʸʩʩ ʪʬʤʮʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2001 ʸʡʮʡʥʰ 8
              ʭʩʲʥʶʴ ʡ"ʢʮ ʩʸʨʥʹ 2 ,ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʥʶʩʡʬ ʪʸʣʡ


  ʺʩʦ ʸʩʡʡ ʯʩʩʰʡ ʺʱʣʰʤʬ ʨʰʣʥʨʱ ,25 ʯʡ ,ʭʸʫ ʬʥʨ ʡʹʥʺ - ʡʩʨʧ ʣʩʩʠʮ
  ʲʶʡʮ ʪʬʤʮʡ .ʤʬʺʥʫʡ "ʤʴʨʤʤ ʺʣʲʥ" ʩʠʸʧʠ ʤʩʤ .ʧʠ'ʢʰʬʠʡ ʫ"ʧʠʥ
  ʬʠʸʹʩ ʧʨʹʡ ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʶʡʬ ʹʷʩʡʹ ,ʣʡʠʺʮʤ ʬʹ ʥʺʱʩʴʺʬ
  "ʭʠʱʷ ʬʠ ʯʩʣʬʠ ʦʲ ʩʣʥʣʢ" .ʥʮʶʲ ʺʠ ʵʶʥʴʥ ʥʰʩʺʥʧʥʫʡ ʣʡʠʺʮʤ ʯʩʧʡʤ
  ʭʫʹʡ ʱ"ʠʮʧʤ ʺʩʺʹʺ ʤʲʶʩʡ ʲʥʢʩʴʤ ʺʠ .ʲʥʢʩʴʬ ʺʥʩʸʧʠ ʥʬʨʰ
  - (ʢʥʸʤ) ʱʥʸ ʥʡʠ ʭʩʱʰ ʭʢ ʥʴʺʺʹʤ ʲʥʢʩʴʤ ʺʠʶʥʤʡ .(ʢʥʸʤ) ʩʢʷʸʥʱ ʳʱʥʩ ʬʹ ʥʺʥʹʠʸʡ
  - (ʸʥʶʲ) ʤʣʩʶʲ ʯʩʣʠ ʸʶʰ ,ʧʬʹʮ – (ʢʥʸʤ) ʸʶʠʰ ʸʤʠʨ, ʩʲʥʶʩʡ ʩʠʸʧʠʥ "ʩʹʠʸ ʱʣʰʤʮ"
                                                        .ʺʥʩ/ʤʩʩʬʥʧ ʹʠʸʥ ʩʮʣʷ ʬʩʲʴʮ


                                       Á ÁÁ



    ʺʹʸʥʧ ʸʥʦʠʡ ,ʬ"ʤʶ ʴʩ'ʢ ʣʩʬ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2001 ʸʡʥʨʷʥʠ 17
                           ʭʩʲʥʶʴ ʭʩʬʩʩʧ 2 ,ʡʢʰʡ ʩʸʠʡ


  ʬʹ ʯʢʥʮʮ ʠʬ ʴʩ'ʢ ʬʲ ʵʶʥʴʺʤ ,ʷʥʥʸ ,25 ʯʡ ,ʤʦʲ ʡʹʥʺ - ʤʩʸʱ ʥʡʠ ʣʠʥʴ
  'ʮ 400 -ʫ ʲʸʠ ʵʥʶʩʴʤ .ʸʥʩʱ ʥʫʸʲʹ ʭʩʹʹʢ ʩʰʹ ʺʲ ʤʺʥʠʡ ʥʤʹ ʥʡ ʬ"ʤʶ
  ʲʥʸʩʠʤ ʸʧʠʬ ʧʨʹʤ ʺʷʩʣʡʮ .ʬʠʸʹʩ ʧʨʹ ʪʥʺʡ ʺʫʸʲʮʤ ʸʣʢʬ ʺʩʧʸʦʮ
  ʸʥʦʠʮ ,ʬ"ʤʶ ʩʣʮ ʹʥʡʬ ʠʥʤʹʫ ,ʬʠʸʹʩ ʩʮʥʧʺʬ ʸʣʧ ʣʡʠʺʮʤ ʩʫ ʸʸʡʺʤ
  ʸʺʺʱʤʥ ʤʹʸʥʧʬ ʲʩʢʤ ʸʣʢʤ ʺʩʩʶʧ ʸʧʠʬ .ʭʩʮ ʺʸʡʲʤʬ ʯʥʸʹʢ ʠʶʮʰ ʥʡ ʺʫʸʲʮʤ ʸʣʢ
  ʺʥʩʸʧʠ ʤʬʨʰ "ʺʩʮʮʲʤ ʺʩʦʧʤ" .ʵʶʥʴʺʤʥ ʥʰʥʥʩʫʬ ʵʸ ʸʡʥʲ ʴ'ʩʢʤ ʺʠ ʤʤʩʦʹ ʲʢʸʡ ,ʤʫʥʺʡ
                                                                            .ʲʥʢʩʴʬ


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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



     ,ʺʥʧʥʬʹ ʵʥʡʩʷʬ ʤʱʩʰʫʤ ʣʩʬ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2001 ʸʡʥʨʷʥʠ 7
                                     ʣʧʠ ʢʥʸʤ

  ʺʥʧʥʬʹ ʵʥʡʩʷ ʡʹʥʺ ʬʹ ʥʡʫʸʬ ʣʩʬ ʵʶʥʴʺʤ ,17 ʯʡ ,ʯʩʰ'ʢ/ʱʠʡʥʨ ʡʹʥʺ - ʤʮʢʠʸʣ ʣʮʧʠ
  ʲʥʢʩʴʤ ʺʠ .ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ ʯʢʸʠ ʩʣʩ ʬʲ ʤʬʨʩʰ ʺʥʩʸʧʠ .ʵʥʡʩʷʬ ʤʱʩʰʫʡ (ʯʠʹ ʺʩʡʬ ʪʥʮʱ)
  ʩʬʬʫ ʯʥʧʨʩʡ ʺʥʸʩʹʡ ʩʥʠʣʸʮ ʺʡʠʺ ʺʸʩʷʧʮ .ʱʠʡʥʨʡ ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ ʺʩʺʹʺ ʤʲʶʩʡ
       .ʲʥʢʩʴʬ ʢ"ʷ 8-10 ʬʷʹʮʡ ʵʴʰ ʺʣʥʥʦʮ ʥʬ ʸʱʮʥ ʬʡʧʮʤ ʺʠ ʧʬʩʹ ʤʮʢʠʸʣ ʯʮʩʠ ʩʫ ʤʬʲ


                                       Á ÁÁ



       ,ʤʩʸʤʰʡ ʺʡʫʸʤ ʺʰʧʺʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2001 ʸʡʮʨʴʱ 9
                              ʭʩʲʥʶʴ 46 -ʥ ʭʩʢʥʸʤ 3

  ʺʡʫʸʤ ʺʰʧʺ ʳʩʶʸ ʬʲ ʥʮʶʲ ʵʶʥʴ ,6 -ʬ ʡʠʥ ʩʥʹʰ ,48 ʯʡ ,ʯʠʰʱ ʥʡʠ ʡʹʥʺ - ʩʹʩʡʧ ʸʫʠʹ
  ʣʡʠʺʮʤ ʭʬʥʶ ʤʡ ʥʠʣʩʥ ʺʨʬʷ ʭʱʸʴ ʳʠʥ ʲʥʢʩʴʤ ʬʲ ʺʥʩʸʧʠ ʬʨʰ ʱ"ʠʮʧʤ ʯʥʢʸʠ .ʤʩʸʤʰʡ
  ʥʺʰʥʮʺ ,ʩʬʠʩʶʰʨʥʴ ʲʢʴʮʫ ʣʡʠʺʮʤ ʣʹʧʥʤ ʲʥʢʩʴʤ ʩʰʴʬ ʭʩʮʩ 10 -ʫ .ʲʥʢʩʴʬ ʥʺʠʩʶʩ ʭʸʨ
  ʺʩʠʡʶʤ ʱ"ʠʮʧʤ ʺʩʺʹʺ ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ .ʥʸʶʥʲʬ ʯʥʩʱʩʰ ʤʹʲʰʥ ʤʸʨʹʮʬ ʤʶʴʥʤ
  ʠʥʤ ,ʤʦ ʲʥʢʩʴ ʩʸʥʧʠʮ ʣʮʲ (ʢʥʸʤ) ʯʥʸʮʥʹʡ ʺʩʠʡʶʤ ʲʥʸʦʤ ʩʹʠʸʮ ,ʯʠʥʣʲ ʱʩʩʷ .ʯʥʸʮʥʹʡ
  ʨʬʮʰ ʣʡʠʺʮʤʹ ʸʧʠʬ ʨʬʷʮ ʥʬ ʷʴʩʱ ʪʹʮʤʡʥ ʺʥʣʡʠʺʤʤ ʲʥʢʩʴʬ ʣʡʠʺʮʤ ʺʠ ʱʩʩʢ
                                                                              .ʥʺʩʡʮ


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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



      ,ʭʩʬʹʥʸʩʡ ʭʩʠʩʡʰʤ ʡʥʧʸʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2001 ʸʡʮʨʴʱ 4
                               ʭʩʲʥʶʴ 13

  ʤʲʩʸʹʤ ʺʬʬʫʮ ʸʢʥʡ ,ʤʸʥʮ ,ʷʥʥʸ ,26 ʯʡ ,ʤʬʬʠʮʸ ʡʹʥʺ - ʩʺʥʢʸʡ ʣʠʠʸ
  'ʧʸʡ ʥʮʶʲ ʵʶʥʴ ,ʩʰʥʶʩʷ ʩʺʣ ,90 -ʤ ʺʥʰʹ ʺʬʩʧʺʮ ʱ"ʠʮʧ ʬʩʲʴ ,ʱʩʣ ʥʡʠʡ
  ʦʲ ʩʣʥʣʢ .ʥʡ ʥʣʹʧʹ ʡ"ʢʮ ʩʸʨʥʹ ʩʣʩ ʬʲ ʸʶʲʰʹ ʺʲʡ ʭʩʬʹʥʸʩʡ ʭʩʠʩʡʰʤ
  ʤʩʤ ʣʡʠʺʮʤ ʩʫ ʤʬʲ ʤʩʠʸ ʺʥʩʥʣʲʮ .ʲʥʢʩʴʬ ʺʥʩʸʧʠ ʥʬʨʰ ʭʠʱʷʬʠ ʯʩʣʬʠ
  ʥʡʢ ʬʲ ,ʩʣʸʧʫ ʤʠʸʰʥ ʤʸʥʧʹ ʤʴʩʫʥ ʤʰʡʬ ʤʶʬʥʧ ,ʭʩʸʥʧʹ ʭʩʩʱʰʫʮ ʹʥʡʬ
  ʲʶʴʰ ʸʹʠ ,ʤʹʺʰ ʣʤʠʲ ,ʳʱʥʰ ʭʣʠ ʣʲʶ ʥʮʲ ʣʧʩ .ʬʥʣʢ ʡʢ ʬʩʮʸʺ ʠʹʰ
  ʠʩʤ ʲʥʢʩʴʤ ʺʠ ʬʲʥʴʬ ʤʠʩʶʥʤʹ ʺʩʺʹʺʤ .ʣʡʠʺʮʤ ʬʹ ʥʰʲʩʩʱʫ ʹʮʩʹ ʸʹʠʥ ,ʵʥʶʩʴʡ
  .ʭʩʬʹʥʸʩʮʥ ʤʬʬʠʮʸʮ ʭʩʬʩʲʴ ʱʩʱʡ ʬʲ ʤʬʲʴ ʸʹʠ ,ʤʬʬʠʮʸʡ ʱ"ʠʮʧʤ ʺʣʷʴʮ ʺʩʺʹʺ
  ʺʠ ʣʤʠʲ ʹʢʴ ʲʥʢʩʴʤ ʭʸʨ ʭʩʩʲʥʡʹ ʩʫ ʤʹʺʰ ʣʤʠʲ ʸʴʩʱ ʩʬʬʫ ʯʥʧʨʩʡ ʺʥʸʩʹʡ ʥʺʸʩʷʧʡ
  'ʱʮ ʪʥʺ ʬʲʥʴʬ ʠʶʩ ʲʥʢʩʴʤ ʩʫ ʭʥʫʩʱ ʪʥʺ ,ʤʸʩʡ ʬʠʡ ʣʢʱʮʡ ʣʡʠʺʮʤ ʺʠʥ ʤʩʬʥʧʤ ʩʸʡʧ
  ʫ"ʧʠʥ ,ʭ-ʩʡ 13 'ʱʮ ʣʢʠ ʱʥʡʥʨʥʠʡ ʲʶʡʺʤʬ ʲʥʢʩʴʤ ʤʩʤ ʸʥʮʠ ʩʸʥʷʮʤ ʯʥʰʫʺʤ ʩ"ʴʲ .ʭʩʮʩ
  ʭʠʸ-ʠ ʺʮʥʶʡ ʣʡʠʺʮʤ ʺʠ ʣʤʠʲ ʹʢʴ ʲʥʢʩʴʤ ʭʥʩʡ .13 ʥʷ ʬʹ ʱʥʡʥʨʥʠʤ ʺʰʧʺʬ ʤʰʥʹ
  ʺʠ ʬʩʡʥʤ ʣʤʠʲʥ , ʯʲʨʮʤ ʺʠ ʭʤʬ ʸʱʮʹ ʩʺʥʬʷ ʤʦʮʧʡ ʥʹʢʴ ʭ-ʩʡ .ʭ-ʩʬ ʥʫʩʹʮʤ ʭʹʮʥ
  ʠʤʨ ʥʡʠ ʣʮʧʠ ʥʰʩʫʤ ʲʥʢʩʴʬ ʯʲʨʮʤ ʺʠ ʩʫ ʤʬʲ ʱ"ʮʮʤ ʺʥʸʩʷʧʮ .ʬʬʫ ʯʩʩʰʡ ʸʥʦʠʬ ʣʡʠʺʮʤ
               .ʩʺʥʢʸʡ ʬʠʬʡ ʲʥʢʩʴʬ ʱʩʩʢ ʣʠʠʸ ʺʠ ʥʬʩʠʥ (ʤʩʬʥʧʤ ʣʷʴʮ) ʸʤʠʣ ʥʡʠ ʣʠʠʸʥ


                                       Á ÁÁ



  ,ʯʩʷʶʥʮ ʺʩʩʸʷʡ "ʨʩʸʨʱ ʬʥʥ" ʤʴʷʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2001 ʨʱʥʢʥʠ 12
                                     ʭʩʲʥʶʴ 16

  ʠʶʮʰʤ ,"ʨʩʸʨʱ ʬʥʥ" ʤʴʷ ʺʩʡʡ ʥʮʶʲ ʵʶʥʴ ,ʷʥʥʸ ,28 ʯʡ ,ʯʩʰ'ʢ/ʤʩʨʠʡʷ ʡʹʥʺ - ʸʶʰ ʣʮʧʮ
  ʱʰʩ'ʢ ʩʱʰʫʮ ʹʡʬ ʣʮʧʮ ʩʫ ʥʸʴʩʱ ʭʥʷʮʡ ʤʩʠʸ ʩʣʲ .ʯʩʷʶʥʮ-ʺʩʩʸʷʡ ʯʥʩʸʥʢ-ʯʡ ʺʥʸʣʹ ʡʥʧʸʡ
  ʤʺʩʩʤ ʥʴʥʢ ʡʩʡʱ ,ʺʥʰʡʶʲʡ ʢʤʰʺʤ ʠʥʤ .ʷʩʺ ʥʮʲ ʠʹʰ ʠʬʥ ʺʸʺʴʥʫʮ ʤʰʡʬ ʤʶʬʥʧʥ ʭʩʬʥʧʫ
  ,ʥʣʩʡ ʷʩʦʧʤʹ ʵʴʧ ʬʲ ʵʧʬ ʣʡʠʺʮʤ .ʬʮʹʧ ʩʨʥʧ ʥʶʡʶʡ ʤʬ ʺʧʺʮ ,ʺʹʥʡʧʺ ʯʩʲʮ ʺʴʴʥʬʮ
  ʲʥʢʩʴʤ .ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ ʯʥʢʸʠ ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʵʥʶʩʴʤ ʲʸʠ ʦʠʥ ʺʩʶʮ ʩʥʮʣ
   .ʩʱʸʥʰ ʣʥʮʧʮ ʬʹ ʥʺʥʹʠʸʡ ʯʩʰ'ʢʡ ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ ʬʹ ʺʩʠʡʶʤ ʺʥʰʢʸʠʺʤʤ ʩʣʩ ʬʲ ʲʶʥʡ


                                       Á ÁÁ




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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



      ,ʭʩʬʹʥʸʩʡ "ʥʸʠʡʱ" ʺʣʲʱʮʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2001 ʨʱʥʢʥʠ 9
                             ʭʩʲʥʶʴ 110 -ʥ ʭʩʢʥʸʤ 15

  ʺʰʩʴʡ ʥʸʠʡʱ ʺʣʲʱʮʡ ʥʮʶʲ ʵʶʥʴ ,ʷʥʥʸ ,22 ʯʡ ,ʯʩʰ'ʢ/ʤʡʠʷʲ ʡʹʥʺ - ʩʸʶʮʬʠ ʯʩʣʬʠ ʦʲ
  .ʤʬʬʠʮʸʡ ʱ"ʠʮʧʤ ʺʩʺʹʺ ʩʣʩ ʬʲ ʯʥʥʫʥʠʥ ʯʰʫʥʺ ʲʥʢʩʴʤ .ʭʩʬʹʥʸʩʡ ʥʴʩʥ 'ʢʸʥ'ʢ ʢʰʩʷ ʺʥʡʥʧʸʤ
  ʸʥʦʠʡ ʱ"ʠʮʧʤ ʺʩʺʹʺ ʬʹ ʩʹʠʸʤ "ʱʣʰʤʮ"ʤ ʬʠʮʢ ʤʬʬʠʣʡʲ ʸʶʩʩ ʩʰʬʨʷʤ ʯʲʨʮʤ ʺʠ
  ʤʬʡʧ ʩʲʶʮʠ ʸʥʶʩʩʡ ʱ"ʠʮʧ ʩʬʩʲʴ ʺʸʹʫʤʡʥ         ʤʬʡʧʤ ʩʰʲʨʮ ʸʥʶʩʩʡ ʷʱʲ ʸʹʠ ʤʣʥʤʩ
  ʷʩʺʡ ʤʰʥʺʰʤ ,ʤʸʨʩʢ ʪʥʺʡ ʤʮʶʥʲʤ ʡʸ ʯʲʨʮʤ ʺʠ ʯʩʮʨʤ ʬʠʮʢ .ʤʬʡʧ ʺʥʣʡʲʮ ʺʮʷʤʡʥ
  ,ʩʺʥʢʸʡ ʬʠʬʡ ʯʩʥʥʫʤ ʲʥʢʩʴʤ ʺʠ ʤʲʶʩʡ ʸʹʠ ʺʩʺʹʺʤ ʺʠ .ʺʮʬʹʥʮ ʤʠʥʥʱʤ ʤʷʴʩʱʥ ʤʸʨʩʢ
  ʯʡ ʩʠʡʶ ʱʠʮʧ ʬʩʲʴ ʱʬʢʣ ʣʮʧʮ ʤʩʤ ʯʲʩʩʱʤʥ ʱʩʩʢʮʤ .ʠʮʩʸ ʺʩʡʮ 27 ʯʡ ʸʩʫʡ ʱ"ʠʮʧ ʬʩʲʴ
  ʭʠʬʧʠ ʤʬʩʡʥʮʤ ʺʠʥ ʯʩʣʬʠ ʦʲ ʺʠ ʱʩʩʢ ʱʬʢʣ .ʩʺʥʢʸʡ ʩʣʩ ʬʲ ʬʲʴʥʤ ʸʹʠ ,ʠʷʸʥʡʮ 24
  ʱʬʢʣ .ʺʩʠʰʥʺʩʲʫ ʤʣʡʲʥ ʺʩʦ ʸʩʡʡ ʤʣʮʬ ,ʤʬʬʠʮʸʡ ʤʸʸʥʢʺʤ ʸʹʠ ʺʩʰʣʸʩ ,20 ʺʡ ,ʩʮʩʮʺ
  ʳʥʱʩʠʡ ʤʷʱʲ ʩʮʩʮʺ .ʤʸʨʩʢʤ ʺʠʩʹʰʬ ʷʩʺʸʰ ʯʫʥ ʤʬʡʧʤ ʯʲʨʮ ʯʮʨʥʤ ʤʡ ʤʸʨʩʢʤ ʺʠ ʤʰʷ
  ʥʺʥʠ ʧʸʩʠʥ ʯʩʬʤ ,ʲʥʢʩʴʤ ʲʥʶʩʡ ʩʰʴʬ ʭʥʩ ʣʡʠʺʮʤ ʭʲ ʹʢʴʰ ʩʺʥʢʸʡ .ʲʥʢʩʴʤ ʺʠʸʷʬ ʯʩʲʩʣʥʮ
  ʣʡʠʺʮʤ ʺʠ ʱʬʢʣ ʨʬʷ ʲʥʢʩʴʤ ʭʥʩʡ .ʭʩʹʣʧ ʭʩʣʢʡ ʺʩʩʰʷʬ ʥʮʲ ʠʶʩʥ ʤʬʬʠʮʸ ʸʥʦʠʡ ʤʸʩʣʡ
  ʤʰʧʮʡ ʺʩʲʶʡʮ ʤʸʩʣʬ ʭʺʥʠ ʧʷʬ ʸʹʠ ,ʩʺʥʢʸʡ ʺʠ ʥʹʢʴ ʪʹʮʤʡʥ ʤʸʩʡ ʬʠʡ ʣʢʱʮʡ
  ʭʥʩʡ ʯʫ ʥʮʫ .ʯʲʨʮʤ ʺʠ ʬʩʲʴʤʬ ʣʶʩʫ ʣʡʠʺʮʤ ʺʠ ʬʠʬʡ ʪʸʣʺ ʤʸʩʣʡ .ʩʸʲʮʠ ʭʩʨʩʬʴʤ
  ʣʡʠʺʮʤ ʭʲ ʤʫʩʹʮʤ ʩʮʩʮʺ .ʣʡʠʺʮʤ ʭʲ ʣʧʩ ʤʬʬʠʮʸʡ ʩʮʩʮʺʡ ʱʬʢʣ ʹʢʴ ʲʥʢʩʴʤ
  ʩʮʩʮʺ .ʭʩʬʹʥʸʩʬ ʺʩʰʥʮ ʥʧʷʬ ʭʹʮ ,ʤʬʬʠʮʸʡ ʺʥʩʰʥʮ ʺʰʧʺʬ ʤʸʨʩʢʡ ʯʮʨʥʤ ʸʹʠ ʯʲʨʮʤʥ
  ʺʥʥʹʬ ʺʰʮ ʬʲ ,ʺʩʬʢʰʠʡ ,ʤʸʨʩʢ ʷʩʺ ʠʹʰʹ ,ʣʡʠʺʮʤ ʭʲ ʤʸʡʩʣʥ ʤʮʬʶʮ ʤʮʲ ʤʠʹʰ
                                                  .ʺʸʩʩʺ ʬʹ ʣʩʹʧʮ ʩʺʬʡ ʤʠʸʮ ʤʮʶʲʬ


                                        Á ÁÁ



  ʭʥʱʧʮ ʣʩʬ ʣʡʠʺʮ ʬʡʧʮ ʩʣʩʡ ʤʢʥʤʰ ʺʴʥʺ ʺʩʰʥʫʮ ʵʥʶʩʴ :2001 ʨʱʥʢʥʠ 8
                               ʲʥʶʴ ʣʧʠ ʬʩʩʧ ,ʺʥʲʷʡ


  ʺʩʰʥʫʮ ʺʥʶʶʥʴʺʤʡ ʢʸʤʰ ,ʱ"ʠʮʧ ʬʩʲʴ ,23 ʯʡ ,ʭʫʹ ʡʹʥʺ - ʣʩʩʱ ʳʸʹʠ
  ʺʥʧʥʫʤ ʸʥʷʧʺʮ .ʯʣʸʩʤ ʺʲʷʡʡʹ ʺʥʲʷʡ ʣʩʬ ʩʬ"ʤʶ ʭʥʱʧʮʬ ʪʥʮʱ ʺʴʥʺ
  ʢʤʰʬ ʤʸʥʤ ʬʩʩʧ .ʺʥʣʰʥʨʡʤ ʩʰʴʬ ʸʶʲʰʥ ʭʥʱʧʮʬ ʲʩʢʤ ʡʫʸʤ ʩʫ ʤʬʲ ʭʥʷʮʡ
  .ʬʩʩʧʬ ʪʥʮʱʡ ʵʶʥʴʺʤʥ ʦʢʤ ʺʹʥʥʣ ʬʲ ʵʧʬ ʯʥʸʧʠʤʥ ʤʷʩʣʡ ʪʸʥʶʬ ʡʸʷʺʤʬ
  ʲʥʢʩʴʬ ʥʫʸʣʡ ʤʩʤ ʣʡʠʺʮʤ ʩʫʥ ʸʧʠ ʤʩʤ ʲʥʢʩʴʤ ʣʲʩ ʩʫ ʺʥʸʩʡʱ ʺʮʩʩʷ
                .ʭʥʷʮʡ ʲʥʢʩʴʤ ʲʶʡʬ ʨʩʬʧʤ ʯʫʬʥ ʥʸʩʢʱʤʬ ʤʬʥʬʲ ʡʫʸʤ ʺʷʩʣʡ ʩʫ ʹʹʧ ʭʬʥʠ


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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




                                       Á ÁÁ



    ʣʩʬ ʱʥʡʥʨʥʠʬ ʺʥʬʲʬ ʤʱʩʰʹ ʺʲʡ ʣʡʠʺʮ ʬʡʧʮ ʺʣʩʫʬ :2001 ʨʱʥʢʥʠ 2
                               ʭʩʲʢʴʰ ʠʬʬ ,ʯʠʹ ʺʩʡ


  ʣʩʮʬʺ ,16 ʯʡ ,ʭʫʹʮ ʥʠʶʥʮʡ ,ʯʩʰ'ʢ/ʯʥʮʨ ʡʹʥʺ - ʺʠʸʹʡ ʸʣʧ ʥʡʠ ʣʮʧʮ
  ʺʩʡ ʣʩʬ ʭʩʮʥʠʺ ʬʺʡ ʣʢʠ ʱʥʡʥʨʥʠ ʬʲ ʺʥʬʲʬ ʤʱʩʰʹ ʺʲʡ ʱʴʺʰ ,ʯʥʫʩʺ
  ʭʩʸ"ʮʶʴ 3 ʬʩʫʤ ʣʡʠʺʮʤ ʬʹ ʥʷʩʺ .ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʥʶʩʡ ʪʸʥʶʬ ,ʯʠʹ
  ʤʰʥʥʫʠ ʲʥʢʩʴʤ ʯʥʩʱʩʰ ʺʠ ʩʫ ʤʬʲ ʥʺʸʩʷʧʮ .ʭʥʣʠ ʨʥʧʡ ʸʡʥʧʮ ʳʥʱʫ ʷʱʴʮʥ
  .(ʸʥʶʲ) ʩʱʩʱʡ ʣʩʦ ʩʣʩ ʬʲ ʤʬʲʴʥʤʹ ʱʠʡʥʨʮ ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ ʺʩʺʹʺ
  ʯʫʮ ʸʧʠʬʥ ʩʮʠʬʱʠ ʣʠʤ’ʢʬ ʱʥʩʢ ʣʡʠʺʮʬ ʲʩʶʤ ʺʠʸʠʹʡ ʩʦʮʸ ʩʫ ʤʬʲ ʩʱʩʱʡ ʬʹ ʥʺʸʩʷʧʮ
  ʹʩʢʴʤʥ ʲʥʢʩʴʤ ʲʥʶʩʡʬ ʬʣʩʹ (ʸʥʶʲ) ʺʠʸʠʹʡ ʳʸʠʲ .ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʥʶʩʡ ʬʲ ʥʮʲ ʧʧʥʹ
       .ʲʥʢʩʴʤ ʭʥʷʮʬ ʣʡʠʺʮʤ ʺʠ ʬʩʡʥʤʹ ʠʥʤ ʺʠʸʠʹʡ ʣʠʥʴ .ʩʱʩʱʡ ʣʩʦ ʭʲ ʣʡʠʺʮʤ ʺʠ


                                       Á ÁÁ



   ʷʥʹʡ ʵʴʰ ʺʸʥʢʧ ʬʩʲʴʤʬ ʤʱʩʰʹ ʺʲʡ ʣʡʠʺʮ ʬʡʧʮ ʺʣʩʫʬ :2001 ʩʬʥʩ 22
                          ʭʩʲʢʴʰ ʠʬʬ ,ʤʴʩʧʡ ʭʩʹʴʹʴʤ


  ʤʱʩʰʹ ʺʲʡ ʸʶʲʰ ,18 ʯʡ ,ʯʩʰ'ʢ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - (ʩʱʸʥʰ) ʤʡʬʠʥʨ ʣʠʸʥʮ
  ʸʩʺʱʤʹ ʭʩʰʲʨʮ ʤʸʨʹʮʤ ʩʣʩʬ ʸʩʢʱʤ ʣʡʠʺʮʤ .ʤʴʩʧʡ ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʶʡʬ
  ʲʶʡʬ ʯʩʩʰʥʲʮ ʤʩʤ ʩʫ ʣʡʠʺʮʤ ʸʱʮ ʥʺʸʩʷʧʡ .ʸʶʲʰʹ ʭʸʨ ʤʴʩʧʡ ʹʥʨʰ ʺʩʡʡ
  .ʩʮʠʬʱʠ ʣʠʤ’ʢ ʩʬʩʲʴʬ ʤʡʬʠʥʨ ʣʥʮʧʮ ʥʩʧʠ ʩʣʩ ʬʲ ʸʡʥʧʥ ʺʥʣʡʠʺʤ ʲʥʢʩʴ
  ʥʩʧʠ ʩʣʩ ʬʲ ʤʰʫʥʤʹ ʵʴʰ ʺʸʥʢʧ ʬʡʩʷ ʣʡʠʺʮʤ ʩʫ ʤʣʥʤ ʩʥʠʣʸʮ ʺʡʠʺ ʺʸʩʷʧʡ
                                    .ʯʩʱʠʩ ʣʮʧʮ ʩʣʩ ʬʲ ʬʠʸʹʩʬ ʤʠʶʥʤʥ ʤʡʬʠʥʨ ʣʥʮʧʮ


                                       Á ÁÁ




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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



    ʺʡʫʸʤ ʺʰʧʺ ʣʩʬ ʱʥʡʥʨʥʠ ʺʰʧʺʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2001 ʩʬʥʩ 16
                      ʭʩʲʥʶʴ 8 -ʥ ʭʩʢʥʸʤ ʭʩʬʩʩʧ 2 ,ʤʰʩʮʩʰʡʡ


  ʺʰʧʺʡ ʥʮʶʲ ʵʶʥʴ ,ʷʥʥʸ ,20 ʯʡ ,ʯʩʰ'ʢ/ʯʩʷʸʥʡ ʡʹʥʺ - ʳʥʣʹ ʥʡʠ ʬʠʣʰ
  ʩʥʠʣʸʮ ʺʡʠʺ ʥʩʤ ʲʥʢʩʴʤ ʩʰʥʥʫʠʮ .ʤʰʩʮʩʰʡʡ ʺʡʫʸʤ ʺʰʧʺ ʬʥʮ ʱʥʡʥʨʥʠ
  ʸʩʡʲʤʹ ,ʯʩʱʠʩ ʣʮʧʮʬ ʢ"ʷ 20 ʬʸʹʮʡ ʷʩʺ ʷʴʩʱ ʩʱʸʥʰ .ʩʱʸʥʰ ʣʥʮʧʮʥ
  ʸʹʠ ,ʯʩʰ'ʢʡ ʭʩʨʩʬʴʤ ʤʰʧʮʮ ʺʩʰʥʮ ʢʤʰ ,ʣʩʠʴ ʸʩʮʱʬ ʯʲʨʮʤʥ ʲʢʴʮʤ ʺʠ
                                    .ʬʠʸʹʩʬ ʥʫʸʣʡ ʣʡʠʺʮʤ ʺʠ ʲʩʱʤ


                                        Á ÁÁ



                  ,ʤʬʥʴʲʡ ʣʡʠʺʮ ʬʡʧʮ ʺʣʩʫʬ :2001 ʩʬʥʩ 11
                                    ʭʩʲʢʴʰ ʠʬʬ

  ʷʩʺ ʥʺʥʹʸʡʹʫ ʸʷʥʡʡ ʠʶʩ ,ʯʥʫʩʺ ʣʩʮʬʺ ,17 ʯʡ ,ʯʩʰ'ʢ ʡʹʥʺ - ʸʠʸ'ʢ ʣʠʤ'ʢ
  ʺʩʰʥʮʤ ʸʹʠʫ ,ʺʥʩʰʥʮ ʩʺʹʡ ʤʬʥʴʲ ʯʥʥʩʫʬ ʯʩʰ'ʢ ʸʥʦʠʮ ʯʫʥʮ ʤʬʡʧ ʯʲʨʮ ʭʲ
  ʯʩʶʷ ʩ"ʲ ʸʺʥʠ ʤʸʨʹʮʤ ʺʰʧʺ ʸʥʦʠʡ .ʭʬʠʱ ʭʥʱʧʮ ʺʠ ʤʴʷʲ ʤʩʰʹʤ
  ʺʠ ʬʩʲʴʤʬ ʤʱʩʰ ʣʡʠʺʮʤ .ʣʥʹʧ ʸʶʲʮ ʬʤʥʰ ʥʬ ʲʶʩʡʥ ʥʡ ʣʹʧʹ ʤʸʨʹʮ
  ʥʺʸʩʷʧʡ .ʤʸʨʹʮʤ ʯʩʶʷ ʩ"ʲ ʺʩʱʩʴ ʬʸʨʥʰ ʪʠ ʷʩʺʤ ʯʥʥʩʫʬ ʣʩ ʱʩʰʫʤʥ ʯʲʨʮʤ
  ʥʰʤ ʩʫ ʸʱʮ ʯʫ .ʤʬʥʴʲʡ ʭʣʠ ʤʮʥʤ ʭʥʷʮʡ ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʶʡʬ ʯʥʥʫʺʤ ʩʫ ʣʡʠʺʮʤ ʤʣʥʤ
  ʺʥʩʧʰʤ ʭʲ ʣʧʩ (ʩʱʸʥʰ) ʤʡʬʠʥʨ ʣʥʮʧʮʮ ʯʲʨʮʤ ʺʠ ʬʡʩʷ ʩʫʥ ,ʩʮʠʬʱʠ ʣʠʤ’ʢ ʬʩʲʴ
  ʥʠʣʩʥʡ ʭʬʨʶʤ ʳʠʥ ʤʠʥʥʶ ʡʺʫ ,ʲʥʢʩʴʤ ʲʥʶʩʡʬ ʥʺʠʩʶʩ ʭʸʨ ʩʫ ʣʡʠʺʮʤ ʸʱʮ ʣʥʲ .ʥʺʬʲʴʤʬ
  ʣʠʤ’ʢʬ ʲʥʢʩʴʤ ʭʸʨ ʭʩʩʹʣʥʧʫ ʱʩʥʢ ʣʡʠʺʮʤ .ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʶʡʬ ʥʺʰʥʥʫ ʺʠ ʲʩʡʤʥ
                                               .ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʶʡʬ ʤʰʥʥʫ ʲʩʡʤʥ ʩʮʠʬʱʠ


                                        ÁÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



      ,ʳʩʨʷ ʹʥʢ ʸʥʦʠʡ ʺʴʥʺ ʺʩʰʥʫʮʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴʬ :2001 ʩʬʥʩ 9
                                    ʲʥʶʴ ʬʩʩʧ

  ,ʱ"ʠʮʧ ʬʩʲʴ ,2 -ʬ ʡʠʥ ʩʥʹʰ ,26 ʯʡ ,ʤʦʲ/ʤʩʬʠʡ'ʢ ʡʹʥʺ - ʸʣʰ ʣʴʠʰ
  ʩʬʫʬ ʪʥʮʱ ʺʴʥʺ ʺʩʰʥʫʮʡ ʥʮʶʲ ʵʶʥʴ ,ʺʩʮʠʬʱʠʤ ʤʨʩʱʸʡʩʰʥʠʡ ʣʡʲʹ
  ʧʰʥʤ ʡʫʸʡ ʩʫ ʤʬʲ ʭʩʰʬʡʧʤ ʺʸʩʷʧʮ .ʳʩʨʷ ʹʥʢ ʸʥʦʠʡ ʬ"ʤʶ ʬʹ ʡʫʸ
  -ʫ ʥʶʶʥʴʺʤ ʭʫʥʺʮ ,ʵʴʰ ʸʮʥʧ ʢ"ʷ 50 ʣʲ 40 ʬʹ ʬʬʥʫ ʬʣʥʢ ʸʣʱʡ ʯʲʨʮ
  ʱ"ʠʮʧʤ ʯʥʢʸʠ ʬʹ ʺʩʠʡʶʤ ʲʥʸʦʤ ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ .ʢ"ʷ 15 ʣʲ 10
  ʠʩʶʥʮʤʥ ʤʣʠʧʹ ʬʹ ʥʰʩʮʩ ʣʩ .ʤʣʠʧʹ ʧʬʠʶ ʬʹ ʥʺʰʥʥʫʠʡ ʤʦʲ ʺʲʥʶʸʡ
              .ʲʥʢʩʴʤ ʸʧʠʬ ʣʩʮ ʭʩʰʥʰʢʰʮʤ ʩ"ʲ ʸʶʲʰ ,ʠʱʩʲ ʷʬʨʮ ʣʥʮʧʮ ,ʲʥʢʩʴʤ ʬʹ ʬʲʥʴʬ


                                       Á ÁÁ



  ʩʰʩʱ ʩʬʠ/ʤʮʷʹʤ ʳʥʧʡ ʬ"ʤʶ ʸʥʩʱʬ ʪʥʮʱ ʺʴʥʺ ʺʩʰʥʫʮ ʵʥʶʩʴ : 2001 ʩʰʥʩ 22
                           ʲʥʶʴ ʣʧʠʥ ʭʩʢʥʸʤ ʭʩʬʩʩʧ 2

  ,22 ʯʡ ,ʤʦʲ ʺʲʥʶʸ/ʩʨʠʹ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʩʡʠʥʶʲʮ ʬʩʲʠʮʱʠ
  ʺʴʥʺ ʡʫʸ ʵʶʥʴ ,ʺʩʮʠʬʱʠʤ ʤʨʩʱʸʡʩʰʥʠʡ ʨʰʣʥʨʱ ,ʱ"ʠʮʧ ʬʩʲʴ ,ʷʥʥʸ
  ʯʡʬ ʴʩ'ʢʡ ʢʤʰ ʸʹʠ ,ʣʡʠʺʮʤ .ʩʰʩʱ ʩʬʠ/ʤʮʷʹʤ ʳʥʧʡ ʬ"ʤʶ ʸʥʩʱʬ ʪʥʮʱ
  ʬ"ʤʶ ʬʹ ʸʥʩʱ ,ʤʰʡʮʬ ʪʥʮʱʡ ʺʥʬʥʧʡ ʸʴʧʺʤ ,ʺʥʡʥʤʶ ʩʥʤʩʦ ʺʥʩʧʥʬ ʬʲʡ
  ʭʩʬʩʩʧʤ ʥʡʸʷʺʤʹʮʥ ,ʤʸʦʲʬ ʭʩʩʮʥʷʮʤ ʩʣʩ ʬʲ ʷʲʦʥʤ ʭʥʷʮʡ ʸʡʲʹ
  ʸʧʥʠʮ ʤʬʲʹ ʲʣʩʮʮ .ʣʡʠʺʮʤ ʩʣʩ ʬʲ ʴʩ'ʢʤ ʵʶʥʴ ,ʴʩ'ʢʤ ʢʤʰʬ ʸʥʦʲʬ
  ʲʩʢʤʬ ʯʥʥʫʺʤ ʤʠʸʰʫ ʠʬʠ ,ʤʬʩʧʺ ʤʰʥʥʫʡ ʲʥʢʩʴʤ ʸʥʦʠʡ ʸʴʧʺʤ ʠʬ ʣʡʠʺʮʤ ʩʫ ʸʸʡʺʤ ʸʺʥʩ
  ʣʥʮʧʮ ʭʢ ʲʱʰ ʴʩ'ʢʡ ʥʮʲ ʣʧʩ .ʬʠʸʹʩ ʩʮʥʧʺ ʪʥʺʬ ʱʰʫʩʤʬ ʳʠ ʥʠ ʸʥʦʠʡ ʺʥʩʥʬʧʰʺʤʤ ʺʧʠʬ
       .ʱ"ʠʮʧʤ ʯʥʢʸʠ ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ .ʵʥʶʩʴʤ ʩʰʴʬ ʺʥʷʣ 10 -ʫ ʡʫʸʤʮ ʨʬʮʰ ʸʹʠ ,ʬʥ'ʲ


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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



   ʣʩʬ ʸʥʮʧʬ ʤʮʥʺʸ ʺʴʥʺ ʺʬʢʲʡ ʣʡʠʺʮ ʬʡʧʮ (ʩʷʬʧ) ʵʥʶʩʴ :2001 ʩʰʥʩ 17
                    ʭʩʲʢʴʰ ʠʬʬ ,ʧʩʴʸ/ʤʩʰʤʣʡ ʬ"ʤʶ ʺʣʮʲ


  ,23 ʯʡ ,ʤʦʲ ʺʲʥʶʸʡ ʺʠʸʩʶʰ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʷʬʩʲʮ ʥʡʠ ʣʠʸʮ
  ʡʥʹʩʬ ʤʱʩʰʫʤ ʸʲʹ ʬʠ ʡʸʷʺʤ ,ʤʦʲʡ ʤʧʥʺʴʤ ʤʨʩʱʸʡʩʰʥʠʡ ʨʰʣʥʨʱ
  ʤʱʩʰʹ ʺʲʡ .ʬʥʣʢ ʭʩʮ ʬʫʩʮ ʤʩʬʲ ,ʤʬʢʲʥ ʸʥʮʧ ʬʲ ʡʥʫʸ ʠʥʤʹʫ ʤʩʩʰʤʣ
  ʨʬʮʩʤʬ ʤʱʩʰʹʫ .ʤʬʢʲʤʮ ʥʬʩʴʤʹ ʩʷʬʧ ʵʥʶʩʴ ʲʸʩʠ ʯʲʨʮʤ ʺʠ ʬʩʲʴʤʬ
  ,ʩʧʩʸʹ ʬʩʡʰ ʩʫ ʣʡʠʺʮʤ ʸʴʩʱ ʥʺʸʩʷʧʡ .ʸʶʲʰʥ ʭʥʱʧʮʤ ʩʬʩʩʧ ʩ"ʲ ʤʸʥʰ
  ʤʰʴ ʣʡʠʺʮʤʹ ʸʧʠʬ ʲʥʢʩʴʬ ʥʺʥʠ ʧʬʩʹʥ ʱʩʩʢ ,ʤʲʥʶʸʤ ʯʥʴʶʡ ʬʲʥʴʤ ʩʮʠʬʱʠ ʣʠʤ’ʢ ʬʩʲʴ
  ʭʠʺʤʡʥ ʧ"ʹ 2,500 ʩʧʩʸʹʮ ʬʡʩʷ ʣʡʠʺʮʤ .ʺʥʣʡʠʺʤ ʲʥʢʩʴ ʲʶʡʬ ʹʷʩʡʥ ʥʺʮʦʥʩʮ ʥʩʬʠ
  (ʲʥʢʩʴʤ ʭʥʩ) ʺʸʧʮʬʥ ʣʧʩ ʥʰʬ ʭʩʩʰʹʤ .ʧʬʠʱ ʭʹʡ ʭʣʠ ʭʲ ʹʢʴʰ ʭʹ ʧʩʴʸʬ ʠʶʩ ʥʩʺʥʠʸʥʤʬ
  ʯʥʰʢʰʮʥ ʵʴʰ ʯʲʨʮ ʤʡʥ ʸʥʮʧʬ ʤʮʥʺʸ ʤʬʢʲ ʣʡʠʺʮʤ ʬʡʩʷ ʭʹ ,ʤʩʩʰʤʣʬ ʪʥʮʱ ʱʣʸʴʬ ʥʲʱʰ
                                        .ʲʥʢʩʴʤ ʲʶʡʬ ʣʶʩʫ ʪʥʸʣʺ ʬʡʩʷ ʯʫ ʥʮʫ ,ʤʬʲʴʤ


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   ,ʡʩʡʠ ʬʺʡ "ʭʥʩʸʰʩʴʬʥʣ"ʡ ʯʥʣʲʥʮ ʧʺʴʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ:2001 ʩʰʥʩ 1
                             ʭʩʲʥʶʴ 83 -ʥ ʭʩʢʥʸʤ 22

  ʺʡʸʷʡ ʥʮʶʲ ʵʶʥʴ ,ʱ"ʠʮʧ ʬʩʲʴ ,22 ʯʡ ,(ʥʠʶʥʮʡ ʩʰʣʸʩ) ʤʩʬʩʷʬʷ ʡʹʥʺ - ʩʸʺʥʧ ʣʩʲʱ
  ʺʩʠʡʶʤ ʱ"ʠʮʧʤ ʺʩʺʹʺ .ʠ"ʺʡ ʭʥʩʸʰʩʴʬʥʣʡ "ʭʩʮʤ ʭʬʥʲ" ʯʥʣʲʥʮʬ ʤʱʩʰʫʡ ʭʩʸʩʲʶ ʺʶʥʡʷ
  ,ʭʫʹʮ 30 ʯʡ ,ʤ'ʢʧ ʭʩʬʱ ʩʣʩ ʬʲ ʤʮʷʥʤ ʺʩʺʹʺʤ .ʲʥʢʩʴʤ ʺʠ ʤʲʶʩʡʹ ʠʩʤ ʤʩʬʩʷʬʷʡ
  ʯʥʢʸʠʤ ʬʹ ʺʩʠʡʶʤ ʺʩʺʹʺʤ ʬʲ ʩʠʸʧʠ ʤʩʤʹ ʩʮʥ ʯʥʸʮʥʹʥ ʤʣʥʤʩʡ ʱ"ʠʮʧʤ ʯʥʢʸʠ ʩʸʩʫʡʮ
  ʲʷʸ ʬʲ ʸʩʫʤ ʥʺʥʠ ʣʠʮʧ ʯʠʮʧʸ ʠ"ʲ ʺʠ ʺʩʺʹʺʤ ʹʠʸʡ ʣʩʮʲʤ ʤ'ʢʧ .ʯʥʸʮʥʹʤ ʯʥʴʶʡ
  ʣʡʠʺʮʤ ʺʠ ʲʩʱʤʹ ʺʩʰʥʮʤ ʢʤʰ ʤʩʤ (ʸʥʶʲ) ʩʣʠʰ ʣʥʮʧʮ .ʯʮʩʩʠ ʠʬʫʡ ʺʴʺʥʹʮ ʤʩʩʤʹ
  ,ʤʩʬʩʷʬʷ ʡʹʥʺ ,ʣʥʠʣ ʭʩʸʫ ʠʲ ʱʰʠ ʩʫ ʸʴʩʱ ʩʬʬʫ ʯʥʧʨʩʡ ʺʥʸʩʹʡ ʥʺʸʩʷʧʡ .ʭʥʩʸʰʩʴʬʥʣʬ
  ʪʥʺ ʠ"ʺʬ ʤʩʬʩʷʬʷʮ ʣʡʠʺʮʤ ʬʹ ʥʺʲʱʤ ʺʠ ʭʠʩʺʹ ʠʥʤ ʩʬʩʬʴ ʸʡʲ ʬʲʡʥ ʱ"ʠʮʧ ʤʤʥʦʮ
                           .ʣʡʠʺʮʤ ʭʲʥ ʣʥʮʧʮ ʭʲ ʤʲʩʱʰʤ ʪʬʤʮʡ ʩʰʥʴʬʨ ʸʹʷʡ ʤʩʤʹ


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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




   ,"ʧʴʥʺ" ʭʥʱʧʮʡ ʳʱʥʰ ʬʡʧʮ ʺʢʩʸʤʥ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2001 ʩʠʮ 29
                                  ʭʩʲʥʶʴ ʭʩʬʩʩʧ 2

  ʤʨʩʱʸʡʩʰʥʠʡ ʨʰʣʥʨʱ ,ʷʥʥʸ ,19 ʯʡ ,ʱʰʥʩ ʯʠʧ ʡʹʥʺ - ʸʠʶʲ ʩʨʲʮʬʠ ʣʡʲ
  ,ʸʥʹʠʲ ʬʩʲʮʱʲ ,ʳʱʥʰ ʸʩʲʶ ʭʲ "ʧʴʥʺ" ʭʥʱʧʮʬ ʲʩʢʤ ,ʺʩʮʠʬʱʠʤ
  ʤʨʩʱʸʡʩʰʥʠʡ ʨʰʣʥʨʱ ʠʥʤ ʳʠ ,20 ʯʡ ,ʱʰʥʩ ʯʧ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ
  ʺʥʣʥʲʺ ʢʩʶʤʬ ʥʹʷʡʺʰʥ ʸʨʮʥʰʢʮʤ ʺʣʮʲʬ ʥʲʩʢʤ ʭʩʩʰʹʤ .ʺʩʮʠʬʱʠʤ
  ʭʩʬʩʩʧʤ ʩʣʩ ʬʲ ʥʹʷʡʺʰ ʺʥʤʦ ʺʥʣʥʲʺ ʭʺʥʹʸʡ ʥʷʩʦʧʤ ʠʬʥ ʸʧʠʮ ,ʺʥʤʦ
  ʢʥʱʰ ʬʩʡʷʮʡ ,ʥʮʶʲ ʵʶʥʴʥ ʭʩʬʩʩʧʤ ʸʡʲʬ ʣʡʠʺʮʤ ʡʸʷʺʤ ,ʤʦ ʡʬʹʡ .ʤʣʮʲʤʮ ʷʧʸʺʤʬ
  ʺʷʩʸʦ ʩʣʫ ʪʥʺ ʭʩʬʩʩʧʤ ʺʣʮʲʬ ʡʸʷʺʤ ʵʥʶʩʴʤ ʸʧʠʬʥ ʸʥʹʠʲ ʬʩʲʠʮʱʲ ʸʥʧʠʬ ʨʲʮ
           .ʱ"ʠʮʧʤ ʯʥʢʸʠ ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ .ʬ"ʤʶ ʩʬʩʩʧ ʹʠʮ ʢʸʤʰʥ ʤʸʥʰ ʬʩʲʮʱʲ .ʭʩʰʥʮʩʸ


                                        Á ÁÁ



     ʺʩʦʫʸʮʤ ʤʰʧʺʡ ʭʩʣʡʠʺʮ 2 ʩʣʩʡ ʺʴʥʺ ʺʩʰʥʫʮ ʵʥʶʩʴ :2001 ʩʠʮ 25
                                ʭʩʲʥʶʴ 66 ,ʤʸʣʧʡ

  ʠʬʲʥ ʭʩʧʩʨʹ ʺʸʡʧʡ ʣʡʲ ,ʷʥʥʸ ,22 ʯʡ ,ʯʩʰ'ʢ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ ,ʠ'ʢʩʤʬʠ ʥʡʠ ʤʮʠʱʠ
  ʺʴʥʺ ʺʩʰʥʫʮ ʥʶʶʥʴ ʭʩʩʰʹʤ .ʤʰʴʥʠ ʺʥʰʧʡ ʣʡʲ ,ʷʥʥʸ ,22 ʯʡ ,ʯʩʰ'ʢ ʸʩʲʤ ʡʹʥʺ ,ʧʠʡʶ
  ʲʥʢʩʴʤ ʩʰʢʸʠʮ .ʲʥʢʩʴʤ ʬʲ ʺʥʩʸʧʠ ʬʨʰ ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ ʯʥʢʸʠ .ʤʸʣʧʡ ʺʩʦʫʸʮʤ ʤʰʧʺʡ
  ʤʲʨʸʡʮ ʭʮʩʲ ʥʠʶʩʥ ʵʴʰ ʺʣʥʥʦʮʥ ʺʴʥʺ ʡʫʸ ʥʰʩʫʤʹ ,ʩʱʸʥʰ ʣʥʮʧʮʥ ʩʥʠʣʸʮ ʺʡʠʺ ʥʩʤ
  ʲʶʩʡ ʯʥʢʸʠʤʹ ,(ʭʩʬʹʥʸʩ - 1998 ʸʡʮʡʥʰ ʦʠʮ) ʯʥʹʠʸʤ ʺʥʣʡʠʺʤʤ ʲʥʢʩʴ ʥʤʦ .ʬʠʸʹʩʬ
                                                                        .ʬʠʸʹʩ ʧʨʹʡ


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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




     ,ʭʩʸʶʰ ʺʮʥʶʡ ʣʡʠʺʮ ʬʡʧʮ ʩʣʩʡ ʺʴʥʺ ʺʩʬʫʩʮ ʵʥʶʩʴ :2001 ʩʠʮ 25
                            ʭʩʲʢʴʰ ʠʬʬ

  ʤʨʩʱʸʡʩʰʥʠʡ ʨʰʣʥʨʱ ,ʷʥʥʸ ,22 ʯʡ ,ʤʦʲ/ʤʩʬʠʡ'ʢ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʸʶʠʰ ʥʡʠ ʯʩʱʧ
  ʺʩʠʡʶ ʤʸʩʩʹʬ ʪʥʮʱʡ ʷʬʣ ʺʩʬʫʩʮ ʢʤʰ ʸʶʠʰ ʥʡʠ .ʥʸʡʲʡ ʩʮʠʬʱʠ ʣʠʤ’ʢ ʬʩʲʴ ,ʺʩʮʠʬʱʠʤ
  ʸʶʲʰ ,ʸʩʶʤʮ ʣʸʩ ʸʶʠʰ ʥʡʠ .ʺʩʬʫʩʮʤ ʸʡʲʬ ʹʠʡ ʧʺʴ 3 ʯʢʮ ʡʶʥʮʡ ʬ"ʤʶ ʧʥʫ .ʭʩʸʶʰ ʺʮʥʶʡ
  ʤʷʬʧʡ .ʤʫʥʺʡ ʡʥʹʩ ʣʡʠʺʮʤ ʸʹʠʫ ,ʺʩʬʫʩʮʤ ʺʥʶʶʥʴʺʤ ʤʲʸʩʠ ʦʠʥ ,ʡʶʥʮʤ ʬʹ ʺʩʬʥʬʺ ʬʲ
  ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʸʺʬʥʠʮ ʵʴʰ ʸʮʥʧ ʬʹ ʢ"ʷ 48-ʥ ,ʦʢ ʩʰʥʬʡ 3 ʥʩʤ ʺʩʠʹʮʤ ʬʹ ʩʮʣʷʤ
  ʲ"ʧʦʠʡ ʱ"ʠʮʧʤ ʺʢʤʰʤ ʩʸʩʫʡʮ ,ʤʣʠʧʹ ʧʬʠʶ ʩʣʩ ʬʲ ʯʥʥʫʥʠ ʲʥʢʩʴʤ .ʱ"ʠʮʧʤ ʩʣʩ ʬʲ
                                                       .ʤʬʹ ʺʩʲʶʡʮʤ ʲʥʸʦʤ ʩʣʱʩʩʮʮʥ


                                       Á ÁÁ



       ,ʤʩʰʺʰʡ ʯʥʸʹʤ ʯʥʩʰʷʬ ʤʱʩʰʫʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2001 ʩʠʮ 18
                              ʭʩʲʥʶʴ 86 -ʥ ʭʩʢʥʸʤ 5

  ʵʶʥʴ ʱ"ʠʮʧ ʬʩʲʴ ,ʩʺʣ ,ʷʥʥʸ ,21 ʯʡ ,ʭʸʫ ʬʥʨ ʡʹʥʺ - ʹʮʸʮ ʣʥʮʧʮ
  ʲʥʢʩʴʤ ʬʲ ʺʥʩʸʧʠ ʬʨʰ ʱ"ʠʮʧʤ ʯʥʢʸʠ .ʤʩʰʺʰʡ ʯʥʸʹʤ ʯʥʩʰʷʬ ʤʱʩʰʫʡ ʥʮʶʲ
  ʲʶʥʡ ʲʥʢʩʴʤ .ʹʮʸʮ ʣʥʮʧʮ ,ʣʡʠʺʮʤ ʬʡʧʮʤ ʤʠʸʰ ʤʡ ʺʨʬʷ ʭʱʸʴ ʳʠʥ
  ʭʩʲʥʢʩʴʤ 2 -ʬ ʭʢ ʺʩʠʸʧʠʤ ,ʭʸʫ ʬʥʨ ʸʥʦʠʡ ʱ"ʠʮʧʤ ʺʩʺʹʺ ʩʣʩ ʬʲ
  ʺʩʺʹʺʤ ʩʬʩʲʴ ʥʣʡʠʺʤ ʭʤʡ (18/5 -ʥ,4/3) ʤʩʰʺʰʡ ʥʩʤʹ ʭʩʴʱʥʰʤ
  ,ʭʸʫ ʬʥʨʮ ʩʠʡʶ ʱ"ʠʮʧ ʬʩʲʴ ,(ʢʥʸʤ) ʯʠʸʣʡ ʦʠʥʴ .ʭʸʫ ʬʥʨʡ ʯʹʩʤ ʣʢʱʮʤ ʬʹ ʭʩʩʮʥʷʮʤ
  ʹʠʸ) ʣʩʱ ʬʠ ʱʠʡʲ ʬʹ ʥʰʲʩʩʱʫ ʹʮʩʹʹ ʩʮ ,ʩʸʩʣʧ ʸʠʮʲ .ʲʥʢʩʴʬ ʣʡʠʺʮʤ ʺʠ ʱʩʩʢ
  ʸʠʮʲʬ ʱʠʡʲ ʤʸʥʤ ,ʸʺʩʤ ʯʩʡ .ʱʠʡʲʥ ʦʠʥʴ ʯʩʡ ʪʥʥʺʮʤʥ ʧʨʹʤ ʹʩʠ ʤʩʤ ,(ʸʥʶʲ ,ʺʩʺʹʺʤ
                                  .ʦʠʥʴʬ ʥʺʥʠ ʸʥʱʮʬʥ ʣʡʠʺʮʤ ʭʥʬʩʶʬ ʣʥʩʶʤ ʬʫ ʺʠ ʯʩʫʤʬ


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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ




   ʱʥʡʥʨʥʠʬ ʪʥʮʱ ʣʡʠʺʮ ʬʡʧʮ ʩʣʩʡ ʺʴʥʺ ʺʩʰʥʫʮ ʵʥʶʩʴ :2001 ʬʩʸʴʠ 29
                           ʭʩʲʢʴʰ ʠʬʬ ,ʳʸʹ ʸʩʣ ʺʮʥʶʡ

  ,ʭʫʹʡ ʧʠ'ʢʰ ʬʠ ʺʨʩʱʸʡʩʰʥʠʡ ʤʱʣʰʤʬ ʨʰʣʥʨʱ ,ʷʥʥʸ ,23 ʯʡ ,ʭʫʹ ʡʹʥʺ - ʸʶʠʰ ʬʠʮ'ʢ
  ʺʮʥʶʡ ʭʩʣʩʮʬʺ ʬʩʡʥʤʹ ʱʥʡʥʨʥʠʬ ʪʥʮʱ ʺʴʥʺ ʺʩʰʥʫʮ ʵʶʥʴ ,"ʤʩʮʠʬʱʠʬʠ ʤʬʺʫʬʠ"ʡ ʬʩʲʴ
  ʩʰʩʨʱʬʴ ʡʫʸ .ʤʬʷʺ ʤʹʧʸʺʤ ʲʥʢʩʴʤ ʪʬʤʮʡ ʩʫ ʸʡʺʱʤ ʺʥʸʩʷʧʡ ʤʬʲʹ ʸʮʥʧʮ .ʳʩʸʹ ʸʩʣ
  ʤʩʤʹ ʩʴʫ ʱʥʡʥʨʥʠʬ ʣʥʮʶʡ ʠʬʹ ʡʫʸʤ ʺʠ ʵʶʥʴʬʥ ʱʱʤʬ ʸʶʠʰʬ ʭʸʢʹ ʸʡʣ ʱʥʡʥʨʥʠʬ ʣʮʶʰ
  ʱ"ʠʮʧʤ ʺʩʺʹʺ ʺʰʥʥʫʠʡ ʲʶʥʡ ʲʥʢʩʴʤ .ʭʩʡʸ ʭʩʲʢʴʰ ʱʰʡ ʲʰʮ ʤʹʲʮʬʹ ʤʮ - ʯʰʫʥʺʮ
  ʯʠʩʸ ʣʬʠʧ ʬʹ ʭʺʥʡʸʥʲʮ ʤʲʥʣʩ ʯʫ ʥʮʫʥ ʲʥʢʩʴʬ ʣʡʠʺʮʤ ʺʠ ʧʬʩʹ ʬʠʬʡ ʤʣʠʡʲ .ʭʫʹʡ
                                                        .ʲʥʢʩʴʤ ʬʥʢʬʢʡ ʤʮʱʠʬʡ ʩʣʢʮʥ


                                        Á ÁÁ


      ,ʠʡʱ ʸʴʫʡ ʱʥʡʥʨʥʠ ʺʰʧʺʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ : 2001 ʬʩʸʴʠ 22
                              ʭʩʲʥʶʴ 45 -ʥ ʣʧʠ ʢʥʸʤ

  ʥʷ ,ʣʢʠ ʱʥʡʥʨʥʠʬ ʪʥʮʱʡ ʥʴʥʢ ʬʲ ʯʲʨʮ ʵʶʥʴ ,ʯʥʫʩʺ ʣʩʮʬʺ ,18 ʯʡ ,ʭʫʹ ʡʹʥʺ - ʩʣʩʡʦ ʣʠʮʲ
  ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʠʡʱ ʸʴʫʡ ʩʷʱʡʥʧʩʰʸʹʨ 'ʧʸʡ ʱʥʡʥʨʥʠ ʺʰʧʺʡ ʸʶʲʹ ,29
  ʥʱʥʩʢʬ ʩʠʸʧʠ .ʭʫʹ ʸʥʦʠʮ ʱ"ʠʮʧ ʩʬʩʲʴ ʬʹ ʺʥʰʢʸʠʺʤ ʤʲʶʩʡ ʲʥʢʩʴʤ ʺʠ .ʱ"ʠʮʧʤ ʯʥʢʸʠ
  ʥʺʥʡʸʥʲʮʡ ʣʩʣʹ ʯʠʮʧʸ ʠʲ ʤʣʥʤ ʥʺʸʩʷʧʡ .ʸʤʠʨ ʣʰʤʮ ʤʩʤ ʲʥʢʩʴʬ ʣʡʠʺʮʤ ʬʹ ʥʸʥʢʩʹʥ
  ʩʬʲ ʲʶʩʡ ʥʺʲʱʤʥ ʲʥʢʩʴʤ ʭʥʷʮ ʯʥʢʸʠ ʺʠ .ʠʡʱ ʸʴʫʡ ʲʥʢʩʴʤ ʲʥʶʩʡʬ ʣʡʠʺʮʤ ʬʹ ʥʺʸʡʲʤʡ
                .ʺʩʬʠʸʹʩ .ʦ.ʺ ʬʲʡ ,ʥʲʥʶʷʮʡ ʢʤʰ ,ʷʹʷ ʥʡʠ ʣʠʤʰ ʲʶʩʡ ʤʲʱʤʤ ʺʠʥ ʩʸʩʣʥʧ


                                        Á ÁÁ




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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



      ,ʯʩʮʩ ʤʥʰʡ ʷʬʣ ʺʰʧʺʬ ʪʥʮʱ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ : 2001 ʱʸʮ 28
                               ʭʩʲʥʶʴ 4 -ʥ ʭʩʢʥʸʤ 2


  "ʤʧʥʺʴʤ ʤʨʩʱʸʡʩʰʥʠ"ʡ ʨʰʣʥʨʱ ,ʱ"ʠʮʧ ʬʩʲʴ ,ʷʥʥʸ ,23 ʯʡ ,ʤʩʬʩʷʬʷ ʡʹʥʺ - ʸʮʠʲ ʩʣʠʴ
  ʺʡʸʷʡ ,ʧʸʦʮ ʠʡʱ ʸʴʫ ʺʮʥʶʬ ʺʩʮʥʸʣ 444 ʹʩʡʫʡ ʷʬʣ ʺʰʧʺʡ ʥʮʶʲ ʵʶʥʴ ,ʤʩʬʩʷʬʷʡ
  ʱ"ʠʮʧʤ ʺʩʺʹʺ .ʭʩʮʥʣʷʡ ʱ"ʤʩʡʬ ʤʲʱʤʬ ʷʬʣʤ ʺʰʧʺʡ ʥʰʩʺʮʤ ʸʹʠ ʯʥʫʩʺ ʩʣʩʮʬʺ ʺʶʥʡʷ
  ʷʸʠʨʥ ʬʩʸʡ'ʢ ʬʩʸʡ'ʢ ʩʣʩ ʬʲ ʧʬʹʰ ʣʡʠʺʮʤ .ʲʥʢʩʴʤ ʲʥʶʩʡʬ ʺʩʠʸʧʠʤ ʠʩʤ ʤʩʬʩʷʬʷʡ
  (ʢʥʸʤ) ʣʠʮʧ ʯʠʮʧʸ ʠʲ ʺʠ ʥʰʫʣʲ ʭʩʬʩʲʴʤ .ʤʩʬʩʷʬʷʮ ʭʩʩʠʡʶ ʩʠʡʶ ʱ"ʠʮʧ ʩʬʩʲʴ ,ʩʬʩʦʸʡ
  ʭʩʤʠʸʡʠ ʭʢ .ʺʥʩʸʧʠ ʥʬʨʩʹ ʺʰʮ ʬʲ ʲʥʢʩʴʤ ʺʥʣʥʠ ʸʩʫʡ ʩʠʡʶ ʱʠʮʧ ʬʩʲʴ ,ʩʸʺʥʧ ʣ'ʠʠʸʥ
  ʯʥʰʫʺʬ ʥʺʥʲʣʥʮʥ ʣʡʠʺʮʤ ʭʲ ʥʩʸʹʷʡ ʥʺʸʩʷʧʡ ʤʣʥʤ ,ʤʩʬʩʷʬʷʡ ʩʲʶʡʮ ʱ"ʠʮʧ ʬʩʲʴ ,ʱʮʧʣ
                                                                             .ʲʥʢʩʴʤ
                                       Á ÁÁ



   ʺʩʺʴʸʶʤ ʤʲʡʢʤ ʺʮʥʶʡ ʱʥʡʥʨʥʠ ʣʩʬ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2001 ʱʸʮ 27
                               ʭʩʲʥʶʴ 13 ,ʭʩʬʹʥʸʩʡ


  ʤʱʣʰʤʬ ʨʰʣʥʨʱ ,ʷʥʥʸ ,20 ʯʡ ,ʤʬʬʠʮʸ/ʤʸʩʡʬʠ ʡʹʥʺ - ʬʩʥʨ ʠʠʩʣ
  ʱ"ʠʮʧ ʬʩʲʴ ,ʬʩʥʨ ʬʠʮ'ʢ ʬʹ ʥʰʩʩʧʠ ,ʱ"ʠʮʧ ʬʩʲʴ ,ʺʩʦ ʸʩʡ ʺʨʩʱʸʡʩʰʥʠʡ
  ʸʹʠ ,6 'ʱʮ ʥʷʡ ʣʢʠ ʱʥʡʥʨʥʠ ʣʩʬ ʥʮʶʲ ʵʶʥʴ ʣʡʠʺʮʤ .ʤʠʬʬʠʮʸʡ ʸʩʫʡ
  ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʧʸʦʮ ʯʥʥʩʫʬ ʺʩʺʴʸʶʤ ʤʲʡʢʤ ʯʥʥʩʫʮ ʲʱʰ
  ,ʺʩʠʡʶ ʱ"ʠʮʧ ʺʩʺʹʺ ʳʹʧʩʤʬ ʤʬʧʤ 01 ʩʬʥʩʮ ʬʧʤ .ʱ"ʠʮʧʤ ʯʥʢʸʠ
  ʤʬʬʠʮʸ ʱ"ʮʮ ʩ"ʲ ʥʸʶʲʰ 01 'ʢʥʠ 9 -ʡ .ʤʬʬʠʮʸʡ ʩʲʶʡʮ ʤʶʷ ʤʬʥ ʯʥʸʮʥʹʡ ʤʦʫʸʮʹ
  ʩʬʬʫ ʯʥʧʨʩʡ ʺʥʸʩʹʡ ʭʺʸʩʷʧʡ .ʠʮʩʸ ʺʩʡ ʩʡʹʥʺ ʭʤʩʰʹ ,ʩʺʥʢʸʡ ʬʠʬʡʥ ʬʠʮʢ ʤʬʬʠʣʡʲ
  ʤʬʡʧ ʺʣʡʲʮ ʺʬʲʴʤʡ ʥʣʥʤ ʯʫ ʥʮʫ .ʲʥʢʩʴʬ ʣʡʠʺʮʤ ʬʹ ʥʺʠʶʥʤʬ ʺʥʩʸʧʠʡ               ʥʣʥʤ
  ʬʡʷʬ ʭʫʹʬ ʥʺʥʠ ʧʬʹ ʯʫʮ ʸʧʠʬʥ ʲʥʢʩʴʬ ʣʡʠʺʮʤ ʺʠ ʱʩʩʢʹ ʠʥʤ ʩʺʥʢʸʡ .ʤʬʬʠʮʸʡ
  ʱ"ʠʮʧʤ ʺʩʺʹʺ ʩʹʠʸʮ ,(ʢʥʸʤ) ʤʥʠʬʧ ʯʮʩʠ ʩʣʩ ʬʲ ʲʥʢʩʴʬ ʧʬʹʰ            ʣʡʠʺʮʤ .ʯʲʨʮʤ
                                                                            .ʯʥʸʮʥʹʡ


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                         ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



          ,ʤʩʰʺʰʡ ʩʦʫʸʮ ʡʥʧʸʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ : 2001 ʱʸʮ 4
                            ʭʩʲʥʶʴ 53 -ʥ ʭʩʢʥʸʤ 3

  ,ʷʥʥʸ ,23 ʯʡ ,ʭʸʫ ʬʥʨ/ʱʮʹʬʠ ʸʥʰ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʯʠʩʬʲ ʣʮʧʠ
  ʺʮʥʶʡ ʸʥʦʮʸʡ ʣʮʲʹ 22 ʥʷ ʣʢʠ ʱʥʡʥʨʥʠʬ ʡʸʷʺʤ ,ʯʩʦʠʥʮ ,ʺʣ ʹʩʠ
  .ʥʮʶʲ ʵʶʥʴ ʱʥʡʥʨʥʠʤʮ 'ʮ 2-3 ʷʧʸʮʡ ʤʩʤʹʫ ,ʭʤʥʹʥ ʬʶʸʤ ʺʥʡʥʧʸʤ
  ʭʶʲʬ ʺʩʹʠʸ ʱʧʩʩʺʤ ʤʡ ʤʠʥʥʶ ʣʡʠʺʮʤ ʡʺʫ ʥʺʥʣʡʠʺʤ ʩʰʴʬ ʲʥʡʹʫ
  .ʬʬʴʺʤ ʥʡ ʣʢʱʮʡ ʺʩʱ"ʠʮʧ ʧʥʮ ʺʴʩʨʹʬ ʳʥʹʧ ʤʩʤ ʩʫ ʸʫʩʰʥ ʺʥʣʡʠʺʤʤ
  ʱ"ʠʮʧʤ ʺʩʺʹʺ ʩʣʩ ʬʲ ʲʶʥʡ ʲʥʢʩʴʤ .ʥʺʹʥʸʩ ʺʠ ʣʡʠʺʮʤ ʷʬʩʧ ʤʠʥʥʶʤ ʬʹ ʩʰʹʤ ʤʷʬʧʡ
  ʯʡ ʱʠʮʧ ʬʩʲʴ ,ʩʱʥʩʢ ʣʮʧʠ ʬʹ ʥʺʥʡʸʥʲʮʡʥ ,(ʢʥʸʤ) ʯʠʸʣʡ ʦʠʥʴ ʬʹ ʥʺʢʤʰʤʡ ,ʭʸʫ ʬʥʨʡ
  ʧʺʴ ʩʫʥ ʲʥʢʩʴʬ ʣʡʠʺʮʤ ʺʠ ʬʩʡʥʤ ʩʫ ʥʺʸʩʷʧʡ ʤʣʥʤ ʸʹʠ ,(ʸʥʶʲ) ʭʸʫ ʬʥʨ ʡʹʥʺ ,23
                                                           .ʤʩʰʺʰʬ ʪʸʣʡ ʸʩʶ ʥʸʥʡʲ


                                     Á ÁÁ




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                           ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



     ,ʩʮʲ ʩʮ ʺʮʥʶʬ ʪʥʮʱ ,ʺʩʰʥʮʡ ʯʲʨʮ ʵʶʥʴ ʣʡʠʺʮ ʬʡʧʮ :2001 ʱʸʮ 1
                              ʭʩʲʥʶʴ 10 -ʥ ʣʧʠ ʢʥʸʤ

  ʺʥʸʩʹ ʺʩʰʥʮʡ ʩʸʥʧʠʤ ʡʹʥʮʡ ʡʹʩ ,28 ʯʡ ,ʯʩʰ'ʢ/ʱʩʸʩʱ ʡʹʥʺ - ʩʰʠʬʩʫ ʣʩʦ
  ʯʲʨʮ ʬʩʲʴʤʥ ʤʩʸʡʨʬ ʡʩʡʠ ʬʺʮ ʤʫʸʣʡ (ʣʲʬʠ ʡʹʥʺ ʩʬʠʸʹʩ ʢʤʰ ʤʡ)
  ʺʮʥʶʬ ʪʥʮʱ ,ʭʥʦʩ ʩʺʸʨʹʮ ʭʥʱʧʮʡ ʥʬʷʺʰʹ ʺʲʡ (ʷʩʺ ʪʥʺʡ ʤʩʤ ʸʹʠ)
  ʤʸʩʷʣ ʲʥʢʩʴ ʲʶʩʡ ʣʡʠʺʮʤ .ʲʥʢʩʴʡ ʹʥʰʠ ʧʸʥʠʡ ʲʶʴʰ ʣʡʠʺʮʤ .ʩʮʲ ʩʮ
  ʩʬʠʸʹʩ ʧʸʦʠ ʲʶʴʥ ʸʷʣ ʥʡ 2000 ʸʡʮʶʣ 21 -ʡ ʡʩʡʠ ʬʺʡ ʬʮʸʫʤ ʷʥʹʡ
  ,ʡʩʡʠ ʬʺʡ ʯʲʨʮ ʲʥʢʩʴ ʣʡʠʺʮʤ ʲʶʩʡ ʺʩʰʥʮʡ ʲʥʢʩʴʬ ʭʣʥʷ ʭʥʩ .ʷʥʹʡ ʺʥʩʰʷ ʲʶʩʡʹ ʺʲʡ
  ʵʶʥʴʥ ʤʬʢʺʤ ʯʲʨʮʤ) ʸʩʲʡ ʤʮʸʠʥʥʹ ʺʥʰʧʡ ,ʬʩʲʴʤʬ ʧʩʬʶʤ ʠʬ ʥʺʥʠ ,ʯʲʨʮ ʸʩʠʹʤ ʸʹʠʫ
  ʳʥʧʡ ʤʺʤʹʹ ʭʩʸʩʲʶ ʺʶʥʡʷʬ ʪʥʮʱ ,ʳʱʥʰ ʯʲʨʮ ʣʡʠʺʮʤ ʧʩʰʤ ʭʥʩ ʥʺʥʠʡ .(ʯʬʡʧ ʩʣʩ ʬʲ
  ʥʺʸʩʷʧʡ .ʵʶʥʴʺʤ ʠʬ ʯʲʨʮʤ ʪʠ ʯʲʨʮʤ ʺʠ ʬʩʲʴʤʬ ʤʱʩʰ ʣʡʠʺʮʤ .ʡʩʡʠ ʬʺʡ ʭʥʩʸʰʩʴʬʥʣʤ
  ʬʲ ʭʩʧʨʹʬ ʤʸʦʧ ʥʮʲ ʥʺʧʷʬ ʯʥʥʫʺʤ ʸʹʠʥ ʯʩʷʺ ʤʩʤ ʠʬʹ ʳʱʥʰ ʯʲʨʮ ʥʺʥʹʸʡ ʤʩʤ ʩʫ ʸʴʩʱ
  ʭʩʲʥʢʩʴʤ ʬʫ ʺʠ .ʤʷʩʣʡʬ ʸʶʲʰ ʲʱʰ ʥʡ ʡʫʸʤʹ ʺʲʡ ʥʣʩ ʬʲ ʬʲʴʥʤ ʤʦ ʯʲʨʮ .ʥʹʩʮʹʤʬ ʺʰʮ
  ,ʯʩʰ'ʢ ʡʹʥʺ ,ʬʡ'ʢ ʥʡʠ ʯʠʥʣʲ ʱʩʩʷ ʬʹ ʥʺʰʥʥʫʠʡ ,ʱ"ʠʮʧʤ ʯʥʢʸʠ ʺʥʧʩʬʹʡ ʣʡʠʺʮʤ ʲʶʩʡ
  ʤʷʩʬ'ʢʰʠ ,ʣʩʦ ʬʹ ʥʺʸʡʧ ʤʸʶʲʰ ʸʺʥʩ ʸʧʥʠʮ ʡʬʹʡ .ʧʠ'ʢʰʡ ʤʩʮʠʬʱʠ ʤʬʺʥʫʤ ʹʠʸ
  ʺʲʣʥʮ ʤʺʩʩʤ ʩʫ ʤʺʸʩʷʧʡ ʤʸʱʮ ʤʷʩʬ'ʢʰʠ .ʦʫʸʮʤ ʸʥʦʠʡ ʺʸʸʥʢʺʮʤ ,ʤʩʣʥʤʩ ,ʡʥʴʱʥʩ
  ʤʷʩʬ'ʢʰʠ .ʤʬʡʧ ʩʰʲʨʮ ʩʰʹ ʥʺʥʹʸʡʹ ʪʫ ʬʲ ʤʲʣʩ ʯʫ ʥʮʫ .ʣʡʠʺʮʤ ʲʶʩʡʹ ʤʸʩʷʣʤ ʲʥʢʩʴʬ
  ʭʥʩʸʰʩʴʬʥʣʤ ʳʥʧʬ ʥʮʲ ʤʫʬʤ ,ʩʡʰʬʠ 'ʧʸʡ ʯʥʰʦʮʡ ʯʲʨʮʤ ʺʰʮʨʤ ʺʲʡ ʣʡʠʺʮʤ ʭʲ ʤʺʩʤ
  ʥʬʩʲʴʤʬ ʤʱʩʰʹ ʺʲʡʥ ʯʲʨʮʤ ʺʧʰʤ ʺʲʡ ʥʮʲ ʤʺʩʩʤ ,ʯʲʨʮ ʥʺʥʹʸʡʹ ʪʫʬ ʺʲʣʥʮ ʠʩʤʹ ʪʥʺ
  ,ʺʩʰʥʮʬ ʤʬʲʹ ʺʲʡ ʯʲʨʮ ʣʡʠʺʮʤ ʺʥʹʸʡ ʩʫ ʤʷʩʬ'ʢʰʠ ʤʲʣʩ ʯʫ ʥʮʫ .ʣʩʩʰʤ ʯʥʴʬʨʤ ʺʥʲʶʮʠʡ
                                        .ʯʲʨʮʤ ʵʥʶʩʴʬ ,ʸʡʣ ʬʹ ʥʴʥʱʡ ,ʣʡʠʺʮʤ ʭʸʢ ʭʹ


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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



      ʬʶʸʤ ʡʥʧʸʡ ʣʡʠʺʮ ʬʡʧʮ ʩʣʩʡ ʺʴʥʺ ʺʩʰʥʫʮ ʵʥʶʩʴ :2001 ʸʠʥʰʩ 1
                                ʭʩʲʥʶʴ 35 ,ʤʩʰʺʰʡ


  ʯʩʩʰʡ ʺʱʣʰʤʬ ʨʰʣʥʨʱ ,ʷʥʥʸ ,23 ʯʡ ,ʭʫʹ ʡʹʥʺ - ʤʬ'ʢʧ ʥʡʠ ʣʮʠʧ
  ,ʧʠ'ʢʰʡ "ʤʩʮʠʬʱʠ ʤʬʺʥʫ"ʡ ʬʩʲʴ ,ʩʺʣ ,ʭʫʹʡ ʧʠ'ʢʰʬʠ ʺʨʩʱʸʡʩʰʥʠʡ
  ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʤʩʰʺʰʡ ʬʶʸʤ ʡʥʧʸʡ ʺʴʥʺ ʺʩʰʥʫʮ ʵʶʥʴ
  ʥʺʥʹʠʸʡ ʭʫʹʡ ʱ"ʠʮʧʤ ʺʩʺʹʺ ʤʲʶʩʡ ʲʥʢʩʴʤ ʺʠ .ʱ"ʠʮʧʤ ʯʥʢʸʠ
  ʥʺʰʫʤʥ ʥʺʸʩʺʠ ʬʲ ʩʠʸʧʠ ʤʩʤ ,(ʢʥʸʤ) ʩʰʣʮ ʣʥʮʧʮ .ʩʰʩʸʡ'ʢ ʸʮʲ ʬʹ
  ʬʲ ʩʠʸʧʠ ʤʩʤ ʯʩʰ'ʢ/ʤʩʨʠʡʷʮ ʩʠʡʶ ʱ"ʠʮʧ ʬʩʲʴ ,ʤʰʠʲʡʱ ʬʶʩʴ .ʲʥʢʩʴʬ ʣʡʠʺʮʤ ʬʹ
  ʭʩʨʰʣʥʨʱ ʬʲ ʺʩʺʹʺʤ ʤʱʱʡʺʤ ʤʦ ʲʥʢʩʴʡ ʭʢ ."ʷʥʸʩʤ-ʥʷʤ" ʩʮʥʧʺʬ ʣʡʠʺʮʤ ʬʹ ʥʺʸʡʲʤ
  ʭʩʹʮʹʮʤ ,(ʺʥʠʨʩʱʸʡʩʰʥʠʡ ʱ"ʠʮʧʤ ʬʹ ʭʩʨʰʣʥʨʱʤ ʠʺ) "ʤʩʮʠʬʱʠʬʠ ʤʬʺʫʬʠ" ʩʸʡʧ
  ʺʩʺʹʺʡ ʭʩʩʦʫʸʮʤ ʭʩʫʡʣʰʤ ʣʧʠ ʺʠ ʭʩʥʥʤʮʥ ʭʩʰʲʩʩʱʥ ʭʩʠʡʶ ʭʩʬʩʲʴʬ ʸʺʠʮ ʩʺʸʥʱʮ ʯʴʥʠʡ
                                                                   .ʯʥʸʮʥʹʡ ʱ"ʠʮʧʤ


                                       Á ÁÁ



      ,ʯʣʸʩʤ ʺʲʷʡ/ʤʬʥʧʮ ʷʣʰʥʴʡ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2000 ʸʡʮʶʣ 22
                                 ʭʩʲʥʶʴ ʭʩʬʩʩʧ 3

  ʺʨʩʱʸʡʩʰʥʠʡ ʺʥʰʥʺʩʲʬ ʨʰʣʥʨʱ ,ʷʥʥʸ ,25 ʯʡ ,ʯʥʸʡʧ ʡʹʥʺ - ʸʠ'ʢʰ ʭʹʠʤ
  ,ʷʱʥʩʷʬ ʱʰʫʰ ,ʤʸʡʧʤ ʩʲʣʮʬ ʤʨʬʥʷʴʡ "ʤʬʺʫ"ʤ ʹʠʸ ,ʭʫʹʡ ʧʠ'ʢʰʬʠ
  ʸʡʲʬ ʡʸʷʺʤ ,ʭʥʷʮʡ ʺʱʴʸʮʬ ʠʶʩ ,ʺʥʩʸʢʩʱʥ ʤʬʥʷ ,ʭʩʰʩʲʸʢ ʤʰʷʹ ʸʧʠʬ
  ʭʩʸʥʴʱ ʭʩʸʨʮ ʷʧʸʮ ʤʩʤʹʫ ʥʮʶʲ ʵʶʥʴʥ ʭʥʷʮʡ ʤʺʩʩʤʹ ʭʩʬʩʩʧ ʺʶʥʡʷ
  ʱʩʩʥʢ ʣʡʠʺʮʤ .ʱ"ʠʮʧʤ ʯʥʢʸʠ ʩʣʩ ʬʲ ʤʬʨʩʰ ʲʥʢʩʴʬ ʺʥʩʸʧʠ .ʭʤʮ
  ʺʩʺʹʺ ʩʣʩ ʬʲ ʲʥʢʩʴʤ ʲʶʥʡ ʤʠʸʰʤ ʬʫʫ .ʯʥʢʸʠʤ ʺʥʸʥʹʡ ʬʲʴ ʦʠʮʥ 1994 -ʡ ʱ"ʠʮʧʬ
  ʲʶʥʡ ʲʥʢʩʴʤ ʩʫ ʩʬʬʫ ʯʥʧʨʩʡ ʺʥʸʩʹʡ ʥʺʸʩʷʧʡ ʸʱʮ ,(ʸʥʶʲ) ʤ'ʢʧ ʭʩʬʱ .ʭʫʹʡ ʱ"ʠʮʧʤ
  ʯʫ ʥʮʫ .ʣʡʠʺʮʤ ʺʠ ʸʺʩʠ ʸʹʠ ʥʮʶʲ ʭʩʬʱ ʬʹʥ (ʢʥʸʤ) ʤʥʠʬʧ ʯʮʩʠ ʬʹ ʥʺʰʥʥʫʠ ʺʧʺ
                    .ʲʥʢʩʴʤ ʺʠʶʥʤʡ ʱʠʡʥʨʮ ʱ"ʠʮʧ ʬʩʲʴ ,(ʸʥʶʲ) ʠʨʴʠʥʥʶ ʸʣʠʰ ʳʺʺʹʤ


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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



   ʪʥʮʱ ʤʧʨʡʠ ʧʥʫ ʣʩʬ ʥʮʶʲ ʵʶʥʴʬ ʤʱʩʰ ʣʡʠʺʮ ʬʡʧʮ :2000 ʸʡʮʶʣ 15
                            ʭʩʲʢʴʰ ʠʬʬ ,ʦʸʠ ʭʥʱʧʮʬ


  ʬʩʲʴ ,ʷʥʥʸ ,22 ʯʡ ,ʤʦʲ/ʩʨʠʹ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʩʴʠʶ ʯʩʣʬʠ ʸʥʰ
  ʲʩʢʤ ,ʤʦʲʡ "ʺʩʮʠʬʱʠʤ ʤʨʩʱʸʡʩʰʥʠ"ʡ ʺʥʠʰʥʡʹʧ ʩʣʥʮʩʬ ʸʢʥʡ ,ʱ"ʠʮʧ
  ʸʡʲʹ ʺʲʡ .ʦʸʠ ʤʩʹʲʺ ʸʥʦʠʬ ʭʩʰʩʨʱʬʴʤ ʭʩʬʲʥʴʤ ʺʱʩʰʫ ʸʧʠʬ 12 ʯʢʮʬ
  ʧʩʬʶʤ ʠʬʹʮʥ ʵʴʰ ʺʸʥʢʧ ʬʩʲʴʤʬ ʤʱʩʰ ʣʡʠʺʮʤ .ʳʥʶʴʶ ʲʮʹʰ ʸʨʮʥʰʢʮʡ
  ʥʩʤʹ ʬʩʩʧʥ ʭʩʸʥʨʷʬʱʤ ʩʣʩ ʬʲ ʣʡʠʺʮʤ ʤʸʥʰ ʪʫ ʺʥʡʷʲʡ .ʭʥʷʮʡ ʸʥʨʷʬʱʤ ʺʠ ʸʥʷʣʬ ʤʱʩʰ
                              .ʲʥʢʩʴʤ ʩʸʥʧʠʮ ʺʣʮʥʲʤ ʺʥʰʢʸʠʺʤʤ ʩʡʢʬ ʲʣʩʮ ʯʩʠ .ʭʥʷʮʡ


                                       Á ÁÁ



   ,ʧʩʴʸ ʣʩʬ ʭʩʤ ʬʩʧ ʬʹ "ʸʥʡʣ" ʺʰʩʴʱʬ ʪʥʮʱ ʤʸʩʱ ʵʥʶʩʴ :2000 ʸʡʮʡʥʰ 6
                                   ʭʩʲʢʴʰ ʠʬʬ

  ʪʥʮʱ .ʷʥʥʸ ,27 ʯʡ ,ʤʦʲ/ʩʨʠʹ ʭʩʨʩʬʴʤ ʤʰʧʮ ʡʹʥʺ - ʣʠʣʷʮ ʩʣʮʧ
  ʲʶʩʡ ʸʹʠ ʭʩʤ ʬʩʧ ʸʥʡʣʬ ʪʥʮʱʡ ʺʩʰʩʨʱʬʴ ʤʷʱʧ ʺʸʩʱ ʤʶʶʥʴʺʤ ʺʥʶʧʬ
  50-60 ʬʹ ʷʧʸʮʡ ʤʩʤ ʤʷʱʧʤ ʵʥʶʩʴ .ʤʦʲ ʬʥʮ ʳʥʧʤ ʺʲʥʶʸʡ ʩʺʸʢʹ ʸʥʩʱ
  2 ʤʡʥ ʤʰʨʷ ʤʷʱʧ ʥʤʩʦ ʸʥʡʣʤ ʩʬʩʩʧ .ʳʥʧʤʮ 'ʮ 1,400 ʧʥʥʨʡʥ ʸʥʡʣʤʮ 'ʮ
  ʣʧʠ ʭʣʠ ʤʩʬʲ ʤʤʥʦʥ ʺʲʰʥʮʮ ʤʺʩʩʤ ʤʷʱʧʤ .ʭʥʨʸʧʡ ʭʩʱʥʫʮ ʭʩʦʢʸʠ
  ʺʬʡʷʡ ,ʤʰʲʨ ʱ"ʠʮʧʤ ʺʲʥʰʺ .ʵʥʶʩʴ ʲʮʹʰ ʦʠʥ ʳʴʥʫʺʤ ʥʩʥʤʩʦ ʭʲ ʸʹʠ
  ʺʲʡ ʤʷʱʧʤ ʬʲ ʣʡʠʺʮʤ ʤʤʹ ʥʩʴʬ ʺʥʣʡʠʺʤ ʲʥʢʩʴʡ ʸʡʥʣʮ ʩʫ ,ʲʥʢʩʴʬ ʺʩʡʮʥʴ ʺʥʩʸʧʠ
   .ʤʺʮʷʤ ʦʠʮ ʱ"ʠʮʧʤ ʺʲʥʰʺ ʤʲʶʩʡʹ ʯʥʹʠʸ ʩʮʩ ʲʥʢʩʴʡ ʸʡʥʣʮ ʩʫ ʯʩʩʶʬ ʹʩ .ʤʶʶʥʴʺʤʹ


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                          ʩʧʫʥʰʤ ʺʥʮʩʲʡ ʭʩʣʡʠʺʮ ʭʩʬʡʧʮ



    ʺʣʮʲʬ ʪʥʮʱ ʭʩʩʰʴʥʠ ʬʲ ʡʥʫʸ ʣʡʠʺʮ ʬʡʧʮ ʵʥʶʩʴ :2000 ʸʡʥʨʷʥʠ 26
                        ʲʥʶʴ ʬʩʩʧ 1 ,ʳʩʨʷ ʹʥʢ ʣʩʬ ʬ"ʤʶ

  ʨʰʣʥʨʱ ,ʷʥʥʸ ,24 ʯʡ ,ʤʦʲ/ʤʣʩʣ'ʢ ʤʩʲʠ'ʢʱ ʡʹʥʺ -ʸʩʲʠʸʲʬʠ ʬʩʡʰ
  ʧʸʦʮʮ ʭʩʴʥʱʩʫ ʸʩʶ ʬʲ ʥʩʰʴʥʠ ʬʲ ʡʫʸ ,ʤʦʲʡ "ʺʩʮʠʬʱʠʤ ʤʨʩʱʸʡʩʰʥʠ"ʡ
  ʯʥʢʸʠ .ʵʥʶʩʴʤ ʲʸʩʠ ʦʠʥ ʷʧʸʺʤʬ ʥʬ ʤʸʥʤ ʥʡ ʯʩʧʡʤʹ ʬ"ʤʶ ʬʩʩʧ ,ʡʸʲʮʬ
  ʯʥʹʠʸʤ ʲʥʢʩʴʤ ʤʹʲʮʬ ʥʤʦʥ ʲʥʢʩʴʬ ʺʥʩʸʧʠ ʬʨʰ "ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ"
  5 -ʤ ʤʰʹʤ ʭʥʩʡ ʲʶʥʡ ʲʥʢʩʴʤ.1997 ʬʩʸʴʠ ʦʠʮ ʤʲʥʶʸʡ ʯʥʢʸʠʤ ʲʶʡʮʹ
  ʩʠʸʧʠ ,ʩʣʰʩʤ ʬʠ ʣʥʮʧʮ ʬʹ ʥʺʰʥʥʫʠʡ ʲʥʢʩʴʤ .ʯʥʢʸʠʤ ʣʱʩʩʮ ,ʩʷʠʷʹ ʩʧʺʴ ʬʹ ʥʺʥʮʬ
  ʤʰʩʤ ʲʥʢʩʴʬ ʺʩʠʸʧʠʤ ʺʩʠʡʶʤ ʩʮʠʬʱʠ ʣʠʤ’ʢʤ ʺʥʰʢʸʠʺʤ .ʤʲʥʶʸʡ ʩʮʠʬʱʠʤ ʣʠʤʩ'ʢʤ
                         .(ʸʺʥʩ ʸʧʥʠʮ ʢʸʤʰ) .ʣʩʮʧ ʣʩʬʷʮ ,ʤʹʠʸʡ ʣʮʥʲʤʥ ʤʩʬʡ'ʢ .ʴ.ʮʮ


                                      Á ÁÁ




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